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                   EXHIBIT A
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                           CREDIT AGREEMENT

                           dated as of August 6, 2021

                                    among

                     BRIDGELINK ENGINEERING, LLC,

                               as the Borrower,

                      THE LENDERS PARTY HERETO,



                          BANCORPSOUTH BANK,
                           as Administrative Agent



                                      and



                            BANCORPSOUTH BANK,
                   as Sole Lead Arranger and Sole Bookrunner
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                                          CREDIT AGREEMENT

     CREDIT AGREEMENT, dated as of August 6, 2021 among BRIDGELINK ENGINEERING,
LLC, a Delaware limited liability company (the “Borrower”), the Lenders party hereto and
BANCORPSOUTH BANK, as Administrative Agent.

                                                  RECITALS

      A.     The Borrower has requested that the Lenders make loans and other financial
accommodations to the Borrower as more fully set forth herein.

        B.       The Lenders have indicated their willingness to lend on the terms and subject to the
conditions set forth herein.

       In consideration of the mutual covenants and agreements herein contained, the parties hereto
covenant and agree as follows:

                                                 ARTICLE 1

                           DEFINITIONS AND RULES OF CONSTRUCTION

       Section 1.1     Definitions. As used in this Credit Agreement, the following terms have the
meanings specified below:

        “ABR Borrowing” means, as to any Borrowing, the ABR Loans comprising such Borrowing.

        “ABR Loan” means a Loan bearing interest based on the Alternate Base Rate.

        “Accounts Receivable” has the meaning assigned to such term in the Security Agreement.

          “Acquisition” means any transaction or series of related transactions resulting, directly or
indirectly, in: (a) the acquisition by any Person of (i) all or substantially all of the assets of another Person
or (ii) all or substantially all of any business line, unit or division of another Person, (b) the acquisition by
any Person (i) of in excess of 50% of the Equity Interests of any other Person, or (ii) otherwise causing any
other Person to become a subsidiary of such Person whereby such Person has the ability to exercise Control
over such other Person, or (c) a merger, amalgamation consolidation, liquidation into, or any other
combination of any Person with another Person (other than a Person that is a Loan Party or a Subsidiary of
a Loan Party) in which a Loan Party or any of its Subsidiaries is the surviving Person.

         “Adjusted LIBOR Rate” means, with respect to any LIBOR Borrowing for any Interest Period, an
interest rate per annum equal to the LIBOR Rate in effect for such Interest Period multiplied by the Statutory
Reserve Rate; provided, however, that the Adjusted LIBOR Rate shall at no time be less than 0.50% per
annum.

       “Administrative Agent” means BancorpSouth Bank, in its capacity as administrative agent for the
Lenders or any successor thereto.

       “Administrative Agent’s Payment Office” means the Administrative Agent’s office located at 2800
North Loop West, Suite 1000, Houston, TX 77092, Attn: Mina Valverde, or such other office as to which
the Administrative Agent may from time to time notify the Borrower and the Lenders.




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       “Administrative Questionnaire” means an Administrative Questionnaire in a form supplied by the
Administrative Agent.

        “Affiliate” means, with respect to a specified Person, another Person that directly, or indirectly
through one or more intermediaries, Controls or is Controlled by or is under common Control with the
Person specified.

        “Agent Parties” has the meaning assigned to such term in Section 10.1(d)(iii).

        “Agreement Date” means the first date appearing in this Credit Agreement.

         “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of (a) the Prime
Rate in effect on such day, (b) the Federal Funds Effective Rate in effect on such day plus 0.50% per annum
and (c) the Adjusted LIBOR Rate in effect on such day for deposits in Dollars for a one-month Interest
Period (subject to any interest rate floor set forth in the definition of “Adjusted LIBOR Rate”) plus 1.00%
per annum, provided that the Alternate Base Rate shall at no time be less than 0.50% per annum. If the
Administrative Agent shall have determined (which determination shall be conclusive absent clearly
manifest error) that it is unable to ascertain the Federal Funds Effective Rate or the Adjusted LIBOR Rate
for any reason, including the inability or failure of the Administrative Agent to obtain sufficient quotations
in accordance with the terms of the definition of the term Federal Funds Effective Rate, the Alternate Base
Rate shall be determined without regard to clause (b) or (c), as applicable, of the preceding sentence until
the circumstances giving rise to such inability no longer exist. Any change in the Alternate Base Rate due
to a change in the Prime Rate, the Federal Funds Effective Rate or the Adjusted LIBOR Rate shall be
effective from and including the effective date of such change in the Prime Rate, the Federal Funds Effective
Rate or the Adjusted LIBOR Rate, respectively.

        “Anti-Corruption Laws” means all laws, rules, and regulations of any jurisdiction applicable to the
Loan Parties or their respective Subsidiaries from time to time concerning or relating to bribery or
corruption, including the United States Foreign Corrupt Practices Act of 1977.

        “Anti-Terrorism Laws” has the meaning assigned to such term in Section 5.18(c).

        “Applicable Lending Office” means for any Lender, such Lender’s office, branch or affiliate
designated for Revolving Loans, as notified to the Administrative Agent, any of which offices may be
changed by such Lender.

         “Applicable Margin” means, (a) with respect to Revolving Loans, in the case of (i) ABR
Borrowings, the percentage set forth in the following table under the heading “ABR Margin for Revolving
Loans”, and (ii) LIBOR Borrowings, the percentage set forth in the following table under the heading
“LIBOR Margin for Revolving Loans, and (b) with respect to the Commitment Fee, the percentage set forth
in the following table under the heading “Commitment Fee”:




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 Pricing                                               ABR Margin for LIBOR Margin             Commitment
                   Senior Leverage Ratio               Revolving Loans for Revolving              Fee
  Level
                                                                           Loans

     I              Less than 1.50 to 1.00                  1.00%              3.00%               0.25%
           Equal to or greater than 1.50 to 1.00 but                                               0.25%
    II                                                      1.25%              3.25%
                    less than 2.25 to 1.00
             Equal to or greater than 2.25 but less                                                0.25%
    III                                                     1.50%              3.50%
                       than 3.00 to 1.00
    IV       Equal to or greater than 3.00 to 1.00          2.00%              4.00%               0.25%

The Applicable Margin shall be determined and adjusted quarterly on the date (each a “Margin
Determination Date”) that is five Business Days after receipt by the Administrative Agent of the
Compliance Certificate pursuant to Section 6.1(c) for the most recently ended fiscal quarter of the Borrower
(but in any event, not later than the 90th day after the end of each of the first three quarterly periods of each
Fiscal Year or the 120th day after the end of each Fiscal Year, as the case may be); provided that (a) the
Applicable Margin shall be based on Pricing Level II for Revolving Loans until the Margin Determination
Date for the first full fiscal quarter ending after the Closing Date, (b) if the Borrower fails to deliver the
Compliance Certificate as required by Section 6.1(c) for the most recently ended fiscal quarter preceding
the applicable Margin Determination Date, the Applicable Margin from such Margin Determination Date
shall be based on Pricing Level IV for Revolving Loans until the fifth Business Day after an appropriate
Compliance Certificate is delivered, at which time the Pricing Level for the remainder of the then current
period shall be determined by reference to the Senior Leverage Ratio as of the last day of the most recently
ended fiscal quarter of the Borrower preceding such Margin Determination Date. The Applicable Margin
shall be effective from one Margin Determination Date until the next Margin Determination Date. Any
adjustment in the Applicable Margin shall be applicable to all Loans then existing or subsequently made
during the applicable period for which the relevant Applicable Margin applies. Notwithstanding the
foregoing, in the event that any financial statement delivered pursuant to Section 6.1(a) or (b) or any
Compliance Certificate delivered pursuant to Section 6.1(c) is inaccurate (regardless of whether (i) this
Credit Agreement is in effect, or (ii) any of the Commitments are in effect, or (iii) any Loans or Letters of
Credit are outstanding when such inaccuracy is discovered or such financial statement or Compliance
Certificate was delivered), and such inaccuracy, if corrected, would have led to the application of a higher
Applicable Margin for any period (an “Applicable Period”) than the Applicable Margin applied for such
Applicable Period, then (A) the Borrower shall immediately deliver to the Administrative Agent a corrected
Compliance Certificate for such Applicable Period, (B) the Applicable Margin for such Applicable Period
shall be determined as if the Senior Leverage Ratio in the corrected Compliance Certificate were applicable
for such Applicable Period, and (C) the Borrower shall immediately pay to the Administrative Agent the
accrued additional interest and fees owing as a result of such increased Applicable Margin for such
Applicable Period, which payment shall be promptly applied by the Administrative Agent in accordance
with Section 2.8. Nothing in this paragraph shall limit the rights of the Administrative Agent and Lenders
with respect to Section 3.1 and Section 8.1.

        “Applicable Percentage” means, at any time (a) with respect to any Lender with a Commitment of
any Class, the percentage equal to a fraction the numerator of which is the amount of such Lender’s
Commitment of such Class and the denominator of which is the aggregate amount of all Commitments of
such Class of all Lenders (provided that if (i) the Commitments under the Revolving Facility have
terminated or expired, then the Applicable Percentages of the Lenders under the Revolving Facility shall
be determined based upon the Revolving Exposure at such time of the determination pursuant to clause (b)


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below) and (b) with respect to the Loans of any Class, a percentage equal to a fraction the numerator of
which is such Lender’s Outstanding Amount of the Loans of such Class and the denominator of which is
the aggregate Outstanding Amount of all Loans of such Class.

        “Approved Fund” means any Fund that is administered or managed by (a) a Lender, (b) an Affiliate
of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a Lender.

         “Approved Line of Business” means, collectively, (a) those lines of business in which the Borrower
and its Subsidiaries operate on the Closing Date (after giving effect to the Transactions occurring on the
Closing Date) and (b) any business or activity that is the same, similar or otherwise reasonably related,
ancillary, complementary or incidental thereto.

        “Approved Projects” means (i) any projects listed in Schedule 1.1(a) on the Closing Date and (ii)
with respect to any projects arising after the Closing Date, projects approved in writing by the
Administrative Agent in its Permitted Discretion. Without limiting the foregoing, the Administrative Agent
shall not be obligated to approve any project unless the Administrative Agent has reviewed and approved
in form and content, in its Permitted Discretion, fully executed counterparts of the required contracts, as
such requirements are determined by the Administrative Agent, with respect to each such project. Such
contracts may include, but are not limited to, the following: an EPC Contract between the Borrower and a
project owner acceptable to Administrative Agent, a power purchase agreement between the project owner
and a purchaser acceptable to Administrative Agent, and an equity capital contribution agreement between
the project owner and a tax equity investor acceptable to Administrative Agent.

        “Assignment and Assumption” means an assignment and assumption entered into by a Lender and
an Eligible Assignee (with the consent of any party whose consent is required by Section 10.4) and accepted
by the Administrative Agent, in substantially the form of Exhibit A or any other form approved by the
Administrative Agent.

        “Attorney Costs” means when referring to the Attorney Costs of (a) the Administrative Agent, all
reasonable and documented fees and reasonable and documented out-of-pocket expenses, charges,
disbursements and other charges of one law firm (and one local counsel in each relevant jurisdiction and
one special or regulatory counsel for each relevant subject matter to the extent reasonably necessary) and
(b) the Credit Parties other than the Administrative Agent, all reasonable and documented fees and
reasonable and documented out-of-pocket expenses, charges, disbursements and other charges of one law
firm (and one local counsel in each relevant jurisdiction and one special or regulatory counsel for each
relevant subject matter to the extent reasonably necessary) for such Credit Parties and, solely in the case of
an actual or potential conflict of interest, one additional counsel (and one additional local counsel in each
relevant jurisdiction one special or regulatory counsel for each relevant subject matter to the extent
reasonably necessary) for such Credit Parties affected by such conflict of interest.

         “Attributable Indebtedness” means, at any date, (a) in respect of any Capitalized Lease of any
Person, the capitalized amount thereof that would appear on a balance sheet of such Person prepared as of
such date in accordance with GAAP, (b) in respect of any Synthetic Lease Obligation of any Person, the
capitalized or principal amount of the remaining lease payments under the relevant lease that would appear
on a balance sheet of such Person prepared as of such date in accordance with GAAP if such lease or other
agreement were accounted for as a Capitalized Lease, and (c) all Synthetic Debt of such Person.

       “Audited Financial Statements” means (i) the audited balance sheet of (1) Bighorn Construction
and Reclamation L.L.C and (2) Bighorn Investments and Properties, LLC and (ii) the related audited
statements of income, comprehensive income, cash flows and shareholders’ equity of (1) Bighorn




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Construction and Reclamation L.L.C and (2) Bighorn Investments and Properties, LLC for the Fiscal Year
ended December 31, 2020.

       “Availability” means, as of any date of determination, the amount that Borrower is entitled to
borrow under Section 2.1 (after giving effect to the Total Revolving Outstandings).

        “Availability Period” means, with respect to the Revolving Facility, the period from and including
the Closing Date to but excluding the earlier of the Revolving Maturity Date and, if different, the date of
the termination of the Revolving Commitments in accordance with the provisions of this Credit Agreement.

        “Available Increase Amount” means, as of any date of determination after the Closing Date, an
amount equal to the result of (a) $26,000,000 minus (b) the aggregate principal amount of Increases to the
Revolving Commitments made after the Closing Date pursuant to Section 2.10 of the Credit Agreement.
As of the Closing Date, the Available Increase Amount is $26,000,000.

      “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the applicable
EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

        “Bail-In Legislation” means, with respect to any EEA Member Country implementing Article 55
of Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the
implementing law for such EEA Member Country from time to time that is described in the EU Bail-In
Legislation Schedule.

        “BancorpSouth Bank” means BancorpSouth Bank, a Mississippi banking corporation.

         “Bankruptcy Code” means Title 11 of the United State Code or any similar federal or state law for
the relief of debtors.

        “Benchmark” means, initially, USD LIBOR; provided that if a replacement of the Benchmark has
occurred pursuant to Section 3.3, then “Benchmark” means the applicable Benchmark Replacement to the
extent that such Benchmark Replacement has replaced such prior benchmark rate. Any reference to
“Benchmark” shall include, as applicable, the published component used in the calculation thereof.

        “Benchmark Replacement” means, for any Available Tenor:

        (1)    For purposes of Section3.3(b)(ii), the first alternative set forth below that can be determined
by the Administrative Agent:

       the sum of: (i) Term SOFR and (ii) 0.11448% (11.448 basis points) for an Available Tenor of one-
month’s duration, 0.26161% (26.161 basis points) for an Available Tenor of three-months’ duration, and
0.42826% (42.826 basis points) for an Available Tenor of six-months’ duration, or

        the sum of: (i) Daily Simple SOFR and (ii) the spread adjustments elected or recommended by the
Relevant Governmental Body for the replacement of the tenor of USD LIBOR with a SOFR-based rate
having approximately the same length as the interest payment period specified in Section 3.3(b)(ii); and

        (2)    For purposes of Section 3.3(b)(iii), the sum of (a) the alternate benchmark rate and (b) an
adjustment (which may be a positive or negative value or zero), in each case, that has been selected by the
Administrative Agent and the Borrower as the replacement for such Available Tenor of such Benchmark
giving due consideration to any evolving or then-prevailing market convention, including any applicable




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recommendations made by the Relevant Governmental Body, for U.S. dollar-denominated syndicated
credit facilities at such time;

         provided that, if the Benchmark Replacement as determined pursuant to clause (1) or (2) above
would be less than the Floor, the Benchmark Replacement will be deemed to be the Floor for the purposes
of this Credit Agreement and the other Loan Documents.

         “Benchmark Replacement Conforming Changes” means, with respect to any Benchmark
Replacement, any technical, administrative or operational changes (including changes to the definition of
“Base Rate,” the definition of “Business Day,” the definition of “Interest Period,” timing and frequency of
determining rates and making payments of interest, timing of borrowing requests or prepayment, conversion
or continuation notices, the applicability and length of lookback periods, the applicability of breakage
provisions, and other technical, administrative or operational matters) that the Administrative Agent decides
may be appropriate to reflect the adoption and implementation of such Benchmark Replacement and to
permit the administration thereof by the Administrative Agent in a manner substantially consistent with
market practice (or, if the Administrative Agent decides that adoption of any portion of such market practice
is not administratively feasible or if the Administrative Agent determines that no market practice for the
administration of such Benchmark Replacement exists, in such other manner of administration as the
Administrative Agent decides is reasonably necessary in connection with the administration of this Credit
Agreement and the other Loan Documents).

        “Benchmark Transition Event” means, with respect to any then-current Benchmark other than USD
LIBOR, the occurrence of a public statement or publication of information by or on behalf of the
administrator of the then-current Benchmark, the regulatory supervisor for the administrator of such
Benchmark, the Board of Governors of the Federal Reserve System, the Federal Reserve Bank of New
York, an insolvency official with jurisdiction over the administrator for such Benchmark, a resolution
authority with jurisdiction over the administrator for such Benchmark or a court or an entity with similar
insolvency or resolution authority over the administrator for such Benchmark, announcing or stating that
(a) such administrator has ceased or will cease on a specified date to provide all Available Tenors of such
Benchmark, permanently or indefinitely, provided that, at the time of such statement or publication, there
is no successor administrator that will continue to provide any Available Tenor of such Benchmark or (b)
all Available Tenors of such Benchmark are or will no longer be representative of the underlying market
and economic reality that such Benchmark is intended to measure and that representativeness will not be
restored.

        “Beneficial Ownership Certification” means, with respect to the Borrower, a certification regarding
beneficial ownership as required by the Beneficial Ownership Regulation, which certification shall be
substantially similar in form and substance to the form of Certification Regarding Beneficial Owners of
Legal Entity Customers published jointly, in May 2018, by the Loan Syndications and Trading Association
and Securities Industry and Financial Markets Association or such other form satisfactory to the
Administrative Agent.

        “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

         “Benefit Plan” means any of (a) an “employee benefit plan” (as defined in ERISA) that is subject
to Title I of ERISA, (b) a “plan” as defined in Section 4975 of the Code or (c) any Person whose assets
include (for purposes of ERISA Section 3(42) or otherwise for purposes of Title I of ERISA or Section
4975 of the Code) the assets of any such “employee benefit plan” or “plan”.

        “BHC Act Affiliate” of a party means an “affiliate” (as such term is defined under, and interpreted
in accordance with, 12 U.S.C. § 1841(k)) of such party.


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        “Board” means the Board of Governors of the Federal Reserve System of the United States.

        “Bonded Receivable” means an Account Receivable that is bonded or insured by a surety company.

        “Borrower” has the meaning assigned to such term in the Preamble.

         “Borrowing” means Loans of the same Type made, converted or continued on the same date and,
in the case of LIBOR Loans, as to which a single Interest Period is in effect.

         “Borrowing Base” means, at any time, the sum of, without duplication, (a) 85% of Eligible
Accounts at such time, plus (b) 50% of Eligible Inventory valued at book value, provided that the amount
included pursuant to clause (b) of this definition shall not exceed an amount equal to the lesser of (i) 100%
of the total amount included pursuant to clause (a) or (ii) 50% of the aggregate Revolving Commitments.
The Administrative Agent may, in its Permitted Discretion, upon three (3) Business Days’ prior written
notice to Borrower reduce the advance rate, impose or adjust Reserves or reduce one or more of the other
elements used in computing the Borrowing Base. Reductions in the advance rate shall not made without
the written consent of Borrower unless the Administrative Agent has made such reduction based on the
results of a field examination.

        “Borrowing Base Certificate” means a certificate, signed and certified as true, accurate and
complete in all material respects by a Financial Officer of the Borrower Representative or other Authorized
Officer of the Borrower Representative acceptable to the Lender, in substantially the form of Exhibit E or
another form that is acceptable to the Lender in its sole discretion.

        “Borrowing Minimum” means in the case of a Revolving Borrowing, $100,000.

        “Borrowing Multiple” means in the case of a Revolving Borrowing, $50,000.

        “Business Day” means any day other than a Saturday, Sunday or day on which banks in Houston,
Texas are authorized or required by law to close; provided, however, that when used in connection with a
LIBOR Loan, the term “Business Day” shall also exclude any day on which banks are not open for dealings
in Dollar deposits in the London interbank market.

        “Capital Expenditures” means, for any period, with respect to any Person, the aggregate of all
expenditures (whether paid in cash or other consideration or accrued as a liability) by such Person and its
subsidiaries for the acquisition or leasing (pursuant to a Capitalized Lease) of fixed or capital assets or
additions to equipment (including replacements, capitalized repairs and improvements during such period)
that should be capitalized under GAAP on a consolidated balance sheet of such Person and its Subsidiaries.

        “Capitalized Lease Obligations” means, at the time any determination thereof is to be made, the
amount of the liabilities in respect of Capitalized Leases that would at such time be required to be capitalized
and reflected as a liability on a balance sheet (excluding the footnotes thereto) prepared in accordance with
GAAP.

        “Capitalized Leases” means all leases that are required to be, in accordance with GAAP, recorded
as capitalized leases; provided that for all purposes hereunder the amount of obligations under any
Capitalized Lease shall be the amount thereof accounted for as a liability in accordance with GAAP.

        “Cash Equivalents” means each of the following to the extent, except with respect to items
described in clause (f) below, denominated in Dollars:




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                  (a)      debt obligations maturing within one year from the date of acquisition thereof to
the extent the principal thereof and interest thereon is backed by the full faith and credit of the United States;

                 (b)     commercial paper maturing within 270 days from the date of acquisition thereof
and having, at such date of acquisition, the highest credit rating obtainable from S&P or Moody’s;

                 (c)     certificates of deposit, banker’s acceptances and time deposits maturing within 270
days from the date of acquisition thereof issued or guaranteed by or placed with, and money market deposit
accounts issued or offered by, any domestic office of any commercial bank organized under the laws of the
United States or any state, commonwealth or other political subdivision thereof that has a combined capital
and surplus and undivided profits of not less than $500,000,000 or, to the extent not otherwise included,
any Lender, and which is rated at least A-2 by S&P and P-2 by Moody’s in the note or commercial paper
rating category;

                 (d)     repurchase agreements with a term of not more than 30 days for securities
described in clause (a) of this definition and entered into with a financial institution satisfying the criteria
described in clause (c) of this definition;

                (e)     money market mutual funds, substantially all of the investments of which are in
cash or investments contemplated by clauses (a), (b) and (c) of this definition; and

                 (f)      with respect to any Foreign Subsidiary, (i) obligations of the national government
of the country in which such Foreign Subsidiary maintains its chief executive office and principal place of
business, provided that such country is a member of the Organization for Economic Cooperation and
Development, in each case maturing within one year after the date of investment therein, (ii) certificates of
deposit of, bankers acceptances of, or time deposits with, any commercial bank which is organized and
existing under the laws of the country in which such Foreign Subsidiary maintains its chief executive office
and principal place of business, provided such country is a member of the Organization for Economic
Cooperation and Development, and whose short term commercial paper rating from S&P is at least “A-1”
or the equivalent thereof or from Moody’s is at least “P-1” or the equivalent thereof (any such bank being
an “Approved Foreign Bank”), and in each case with maturities of not more than 270 days from the date of
acquisition and (iii) the equivalent of demand deposit accounts which are maintained with an Approved
Foreign Bank.

        “Cash Management Obligations” means all obligations of the Loan Parties in respect of any Cash
Management Services provided to any Loan Party (whether absolute or contingent and howsoever and
whenever created, arising, evidenced or acquired (including all renewals, extensions and modifications
thereof and substitutions therefor)) that are (a) owed to the Administrative Agent or any of its Affiliates,
(b) owed on the Closing Date to a Person that is a Lender or an Affiliate of a Lender as of the Closing Date
or (c) owed to a Person that is a Lender or an Affiliate of a Lender at the time such obligations are incurred
or becomes a Lender or an Affiliate of a Lender after it has incurred such obligations, provided that any
such provider of Cash Management Services (other than the Administrative Agent or its Affiliates) executes
and delivers a Secured Obligation Designation Notice to the Administrative Agent.

        “Cash Management Services” means, collectively, (a) commercial debit or credit cards, merchant
card processing and other services, purchase or debit cards, including non-card e-payables services, (b)
treasury management services (including cash pooling arrangements, controlled disbursement, netting,
overdraft, lockbox and electronic or automatic clearing house fund transfer services, return items, sweep
and interstate depository network services, foreign check clearing services), and (c) any other demand
deposit or operating account relationships or other cash management services.




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         “Casualty Event” means any event that gives rise to the receipt by any Loan Party or any of its
Subsidiaries of any insurance proceeds or condemnation awards arising from any damage to, destruction
of, or other casualty or loss involving, or any seizure, condemnation, confiscation or taking under power of
eminent domain of, or requisition of title or use of or relating to or in respect of any equipment, fixed assets
or Real Property (including any improvements thereon) of such Loan Party or any of its Subsidiaries.

        “CEA Swap Obligation” means, with respect to any Guarantor, any obligation to pay or perform
under any agreement, contract or transaction that constitutes a “swap” within the meaning of Section 1a(47)
of the Commodity Exchange Act.

        “Change in Law” means the occurrence, after the Agreement Date, of any of the following: (a) the
adoption or taking effect of any law, rule, regulation or treaty, (b) any change in any law, rule, regulation
or treaty or in the administration, interpretation, implementation or application thereof by any
Governmental Authority or (c) the making or issuance of any request, rule, guideline or directive (whether
or not having the force of law) by any Governmental Authority or the compliance therewith by any Credit
Party (or, for purposes of Section 3.4(b), by any Applicable Lending Office of such Credit Party or such
Credit Party’s holding company, if any); provided that notwithstanding anything herein to the contrary, (i)
the Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests, rules, guidelines and
directives thereunder or issued in connection therewith and (ii) all requests, rules, guidelines and directives
promulgated by the Bank for International Settlements, the Basel Committee on Banking Supervision (or
any successor or similar authority) or the United States or foreign regulatory authorities, in each case
pursuant to Basel III, shall in each case be deemed to be a “Change in Law”, regardless of the date enacted,
adopted or issued.

        “Change of Control” means an event or series of events by which:

                (a)      any Person or group (within the meaning of Rule 13d-5 of the Securities Exchange
Act of 1934 as in effect on the Agreement Date) shall own directly or indirectly, beneficially or of record,
shares representing more than 20% of the aggregate ordinary voting power or economic interests
represented by the issued and outstanding Equity Interests of the Borrower on a fully diluted basis;

                (b)      the Borrower shall fail to own, directly or indirectly, free and clear of all Liens or
other encumbrances (other than Liens created pursuant to any Loan Document), 100% of the aggregate
ordinary voting power and economic interests represented by the issued and outstanding Equity Interests
of each of its Subsidiaries (or such lesser percentage as may be owned, directly or indirectly, as of the
Closing Date or the later acquisition thereof) except where such failure is as a result of a transaction
permitted by the Loan Documents; or

               (c)    the occurrence of a change in control, or other similar event, under or with respect
to any agreement governing Material Indebtedness or the Equity Interests of the Borrower or any of its
Subsidiaries.

Notwithstanding the foregoing, a Permitted Reorganization shall not be deemed to be a Change of Control.

       “Closing Date” means the date on which the conditions specified in Section 4.1 are satisfied (or
waived in accordance with Section 10.2).

        “Code” means the Internal Revenue Code of 1986, as amended.

        “Collateral” means all the “Collateral” as defined in the Collateral Documents and all other
property of whatever kind and nature pledged or charged, or purported to be pledged or charged, as



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collateral under any Collateral Document, and shall include the Mortgaged Properties; provided that the
term Collateral shall exclude any Voting Equity Interests in any Controlled Foreign Corporation or Foreign
Subsidiary Holdco, in each case in excess of 65% of the total combined voting power of such Controlled
Foreign Corporation or such Foreign Subsidiary Holdco, if a pledge of a greater percentage would result in
material adverse tax consequences to the Borrower and its Subsidiaries (as reasonably determined by the
Borrower in consultation with the Administrative Agent). For the avoidance of doubt, the assets of
Excluded Subsidiaries shall not constitute “Collateral”.

        “Collateral Access Agreement” has the meaning assigned to such term in the Security Agreement.

        “Collateral and Guarantee Requirement” means, at any time, the requirement that:

                 (a)     the Administrative Agent shall have received each Collateral Document required
to be delivered on the Closing Date pursuant to Section 4.1, or, following the Closing Date, pursuant to
pursuant to Section 6.14 (to the extent not delivered on the Closing Date) or Section 6.12, duly executed by
each Loan Party that is a party thereto;

                 (b)     all Secured Obligations shall have been unconditionally guaranteed jointly and
severally on a senior basis by the Guarantors;

                 (c)      except to the extent otherwise provided hereunder or under any Collateral
Document, the Secured Obligations shall have been secured by a perfected first priority (subject to Liens
expressly permitted pursuant to Section 7.2) security interest in, and Mortgages on, substantially all tangible
and intangible assets of each Loan Party (including (i) accounts receivable, (ii) deposit accounts,
commodity accounts and security accounts, (iii) inventory, (iv) machinery and equipment, (v) investment
property, (vi) cash, (vii) Intellectual Property, (viii) other general intangibles, (ix) Material Owned Real
Property, (x) Pledged Debt, Pledged Debt Securities and Pledged Equity Interests (as such terms are defined
in the Security Agreement), (xi) motor vehicles (provided that no action shall be required to be taken to
perfect the security interest therein other than the filing of a UCC financing statement) and (xii) letter of
credit rights (provided that no action shall be required to be taken to perfect the security interest therein
other than the filing of a UCC financing statement), (xiii) commercial tort claims (to the extent required
under the Security Agreement), and (xiv) the proceeds of the foregoing), it being understood that in the
case of the pledge of Equity Interests, the Administrative Agent shall have received all stock certificates or
other instruments (if any) representing such Equity Interests, together with stock powers or other
instruments of transfer with respect thereto endorsed in blank; provided that the pledge of any shares in
respect of any Subsidiaries that are not Wholly-Owned Subsidiaries shall be limited to the shares actually
owned by the applicable pledgor;

                 (d)     [Reserved];

               (e)      none of the Collateral shall be subject to any Lien other than Liens expressly
permitted by Section 7.2;

                 (f)     [Reserved]; and

                 (g)     the Mortgage Requirement shall have been satisfied.

The foregoing definition shall not require the creation or perfection of pledges of or security interests in
particular assets if and for so long as the Administrative Agent agrees in writing that the cost of creating or
perfecting such pledges or security interests in such assets shall be excessive in view of the benefits to be
obtained by the Lenders therefrom.



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The Administrative Agent may grant extensions of time for the perfection of security interests in and the
other requirements pursuant to this definition with respect to particular assets (including extensions beyond
the Closing Date for the perfection of security interests in the assets of the Loan Parties on such date) where
it reasonably determines (and without the consent of any other Secured Party), that, except as may be
required by law, perfection or other requirements cannot be accomplished without undue effort or expense
by the time or times at which it would otherwise be required by this Credit Agreement or the Collateral
Documents.

Notwithstanding the foregoing provisions of this definition or anything in this Credit Agreement or any
other Loan Document to the contrary, (i) Liens required to be granted from time to time pursuant to the
Collateral and Guarantee Requirement shall be subject to exceptions and limitations set forth herein and in
the Collateral Documents and, to the extent appropriate in the applicable jurisdiction, as agreed between
the Administrative Agent and the Borrower, (ii) in no event shall the Collateral include any Excluded Assets
(as such term is defined in the Security Agreement), and (iii) notwithstanding anything to the contrary
included in this definition, delivery of only the Collateral Documents required to be delivered by Section 4.1
shall be a condition precedent to the Credit Extensions on the Closing Date.

        “Collateral Documents” means, collectively, the Security Agreement, each account control
agreement, each Collateral Access Agreement, each Mortgage, each Intellectual Property Security
Agreement, the Pledge Agreement, each agreement creating or perfecting rights in Cash Collateral and each
other security agreement, instrument or other document executed or delivered pursuant to the Collateral
and Guarantee Requirement, Section 6.12, Section 6.14 or the Security Agreement to secure any of the
Secured Obligations.

        “Commitment” means with respect to each Lender, such Lender’s Revolving Commitment.

        “Commitment Fee” has the meaning assigned to such term in Section 3.2(a).

        “Committed Loan Notice” means a notice of a Borrowing, a conversion of Loans from one Type
to the other, or a continuation of LIBOR Loans pursuant to Section 2.2(a), which, if in writing, shall be
substantially in the form of Exhibit B.

        “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.) and any
successor statute.

        “Communications” means, collectively, any notice, demand, communication, information,
document or other material provided by or on behalf of any Loan Party pursuant to any Loan Document or
the transactions contemplated therein which is distributed to the Administrative Agent or any Lender by
means of electronic communications pursuant to Section 10.1, including through the Platform.

        “Compliance Certificate” means a certificate, substantially in the form of Exhibit D.

        “Connection Income Taxes” means Other Connection Taxes that are imposed on or measured by
net income (however denominated) or that are franchise Taxes or branch profits Taxes.

        “Consolidated Current Assets” means, with respect to the Borrower and its Subsidiaries on a
consolidated basis at any date of determination, all assets (other than cash and Cash Equivalents) that would,
in accordance with GAAP, be classified on a consolidated balance sheet of the Borrower and its Subsidiaries
as current assets (or any like caption) at such date.




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         “Consolidated Current Liabilities” means, with respect to the Borrower and its Subsidiaries on a
consolidated basis at any date of determination, all liabilities that would, in accordance with GAAP, be
classified on a consolidated balance sheet of the Borrower and its Subsidiaries as current liabilities (or any
like caption) at such date, other than current liabilities in respect of any Indebtedness.

         “Consolidated Depreciation and Amortization Expense” means, with respect to any Person for any
period, the total amount of depreciation and amortization expense, including the amortization of deferred
financing fees or costs, capitalized expenditures, customer acquisition costs and incentive payments,
conversion costs and contract acquisition costs, the amortization of original issue discount and amortization
of favorable or unfavorable lease assets or liabilities, of such Person and its Subsidiaries for such period on
a consolidated basis and otherwise determined in accordance with GAAP.

         “Consolidated EBITDA” means, with respect to any Person for any fiscal period, an amount equal
to the sum of (without duplication):

                  (a)    Consolidated Net Income of such Person and its Subsidiaries during such period;
and

                  (b)    to the extent Consolidated Net Income has been reduced thereby:

                       (i)   all income taxes of such Person and its subsidiaries paid or accrued in
        accordance with GAAP for such period;

                         (ii)     Consolidated Interest Expense of such Person and its Subsidiaries for such
        period;

                        (iii)   the amount of non-cash charges, including depletion, and Consolidated
        Depreciation and Amortization Expense of such Person and its Subsidiaries for such period, in each
        case unless non-cash during such period but the subject of a cash payment in a future period;

                        (iv)    reasonable Transaction Expenses and other costs, fees and charges
        incurred by the Loan Parties on or prior to the Closing Date in connection with this Agreement and
        the other Loan Documents in an amount not to exceed $250,000 in the aggregate;

                         (v)      all expenses and charges indemnified by third parties and for which notice
        of a claim has been given and with respect to which liability is not being contested or reimbursed
        in cash by third parties or satisfied with the proceeds of business interruption insurance;

                        (vi)     adjustments to Consolidated Net Income arising from the Borrower’s
        establishment of percentage of completion accounting in accordance with GAAP to the extent such
        adjustments are verified by a third party accountant acceptable to Lender.

                 (c)     less, to the extent included in calculating Consolidated Net Income, all non-
recurring or extraordinary income or gains during such period (including, without limitation, as a result of
the acquisition of Indebtedness at a discount);

all as determined on a consolidated basis for such Person and its consolidated Subsidiaries in accordance
with GAAP.

         “Consolidated Interest Expense” means, with respect to any Person and its Subsidiaries for any
period, the sum of (a) consolidated total interest expense of such Person and its Subsidiaries for such period,



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whether paid or accrued and whether or not capitalized (including (without duplication), amortization of
debt issuance costs and original issue discount, premiums paid to obtain payment, financial assurance or
similar bonds, interest capitalized during construction, non-cash interest payments, the interest component
of any deferred payment obligations, the interest component of all payments under Capitalized Leases and
the implied interest component of Synthetic Lease Obligations (regardless of whether accounted for as
interest expense under GAAP), all commissions, discounts and other fees and charges owed with respect
to letters of credit and bankers’ acceptances and net costs in respect of any obligations under any Swap
Agreements constituting interest rate swaps, collars, caps or other arrangements requiring payments
contingent upon interest rates of such Person and its Subsidiaries), plus (b) all cash dividends paid or
payable on preferred stock during such period other than to such Person or a Loan Party, plus or minus, as
applicable, to the extent they would otherwise be included in interest expense under GAAP, unrealized
gains and losses arising from derivative financial instruments issued by such Person for the benefit of such
Person or its Subsidiaries, in each case determined on a consolidated basis for such period.

         “Consolidated Net Income” means, for any Person (the “first Person”) for any period, the sum of
net income (or loss) for such period of such first Person and its subsidiaries determined on a consolidated
basis in accordance with GAAP, excluding, without duplication, to the extent included in determining such
net income (or loss) for such period: (a) any income (or loss) of any other Person (the “second Person”) if
such second Person is not a subsidiary of such first Person, except that such first Person’s equity in the net
income of any second Person for such period shall be included in the determination of Consolidated Net
Income up to the aggregate amount of cash actually distributed by such second Person during such period
to such first Person or any of its subsidiaries as a dividend or other distribution, (b) the income (or loss) of
any second Person accrued prior to the date it became a subsidiary of such first Person or is merged into or
consolidated with such first person or any of its subsidiaries or such second Person’s assets are acquired by
such first person or any of its subsidiaries, (c) non-recurring gains (or losses), and (d) the income of any
subsidiary of such first Person to the extent that the declaration or payment of dividends or similar
distributions by such subsidiary of that income is prohibited by operation of the terms of its charter or any
agreement, instrument, judgment, decree, statute, rule or governmental regulation applicable to such
subsidiary.

         “Consolidated Total Assets” means, as of any date of determination, the total assets of the Borrower
and its Subsidiaries determined on a consolidated basis in accordance with GAAP.

        “Consolidated Working Capital” means, with respect to the Borrower and its Subsidiaries on a
consolidated basis at any date of determination, Consolidated Current Assets at such date minus
Consolidated Current Liabilities at such date.

        “Contested in Good Faith” means, with respect to any matter, that such matter is being contested
in good faith by appropriate proceedings diligently conducted and for which adequate reserves have been
provided in accordance with GAAP.

        “Contractual Obligation” means, as to any Person, any provision of any security issued by such
Person or of any agreement, instrument or other undertaking to which such Person is a party or by which it
or any of its property is bound.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the direction
of the management or policies of a Person, whether through the ability to exercise voting power, by contract
or otherwise. “Controlling” and “Controlled” have meanings analogous thereto. Without limiting the
generality of the foregoing, a Person shall be deemed to be Controlled by another Person if such other
Person possesses, directly or indirectly, power to vote ten percent (10%) or more of the securities having
ordinary voting power for the election of directors, managing general partners or any equivalent thereof.


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         “Controlled Account” means, as the context may require, a commodities account, deposit account
and/or securities account that is maintained with BancorpSouth Bank or is subject to a Control Agreement
(as defined in the Security Agreement) in form and substance satisfactory to the Administrative Agent.

        “Controlled Foreign Corporation” means a controlled foreign corporation within the meaning of
Section 957(a) of the Code.

         “Covered Entity” means any of the following: (a) a “covered entity” as that term is defined in, and
interpreted in accordance with, 12 C.F.R. § 252.82(b); (b) a “covered bank” as that term is defined in, and
interpreted in accordance with, 12 C.F.R. § 47.3(b); or a “covered FSI” as that term is defined in, and
interpreted in accordance with, 12 C.F.R. § 382.2(b).

        “Credit Agreement” means this Credit Agreement.

        “Credit Extension” means the making of a Loan.

        “Credit Facility” means the Revolving Facility.

       “Credit Parties” means collectively the Administrative Agent and the Lenders, and “Credit Party”
means any one of the foregoing individually.

        “Cure Amount” has the meaning set forth in Section 8.4.

        “Cure Right” has the meaning set forth in Section 8.4.

         “Daily Simple SOFR” means, for any day, SOFR, with the conventions for this rate (which will
include a lookback) being established by the Administrative Agent in accordance with the conventions for
this rate recommended by the Relevant Governmental Body for determining “Daily Simple SOFR” for
syndicated business loans; provided, that if the Administrative Agent decides that any such convention is
not administratively feasible for the Administrative Agent, then the Administrative Agent may establish
another convention in its reasonable discretion.

        “Debt Incurrence” means the incurrence of any Indebtedness by any Loan Party or any of its
Subsidiaries (excluding any Indebtedness permitted by Section 7.1).

         “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation, conservatorship,
bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement, receivership, insolvency,
reorganization, or similar debtor relief laws of the United States or other applicable jurisdictions from time
to time in effect.

         “Default” means any event or condition which constitutes an Event of Default or that upon notice,
lapse of time or both would, unless cured or waived, become an Event of Default.

        “Default Rate” means (a) when used with respect to the outstanding principal balance of any Loan,
the sum of (i) the rate of interest otherwise applicable thereto plus (ii) 2.00% per annum, and (b) when used
with respect to any amount payable under the Loan Documents which shall not have been paid when due,
the sum of (i) the rate of interest otherwise applicable to the outstanding principal of any Loan plus (ii) the
Applicable Margin applicable to Borrowings plus (iii) 2.00% per annum.

        “Default Right” has the meaning assigned to that term in, and shall be interpreted in accordance
with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.



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         “Defaulting Lender” means, subject to Section 2.9(b), any Lender that (a) has failed to (i) fund all
or any portion of its Loans within two Business Days of the date such Loans were required to be funded
hereunder unless such Lender notifies the Administrative Agent and the Borrower in writing that such
failure is the result of such Lender’s determination that one or more conditions precedent to funding (each
of which conditions precedent, together with any applicable default, shall be specifically identified in such
writing) has not been satisfied, or (ii) pay to the Administrative Agent or any other Lender any other amount
required to be paid by it hereunder within two Business Days of the date when due, (b) has notified the
Borrower, the Administrative Agent in writing that it does not intend to comply with its funding obligations
hereunder, or has made a public statement to that effect (unless such writing or public statement relates to
such Lender’s obligation to fund a Loan hereunder and states that such position is based on such Lender’s
determination that a condition precedent to funding (which condition precedent, together with any
applicable default, shall be specifically identified in such writing or public statement) cannot be satisfied),
(c) has failed, within three Business Days after written request by the Administrative Agent or the Borrower,
to confirm in writing to the Administrative Agent and the Borrower that it will comply with its prospective
funding obligations hereunder, provided that such Lender shall cease to be a Defaulting Lender pursuant to
this clause (c) upon receipt of such written confirmation by the Administrative Agent and the Borrower, or
(d) has, or has a direct or indirect holding company that has, (i) become the subject of a proceeding under
any Debtor Relief Law, or (ii) had appointed for it a receiver, custodian, conservator, trustee, administrator,
assignee for the benefit of creditors or similar Person charged with reorganization or liquidation of its
business or assets, including the Federal Deposit Insurance Corporation or any other state or federal
regulatory authority acting in such a capacity or (iii) become the subject of a Bail-In Action; provided that
a Lender shall not be a Defaulting Lender solely by virtue of the ownership or acquisition of any equity
interest in that Lender or any direct or indirect holding company thereof by a Governmental Authority so
long as such ownership interest does not result in or provide such Lender with immunity from the
jurisdiction of courts within the United States or from the enforcement of judgments or writs of attachment
on its assets or permit such Lender (or such Governmental Authority) to reject, repudiate, disavow or
disaffirm any contracts or agreements made with such Lender. Any determination by the Administrative
Agent that a Lender is a Defaulting Lender under any one or more of clauses (a) through (d) above shall be
conclusive and binding absent manifest error, and such Lender shall be deemed to be a Defaulting Lender
(subject to Section 2.9(b)) upon delivery of written notice of such determination to the Borrower and each
Lender.

        “Deposit Account” has the meaning assigned to such term in the Security Agreement.

         “Disposition” means, with respect to any Person, the sale, transfer, license, lease or other
disposition (including any Sale and Leaseback and any sale or issuance of Equity Interests including by
way of a merger) by such Person to any other Person, with or without recourse, of (a) any notes or accounts
receivable or any rights and claims associated therewith, (b) any Equity Interests of any Subsidiary (other
than directors’ qualifying shares), or (c) any other assets, provided, however, that none of the following
shall constitute a Disposition: (i) any sale, transfer, license, lease or other disposition by a Loan Party to
another Loan Party on terms which are no less favorable than are obtainable from any Person which is not
one of its Affiliates, (ii) the collection of accounts receivable and other obligations in the ordinary course
of business, (iii) sales of inventory in the ordinary course of business, and (iv) dispositions of substantially
worn out, damaged, uneconomical, surplus or obsolete equipment, and other equipment that is no longer
useful in the business of the Borrower or its Subsidiaries (which shall not include, for the avoidance of
doubt, dispositions of non-core assets referred to in Section 7.5(h)). Each of the terms “Dispose” and
“Disposed” when used as a verb shall have an analogous meaning.

        “Disqualified Equity Interest” means, with respect to any Person, any Equity Interest of such Person
which, by its terms, or by the terms of any security or other Equity Interests into which it is convertible or
for which it is exchangeable, or upon the happening of any event or condition, (a) matures or is mandatorily


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redeemable (other than solely for Qualified Equity Interests and cash in lieu of fractional shares of such
Equity Interests) pursuant to a sinking fund obligation or otherwise (except as a result of a change in control
or asset sale so long as any rights of the holders thereof upon the occurrence of a change in control or asset
sale event shall be subject to the prior occurrence of the Termination Date), (b) is redeemable at the option
of the holder thereof (other than solely for Qualified Equity Interests), in whole or in part, (c) provides for
the scheduled payments of dividends in cash (other than customary tax distributions), or (d) is or becomes
convertible into or exchangeable for Indebtedness or any other Equity Interests that would constitute
Disqualified Equity Interests, in each case, prior to the date that is 91 days after the latest Maturity Date at
the later of the date hereof and the time such Equity Interests are issued.

        “Dollars” or “$” refers to lawful money of the United States.

         “Domestic Subsidiary” means a Subsidiary incorporated or organized under the laws of the United
States, or any state, commonwealth or other political subdivision thereof (including, for the avoidance of
doubt, the District of Columbia).

         “Early Opt-in Effective Date” means, with respect to any Early Opt-in Election, the sixth (6th)
Business Day after the date notice of such Early Opt-in Election is provided to the Lenders, so long as the
Administrative Agent has not received, by 5:00 p.m. (New York City time) on the fifth (5th) Business Day
after the date notice of such Early Opt-in Election is provided to the Lenders, written notice of objection to
such Early Opt-in Election from Lenders comprising the Required Lenders.

        “Early Opt-in Election” means the occurrence of:

         (1) a notification by the Administrative Agent to (or the request by the Borrower to the
Administrative Agent to notify) each of the other parties hereto that at least five currently outstanding U.S.
dollar-denominated syndicated credit facilities at such time contain (as a result of amendment or as
originally executed) a SOFR-based rate (including SOFR, a term SOFR or any other rate based upon SOFR)
as a benchmark rate (and such syndicated credit facilities are identified in such notice and are publicly
available for review), and

      (2) the joint election by the Administrative Agent and the Borrower to trigger a fallback from USD
LIBOR and the provision by the Administrative Agent of written notice of such election to the Lenders.

         “EEA Financial Institution” means (a) any credit institution or investment firm established in any
EEA Member Country that is subject to the supervision of an EEA Resolution Authority, (b) any entity
established in an EEA Member Country that is a parent of an institution described in clause (a) of this
definition, or (c) any financial institution established in an EEA Member Country that is a subsidiary of an
institution described in clauses (a) or (b) of this definition and is subject to consolidated supervision with
its parent.

        “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.

        “EEA Resolution Authority” means any public administrative authority or any person entrusted
with public administrative authority of any EEA Member Country (including any delegee) having
responsibility for the resolution of any EEA Financial Institution.

       “Eligible Accounts” means, at any time, the Accounts Receivable of any Loan Party other than any
Accounts Receivable:




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               (a)    that is subject to any Lien other than a first priority perfected Lien in favor of the
Administrative Agent;

                 (b)     (i) that has payment terms more than 120 days after invoice date, (ii) that remains
unpaid for more than 60 days past its original due date or 120 days after its invoice date, or (iii) that has
been written off the books of the Borrower or otherwise designated as uncollectible;

                  (c)   that is owing by an Account Debtor for which more than 25% of the Accounts
Receivable owing from such Account Debtor and its Affiliates are ineligible hereunder pursuant to clause
(b) of this definition;

              (d)      that is owing by an Account Debtor to the extent the aggregate amount of Accounts
Receivable owing from such Account Debtor and its Affiliates to the Borrower exceeds 25% of the
aggregate amount of Eligible Accounts but only, in each case, to the extent of such excess, unless such
Accounts Receivable is subject to Approved Credit Insurance;

                  (e)     that (i) is not evidenced by an invoice issued on a form used in the relevant Loan
Party’s ordinary course of business or such other documentation as may be satisfactory to the
Administrative Agent in its Permitted Discretion, and in each case that has been sent to the Account Debtor,
(ii) represents a sale on a bill-and-hold, guaranteed sale, sale-and-return, sale on approval, consignment,
cash-on-delivery or any other repurchase or return basis, (iii) is contingent upon the Borrower’s completion
of any further performance (provided upon completion of such work, the relevant Account Receivable may
become an Eligible Account so long as it is not excluded as an Eligible Account due to a different reason),
(iv) relates to payments of interest, or (v) is an Ineligible Bonded Receivable;

                (f)    for which the Inventory giving rise to such Accounts Receivable has not been
shipped to the Account Debtor or for which the services giving rise to such Accounts Receivable have not
been performed by Borrower or if such Accounts Receivable was invoiced more than once;

                  (g)     that is owed by an Account Debtor that has (i) applied for, suffered, or consented
to the appointment of any receiver, custodian, trustee, or liquidator of its assets, (ii) had possession of all
or a material part of its property taken by any receiver, custodian, trustee or liquidator, (iii) filed, or had
filed against it, any request or petition for liquidation, reorganization, arrangement, adjustment of debts,
adjudication as bankrupt, winding-up, or voluntary or involuntary case under any state or federal
bankruptcy laws (other than post-petition accounts payable of an Account Debtor that is a debtor-in-
possession under the Bankruptcy Code and reasonably acceptable to the Administrative Agent), (iv)
admitted in writing its inability, or is generally unable to, pay its debts as they become due, (v) become
insolvent, or (vi) ceased operation of its business;

                (h)      that is owed by an Account Debtor that is not organized under applicable law of
the U.S. or any State thereof;

                 (i)     that is owed in any currency other than U.S. dollars;

                 (j)     that is owed by an Account Debtor that is a Governmental Authority;

                 (k)      that is owed by any Affiliate of any Loan Party or any employee, officer, director,
agent or stockholder of any Loan Party or any of its Affiliates (unless approved in writing by Administrative
Agent in its sole discretion);




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               (l)      that is owed by an Account Debtor or any Affiliate of such Account Debtor to
which any Credit Party is indebted, but only to the extent of such indebtedness

                 (m)     that is subject to any security, deposit, progress payment not yet payable, retainage
not yet payable, or other similar advance made by or for the benefit of an Account Debtor, in each case to
the extent thereof (unless approved in writing by Administrative Agent in its sole discretion);

                 (n)      that is subject to any pending counterclaim, deduction, defense, setoff or dispute
but only to the extent of any such pending counterclaim, deduction, defense, setoff or dispute;

               (o)     that is evidenced by any promissory note, chattel paper or instrument unless such
promissory note, chattel paper or instrument has been pledged to, and is in the possession of, the
Administrative Agent;

                 (p)     that is for Inventory that has been sold under a purchase order or pursuant to the
terms of a contract or other agreement or understanding (written or oral) that indicates or purports that any
Person other than a Loan Party has an ownership interest in such Inventory or which indicates any party
other than a Loan Party as payee or remittance party;

                 (q)      which is owed by an Account Debtor located in any jurisdiction which requires
filing of a “Notice of Business Activities Report” or other similar report in order to permit the Borrower to
seek judicial enforcement in such jurisdiction of payment of such Account Receivable, unless Borrower
has filed such report or qualified to do business in such jurisdiction; or

                (r)      that does not arise from an Approved Project;

         In the event that an Accounts Receivable that was previously an Eligible Account ceases to be an
Eligible Account hereunder, the Borrower shall notify the Administrative Agent thereof on and at the time
of submission to the Administrative Agent of the next Borrowing Base Certificate. In determining the
amount of an Eligible Account, the face amount of an Accounts Receivable may, in the Administrative
Agent’s Permitted Discretion and with prior notice to Borrowers, be reduced by, without duplication, to the
extent not reflected in such face amount, (i) the amount of all accrued and actual discounts, claims, credits
or credits pending, promotional program allowances, price adjustments, Borrowers’ finance charges or
other allowances (including any amount that the Borrowers may be obligated to rebate to an Account Debtor
pursuant to the terms of any agreement or understanding (written or oral)) and (ii) the aggregate amount of
all cash received in respect of such Accounts Receivable but not yet applied by the Borrowers to reduce the
amount of such Accounts Receivable.

        “Eligible Assignee” means any Person that meets the requirements to be an assignee under
Section 10.4(b)(iii), (v) and (vi) (subject to such consents, if any, as may be required under
Section 10.4(b)(iii)).

        “Eligible Inventory” means, at any time, the Inventory of any Loan Party other than any Inventory:

               (a)    that is subject to any Lien other than a first priority perfected Lien in favor of the
Administrative Agent;

                (b)      for which reclamation rights have been asserted in writing by the seller;




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                 (c)      that is, in Administrative Agent’s Permitted Discretion, obsolete, unmerchantable,
defective, used, unfit for sale, not salable at prices approximating at least the cost of such Inventory in the
ordinary course of business or unacceptable due to age, type, category and/or quantity;

                  (d)     with respect to which any covenant, representation or warranty contained in this
Agreement or in the Security Agreement has been breached or is not true and which does not conform to
all applicable standards imposed by any Governmental Authority;

                 (e)     that is not for an Approved Project;

                 (f)     in which any Person other than the Borrower shall (i) have any direct or indirect
ownership, interest or title to such Inventory or (ii) be indicated on any purchase order or invoice with
respect to such Inventory as having or purporting to have an interest therein;

                 (g)     that constitutes parts, supplies, or work in process;

                (h)      that is not marketable, or that constitutes packaging and shipping material,
manufacturing supplies, samples, prototypes, displays or display items, bill-and-hold or ship-in-place
goods, goods that are returned or marked for return, repossessed goods, defective or damaged goods, goods
held on consignment, or goods which are not of a type held for sale in the ordinary course of business;

                 (i)     that is not located in the U.S. or is in transit with a common carrier from vendors
or suppliers;

                  (j)      that contains or bears any intellectual property rights licensed to any Borrower
unless the Administrative Agent is satisfied in its sole discretion that it may sell or otherwise dispose of
such Inventory without (i) infringing the rights of such licensor, (ii) violating any contract with such
licensor, or (iii) incurring any liability with respect to payment of royalties other than royalties incurred
pursuant to sale of such Inventory under the current licensing agreement; or

                 (k)     that is not reflected in a current inventory report of the Borrower.

         “Environmental Claims” means any and all administrative, regulatory or judicial actions, suits,
demands, demand letters, claims, liens, notices of liability, non-compliance or violation, investigations,
proceedings, settlements, consent decrees, consent orders, consent agreements and all costs and liabilities
relating to or arising from or under any Environmental Law, including (a) any and all claims by
Governmental Authorities for enforcement, investigation, corrective action, cleanup, removal, response,
remedial or other actions, cost recovery, damages, natural resource damages or penalties pursuant to or
arising under any Environmental Law, (b) any and all claims by any one or more Persons seeking damages,
contribution, restitution, indemnification, cost recovery, compensation or injunctive relief directly or
indirectly resulting from, based upon or arising under Environmental Law, pertaining to Hazardous
Materials or an alleged injury or threat of injury to human health, safety, natural resources, or the indoor or
outdoor environment, and (c) all liabilities contingent or otherwise, expenses, obligations, losses, damages,
fines and penalties arising under any Environmental Law.

        “Environmental Law” means, collectively and individually any and all federal, state, local, or
foreign statute, rule, regulation, code, guidance, ordinance, order, judgment, directive, decree, injunction
or common law as now or previously in effect and regulating, relating to or imposing liability or standards
of conduct concerning: the environment; protection of the environment and natural resources; air
emissions; water discharges; noise emissions; the Release, threatened Release or discharge into the
environment and physical hazards of any Hazardous Material; the generation, handling, management,



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treatment, storage, transport or disposal of any Hazardous Material or otherwise concerning pollution or
the protection of the outdoor or indoor environment, preservation or restoration of natural resources,
employee or human health or safety, and potential or actual exposure to or injury from Hazardous Materials.

          “Environmental Liability” means, in respect of any Person, any statutory, common law or equitable
liability, contingent or otherwise of such Person directly or indirectly resulting from, arising out of or based
upon (a) the violation of any Environmental Law or Environmental Permit, or (b) an Environmental Claim.

         “Environmental Permit” means any permit, approval, authorization, certificate, license, variance,
filing or permission required by or from any Governmental Authority pursuant to any Environmental Law.

         “Equity Interests” means, with respect to any Person, (a) shares of capital stock of (or other
ownership or profit interests in) such Person, (b) warrants, options or other rights for the purchase or
acquisition from such Person of shares of capital stock of (or other ownership or profit interests in) such
Person, (c) securities (other than Indebtedness) convertible into or exchangeable for shares of capital stock
of (or other ownership or profit interests in) such Person or warrants, rights or options for the purchase or
acquisition from such Person of such shares (or such other interests), (d) all other ownership or profit
interests in such Person (including partnership, member or trust interests therein), whether voting or non-
voting, and whether or not such shares, warrants, options, rights or other interests are outstanding on any
date of determination and (e) any Security Entitlement (as defined in the Security Agreement) in respect of
any Equity Interest described in this definition.

        “ERISA” means the Employee Retirement Income Security Act of 1974, and the rules and
regulations issued thereunder.

       “ERISA Affiliate” means any trade or business (whether or not incorporated) that, together with
any Loan Party, is treated as a single employer under Section 414(b) or 414(c) of the Code or, solely for
purposes of Sections 302 and 303 of ERISA and Sections 412 and 430 of the Code, is treated as a single
employer under subsection (b), (c), (m) or (o) of Section 414 of the Code.

         “ERISA Event” means (a) any “reportable event”, as defined in Section 4043(c) of ERISA with
respect to a Pension Plan (other than an event for which the 30-day notice period referred to in Section 4043
of ERISA is waived); (b) the existence with respect to any Pension Plan of a non-exempt “prohibited
transaction,” as defined in Section 406 of ERISA or Section 4975(c)(1) of the Code; (c) any failure of any
Pension Plan to satisfy the “minimum funding standard” applicable to such Pension Plan under Section 412
or Section 430 of the Code or Section 302 or Section 303 of ERISA, whether or not waived; (d) the filing
pursuant to Section 412(c) of the Code or Section 302(c) of ERISA of an application for a waiver of the
minimum funding standard with respect to any Pension Plan, the failure to make by its due date a required
installment under Section 430(j)(3) of the Code with respect to any Pension Plan or the failure of any Loan
Party or ERISA Affiliate to make any required contribution to any Multiemployer Plan; (e) a determination
that any Pension Plan is, or is expected to be, in “at-risk” status (as defined in Section 430(i)(4) of the Code
or Section 303(i)(4) of ERISA; (f) the incurrence by any Loan Party or any ERISA Affiliate of any liability
under Title IV of ERISA with respect to the termination of any Pension Plan including the imposition of
any Lien in favor of the PBGC or any Pension Plan(other than for PBGC premiums due but not delinquent
under Section 4007 of ERISA); (g) the filing of a notice of intent to terminate, the treatment of a Pension
Plan amendment as a termination under Section 4041 or Section 4041A or ERISA, the receipt by any Loan
Party or any ERISA Affiliate from the PBGC or a Pension Plan administrator of any notice relating to an
intention to terminate any Pension Plan or Pension Plans or to appoint a trustee to administer any Pension
Plan under Section 4042 of ERISA or the occurrence of an event or condition which constitutes grounds
under Section 4042 of ERISA or the termination of, or the appointment of a trustee to administrator, any
Pension Plan; (h) any limitations under Section 436 of the Code become applicable; (i) the incurrence by


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any Loan Party or any of its ERISA Affiliates of any liability with respect to the withdrawal or partial
withdrawal from any Pension Plan or Multiemployer Plan; (j) a withdrawal by any Loan Party or any
ERISA Affiliate from a Pension Plan subject to Section 4063 of ERISA during a plan year in which it was
a substantial employer (as defined in Section 4001(a)(2) of ERISA) or a cessation of operations that is
treated as such a withdrawal under Section 4062(e) of ERISA; (k) the receipt by any Loan Party or any
ERISA Affiliate of any notice, or the receipt by any Multiemployer Plan from any Loan Party or any ERISA
Affiliate of any notice, concerning the imposition of Withdrawal Liability or a determination that a
Multiemployer Plan is, or is expected to be, insolvent or in reorganization, within the meaning of Title IV
of ERISA or in endangered or critical status within the meaning of Section 432 of the Code or Section 305
or Title IV of ERISA; or (l) the imposition on any Loan Party or any ERISA Affiliate of any tax under
Chapter 43 of Subtitle D of the Code, or the assessment of a civil penalty on any Loan Party or any ERISA
Affiliate under Section 502(c) of ERISA.

      “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by the
Loan Market Association (or any successor person), as in effect from time to time.

        “Event of Default” has the meaning assigned to such term in Section 8.1.

         “Excluded CEA Swap Obligation” means, with respect to any Guarantor, any CEA Swap
Obligation if, and only to the extent that, all or a portion of the Guarantee of such Guarantor of, or the grant
by such Guarantor of a security interest to secure, such CEA Swap Obligation (or any Guarantee thereof)
is or becomes illegal under the Commodity Exchange Act or any rule, regulation or order of the Commodity
Futures Trading Commission (or the application or official interpretation of any thereof), including by
virtue of such Guarantor’s failure for any reason to constitute an “eligible contract participant” as defined
in the Commodity Exchange Act and the regulations thereunder at the time the Guarantee of such Guarantor
or the grant of such security interest becomes effective with respect to such CEA Swap Obligation. If a
CEA Swap Obligation arises under a master agreement governing more than one swap, such exclusion shall
apply only to the portion of such CEA Swap Obligation that is attributable to swaps for which such
Guarantee or security interest is or becomes illegal.

         “Excluded Subsidiary” means (a) any Subsidiary that is prohibited by applicable law, rule or
regulation or by any contractual obligation (to the extent such contractual obligation is existing (i) on the
Closing Date or (ii) at the time of acquisition of such Subsidiary so long as the prohibition or restriction in
such contract is not entered into in contemplation thereof) from providing a Guarantee of the Secured
Obligations or which would require governmental (including regulatory or any other Governmental
Authority’s) consent, approval, license or authorization to provide such a Guarantee unless such consent,
approval, license or authorization has been received, (b) to the extent that the Borrower and the
Administrative Agent determine that a Guarantee of the Secured Obligations by such Subsidiary would
result in material and adverse tax consequences to the Borrower and its Subsidiaries, (i) any Foreign
Subsidiary that is a Controlled Foreign Corporation, and (ii) any Foreign Subsidiary Holdco, (c) any captive
insurance company, and (d) any not-for-profit Subsidiary, (e) any Subsidiary that is not a Wholly-Owned
Subsidiary, (f) any Subsidiary acquired by the Borrower or any of its Subsidiaries that, at the time of the
relevant acquisition, is an obligor in respect of assumed Indebtedness permitted by Section 7.1 to the extent
(and for so long as) the documentation governing the applicable assumed Indebtedness prohibits such
Subsidiary from providing a Guarantee (which prohibition was not incurred or modified in contemplation
of such acquisition); and/or (g) any other Subsidiary with respect to which the Borrower and the
Administrative Agent reasonably determine in writing the cost or other consequences of providing such a
Guarantee shall be excessive in view of the benefits of such Guarantee to be afforded to the Lenders
therefrom. Notwithstanding the foregoing, in the event that a Subsidiary guarantees, grants a lien on its
assets to secure, or has greater than 65% of its voting Equity Interests pledged to secure, other Indebtedness



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of the Loan Parties, such Subsidiary shall cease to be an Excluded Subsidiary and shall be required to
become a Guarantor.

         “Excluded Taxes” means any of the following Taxes imposed on or with respect to a Recipient or
required to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed on or measured by
net income (however denominated), franchise Taxes, and branch profits Taxes, in each case, (i) imposed as
a result of such Recipient being organized under the laws of, or having its principal office or, in the case of
any Lender, its Applicable Lending Office located in, the jurisdiction imposing such Tax (or any political
subdivision thereof) or (ii) that are Other Connection Taxes, (b) in the case of a Lender, U.S. federal
withholding Taxes imposed on amounts payable to or for the account of such Lender with respect to an
applicable interest in a Loan or Commitment pursuant to a law in effect on the date on which (i) such Lender
acquires such interest in the Loan or Commitment (other than pursuant to an assignment request by the
Borrower under Section 3.7(b)) or (ii) such Lender changes its Applicable Lending Office, except in each
case to the extent that, pursuant to Section 3.6, amounts with respect to such Taxes were payable either to
such Lender’s assignor immediately before such Lender became a party hereto or to such Lender
immediately before it changed its Applicable Lending Office, (c) Taxes attributable to such Recipient’s
failure to comply with Section 3.6(g) and (d) any U.S. federal withholding Taxes imposed under FATCA.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Credit Agreement
(or any amended or successor version that is substantively comparable and not materially more onerous to
comply with) and any current or future regulations or official interpretations thereof and any agreement
entered into pursuant to Section 1471(b)(1) of the Code and any fiscal or regulatory legislation, rules or
practices adopted pursuant to any intergovernmental agreement, treaty or convention among Governmental
Authorities and implementing such Sections of the Code.

         “Federal Funds Effective Rate” means, for any day, a rate per annum (expressed as a decimal,
rounded upwards, if necessary, to the next higher 1/100 of 1%) equal to the weighted average of the rates
on overnight federal funds transactions with members of the Federal Reserve System arranged by federal
funds brokers on such day, as published by the Federal Reserve Bank of Dallas on the Business Day next
succeeding such day, provided that (a) if the day for which such rate is to be determined is not a Business
Day, the Federal Funds Effective Rate for such day shall be such rate on such transactions on the next
preceding Business Day as so published on the next succeeding Business Day, (b) if such rate is not so
published for any day, the Federal Funds Effective Rate for such day shall be the average of the quotations
for such day on such transactions received by the Administrative Agent from three federal funds brokers of
recognized standing selected by it and (c) if the Federal Funds Effective Rate shall be less than zero, such
rate shall be deemed to be zero for purposes of this Credit Agreement.

       “Fee Letter” means that certain fee letter between BancorpSouth Bank and Borrower dated as of
March 23, 2021.

        “Field Audit” means audits, verifications, testing and inspections of (a) the Collateral, (b) the
accounting and financial processes and procedures of the Borrower, (c) the financial condition of the
Borrower, (d) the books, records and documents of the Borrower and (e) such other items, documents and
matters related to the Borrower as the Administrative Agent may reasonably request, in each case conducted
by a Person (who may be an employee of the Lender or who may be independent) satisfactory to the
Administrative Agent.

        “Financial Covenants” means the covenants set forth in Section 7.12.




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        “Financial Officer” means, with respect to any Person, the chief financial officer, principal
accounting officer, treasurer or comptroller of such Person (or such other financial officer as is acceptable
to the Administrative Agent).

        “Fiscal Year” means the four fiscal quarter period of the Borrower ending on December 31 of each
calendar year (i.e., the “2021 Fiscal Year” refers to the Fiscal Year ended on December 31, 2021).

         “Fixed Charge Coverage Ratio” means, for any period, for the Borrower and its Subsidiaries on a
consolidated basis in accordance with GAAP, the ratio of (a) Consolidated EBITDA plus (i) lease payments
less the sum of (i) unfinanced Capital Expenditures, (ii) Taxes paid or payable in cash (including Permitted
Tax Distributions), and (iii) dividends and distributions made in cash during such period to (b) the sum of
(i) scheduled principal payments made in cash on Funded Indebtedness during such period, (ii)
Consolidated Cash Interest Expense for such period, and (iii) lease payments.

        “Flood Certificate” means a “Standard Flood Hazard Determination Form” of the Federal
Emergency Management Agency and any successor Governmental Authority performing a similar
function.

        “Flood Documents” has the meaning assigned to such term in Section 9.11.

        “Flood Insurance Laws” means, collectively, (i) the National Flood Insurance Reform Act of 1994
(which comprehensively revised the National Flood Insurance Act of 1968 and the Flood Disaster
Protection Act of 1973) as now or hereafter in effect or any successor statute thereto, (ii) the Flood Insurance
Reform Act of 2004 as now or hereafter in effect or any successor statute thereto and (iii) the Biggert-
Waters Flood Insurance Reform Act of 2012 as now or hereafter in effect or any successor statute thereto.

        “Flood Insurance Policies” has the meaning assigned to such term in Section 6.10(b).

       “Flood Program” means the National Flood Insurance Program created by the U.S. Congress
pursuant to the National Flood Insurance Act of 1968, the Flood Disaster Protection Act of 1973, the
National Flood Insurance Reform Act of 1994 and the Flood Insurance Reform Act of 2004, in each case
as amended from time to time, and any successor statutes.

        “Flood Zone” means an area identified by the Federal Emergency Management Agency (or any
successor agency) as a “Special Flood Hazard Area” with respect to which flood insurance has been made
available under Flood Insurance Laws.

         “Floor” means the benchmark rate floor, if any, provided in this Agreement initially (as of the
execution of this Agreement, the modification, amendment or renewal of this Agreement or otherwise) with
respect to USD LIBOR.

         “Foreign Lender” means (a) if the Borrower is a U.S. Person, a Lender that is not a U.S. Person,
and (b) if the Borrower is not a U.S. Person, a Lender that is resident or organized under the laws of a
jurisdiction other than that in which the Borrower is resident for tax purposes.

        “Foreign Plan” means any employee pension benefit plan or arrangement (a) maintained, or
contributed to by any Loan Party or Subsidiary that is not subject to the laws of the United States, or (b)
mandated by a government other than the United States for employees of any Loan Party or Subsidiary.

        “Foreign Subsidiary” means any Subsidiary that is not a Domestic Subsidiary.




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        “Foreign Subsidiary Holdco” means any Domestic Subsidiary that has no material assets other than
Equity Interests or Indebtedness of one or more Controlled Foreign Corporations or other such Domestic
Subsidiaries.

        “Fund” means any Person (other than a natural Person) that is (or will be) engaged in making,
purchasing, holding or otherwise investing in commercial loans, bonds and similar extensions of credit in
the ordinary course of its activities.

         “Funded Indebtedness” means as of any date of determination, on a consolidated basis, the sum of
the following, without duplication: (a) the outstanding principal amount of all Indebtedness which is
classified as “long-term debt” on the consolidated balance sheet of each Loan Party and its Subsidiaries
prepared as of such date in accordance with GAAP (subject to year-end audit adjustments with respect to
non-year-end periods) and any current maturities and other principal amount in respect of such Indebtedness
due within one year; (b) the outstanding principal amount of Indebtedness for borrowed money of each
Loan Party and its Subsidiaries outstanding under a revolving credit, term or similar agreement including,
without limitation, any Subordinated Debt (and renewals and extensions of any thereof); (c) the borrowing
of money or the obtaining of credit by each Loan Party and its Subsidiary (other than trade payables incurred
in the ordinary course of business), including the issuance of notes or bonds (but excluding surety,
performance or bid bonds); (d) the deferred purchase price of assets acquired (other than trade payables
incurred in the ordinary course of business); (e) inventory financing; and (f) Indebtedness of the type
referred to in clauses (a) through (e) above of another Person guaranteed by, or secured by a Lien on assets
of, the Borrower, any Guarantor or any of their respective Subsidiaries.

          “GAAP” means generally accepted accounting principles in effect from time to time in the United
States.

         “Governmental Authority” means the government of the United States or any other nation, or of
any political subdivision thereof, whether state or local, and any department, commission, board, bureau,
agency, authority, instrumentality, regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to government
(including any supra national bodies such as the European Union or the European Central Bank) and any
group or body charged with setting financial accounting or regulatory capital rules or standards (including
the Financial Accounting Standards Board, the Bank for International Settlements, the Basel Committee on
Banking Supervision or the National Association of Insurance Commissioners or any successor or similar
authority to any of the foregoing).

        “Guarantee Agreement” means the Guarantee Agreement, dated as of the date Closing Date, among
the Borrower, the Guarantors and the Administrative Agent.

         “Guarantees” of or by any Person (the “guarantor”) means any obligation, contingent or otherwise,
of the guarantor guaranteeing or having the economic effect of guaranteeing any Indebtedness or other
obligation of any other Person (the “primary obligor”) in any manner, whether directly or indirectly, and
including any obligation of the guarantor, direct or indirect, (a) to purchase or pay (or advance or supply
funds for the purchase or payment of) such Indebtedness or other obligation or to purchase (or to advance
or supply funds for the purchase of) any security for the payment thereof, (b) to purchase or lease property,
securities or services for the purpose of assuring the owner of such Indebtedness or other obligation of the
payment thereof, (c) to maintain working capital, equity capital or any other financial statement condition
or liquidity of the primary obligor as to enable the primary obligor to pay such Indebtedness or other
obligation or (d) as an account party in respect of any letter of credit or letter of guaranty issued to support
such Indebtedness or obligation, provided that the term “Guarantee” shall not include endorsements for
collection or deposit in the ordinary course of business. The term “Guaranteed” has a meaning analogous


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thereto. The amount of any Guarantee at any time shall be deemed to be an amount equal to the lesser at
such time of (i) the stated or determinable amount of the primary obligation in respect of which such
Guarantee is made (or, if not stated or determinable, the maximum reasonably anticipated amount of the
obligations in respect of which such Guarantee is made) and (ii) the maximum amount for which the
guarantor may be liable pursuant to the terms of the instrument embodying such Guarantee.

        “Guarantors” means, initially Bighorn Construction and Reclamation, LLC, Bighorn Sand &
Gravel LLC, and Bighorn Investments and Properties, LLC, and thereafter each Subsidiary of the Borrower
that becomes party thereto by the execution and delivery of a Subsidiary Joinder Agreement, and the
permitted successors and assigns of each such Person.

          “Hazardous Materials” means all substances, wastes, chemicals, pollutants, or other contaminants,
including petroleum or petroleum distillates, asbestos or asbestos containing materials, polychlorinated
biphenyls, radon gas, mold, infectious, pharmaceutical or medical wastes and all other substances of any
nature that are now or hereafter regulated under any Environmental Law or are now or hereafter defined,
listed, classified, considered or described as hazardous, dangerous or toxic by any Governmental Authority
or under any Environmental Law.

        “Indebtedness” of any Person means, without duplication:

                (a)     all obligations of such Person for borrowed money;

                (b)     all obligations of such Person evidenced by bonds, debentures, notes, loan
agreements or other similar instruments, including seller paper;

                (c)    the maximum amount (after giving effect to any prior drawings or reductions
which have been reimbursed) of all letters of credit (including standby and commercial), banker’s
acceptances, bank guaranties, surety bonds, and similar instruments issued or created by or for the account
of such Person;

              (d)     the Swap Termination Value of each Swap Agreement (to the extent reflecting an
amount owed by such Person or an amount that would be owing were such Swap Agreement terminated);

                (e)     the Attributable Indebtedness of such Person in respect of Capitalized Lease
Obligations, Synthetic Debt and Synthetic Lease Obligations of such Person (regardless of whether
accounted for as indebtedness under GAAP);

                 (f)       all obligations of such Person to pay the deferred purchase price of property or
services (other than (i) trade accounts payable in the ordinary course of business which are paid within 90
days of their respective due dates and (ii) any purchase price adjustments or similar obligation until such
obligation becomes a liability on the balance sheet of such Person in accordance with GAAP and if not paid
after becoming due and payable);

                   (g)     indebtedness (excluding prepaid interest thereon) secured by a Lien (or for which
the holder of such indebtedness has an existing right, contingent or otherwise, to be secured by a Lien) on
property owned or being purchased by such Person (including indebtedness arising under conditional sales
or other title retention agreements and mortgage, industrial revenue bond, industrial development bond and
similar financings), whether or not such indebtedness shall have been assumed by such Person or is limited
in recourse;

                (h)     all obligations of such Person in respect of Disqualified Equity Interests;



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                 (i)      all obligations of such Person to pay a specified purchase price for goods or
services whether or not delivered or accepted (e.g., take or pay obligations) or similar obligations and,
without duplication, all obligations of such Person under conditional sale or other title retention agreements
relating to property or assets purchased by such Person; and

                (j)      all Guarantees by such Person of any of the foregoing.

The Indebtedness of any Person shall include the Indebtedness of any partnership or joint venture (other
than a joint venture that is itself a corporation, company, or limited liability company) in which such Person
is a general partner or a joint venturer, unless such Indebtedness is expressly made non-recourse to such
Person. The amount of Indebtedness of any Person for purposes of clause (g) shall be deemed to be equal
to the greater of (i) the aggregate unpaid amount of such Indebtedness and (ii) the fair market value of the
property encumbered thereby as determined by such Person in good faith.

         “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with respect to
any payment made by or on account of any obligation of any Loan Party under any Loan Document and
(b) to the extent not otherwise described in clause (a), Other Taxes.

        “Indemnitee” has the meaning assigned to such term in Section 10.3(b).

        “Ineligible Bonded Receivable” means a Bonded Receivable generated from a project experiencing
delays or any problems that could reasonably be expected to cause the bond relating to the Bonded
Receivable to be pulled. The Administrative Agent has the right in its Permitted Discretion to determine if
a Bonded Receivable is an Ineligible Receivable in accordance with the standard set forth in the preceding
sentence, and shall notify Borrower in writing of any such determination.

        “Information” has the meaning assigned to such term in Section 10.15(b).

        “Intellectual Property” has the meaning assigned to such term in the Security Agreement.

        “Intellectual Property Security Agreement” means any Patent Security Agreement, Trademark
Security Agreement and/or Copyright Security Agreement (as each such term is defined in the Security
Agreement) executed by any Loan Party in favor of the Administrative Agent.

         “Interest Payment Date” means (a) with respect to any ABR Loan, the last day of each March, June,
September and December, (b) with respect to any LIBOR Loan, the last day of the Interest Period applicable
thereto and, in the case of a LIBOR Loan with an Interest Period of more than three months’ duration, each
day prior to the last day of such Interest Period that occurs at intervals of three months’ duration after the
first day of such Interest Period and (c) with respect to all Loans, the Maturity Date of the Credit Facility
under which such Loan was made.

         “Interest Period” means, with respect to any LIBOR Borrowing, the period commencing on the
date of such Borrowing and ending on the numerically corresponding day in the calendar month that is one,
two, three, or six months (or, if made available by all of the Lenders, twelve months or a shorter period of
time) thereafter, as the Borrower may elect, provided that: (a) if any Interest Period would end on a day
other than a Business Day, such Interest Period shall be extended to the next succeeding Business Day,
unless such next succeeding Business Day would fall in the next calendar month, in which case such Interest
Period shall end on the next preceding Business Day, (b) any Interest Period that commences on the last
Business Day of a calendar month (or on a day for which there is no numerically corresponding day in the
last calendar month of such Interest Period) shall end on the last Business Day of the last calendar month
of such Interest Period, and (c) no Interest Period in respect of any Loan shall end after the Maturity Date



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of the Credit Facility under which such Loan was made. For purposes hereof, the date of a Borrowing
initially shall be the date on which such Borrowing is made and thereafter shall be the effective date of the
most recent conversion or continuation of such Borrowing. Interest shall accrue from and including the
first day of an Interest Period to but excluding the last day of such Interest Period.

         “Interpolated Screen Rate” means in relation to the LIBOR Rate for any Loan, the rate per annum
determined by the Administrative Agent (which determination shall be conclusive and binding absent
manifest error) to be equal to the rate that results from interpolating on a linear basis between: (a) the rate
as displayed on the applicable Bloomberg page (or on any successor or substitute page or service providing
quotations of interest rates applicable to Dollar deposits in the London interbank market comparable to
those currently provided on such page, as determined by the Administrative Agent from time to time; in
each case the “Screen Rate”) for the longest period (for which that Screen Rate is available) that is shorter
than the applicable Interest Period and (b) the Screen Rate for the shortest period (for which that Screen
Rate is available) that exceeds such Interest Period, in each case, at approximately 11:00 a.m., London time,
on the Quotation Day for such Interest Period.

         “Investment” means, as to any Person, (a) any Acquisition by such Person, (b) any direct or indirect
acquisition or investment by such Person in another Person, whether by means of the purchase or other
acquisition of Equity Interests or debt or other securities of another Person (including any partnership or
joint venture interest), or (c) any direct or indirect loan, advance or capital contribution to, Guarantee with
respect to any Indebtedness or other obligation of, such other Person. For purposes of covenant compliance,
the amount of any Investment on any date of determination shall be, in the case of any Investment in the
form of (i) a loan or an advance, the principal amount thereof outstanding on such date, (ii) a Guarantee,
the amount of such Guarantee as determined in accordance with the last sentence of the definition of such
term, (iii) a transfer of Equity Interests or other property by the investor to the investee, including any such
transfer in the form of a capital contribution, or the issuance of Equity Interests to such investor, the fair
market value (as determined reasonably and in good faith by the chief financial officer of the Borrower) of
such Equity Interests or other property as of the time of the transfer or issuance, without any adjustment for
increases or decreases in value of, or write-ups, write-downs or write-offs with respect to, such Investment,
and (iv) any Investment (other than any Investment referred to in clauses (i), (ii) or (iii) above) in the form
of an Acquisition or a purchase or other acquisition for value of any evidences of Indebtedness or other
securities of any other Person, the original cost of such Investment (including any Indebtedness assumed in
connection therewith), plus the cost of all additions, as of such date, thereto, and minus the amount, as of
such date, of any portion of such Investment repaid to the investor in cash as a repayment of principal or a
return of capital, as the case may be, but without any other adjustment for increases or decreases in value
of, or write-ups, write-downs or write-offs with respect to, such Investment.

        “Inventory” has the meaning assigned to such term in the Security Agreement.

        “IRS” means the United States Internal Revenue Service.

       “ISP” means the International Standby Practices, International Chamber of Commerce Publication
No. 590 (or such later version thereof as may be in effect at the applicable time of issuance)

        “Junior Debt” means any unsecured Indebtedness of the Borrower, any Guarantor or any of their
respective Subsidiaries or any Indebtedness of the Borrower, any Guarantor, or any of their respective
Subsidiaries that is junior in right of payment to the Loan Document Obligations or is secured by Liens that
are junior to the Liens securing the Loan Document Obligations.

        “Lead Arranger” means BancorpSouth Bank, in its capacity as lead arranger and bookrunner of the
Credit Facility established under this Credit Agreement.


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         “Lenders” means (a) the financial institutions listed on Schedule 2.1 (other than any such financial
institution that has ceased to be a party hereto pursuant to an Assignment and Acceptance) and (b) any
financial institution that has become a party hereto pursuant to an Assignment and Assumption.

        “LIBOR Borrowing” means, as to any Borrowing, the LIBOR Loans comprising such Borrowing.

        “LIBOR Loan” means a Loan bearing interest based on the Adjusted LIBOR Rate.

        “LIBOR Rate” means:

                 (a)      with respect to each day during each Interest Period pertaining to a LIBOR Loan
in Dollars, the rate per annum determined by the Administrative Agent to be the arithmetic average of the
London Interbank Offered Rates administered by the ICE Benchmark Administration (or any Person that
takes over administration of such rate) for deposits in Dollars for a duration equal to or comparable to the
duration of such Interest Period which appear on the relevant Bloomberg page (or such other commercially
available source providing quotations of the London Interbank Offered Rates for deposits in Dollars as may
be designated by the Administrative Agent from time to time) at or about 11:00 a.m. (London time) on the
Quotation Day for such Interest Period; or

                (b)     for any interest calculation with respect to an ABR Loan on any date, rate per
annum determined by the Administrative Agent to be the arithmetic average of the London Interbank
Offered Rates administered by the ICE Benchmark Administration (or any Person that takes over
administration of such rate) for deposits in Dollars with a term of one (1) month commencing such day
which appear on the relevant Bloomberg page (or such other commercially available source providing
quotations of the London Interbank Offered Rates for deposits in Dollars as may be designated by the
Administrative Agent from time to time), at or about 11:00 am (London time) on such day;

provided that if such rate is not available at such time for any reason, then the “LIBOR Rate” with respect
to such Loan for such period shall be the Interpolated Screen Rate, where applicable. Each calculation by
the Administrative Agent of the LIBOR Rate hereunder shall be conclusive and binding on the parties
hereto for all purposes, absent clearly manifest error. Notwithstanding the foregoing, for purposes of this
Credit Agreement, the LIBOR Rate shall at no time be less than 0.50% per annum.

        “LIBOR Scheduled Unavailability Date” has the meaning specified in Section 3.3(b).

        “LIBOR Successor Rate” has the meaning specified in Section 3.3(b).

         “LIBOR Successor Rate Conforming Changes” means, with respect to any proposed LIBOR
Successor Rate, any conforming changes to the definition of Alternate Base Rate, Interest Period, timing
and frequency of determining rates and making payments of interest and other administrative and yield
protection matters as may be appropriate, in the discretion of the Administrative Agent, to reflect the
implementation of such LIBOR Successor Rate and to permit the administration thereof by the
Administrative Agent in a manner substantially consistent with then-prevailing market practice (or, if the
Administrative Agent determines that implementation of any portion of such market practice is not
administratively feasible or that no market practice for the administration of such LIBOR Successor Rate
exists, in such other manner of administration as the Administrative Agent determines in consultation with
the Borrower).

       “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien, pledge, hypothecation,
encumbrance, charge or security interest in, on or of such asset, (b) the interest of a vendor or a lessor under
any conditional sale agreement, Capitalized Lease or title retention agreement relating to such asset, and



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(c) in the case of securities, any purchase option, call or similar right of a third party with respect to such
securities.

        “Loan” means any Revolving Loan.

        “Loan Document Obligations” means the due and punctual payment and performance of all
advances to, and debts, liabilities, obligations, covenants and duties of, any Loan Party under or pursuant
to each of the Loan Documents or otherwise with respect to any Loan and all costs and expenses incurred
in connection with enforcement and collection of the foregoing, including the fees, charges and
disbursements of counsel, in each case whether direct or indirect (including those acquired by assumption),
absolute or contingent, due or to become due, now existing or hereafter arising and including interest,
expenses and fees that accrue after the commencement by or against any Loan Party or any Affiliate thereof
of any proceeding under any Debtor Relief Laws naming such Person as the debtor in such proceeding,
regardless of whether such interest, expenses and fees are allowed claims in such proceeding.

      “Loan Documents” means, collectively, this Credit Agreement, the Notes, the Guarantee
Agreement, the Collateral Documents and each other document entered into in connection herewith.

        “Loan Parties” means, collectively, the Borrower and the Guarantors.

       “Main Street Loan” means the loan from Vista Bank to the Borrower in the amount approximately
$22,272,000.

        “Margin Stock” has the meaning assigned to such term in Regulation U.

        “Master Agreement” has the meaning assigned to such term in the definition of “Swap Agreement.”

          “Material Adverse Effect” means (a) a material adverse effect on the business, assets, operations,
liabilities, prospects or condition, financial or otherwise, of the Loan Parties and their respective
Subsidiaries, taken as a whole, (b) the condition that results when the legality, validity or enforceability of
any Loan Document is affected in a manner that is material and adverse to the Lenders, (c) the condition
that results when the ability of any Loan Party to perform any of its obligations under any Loan Document
is affected in a manner that is material and adverse to the Lenders, or (d) the condition that results when the
rights of or benefits available to the Credit Parties under any Loan Document is affected in a manner that
is material and adverse. In determining whether any individual event would result in a Material Adverse
Effect, notwithstanding that such event in and of itself does not have such effect, a Material Adverse Effect
shall be deemed to have occurred if the cumulative effect of such event and all other then-existing events
would result in a Material Adverse Effect.

        “Material Contract” means, for any Loan Party, any agreement to which that Loan Party is a party,
by which that Loan Party is bound, that obligates such Loan Party to make payments, or entitles such Loan
Party to receive payments, in each case, in an amount exceeding $1,000,000.00 in the aggregate over the
term of such agreement, any contracts that are part of an Approved Project, and any contracts between any
Loan Party and any Person that is an Affiliate of any Loan Party. .

        “Material Indebtedness” means, as of any date, Indebtedness (including, without limitation,
obligations in respect of one or more Swap Agreements, but excluding Indebtedness under the Loan
Documents), of any one or more of the Loan Parties or any of their Subsidiaries in an aggregate principal
amount exceeding the Threshold Amount. For purposes of determining Material Indebtedness, the
“principal amount” of the obligations in respect of any Swap Agreement at any time shall be its Swap
Termination Value.



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        “Material Owned Real Property” means each parcel of Real Property located in the United States
which is acquired in fee by a Loan Party with a fair market value in excess of $1,000,000.00; provided that
the Real Property set forth on Schedule 1.1(b) is excluded from the definition of Material Owned Real
Property.

        “Maturity Date” means the Revolving Maturity Date.

         “Measurement Period” means, at any date of determination, (a) for the purposes of determining
compliance with the Financial Covenants (other than compliance on a Pro Forma Basis for the purposes of
any provision of the Loan Documents other than Section 7.12), the period of four consecutive fiscal quarters
of the Borrower ending on such date and (b) for any other purpose, the most recent period of four
consecutive fiscal quarters of the Borrower for which financial statements have been or are required to be
delivered pursuant to Section 6.1(a) or Section 6.1(b). A Measurement Period may be designated by
reference to the last day thereof (e.g. the December 31, 2021 Measurement Period refers to the period of
four consecutive fiscal quarters of the Borrower ended December 31, 2021), and a Measurement Period
shall be deemed to end on the last day thereof.

        “Minimum Collateral Amount” has the meaning assigned to such term in Section 2.10(b).

        “Minimum Collateral Percentage” means 105%.

        “MIRE Event” means if there are any Mortgaged Properties at any time, any increase, extension of
the maturity or renewal of any of the Commitments or Loans of any Class hereunder (but excluding (i) any
continuation or conversion of Borrowings, (ii) the making of any Revolving Loans or (iii) the issuance,
renewal or extension of Letters of Credit).

        “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating agency business.

        “Mortgage Requirement” has the meaning set forth on Schedule 1.1(c).

         “Mortgaged Property” means each parcel of Material Owned Real Property, if any, which shall be
subject to a Mortgage delivered pursuant to Section 4.1(f), Section 6.12 or Section 6.14, as applicable.

        “Mortgages” means mortgages, deeds of trust, assignments of leases and rents, modifications and
other collateral documents delivered pursuant to Section 5.1(f), Section 6.12 or Section 6.14, each in form
and substance reasonably satisfactory to the Administrative Agent.

        “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of ERISA.

        “Net Cash Proceeds” means, with respect to any (a) Disposition or Casualty Event by any Loan
Party or any of its Subsidiaries, the cash proceeds (including cash proceeds subsequently received (as and
when received) in respect of non-cash consideration initially received and including all insurance
settlements (it being understood and agreed that any such receipts of insurance settlements shall exclude
proceeds of business interruption insurance) and condemnation awards from any single event or series of
related events) net of the sum, without duplication, of (i) transaction expenses (including reasonable
broker’s fees or commissions, legal fees, accounting fees, investment banking fees, consulting fees and
other professional fees, transfer and similar taxes and the Borrower’s good faith estimate of income taxes
paid or payable in connection with the receipt of such cash proceeds), (ii) amounts set aside as a reserve, in
accordance with GAAP, including pursuant to any escrow arrangement, against any liabilities under any
indemnification obligations associated with such Disposition (provided that, to the extent and at the time
any such amounts are released from such reserve, such amounts shall constitute Net Cash Proceeds), (iii)



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in the case of insurance settlements and condemnation awards related to a Casualty Event, amounts
previously paid by such Loan Party or such Subsidiary to replace or restore the affected property, and (iv)
the principal amount, premium or penalty, if any, interest and other amounts on any purchase money
Indebtedness or Capitalized Lease Indebtedness which is secured by the asset sold in such Disposition and
is required to be repaid with such proceeds (other than any such Indebtedness assumed by the purchaser of
such asset); provided, however, that if (A) the Borrower shall deliver a certificate of a Financial Officer to
the Administrative Agent at the time of receipt thereof setting forth the Borrower’s intent to reinvest such
proceeds in productive assets of a kind then used or usable in the business of the Loan Parties and its
Subsidiaries (or to repair any property damaged in a Casualty Event) within 180 days of receipt of such
proceeds and (B) no Default or Event of Default shall have occurred and be continuing at the time of such
certificate or at the proposed time of the application of such proceeds, such proceeds shall not constitute
Net Cash Proceeds, except to the extent not so reinvested (or committed to be reinvested) by the end of
such 180 day period, and if so committed to be reinvested, are not actually reinvested within 90 days
following the end of such 180 day period, at which time such proceeds shall be deemed to be Net Cash
Proceeds, and (b) with respect to any Debt Incurrence, the cash proceeds thereof, net of all taxes and
customary fees, commissions, costs and other expenses (including reasonable broker’s fees or commissions,
legal fees, accounting fees, investment banking fees and other professional fees, and discounts and
commissions) incurred in connection therewith.

        “Non-Consenting Lender” means any Lender that does not approve any consent, waiver or
amendment that (a) requires the approval of all or all affected Lenders in accordance with the terms of
Section 10.2 and (b) has been approved by the Required Lenders.

        “Non-Defaulting Lender” means, at any time, each Lender that is not a Defaulting Lender at such
time.

        “Nonrenewal Notice Date” has the meaning assigned to such term in Section 2.4(b)(iii).

        “Notes” means, collectively, the Revolving Loan Notes.

        “OFAC” means the U.S. Department of the Treasury’s Office of Foreign Assets Control, and any
successor thereto.

        “Organizational Documents” means, (a) with respect to any corporation, the certificate or articles
of incorporation and the bylaws (or equivalent or comparable constitutive documents with respect to any
non-United States jurisdiction), (b) with respect to any limited liability company, the certificate or articles
of formation or organization and operating or limited liability company agreement and (c) with respect to
any partnership, joint venture, trust or other form of business entity, the partnership, joint venture or other
applicable agreement of formation or organization and any agreement, instrument, filing or notice with
respect thereto filed in connection with its formation or organization with the applicable Governmental
Authority in the jurisdiction of its formation or organization and, if applicable, any certificate or articles of
formation or organization of such entity.

         “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result of a
present or former connection between such Recipient and the jurisdiction imposing such Tax (other than
connections arising from such Recipient having executed, delivered, become a party to, performed its
obligations under, received payments under, received or perfected a security interest under, engaged in any
other transaction pursuant to or enforced any Loan Document, or sold or assigned an interest in any Loan
or Loan Document).




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         “Other Taxes” means all present or future stamp, court or documentary, intangible, recording, filing
or similar Taxes that arise from any payment made under, from the execution, delivery, performance,
enforcement or registration of, from the receipt or perfection of a security interest under, or otherwise with
respect to, any Loan Document, except any such Taxes that are Other Connection Taxes imposed with
respect to an assignment (other than an assignment made pursuant to Section 3.7(b)).

        “Outstanding Amount” means (a) with respect to any Loan on any date, the outstanding principal
amount thereof after giving effect to any borrowings and prepayments or repayments thereof occurring on
such date.

        “Participant” has the meaning assigned to such term in Section 10.4(d).

        “Participant Register” has the meaning assigned to such term in Section 10.4(d).

        “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined in ERISA.

        “Pension Plan” means any employee pension benefit plan (other than a Multiemployer Plan) subject
to the provisions of Title IV of ERISA or Section 412 or Section 430 of the Code or Section 302 or
Section 303 of ERISA, and in respect of which any Loan Party or any ERISA Affiliate is (or, if such plan
were terminated, would under Section 4069 of ERISA be deemed to be) an “employer” as defined in
Section 3(5) of ERISA.

        “Permitted Discretion” means with respect to Administrative Agent, a determination made in the
exercise of Administrative Agent’s commercially reasonable (from the perspective of a secured lender)
business judgment.

        “Permitted Encumbrances” means:

                (a)     Liens imposed by law for taxes, assessments or other governmental charges that
are not yet due or are being Contested in Good Faith, provided that enforcement of such Liens is stayed
pending such contest;

                 (b)      landlords’, vendors’, carriers’, warehousemen’s, mechanics’, materialmen’s,
repairmen’s and other like Liens imposed by law, arising in the ordinary course of business and securing
obligations that are not overdue by more than 30 days or are being Contested in Good Faith, provided that
enforcement of such Liens is stayed pending such contest;

              (c)      pledges and deposits made in the ordinary course of business in compliance with
workers’ compensation, unemployment insurance and other social security laws or regulations;

                (d)    deposits to secure the performance of bids, trade contracts (other than contracts for
the payment of money), leases (other than Capitalized Lease Obligations), statutory obligations, surety and
appeal bonds, performance bonds and other obligations of a like nature, in each case incurred in the ordinary
course of business;

                (e)      judgment liens in respect of judgments that do not constitute an Event of Default
under Section 8.1(k);

               (f)    easements, zoning restrictions, rights of way and similar encumbrances on real
property imposed by law or arising in the ordinary course of business that do not secure any monetary




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obligation and do not materially detract from the value of the affected property or interfere with the ordinary
conduct of business of the Loan Parties and their respective Subsidiaries;

                 (g)     any interest or title of a licensor, sublicensor, lessor or sublessor with respect to
any assets under any license or lease agreement entered into in the ordinary course of business, provided
that the same do not in any material respect interfere with the business of the Loan Parties or their
Subsidiaries or materially detract from the value of the relevant assets of the Loan Parties or its Subsidiaries;

                 (h)      licenses, sublicenses, leases or subleases with respect to any assets granted to third
Persons in the ordinary course of business, provided that the same do not in any material respect interfere
with the business of the Loan Parties or their Subsidiaries or materially detract from the value of the relevant
assets of the Loan Parties or their Subsidiaries;

                 (i)       customary rights of set off, bankers’ liens, refunds or charge backs, under deposit
agreements, the Uniform Commercial Code or common law, of banks or other financial institutions where
any Loan Party or any of such Loan Party’s Subsidiaries maintains deposits (other than deposits intended
as cash collateral) in the ordinary course of business;

                 (j)      Liens on Margin Stock to the extent that a prohibition on such Liens would violate
Regulation U;

               (k)     Liens on amounts deposited as “security deposits” (or their equivalent) in the
ordinary course of business in connection with actions or transactions not prohibited by this Credit
Agreement;

               (l)      Liens in favor of customs and revenue authorities arising in the ordinary course of
business as a matter of law to secure payment of customs duties in connection with the importation of
goods;

                (m)      Liens resulting from the filing of precautionary UCC-1 financing statements (or
equivalent) with respect to operating leases;

                (n)     Liens arising out of conditional sale, title retention, consignment or similar
arrangements for the sale of goods entered into by any Loan Party or any of its Subsidiaries in the ordinary
course of business;

                  (o)      Liens incurred in the ordinary course of business imposed by law in connection
with the purchase or shipping of goods or assets (or the related assets and proceeds thereof), which Liens
are in favor of the seller or shipper of such goods or assets and only attach to such goods or assets; and

                 (p)      Liens on equipment set forth on Schedule 7.2.

provided that the term “Permitted Encumbrance” shall not include any Lien securing Indebtedness.

       “Permitted Restructuring” means any one or more transactions pursuant to which the initial
Guarantors become Subsidiaries of Borrower.

         “Permitted Tax Distributions” means, with respect to any Person, any dividend or distribution to
any holder of such Person’s stock or other equity interests to permit such holders to pay federal income
taxes and all relevant state and local income taxes at a rate equal to the highest marginal applicable tax rate
for the applicable tax year, however denominated (together with any interest, penalties, additions to tax, or



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additional amounts with respect thereto) imposed as a result of taxable income attributed to such holder as
a partner of such Person under federal, state, and local income tax laws, determined on a basis that combines
those liabilities arising out of the net effect of the income, gains, deductions, losses, and credits of such
Person and attributable to it in proportion and to the extent in which such holders hold stock or other equity
interests of such Person.

        “Person” means any natural person, corporation, limited liability company, trust, joint venture,
association, company, partnership, Governmental Authority or other entity.

        “Platform” means DebtX, Debt Domain, Intralinks, Syndtrak or a substantially similar electronic
transmission system.

        “Pledge Agreement” means the Pledge Agreement and Irrevocable Proxy, dated as of the Closing
Date, among Cole Wayne Johnson, Cord Henry Johnson, and the Administrative Agent and acknowledged
and agreed to by the Borrower, Bighorn Construction and Reclamation, LLC, and Bighorn Investments and
Properties, LLC.

         “Prime Rate” means a rate per annum equal to the prime rate of interest announced from time to
time on the website of http://online.wsj.com/public/us as the current U.S. “Prime Rate”. In the event
http://online.wsj.com/public/us shall cease to exist or shall cease to publish a current U.S. Prime Rate, then
the Prime Rate shall be determined by reference to another base rate, prime rate, or similar lending rate
index, generally accepted on a national basis, as selected by Lender in its sole and absolute discretion.

         “Pro Forma Basis” means, with respect to any transaction, that such transaction shall be deemed to
have occurred as of the first day of the four-quarter period (or twelve month period, as applicable) ending
as of the most recent quarter end (or month end, as applicable) preceding the date of such transaction for
which financial statements have been delivered pursuant to Section 6.1(a) or (b). Each of the terms “Pro
Forma Compliance” and “Pro Forma Effect” shall have an analogous meaning.

       “PTE” means a prohibited transaction class exemption issued by the U.S. Department of Labor, as
any such exemption may be amended from time to time.

        “Public Lender” has the meaning assigned to such term in Section 10.1(d)(i).

         “QFC” has the meaning assigned to the term “qualified financial contract” in, and shall be
interpreted in accordance with, 12 U.S.C. § 5390(c)(8)(D).

         “Qualified Equity Interests” means, with respect to the Equity Interests of any Person, any Equity
Interests other than Disqualified Equity Interests of such Person.

         “Quotation Day” means, with respect to any LIBOR Borrowing and any Interest Period, the day
that is two Business Days prior to the first day of such Interest Period.

         “Real Property” means, collectively, all right, title and interest in and to any and all parcels of or
interests in real property owned or leased by any Person, together with, in each case, all easements,
hereditaments and appurtenances relating thereto, all improvements and appurtenant fixtures and
equipment, all general intangibles and contract rights and other property and rights incidental to the
ownership thereof.

        “Recipient” means the Administrative Agent or any Lender, as applicable.




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        “Register” has the meaning assigned to such term in Section 10.4(c).

        “Regulation D” means Regulation D of the Board.

        “Regulation T, U or X” means Regulation T, U or X, respectively, of the Board.

         “Relevant Governmental Body” means the Board of Governors of the Federal Reserve System or
the Federal Reserve Bank of New York, or a committee officially endorsed or convened by the Board of
Governors of the Federal Reserve System or the Federal Reserve Bank of New York, or any successor
thereto.

        “Related Parties” means, with respect to any Person, such Person’s Affiliates and the partners,
members, directors, officers, employees, agents, trustees, administrators, managers, advisors, attorneys-in-
fact and representatives of such Person and of such Person’s Affiliates.

         “Relevant Governmental Body” means the Board of Governors of the Federal Reserve System or
the Federal Reserve Bank of New York, or a committee officially endorsed or convened by the Board of
Governors of the Federal Reserve System or the Federal Reserve Bank of New York, or any successor
thereto.

        “Release” means any actual or threatened releasing, spilling, leaking, pumping, pouring, leaching,
seeping, emitting, migration, emptying, discharging, injecting, escaping, depositing, disposing, or dumping
of Hazardous Materials into the indoor or outdoor environment, including the movement of any Hazardous
Material through the air, soil, surface water, groundwater or property and any other conditions resulting in
potential or actual human exposure to Hazardous Materials within a structure.

        “Removal Effective Date” has the meaning assigned to such term in Section 9.6(b).

        “Request for Credit Extension” means a Committed Loan Notice.

        “Required Lenders” means, at any time, Lenders having Total Credit Exposures representing not
less than 66 2/3% of the Total Credit Exposures of all Lenders; provided that, (i) if there are fewer than
three (3) Lenders, “Required Lenders” shall mean Lenders representing not less than 100% of the Total
Exposure of all Lenders and (ii) if there are more than four (4) Lenders, “Required Lenders” shall mean
Lenders representing not less than 50.01% of the Total Exposures of all Lenders. The Total Credit Exposure
of any Defaulting Lender shall be disregarded in determining Required Lenders at any time.

        “Required Prepayment Date” has the meaning assigned to such term in Section 2.7(b)(iv).

        “Reserves” means any and all reserves that the Administrative Agent deems necessary, in its
Permitted Discretion, to maintain with respect to the Collateral or any Loan Party.

        “Resignation Effective Date” has the meaning assigned to such term in Section 9.6(a).

         “Responsible Officer” means the chief executive officer, president, vice president, chief financial
officer, treasurer, assistant treasurer, or other similar officer of a Loan Party. Any document delivered
hereunder that is signed by a Responsible Officer of a Loan Party shall be conclusively presumed to have
been authorized by all necessary corporate, partnership and/or other action on the part of such Loan Party
and such Responsible Officer shall be conclusively presumed to have acted on behalf of such Loan Party.




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         “Restricted Payment” means, as to any Person, (a) any dividend or other distribution by such Person
(whether in cash, securities or other property) with respect to any Equity Interests of such Person, (b) any
payment (whether in cash, securities or other property), including any sinking fund or similar deposit, on
account of the purchase, redemption, retirement, defeasance, acquisition, cancellation or termination of any
such Equity Interest, or on account of any return of capital to the holders of Equity Interests of such Person,
(c) the acquisition for value by such Person of any Equity Interests issued by such Person or any other
Person that Controls such Person, and (d) with respect to clauses (a) through (c) any transaction that has a
substantially similar effect.

        “Revolving Borrowing” means a Borrowing consisting of Revolving Loans of the same Type made,
converted or continued on the same date and, in the case of LIBOR Loans, as to which a single Interest
Period is in effect.

        “Revolving Commitment” means, with respect to each Revolving Lender, the commitment
hereunder of such Revolving Lender to make Revolving Loans in an aggregate outstanding amount not
exceeding the amount of such Revolving Lender’s Revolving Commitment as set forth on Schedule 2.1 or
in the Assignment and Assumption pursuant to which such Revolving Lender shall have assumed its
Revolving Commitment in accordance with Section 10.4(b), as applicable, as such Revolving Commitment
may be adjusted from time to time pursuant to Section 2.5, Section 2.10, or pursuant to assignments by or
to such Revolving Lender pursuant to Section 10.4. The initial aggregate amount of the Revolving
Commitments on the Agreement Date is $34,000,000.00.

         “Revolving Exposure” means, as to any Lender at any time, the sum of the Outstanding Amount
of its Revolving Loans.

        “Revolving Facility” means the credit facility established pursuant to Section 2.1(a) and evidenced
by the Revolving Commitments.

      “Revolving Lender” means a Lender having a Revolving Commitment or, if the Revolving
Commitments have expired or terminated, having Revolving Exposure.

        “Revolving Loan” means a loan referred to in Section 2.1(a) and made pursuant to Section 2.2.

        “Revolving Loan Note” means with respect to a Revolving Lender, a promissory note evidencing
the Revolving Loans of such Lender payable to the order of such Lender and its registered assigns
substantially in the form of Exhibit C.

        “Revolving Maturity Date” means the second anniversary of the Closing Date, provided that if such
day is not a Business Day, the Revolving Maturity Date shall be the Business Day immediately preceding
such day.

        “S&P” means Standard & Poor's Financial Services LLC, a subsidiary of S&P Global Inc.

         “Sale and Leaseback” means any transaction or series of related transactions pursuant to which any
Loan Party or any of its Subsidiaries (a) sells, transfers or otherwise disposes of any property, real or
personal, whether now owned or hereafter acquired, and (b) as part of such transaction, thereafter rents or
leases such property or other property that it intends to use for substantially the same purpose or purposes
as the property being sold, transferred or disposed.




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        “Sanctioned Country” means any country, territory or region which is itself the subject or target of
any comprehensive Sanctions (at the date of this Credit Agreement, the Crimean region of Ukraine, Cuba,
Iran, North Korea, Darfur, South Sudan and Syria).

         “Sanctioned Person” means (a) any Person or group listed in any Sanctions related list of designated
Persons maintained by OFAC, including the List of Specially Designated Nationals and Blocked Persons,
or the U.S. Department of State, the United Nations Security Council, the European Union or any EU
member state, (b) any Person subject to any law that would prohibit all or substantially all financial or other
transactions with that Person or would require that assets of that Person that come into the possession of a
third-party be blocked (c) any legal entity organized or domiciled in a Sanctioned Country, (d) any agency,
political subdivision or instrumentality of the government of a Sanctioned Country, (e) any natural person
ordinarily resident in a Sanctioned Country, or (f) any Person 50% or more owned, directly or indirectly,
individually or in the aggregate by any of the above.

        “Sanctions” means economic or financial sanctions or trade embargoes imposed, administered or
enforced from time to time by (a) the U.S. government, including those administered by OFAC or the U.S.
Department of State or (b) the United Nations Security Council, the European Union or any European
Union member state, Her Majesty’s Treasury of the United Kingdom or other relevant sanctions authority.

        “Secured Obligation Designation Notice” means a notice substantially in the form of Exhibit J
executed and delivered to the Administrative Agent by a counterparty (other than the Administrative Agent
and its Affiliates) to a Swap Agreement or an agreement to provide Cash Management Services in order
that the obligations in respect thereof constitute Swap Agreement Obligations or Cash Management
Obligations.

      “Secured Obligations” means, collectively, (a) the Loan Document Obligations, (b) the Cash
Management Obligations and (c) the Swap Agreement Obligations.

        “Secured Parties” means, collectively, (a) the Administrative Agent, (b) each Lender, (c) each
Person to whom any Cash Management Obligations are owed, (d) each counterparty to any Swap
Agreement the obligations under which constitute Swap Agreement Obligations, (e) the beneficiaries of
each indemnification obligation undertaken by any Loan Party under any Loan Document and (f) the
permitted successors and assigns of each of the foregoing.

       “Security Agreement” means the Pledge and Security Agreement, dated as of the Closing Date,
among the Loan Parties and the Administrative Agent.

        “Senior Leverage Ratio” means, with respect to any Measurement Period, the ratio of (a) Funded
Indebtedness of the Loan Parties and each of their respective Subsidiaries as of the last day of such
Measurement Period (excluding, without duplication, Subordinated Debt and Junior Debt) to (b)
Consolidated EBITDA of the Loan Parties and each of their respective Subsidiaries for such Measurement
Period.

        “Solvency Certificate” means a certificate, substantially in the form of Exhibit I.

          “Solvent” and “Solvency” mean, with respect to any Person on any date of determination, that on
such date (a) the fair value of the present assets of such Person and its Subsidiaries, taken as a whole, is not
less than the sum of the debt (including contingent liabilities) of such Person and its Subsidiaries, taken as
a whole, (b) the present fair salable value of the assets of such Person and its Subsidiaries, taken as a whole,
is not less than the amount that will be required to pay the probable liabilities (including contingent
liabilities) of such Person and its Subsidiaries, taken as a whole, on their debts as they become absolute and



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matured, (c) the capital of such Person and its Subsidiaries, taken as a whole, is not unreasonably small in
relation to the business of such Person or its Subsidiaries, taken as a whole, contemplated as of such date
and (d) such Person and its Subsidiaries, taken as a whole, do not intend to incur, or believe that they will
incur, debts (including current obligations and contingent liabilities) beyond their ability to pay such debts
as they mature in the ordinary course of business; provided that the amount of contingent liabilities at any
time shall be computed as the amount that, in light of all the facts and circumstances existing at such time,
represents the amount that can reasonably be expected to become an actual or matured liability.

         “Statutory Reserve Rate” means a fraction (expressed as a decimal), the numerator of which is the
number one and the denominator of which is the number one minus the aggregate of the maximum reserve
percentages (including any basic, marginal, special, emergency, supplemental or other reserves) expressed
as a decimal established by the Board to which the Administrative Agent is subject for eurocurrency funding
(currently referred to as “eurocurrency liabilities” in Regulation D). Such reserve percentages shall include
those imposed pursuant to Regulation D. LIBOR Loans shall be deemed to constitute eurocurrency funding
and to be subject to such reserve requirements without benefit of or credit for proration, exemptions or
offsets that may be available from time to time to any Lender under Regulation D or any comparable
regulation. The Statutory Reserve Rate shall be adjusted automatically on and as of the effective date of
any change in any reserve percentage.

        “Subordinated Debt” means Indebtedness incurred by a Loan Party that is subordinated in right of
payment to the prior payment of the Loan Document Obligations of such Loan Party and contains
subordination and other terms acceptable to the Administrative Agent.

       “Subordinated Debt Documents” means any agreement, indenture or instrument pursuant to which
any Subordinated Debt is issued, in each case as amended to the extent permitted under the Loan
Documents.

        “subsidiary” means, with respect to any Person, as of any date, any corporation, limited liability
company, partnership, association or other entity the accounts of which would be consolidated with those
of such Person in such Person’s consolidated financial statements if such financial statements were prepared
in accordance with GAAP as of such date, as well as any other corporation, limited liability company,
partnership, association or other entity of which securities or other ownership interests representing more
than 50% of the equity or more than 50% of the ordinary voting power is or, in the case of a partnership,
more than 50% of the general partnership interests are, as of such date, owned, controlled or held by such
Person or one or more subsidiaries of such Person.

       “Subsidiary” means any direct or indirect subsidiary of the Borrower or a Loan Party, as the context
may require. Unless otherwise specified, a “Subsidiary” shall refer to a Subsidiary of the Borrower.

        “Subsidiary Joinder Agreement” means a Subsidiary Joinder Agreement, substantially in the form
of Exhibit G, pursuant to which a Subsidiary (other than an Excluded Subsidiary) becomes a party to the
Guarantee Agreement, to the Security Agreement and to each other applicable Loan Document.

         “Swap Agreement” means (a) any and all rate swap transactions, basis swaps, credit derivative
transactions, forward rate transactions, commodity swaps, commodity options, forward commodity
contracts, equity or equity index swaps or options, bond or bond price or bond index swaps or options or
forward bond or forward bond price or forward bond index transactions, interest rate options, forward
foreign exchange transactions, cap transactions, floor transactions, collar transactions, currency swap
transactions, cross-currency rate swap transactions, currency options, spot contracts, or any other similar
transactions or any combination of any of the foregoing (including any options to enter into any of the
foregoing), whether or not any such transaction is governed by or subject to any master agreement, and (b)


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any and all transactions of any kind, and the related confirmations, which are subject to the terms and
conditions of, or governed by, any form of master agreement published by the International Swaps and
Derivatives Association, Inc., any International Foreign Exchange Master Agreement or any other master
agreement (any such master agreement, together with any related schedules, a “Master Agreement”),
including any such obligations or liabilities under any Master Agreement.

         “Swap Agreement Obligations” means all obligations of the Loan Parties under each Swap
Agreement to which any Loan Party is a party and that (a) is with a counterparty that is the Administrative
Agent or any of its Affiliates, (b) is in effect on the Closing Date with a counterparty that is a Lender or an
Affiliate of a Lender as of the Closing Date, (c) is entered into after the Closing Date with any counterparty
that is a Lender or an Affiliate of a Lender at the time such Swap Agreement is entered into or becomes a
Lender or an Affiliate of a Lender after it has entered into such agreement or (d) is approved by
Administrative Agent in its Permitted Discretion, provided that any such counterparty (other than the
Administrative Agent or its Affiliates) executes and delivers a Secured Obligation Designation Notice to
the Administrative Agent and, provided, further, that Swap Agreement Obligations shall not include, with
respect to any Guarantor, Excluded CEA Swap Obligations of such Guarantor.

        “Swap Termination Value” means, in respect of any one or more Swap Agreements, after taking
into account the effect of any legally enforceable netting agreement relating to such Swap Agreements, (a)
for any date on or after the date such Swap Agreements have been closed out and termination value(s)
determined in accordance therewith, such termination value(s), and (b) for any date prior to the date
referenced in clause (a), the amount(s) determined as the mark-to-market value(s) for such Swap
Agreements, as determined based upon one or more mid-market or other readily available quotations
provided by any recognized dealer in such Swap Agreements (which may include a Lender or any Affiliate
of a Lender).

        “Synthetic Debt” means, with respect to any Person as of any date of determination thereof, all
obligations of such Person in respect of transactions entered into by such Person that are intended to
function primarily as a borrowing of funds (including any minority interest transactions that function
primarily as a borrowing) but are not otherwise included in the definition of “Indebtedness” or as a liability
on the consolidated balance sheet of such Person and its Subsidiaries in accordance with GAAP).

         “Synthetic Lease Obligation” means the monetary obligation of a Person at any time of
determination under (i) a so called synthetic, off balance sheet or tax retention lease, or (ii) an agreement
for the use or possession of property, in each case, creating obligations that do not appear on the balance
sheet of such Person but which could be characterized as the indebtedness of such Person (without regard
to accounting treatment) (other than operating leases arising as a result of Sale and Leaseback transactions).

        “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
(including backup withholding), assessments, fees or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto.

        “Termination Date” means the date upon which all Commitments have terminated, and the Loans,
together with all interest and fees related thereto and other Loan Document Obligations (other than
unasserted contingent indemnification and unasserted expense reimbursement obligations in each case not
yet due and payable), have been indefeasibly paid in full in cash.

      “Term SOFR” means, for the applicable corresponding tenor, the forward-looking term rate based
on SOFR that has been selected or recommended by the Relevant Governmental Body.

        “Threshold Amount” means $1,000,000.00.


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       “Total Credit Exposure” means, as to any Lender at any time, the unused Commitments and
Revolving Exposure of such Lender at such time.

       “Total Revolving Outstandings” means at any time, the aggregate Outstanding Amount of all
Revolving Loans at such time.

       “Transaction Expenses” means any fees, premiums, expenses, or other costs incurred or paid by
any Loan Party, or any Subsidiary in connection with the Transactions, this Credit Agreement and the other
Loan Documents and the transactions contemplated hereby and thereby in connection therewith.

         “Transactions” means (a) the execution, delivery and performance by each Loan Party of each Loan
Document to which it is a party, (b) the borrowing of the Loans and the issuance of the Letters of Credit,
(c) the use of the proceeds of the Loans and the Letters of Credit, (d) the satisfaction of the Collateral and
Guarantee Requirement and (e) the payment of Transaction Expenses.

        “Type”, when used in reference to any Loan or Borrowing, refers to whether the rate of interest on
such Loan, or on the Loans comprising such Borrowing, is determined by reference to the Adjusted LIBOR
Rate or the Alternate Base Rate.

         “Unaudited Financial Statements” means the unaudited consolidated and consolidating balance
sheets and related statements of income, comprehensive income, changes in equity and cash flows of the
Loan Parties and their respective Subsidiaries for the period ending May 31, 2021 and for any period ending
at least ninety (90) days before the Closing Date.

          “Uniform Commercial Code” or “UCC” means the Uniform Commercial Code as the same may
from time to time be in effect in the State of Texas; provided that, if perfection or the effect of perfection
or non-perfection or the priority of any security interest in any Collateral is governed by the Uniform
Commercial Code as in effect in a jurisdiction other than the State of Texas, “Uniform Commercial Code”
or “UCC” means the Uniform Commercial Code as in effect from time to time in such other jurisdiction
for purposes of the provisions hereof relating to such perfection, effect of perfection or non-perfection or
priority.

        “United States” and “U.S.” mean the United States of America.

        “Unreimbursed Amount” has the meaning assigned to such term in Section 2.4(c)(i).

        “USD LIBOR” means the London interbank offered rate for U.S. dollars.

        “U.S. Person” means any Person that is a “United States Person” as defined in Section 7701(a)(30)
of the Code.

        “U.S. Tax Compliance Certificate” has the meaning assigned to such term in Section 3.6(g)(ii).

        “USA PATRIOT Act” means The Uniting and Strengthening America by Providing Appropriate
Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of Pub. L. No. 107-56 (signed
into law October 26, 2001)).

         “Voting Equity Interests” means, with respect to any Person, shares of such Person’s Equity
Interests having the right to vote for the election of the members of the board of directors or other managing
person of such Person under ordinary circumstances.




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         “Wholly-Owned” means, with respect to a Subsidiary of a Person, a Subsidiary of such Person all
of the outstanding Equity Interests of which (other than (x) director’s qualifying shares and (y) shares issued
to foreign nationals to the extent required by applicable law) are owned by such Person and/or by one or
more wholly owned Subsidiaries of such Person.

       “Withdrawal Liability” means a liability to a Multiemployer Plan as a result of a complete or partial
withdrawal from such Multiemployer Plan, as such terms are defined in Part I of Subtitle E of Title IV of
ERISA.

        “Withholding Agent” means any Loan Party and the Administrative Agent.

        “Write-Down and Conversion Powers” means, with respect to any EEA Resolution Authority, the
write-down and conversion powers of such EEA Resolution Authority from time to time under the Bail-In
Legislation for the applicable EEA Member Country, which write-down and conversion powers are
described in the EU Bail-In Legislation Schedule.

       Section 1.2   Classification of Loans and Borrowings. For purposes of this Credit Agreement,
Revolving Loans may be classified and referred to by Type (e.g. “LIBOR Revolving Loan” or “ABR
Revolving Loan”).

         Section 1.3      Terms Generally. The definitions of terms herein shall apply equally to the
singular and plural forms of the terms defined. Whenever the context may require, any pronoun shall
include the corresponding masculine, feminine and neuter forms. The words “include,” “includes” and
“including” shall be deemed to be followed by the phrase “without limitation.” The word “will” shall be
construed to have the same meaning and effect as the word “shall.” In the computation of periods of time
from a specified date to a later specified date, the word “from” means “from and including”; the words “to”
and “until” each mean “to but excluding”; and the word “through” means “to and including.” Unless the
context requires otherwise (a) any definition of or reference to any agreement, instrument or other document
herein shall be construed as referring to such agreement, instrument or other document as from time to time
amended, restated, supplemented or otherwise modified (subject to any restrictions on such amendments,
restatements, supplements or modifications set forth herein), (b) any reference herein to any Person shall
be construed to include such Person’s successors and assigns, (c) the words “herein,” “hereof” and
“hereunder,” and words of similar import, shall be construed to refer to this Credit Agreement in its entirety
and not to any particular provision hereof, (d) all references herein to Articles, Sections, Exhibits and
Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to, this Credit
Agreement, (e) any reference to any law or regulation herein shall, unless otherwise specified, refer to such
law or regulation as amended, modified or supplemented from time to time, and (f) the words “asset” and
“property” shall be construed to have the same meaning and effect and to refer to any and all tangible and
intangible assets and properties, including cash, securities, accounts and contract rights. Any terms used in
this Credit Agreement that are defined in the UCC shall be construed and defined as set forth in the UCC
unless otherwise defined herein; provided, that to the extent that the UCC is used to define any term herein
and such term is defined differently in different Articles of the UCC, the definition of such term contained
in Article 9 of the UCC shall govern.

        Section 1.4      Accounting Terms; GAAP.

                 (a)     All accounting terms not specifically or completely defined herein shall be
construed in conformity with, and all financial data (including financial ratios and other financial
calculations) required to be submitted pursuant to this Credit Agreement shall be prepared in conformity
with, GAAP except as otherwise specifically prescribed herein.



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                 (b)      If at any time any change in GAAP would affect the computation of any financial
ratio or requirement set forth in any Loan Document, and either the Borrower or the Required Lenders shall
so request, the Administrative Agent, the Lenders and the Borrower shall negotiate in good faith to amend
such ratio or requirement to preserve the original intent thereof in light of such change in GAAP (subject
to the approval of the Required Lenders); provided that, until so amended, (i) such ratio or requirement
shall continue to be computed in accordance with GAAP prior to such change therein and (ii) the Borrower
shall provide to the Administrative Agent and the Lenders financial statements and other documents
required under this Credit Agreement or as reasonably requested hereunder setting forth a reconciliation
between calculations of such ratio or requirement made before and after giving effect to such change in
GAAP.

        Section 1.5      Rounding. Any financial ratios required to be maintained by the Borrower
pursuant to this Credit Agreement shall be calculated by dividing the appropriate component by the other
component, carrying the result to one place more than the number of places by which such ratio is expressed
herein and rounding the result up or down to the nearest number (with a rounding-up if there is no nearest
number).

         Section 1.6      References to Time. Unless the context otherwise requires, references to a time
shall refer to Eastern Standard Time or Eastern Daylight Savings Time, as applicable.

         Section 1.7        Resolution of Drafting Ambiguities. Each Loan Party acknowledges and agrees
that it was represented by counsel in connection with the execution and delivery of the Loan Documents to
which it is a party, that it and its counsel reviewed and participated in the preparation and negotiation hereof
and thereof and that any rule of construction to the effect that ambiguities are to be resolved against the
drafting party shall not be employed in the interpretation hereof or thereof.

        Section 1.8      Status of Loan Document Obligations. In the event that any Loan Party shall at
any time issue or have outstanding any Subordinated Debt, the Borrower shall take or cause each other
Loan Party to take all such actions as shall be necessary to cause the Loan Document Obligations to
constitute senior indebtedness (however denominated) in respect of such Subordinated Debt and to enable
the Administrative Agent and the Lenders to have and exercise any payment blockage or other remedies
available or potentially available to holders of senior indebtedness under the terms of such Subordinated
Debt. Without limiting the foregoing, the Loan Document Obligations are hereby designated as “senior
indebtedness” and as “designated senior indebtedness” and words of similar import under and in respect of
the Subordinated Debt Documents under which such Subordinated Debt is issued and are further given all
such other designations as shall be required under the terms of any such Subordinated Debt in order that
the Administrative Agent and the Lenders may have and exercise any payment blockage or other remedies
available or potentially available to holders of senior indebtedness under the terms of such Subordinated
Debt.

        Section 1.9      Interest. The Administrative Agent does not warrant, nor accept responsibility,
nor shall the Administrative Agent have any liability with respect to the administration, submission or any
other matter related to the rates in the definition of “LIBOR Rate” or with respect to any comparable or
successor rate thereto.

          Section 1.10     Divisions. For all purposes under the Loan Documents, in connection with any
division or plan of division under Delaware law (or any comparable event under a different jurisdiction’s
laws): (a) if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or
liability of a different Person, then it shall be deemed to have been transferred from to the original Person
to the subsequent Person, and (b) if any new Person comes into existence, such new Person shall be deemed
to have been organized on the first date of its existence by the holders of its Equity Interests at such time.


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         Section 1.11     Notification and Limitation of Liability - LIBOR and Related Matters. LIBOR is
derived from the London Interbank Offered Rate, which is currently administered by ICE Benchmark
Administration Limited (“IBA”). The U.K. Financial Conduct Authority (“FCA”) announced in July 2017
that, after December 31, 2021, it would no longer persuade or compel contributing banks to make rate
submissions to IBA. In December 2020, however, IBA issued a public consultation on its intention to extend
the publication of certain dominant tenors of USD LIBOR until June 30, 2023. On March 5, 2021, further
to that consultation, IBA announced that it will (i) permanently cease the publication of all non-U.S. dollar
denominated settings and the one-week and two-month settings of USD LIBOR on December 31, 2021 and
(ii) permanently cease the publication of the overnight, one-month, three-month, six-month, and twelve-
month settings of USD LIBOR on June 30, 2023, unless the FCA exercises certain proposed new powers
to require IBA to continue publication using a changed methodology, i.e., on a “synthetic basis”; also on
March 5, 2021, the FCA announced that all LIBOR settings will either permanently cease or will no longer
be representative immediately after the respective termination dates described in the IBA announcement.
As a result, all USD LIBOR settings will cease to be available as representative benchmark rates
immediately after June 30, 2023 (or after December 31, 2021 in the case of the one-week and two-month
settings). Section 3.3 hereof provides a mechanism to determine an alternative rate of interest when LIBOR
(or any other Benchmark) or any component thereof is no longer available or representative and in certain
other circumstances if so elected by the Administrative Agent and/or the Borrower, and permits the
Administrative Agent to make changes to give effect to any such alternative rate of interest. Neither the
Administrative Agent, any Lender nor any of their respective affiliates warrants or accepts any
responsibility for, or will have any liability with respect to (i) the administration or submission of, or any
other matter related to, the London Interbank Offered Rate, LIBOR (or any component thereof) or any
Benchmark Replacement (or any component thereof), including, without limitation, whether any
Benchmark Replacement will have the same value as, be economically equivalent to, or have the same
volume or liquidity as, LIBOR or the London Interbank Offered Rate or any other Benchmark that is
replaced or (ii) the effect, implementation or composition of any Benchmark Replacement Conforming
Changes, as defined herein. References herein to a component of, or a published component used in the
calculation of, LIBOR are deemed to include the Screen Rate.

                                                ARTICLE 2

                                              THE CREDITS

        Section 2.1     Commitments. Subject to the terms and conditions hereof and relying upon the
representations and warranties herein set forth, each Revolving Lender agrees, severally and not jointly, to
make Revolving Loans to the Borrower in Dollars from time to time during the Availability Period in an
aggregate principal amount that will not result in (i) such Revolving Lender’s Revolving Exposure
exceeding such Revolving Lender’s Revolving Commitment or the Borrowing Base, or (ii) the Total
Revolving Outstandings exceeding the aggregate Revolving Commitments or the Borrowing Base. Within
the foregoing limits and subject to the terms and conditions set forth herein, the Borrower may borrow,
prepay and reborrow Revolving Loans. Revolving Loans may be ABR Loans or LIBOR Loans, as further
provided herein.

        Section 2.2      Borrowings, Conversions, and Continuations of Loans.

                  (a)    Each Borrowing, each conversion of Loans from one Type to the other, and each
continuation of LIBOR Loans shall be made upon the Borrower’s irrevocable notice, to the Administrative
Agent, which may be given by telephone. Each such notice must be received by the Administrative Agent
substantially in the form of a Committed Loan Notice (i) in the case of an ABR Borrowing on the Closing
Date, not later than 11:00 a.m. on the date of the proposed Borrowing, (ii) in the case of a LIBOR
Borrowing, not later than 11:00 am three Business Days before the date of the proposed Borrowing.


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                  (b)      Each telephonic notice by the Borrower pursuant to Section 2.2(a) must be
confirmed promptly by hand delivery or facsimile (or transmitted by electronic communication, if
arrangements for doing so have been approved by the Administrative Agent) of a written Committed Loan
Notice, appropriately completed and signed by a Responsible Officer of the Borrower. Except as provided
in Section 2.3(c) and Section 2.4(c), each Borrowing or conversion of Loans shall be in a principal amount
of the Borrowing Minimum or a whole multiple of the Borrowing Multiple in excess thereof. Each
Committed Loan Notice (whether telephonic or written) shall specify (A) whether the Borrower is
requesting a Borrowing, a conversion of Loans from one Type to the other, or a continuation of LIBOR
Loans, (B) the requested date of the Borrowing, conversion, or continuation, as the case may be (which
shall be a Business Day), (C) principal amount of Loans to be borrowed, converted or continued, (D) the
Type of Loans to be borrower or to which existing Loans are to be converted, (E) if applicable, the duration
of the Interest Period with respect thereto which shall be a period contemplated by the definition of the term
“Interest Period”, and (F) the location and number of the Borrower’s account to which funds are to be
disbursed, which shall comply with the requirements of Section 2.2. Notwithstanding anything in this
Credit Agreement to the contrary, if the Borrower requests a Borrowing of, conversion to, or continuation
of LIBOR Loans in any such Committed Loan Notice, but fails to specify an Interest Period, it will be
deemed to have specified an Interest Period of one month. Any automatic continuation as provided above
shall be effective as of the last day of the Interest Period then in effect with respect to the applicable LIBOR
Loans.

                (c)      Following receipt of a Committed Loan Notice, the Administrative Agent shall
promptly notify each Lender of the amount of its Applicable Percentage of the Loans, and if no timely
notice of a conversion or continuation is provided by the Borrower, the Administrative Agent shall notify
each Lender of the details of any automatic continuation described in Section 2.2(b). In the case of each
Borrowing, each Lender shall make (or cause its Applicable Lending Office to make) the amount of its
Loan available to the Administrative Agent, by transfer in immediately available funds to the account of
the Administrative Agent most recently designated by it for such purpose by notice to the Lenders, not later
than 11:00 a.m. on the Business Day specified in the applicable Committed Loan Notice. Upon satisfaction
or waiver of the applicable conditions set forth in Section 4.2 (and, if such Borrowing is the initial Credit
Extension, Section 4.1), the Administrative Agent shall make all funds so received available to the
Borrower in like funds as received by transfer to the account of the Borrower maintained with BancorpSouth
Bank and designated in the Commitment Loan Notice the amount of such funds.

                 (d)      Except as otherwise provided herein, a LIBOR Loan may be continued or
converted only on the last day of an Interest Period for such Loan unless the Borrower pays the amount
due, if any, under Section 3.5 in connection therewith. During the existence of an Event of Default, the
Administrative Agent or the Required Lenders may require that (i) no Loans may be requested as, converted
to or continued as LIBOR Loans, and (iii) unless repaid, each LIBOR Loan be converted to an ABR Loan
at the end of the Interest Period applicable thereto.

                   (e)    The Administrative Agent shall promptly notify the Borrower and the Lenders of
the interest rate applicable to any Interest Period for LIBOR Loans upon determination of such interest rate.
The determination of the Adjusted LIBOR Rate by the Administrative Agent shall be conclusive in the
absence of manifest error.

                 (f)      Anything in clauses (a) through (d) above to the contrary notwithstanding, after
giving effect to all Borrowings, all conversions of Loans from one Type to the other, and all continuations
of Loans as the same Type, there shall not be more than four Interest Periods in effect at any time for all
Borrowings of LIBOR Loans.




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                (g)     The failure of any Lender to make any Loan required to be made by it shall not
relieve any other Lender of its obligations hereunder, provided that the Commitments of the Lenders are
several, and no Lender shall be responsible for any other Lender’s failure to make Loans as required.

        Section 2.3     Reserved.

        Section 2.4     Reserved.

        Section 2.5     Termination and Reduction of Commitments.

                 (a)      Unless previously terminated, the Revolving Commitments shall terminate on the
last day of the Availability Period.

                (b)     The Borrower may at any time terminate, or from time to time reduce, the
Revolving Commitments, provided that (i) the Borrower shall not terminate or reduce the Revolving
Commitments if, after giving effect to any concurrent prepayment or repayment of the Revolving Loans in
accordance with Section 2.7, the sum of the Revolving Exposures of all Revolving Lenders would exceed
the aggregate Revolving Commitments and (ii) each such reduction of the Revolving Commitments shall
be in an amount that is an integral multiple of the applicable Borrowing Multiple and not less than the
applicable Borrowing Minimum. If at any time, as a result of such a partial reduction or termination as
provided in Section 2.5(a), the Revolving Exposure of all Lenders would exceed the aggregate Revolving
Commitments, then the Borrower shall on the date of such reduction or termination of Revolving
Commitments, repay or prepay Revolving Borrowings in an aggregate amount equal to such excess.

                (c)     In addition to any termination or reduction of the Revolving Commitments under
paragraphs (a) and (b) of this Section, the Revolving Commitments shall be reduced as required under
Section 2.7(b).

                 (d)     The Borrower shall notify the Administrative Agent of any election to terminate
or reduce the Revolving Commitments under paragraph (b) of this Section at least five (5) days prior to the
effective date of such termination or reduction, specifying such election and the effective date thereof.
Promptly following receipt of any such notice, the Administrative Agent shall advise the Lenders of the
contents thereof. Each notice delivered by the Borrower pursuant to this Section shall be irrevocable. Each
reduction, and any termination, of the Revolving Commitments shall be permanent and each reduction of
the Revolving Commitments or the shall be made ratably among the Revolving Lenders in accordance with
their respective Revolving Commitments.

        Section 2.6     Repayment of Loans; Evidence of Debt.

                 (a)      Payment at Maturity. The Borrower hereby unconditionally promises to pay (i) to
the Administrative Agent for the account of each Revolving Lender the then unpaid principal amount of
each Revolving Loan together with all accrued interest thereon on the earlier of the Revolving Maturity
Date and, if different, the date of the termination of the Revolving Commitments in accordance with the
provisions of this Credit Agreement.

                (b)     [Reserved].

                (c)     [Reserved].

                (d)    Notes. Any Lender may request through the Administrative Agent that Loans
made by it be evidenced by a promissory note. In such event, the Borrower shall execute and deliver to a


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Revolving Lender a Revolving Loan Note. In addition, if requested by a Lender, its Note may be made
payable to such Lender and its registered assigns in which case all Loans evidenced by such Note and
interest thereon shall at all times (including after assignment pursuant to Section 10.4) be represented by
one or more Notes in like form payable to the order of the payee named therein and its registered assigns.

                (e)     Lender Records. Each Lender shall maintain in accordance with its usual practice
an account or accounts evidencing the indebtedness of the Borrower to such Lender resulting from each
Loan owing to such Lender from time to time, including the amounts of principal and interest payable and
paid to such Lender from time to time hereunder.

                 (f)      Register. Entries made in good faith by the Administrative Agent in the Register
pursuant to Section 10.4(c), and by each Lender in its account or accounts pursuant to Section 2.6(e), shall
be prima facie evidence of the amount of principal and interest due and payable or to become due and
payable from the Borrower to, in the case of the Register, each Lender and, in the case of such account or
accounts, such Lender, under this Credit Agreement, absent manifest error; provided, however, that the
failure of the Administrative Agent or such Lender to make an entry, or any finding that an entry is incorrect,
in the Register or such account or accounts shall not limit or otherwise affect the obligations of the Borrower
under this Credit Agreement.

        Section 2.7      Prepayments.

                 (a)     Optional Prepayments. The Borrower may, upon written notice to the
Administrative Agent, at any time and from time to time, voluntarily prepay any Borrowing of any Class
in whole or in part without premium or penalty (except as set forth in Section 3.5), provided that (A) such
notice must be received by the Administrative Agent not later than 1:00 p.m. (1) three Business Days prior
to any date of prepayment of a LIBOR Borrowing and (2) one Business Day prior to the date of prepayment
of an ABR Borrowing and (B) each prepayment shall be in a principal amount of the Borrowing Minimum
or a whole multiple of the Borrowing Multiple in excess thereof or, in each case, the entire principal amount
thereof then outstanding. Each such notice shall specify the date and amount of such prepayment and the
Class(es) and Type(s) of Loans to be prepaid. The Administrative Agent will promptly notify each Lender
of its receipt of each such notice, and of the amount of such Lender’s Applicable Percentage of such
prepayment. If such notice is given by the Borrower, the Borrower shall make such prepayment and the
payment amount specified in such notice shall be due and payable on the date specified therein.

                 (b)     Mandatory Prepayments.

                         (i)      Net Cash Proceeds.

                                  (A)     Dispositions. In the event that any Loan Party or any of its
                 Subsidiaries receives Net Cash Proceeds in respect of any Disposition in excess of
                 $250,000 in any Fiscal Year, then, substantially simultaneously with (and in any event not
                 later than the third Business Day next following) the receipt of such Net Cash Proceeds,
                 the Borrower shall prepay the Revolving Loans in an aggregate principal amount equal to
                 100% of such Net Cash Proceeds in excess of such $250,000 threshold.

                                  (B)    Debt Incurrences. In the event that any Loan Party or any of its
                 Subsidiaries receives Net Cash Proceeds in respect of any Debt Incurrence, then,
                 substantially simultaneously with (and in any event not later than the third Business Day
                 next following) the receipt of such Net Cash Proceeds, the Borrower shall prepay the
                 Revolving Loans in an aggregate principal amount equal to 100% of such Net Cash
                 Proceeds.


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                                 (C)    Casualty Events. In the event that any Loan Party or any of its
                Subsidiaries receives Net Cash Proceeds in respect of any Casualty Event in excess of
                $250,000 in any Fiscal Year, then, subject in all respects to Section 6.11 hereof,
                substantially simultaneously with (and in any event not later than the third Business Day
                next following) the receipt of such Net Cash Proceeds, the Borrower shall prepay the
                Revolving Loans in an aggregate principal amount equal to 100% of such Net Cash
                Proceeds in excess of such $250,000.

                        (ii)    If on any date (after giving effect to any other payments on such date) the
        Total Revolving Outstandings exceeds the lesser of (y) the Revolving Commitments and (z) the
        Borrowing Base, then, in the case of each of the foregoing, the Borrower shall, on such day, prepay
        the principal amount of Revolving Loans in an aggregate amount at least equal to such excess.

                        (iii)   Application of Mandatory Prepayments. Each prepayment of outstanding
        Revolving Loans required to be made pursuant to Section 2.7(b) shall be allocated pro rata among
        the then outstanding Revolving Loans.

                        (iv)     Notice of Mandatory Prepayment. The Borrower shall deliver to the
        Administrative Agent with respect to each prepayment required under this Section 2.7(b) a notice
        of prepayment at least three Business Days prior to the date on which the Borrower is required to
        make such prepayment (the “Required Prepayment Date”), together with a certificate signed by a
        Financial Officer of the Borrower setting forth in reasonable detail the calculation of the amount of
        such prepayment. Each notice of prepayment shall specify the prepayment date, the Class and Type
        of each Loan being prepaid and the principal amount of each Loan (or portion thereof) to be prepaid.

                (c)     Prepayments of Revolving Loans. If for any reason the Total Revolving
Outstandings at any time exceed the aggregate Revolving Commitments then in effect, the Borrower shall
immediately prepay, without premium or penalty, Revolving Loans in an aggregate amount equal to such
excess.

                 (d)     General Rules. All prepayments shall be subject to Section 3.5, but shall otherwise
be without premium or penalty. Each prepayment of a Borrowing shall be applied ratably to the Loans
included in the prepaid Borrowing. All prepayments shall be accompanied by accrued interest thereon and,
in the case of any prepayment of a LIBOR Loan, any additional amounts required pursuant to Section 3.5.

        Section 2.8     Payments Generally; Administrative Agent’s Clawback.

                 (a)      General. Each Loan Party shall make each payment required to be made by it
hereunder or under any other Loan Document (whether of principal of Loans, interest or fees, or of amounts
payable under Sections 3.4, 3.5, 3.6 or 10.3, or otherwise) prior to 12:00 noon on the date when due, in
Dollars and in immediately available funds. All payments to be made by a Loan Party hereunder shall be
made free and clear of and without condition or deduction for any counterclaim, defense, recoupment or
setoff, without setoff or counterclaim. Any amounts received after such time on any date may, in the
discretion of the Administrative Agent, be deemed to have been received on the next succeeding Business
Day for purposes of calculating interest thereon. All such payments shall be made to the Administrative
Agent’s Payment Office, except that payments pursuant to Sections 3.4, 3.5, 3.6 or 10.3, shall be made
directly to the Persons entitled thereto. The Administrative Agent shall distribute any such payments
received by it for the account of any other Person to the appropriate recipient promptly following receipt
thereof. If any payment hereunder shall be due on a day that is not a Business Day, the date for payment
shall be extended to the next succeeding Business Day, and, in the case of any payment accruing interest,
interest thereon shall be payable for the period of such extension.


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                  (b)     Pro Rata Treatment. Except as otherwise provided in this Section 2.8 and as
otherwise required under Section 3.4(e), each Borrowing, each payment or prepayment of principal of any
Borrowing, each payment of interest on the Loans, each payment of fees, each reduction of the Revolving
Commitments and each conversion of any Borrowing to or continuation of any Borrowing as a Borrowing
of any Type shall be allocated pro rata among the Lenders in accordance with their respective applicable
Commitments (or, if such Commitments shall have expired or been terminated, in accordance with the
respective principal amounts of their outstanding Loans of the applicable Class). Each Lender agrees that
in computing such Lender’s portion of any Borrowing to be made hereunder, the Administrative Agent
may, in its discretion, round each Lender’s percentage of such Borrowing to the next higher or lower whole
Dollar amount.

                (c)     Administrative Agent’s Clawback.

                         (i)      Funding by Lenders; Presumption by Administrative Agent. Unless the
        Administrative Agent shall have received notice from a Lender (x) in the case of ABR Borrowings,
        three hours prior to the proposed time of such Borrowing and (y) otherwise, prior to the proposed
        date of any Borrowing that such Lender will not make available to the Administrative Agent such
        Lender’s share of such Borrowing, the Administrative Agent may assume that such Lender has
        made such share available on such date in accordance with Section 2.2 and may, in reliance upon
        such assumption, make available to the Borrower a corresponding amount. In such event, if a
        Lender has not in fact made its share of the applicable Borrowing available to the Administrative
        Agent, then the Lenders and the Borrower severally agree to pay to the Administrative Agent
        forthwith on demand such corresponding amount with interest thereon for each day from and
        including the date such amount is made available to the Borrower to but excluding the date of
        payment to the Administrative Agent, at (A) in the case of a payment to be made by such Lender,
        the greater of the Federal Funds Effective Rate and a rate determined by the Administrative Agent
        in accordance with banking industry rules on interbank compensation, and (B) in the case of a
        payment to be made by the Borrower, the interest rate applicable to ABR Loans. If the Borrower
        and such Lender shall pay such interest to the Administrative Agent for the same or an overlapping
        period, the Administrative Agent shall promptly remit to the Borrower the amount of such interest
        paid by the Borrower for such period. If such Lender pays its share of the applicable Borrowing to
        the Administrative Agent, then the amount so paid shall constitute such Lender’s Loan included in
        such Borrowing. Any payment by the Borrower shall be without prejudice to any claim the
        Borrower may have against a Lender that shall have failed to make such payment to the
        Administrative Agent.

                          (ii)   Payments by Borrower; Presumptions by Administrative Agent. Unless
        the Administrative Agent shall have received notice from the Borrower prior to the date on which
        any payment is due to the Administrative Agent for the account of the Lenders that the Borrower
        will not make such payment, the Administrative Agent may assume that the Borrower has made
        such payment on such date in accordance herewith and may, in reliance upon such assumption,
        distribute to the Lenders the amount due. In such event, if the Borrower has not in fact made such
        payment, then each of the Lenders severally agrees to repay to the Administrative Agent forthwith
        on demand the amount so distributed to such Lender, with interest thereon, for each day from and
        including the date such amount is distributed to it to but excluding the date of payment to the
        Administrative Agent, at the greater of the Federal Funds Effective Rate and a rate determined by
        the Administrative Agent in accordance with banking industry rules on interbank compensation.

                        (iii)   Notice by Administrative Agent. A notice from the Administrative Agent
        to any Lender or the Borrower with respect to any amount owing under this paragraph (c) shall be
        conclusive, absent manifest error.


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                 (d)    Obligations of Lenders Several. The obligations of the Lenders hereunder to make
Loans and to make payments pursuant to Section 10.3(c) are several and not joint. The failure of any
Lender to make any Loan or make any payment under Section 10.3(c) on any date required hereunder shall
not relieve any other Lender of its corresponding obligation to do so on such date, and no Lender shall be
responsible for the failure of any other Lender to so make its Loan or to make its payment under
Section 10.3(c).

                 (e)     Failure to Satisfy Conditions Precedent. If any Lender makes available to the
Administrative Agent funds for any Loan to be made by such Lender as provided in the foregoing provisions
of this Article 2, and such funds are not made available to the Borrower by the Administrative Agent
because the conditions to the borrowing of Loans set forth in Article 5 are not satisfied or waived in
accordance with the terms hereof, the Administrative Agent shall return such funds (in like funds as
received from such Lender) to such Lender, without interest.

                  (f)     Funding Source. Nothing herein shall be deemed to obligate any Lender to obtain
the funds for any Loan in any particular place or manner or to constitute a representation by any Lender
that it has obtained or will obtain the funds for any Loan in any particular place or manner.

                 (g)    Insufficient Payment. Subject to the provisions of Article 8, whenever any
payment received by the Administrative Agent under this Credit Agreement or any of the other Loan
Documents is insufficient to pay in full all amounts due and payable to the Credit Parties under or in respect
of this Credit Agreement and the other Loan Documents on any date, such payment shall be distributed by
the Administrative Agent and applied by the Administrative Agent (i) first, towards payment of all fees and
expenses due to the Administrative Agent under the Loan Documents, (ii) second, towards payment of all
expenses then due hereunder, ratably among the parties entitled thereto in accordance herewith, (iii) third,
towards payment of interest, fees and commissions then due hereunder, ratably among the parties entitled
thereto in accordance with the amounts of interest, fees and commissions then due to such parties, and (iv)
fourth, towards payment of principal of Loans then due hereunder, ratably among the parties entitled thereto
in accordance with the amounts of principal of Loans then due to such parties.

                  (h)     Sharing of Payments by Lenders. If any Lender shall, by exercising any right of
setoff or counterclaim or otherwise, obtain payment in respect of any principal of or interest on any of its
Loans or other obligations hereunder resulting in such Lender receiving payment of a proportion of the
aggregate amount of its Loans and accrued interest thereon or other such obligations greater than its pro
rata share thereof as provided herein, then such Lender shall (x) notify the Administrative Agent of such
fact, and (y) purchase (for cash at face value) participations in the Loans and such other obligations of the
other Lenders, or make such other adjustments as shall be equitable, so that the benefit of all such payments
shall be shared by the Lenders ratably in accordance with the aggregate amount of principal of and accrued
interest on their respective Loans and other amounts owing them; provided that:

                         (i)      if any such participations are purchased and all or any portion of the
        payment giving rise thereto is recovered, such participations shall be rescinded and the purchase
        price restored to the extent of such recovery, without interest; and

                         (ii)     the provisions of this paragraph shall not be construed to apply to (x) any
        payment made by the Borrower pursuant to and in accordance with the express terms of this Credit
        Agreement (including the application of funds arising from the existence of a Defaulting Lender),
        or (y) any payment obtained by a Lender as consideration for the assignment of or sale of a
        participation in any of its Loans to any assignee or participant.




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The Borrower consents to the foregoing and agrees, to the extent it may effectively do so under applicable
law, that any Lender acquiring a participation pursuant to the foregoing arrangements may exercise against
each Loan Party rights of setoff and counterclaim with respect to such participation as fully as if such
Lender were a direct creditor of each Loan Party in the amount of such participation.

        Section 2.9     Defaulting Lenders.

                 (a)     Defaulting Lender Adjustments. Notwithstanding anything to the contrary
contained in this Credit Agreement, if any Lender becomes a Defaulting Lender, then, until such time as
such Lender is no longer a Defaulting Lender, to the extent permitted by applicable law:

                          (i)       Waivers and Amendments. Such Defaulting Lender’s right to approve or
        disapprove any amendment, waiver or consent with respect to this Credit Agreement shall be
        restricted as set forth in the definition of Required Lenders.

                          (ii)    Defaulting Lender Waterfall. Any payment of principal, interest, fees or
        other amounts received by the Administrative Agent for the account of such Defaulting Lender
        (whether voluntary or mandatory, at maturity, pursuant to Article 8 or otherwise) or received by
        the Administrative Agent from a Defaulting Lender pursuant to Section 10.8 shall be applied at
        such time or times as may be determined by the Administrative Agent as follows: first, to the
        payment of any amounts owing by such Defaulting Lender to the Administrative Agent hereunder;
        second, as the Borrower may request (so long as no Default exists), to the funding of any Loan in
        respect of which such Defaulting Lender has failed to fund its portion thereof as required by this
        Credit Agreement, as determined by the Administrative Agent; third, if so determined by the
        Administrative Agent and the Borrower, to be held in a deposit account and released pro rata in
        order to satisfy such Defaulting Lender’s potential future funding obligations with respect to Loans
        under this Credit Agreement; fourth, to the payment of any amounts owing to the Lenders as a
        result of any judgment of a court of competent jurisdiction obtained by any Lender against such
        Defaulting Lender as a result of such Defaulting Lender’s breach of its obligations under this Credit
        Agreement; fifth, so long as no Default exists, to the payment of any amounts owing to the
        Borrower as a result of any judgment of a court of competent jurisdiction obtained by the Borrower
        against such Defaulting Lender as a result of such Defaulting Lender’s breach of its obligations
        under this Credit Agreement; and sixth, to such Defaulting Lender or as otherwise directed by a
        court of competent jurisdiction; provided that if (x) such payment is a payment of the principal
        amount of any Loans in respect of which such Defaulting Lender has not fully funded its
        appropriate share, and (y) such Loans were made or the related Letters of Credit were issued at a
        time when the conditions set forth in Section 4.2 were satisfied or waived, such payment shall be
        applied solely to pay the Loans of all Non-Defaulting Lenders on a pro rata basis prior to being
        applied to the payment of any Loans of such Defaulting Lender until such time as all Loans are
        held by the Lenders pro rata in accordance with the Commitments under the applicable Credit
        Facility. Any payments, prepayments or other amounts paid or payable to a Defaulting Lender that
        are applied (or held) to pay amounts owed by a Defaulting Lender pursuant to this Section 2.9(a)(ii)
        shall be deemed paid to and redirected by such Defaulting Lender, and each Lender irrevocably
        consents hereto.

                         (iii)    Certain Fees. No Defaulting Lender shall be entitled to receive any
        Commitment Fee for any period during which that Lender is a Defaulting Lender (and the Borrower
        shall not be required to pay any such fee that otherwise would have been required to have been paid
        to that Defaulting Lender).




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                  (b)     Defaulting Lender Cure. If the Borrower and the Administrative Agent each agree
in writing that a Lender is no longer a Defaulting Lender, the Administrative Agent will so notify the parties
hereto, whereupon as of the effective date specified in such notice and subject to any conditions set forth
therein (which may include arrangements with respect to any Cash Collateral), that Lender will, to the
extent applicable, purchase at par that portion of outstanding Loans of the other Lenders or take such other
actions as the Administrative Agent may determine to be necessary to cause the Loans to be held pro rata
by the Lenders in accordance with the Commitments under the applicable Facility, whereupon such Lender
will cease to be a Defaulting Lender; provided that no adjustments will be made retroactively with respect
to fees accrued or payments made by or on behalf of the Borrower while that Lender was a Defaulting
Lender; and provided, further, that except to the extent otherwise expressly agreed by the affected parties,
no change hereunder from Defaulting Lender to Lender will constitute a waiver or release of any claim of
any party hereunder arising from that Lender’s having been a Defaulting Lender.

        Section 2.10     Accordion.

                 (a)      At any time during the period from and after the Closing Date through but
excluding the date that is the Maturity Date, at the option of Borrower (but subject to the conditions set
forth in clause (b) below), the Revolving Commitments may be increased by an amount in the aggregate
for all such increases of the Revolving Commitments not to exceed the Available Increase Amount (each
such increase, an “Increase”). Administrative Agent shall invite each Lender to increase its Revolving
Commitment (it being understood that no Lender shall be obligated to increase its Revolving Commitment)
in connection with a proposed Increase at the interest margin proposed by Borrower, and if sufficient
Lenders do not agree to increase their respective Revolving Commitments in connection with such proposed
Increase, then Administrative Agent or Borrower may invite any prospective lender who is an Eligible
Assignee that is reasonably satisfactory to Administrative Agent and Borrower to become a Lender in
connection with a proposed Increase. Any Increase shall be in an amount of at least $5,000,000 or such
other amount as Administrative Agent may approve, and integral multiples of $1,000,000 in excess thereof.

             (b)    Each of the following shall be conditions precedent to any Increase of the
Revolving Commitments:

                       (i)      Administrative Agent or Borrower shall have obtained the commitment of
        one or more Lenders (or other prospective lenders) reasonably satisfactory to Administrative Agent
        and Borrower to provide the applicable Increase and any such Lenders (or prospective lenders),
        Borrower, and Administrative Agent have signed a joinder agreement to this Agreement (an
        “Increase Joinder”), in form and substance reasonably satisfactory to Administrative Agent, to
        which such Lenders (or prospective lenders), Borrower, and Administrative Agent are party,

                         (ii)    each of the conditions precedent set forth in Section 4.2 are satisfied, and

                        (iii)   Borrower shall have reached agreement with the Lenders (or prospective
        lenders) agreeing to the increased Revolving Commitments with respect to the interest margins
        applicable to Loans to be made pursuant to the increased Revolving Commitments (which interest
        margins may be higher than or equal to the interest margins applicable to Loans set forth in this
        Agreement immediately prior to the date of the increased Revolving Commitments (the date of the
        effectiveness of the increased Revolving Commitments, the “Increase Date”)) and shall have
        communicated the amount of such interest margins to Administrative Agent. Any Increase Joinder
        may, with the consent of Administrative Agent, Borrower and the Lenders or prospective lenders
        agreeing to the proposed Increase, effect such amendments to this Agreement and the other Loan
        Documents as may be necessary or appropriate to effectuate the provisions of this Section 2.10
        (including any amendment necessary to effectuate the interest margins for the Loans to be made


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        pursuant to the increased Revolving Commitments). Anything to the contrary contained herein
        notwithstanding, if the interest margin that is to be applicable to the Loans to be made pursuant to
        the increased Revolving Commitments are higher than the interest margin applicable to the Loans
        hereunder (as applicable) immediately prior to the applicable Increase Date (the amount by which
        the interest margin is higher, the “Excess”), then the interest margin applicable to the Loans
        immediately prior to the Increase Date shall be increased by the amount of the Excess, effective on
        the applicable Increase Date, and without the necessity of any action by any party hereto,

                        (iv)     the payment of all fees with respect to such Increase as provided in the Fee
        Letter.

                (c)     Unless otherwise specifically provided herein, all references in this Agreement and
any other Loan Document to Loans shall be deemed, unless the context otherwise requires, to include Loans
made pursuant to the increased Revolving Commitments pursuant to this Section 2.10.

                 (d)      Each of the Lenders having a Commitment prior to the Increase Date (the “Pre-
Increase Lenders”) shall assign to any Lender which is acquiring a new or additional Commitment on the
Increase Date (the “Post-Increase Lenders”), and such Post-Increase Lenders shall purchase from each Pre-
Increase Lender, at the principal amount thereof, such interests in the Loans on such Increase Date as shall
be necessary in order that, after giving effect to all such assignments and purchases, such Loans and
participation interests in Letters of Credit will be held by Pre-Increase Lenders and Post-Increase Lenders
ratably in accordance with their Pro Rata Share after giving effect to such increased Revolving
Commitments.

                 (e)     The Loans, and Revolving Commitments, established pursuant to this Section 2.10
shall constitute Loans and Revolving Commitments under, and shall be entitled to all the benefits afforded
by, this Credit Agreement and the other Loan Documents, and shall, without limiting the foregoing, benefit
equally and ratably from any guarantees and the security interests created by this Credit Agreement and the
other Loan Documents. Borrower shall take any actions reasonably required by Administrative Agent to
ensure and demonstrate that the Liens and security interests granted by Borrower pursuant to this
Agreement and the other Loan Documents continue to be perfected under the Uniform Commercial Code
or otherwise after giving effect to the establishment of any such new Revolving Commitments.

                                                ARTICLE 3

                            INTEREST, FEES, YIELD PROTECTION, ETC.

        Section 3.1     Interest.

               (a)      Interest Rate Generally. All ABR Loans shall bear interest at the Alternate Base
Rate plus the Applicable Margin. Each LIBOR Loan shall bear interest at a rate per annum equal to the
sum of the Adjusted LIBOR Rate for the Interest Period in effect for such Loan plus the Applicable Margin.

                  (b)   Default Rate and Late Fees.

                         (i)    Notwithstanding the foregoing, if any principal of or interest on any Loan,
        or any fee or other amount payable by the Borrower hereunder is not paid when due, whether at
        stated maturity, upon acceleration or otherwise, such overdue amount shall bear interest, after as
        well as before judgment, at a rate per annum equal to the Default Rate to the fullest extent permitted
        by applicable law.




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                         (ii)    Notwithstanding the foregoing, if an Event of Default has occurred and is
        continuing and the Administrative Agent, at the request of the Required Lenders, so notifies the
        Borrower (provided that no such notification shall be required, and the following interest shall
        automatically be payable, in the case of an Event of Default under Sections 8.1(a), (b), (h) or (i)),
        then, so long as such Event of Default is continuing, all outstanding principal of each Loan shall,
        without duplication of amounts payable under the preceding sentence, bear interest, after as well
        as before judgment, at a rate per annum equal to the Default Rate to the fullest extent permitted by
        applicable law.

                         (iii)    Accrued and unpaid interest on past due amounts (including interest on
        past due interest) shall be due and payable upon demand.

                          (iv)    Administrative Agent, at the request of Required Lenders, shall have the
        right to assess, and Borrower shall be required to pay, a late fee if any principal, interest, or fees
        under this Credit Agreement are not paid within ten (10) days after their due date, and in such a
        case, the late charge shall be in an amount equal to five percent (5%) of the amount not timely paid.
        Late fees shall not apply to the total principal amount of the Loan for failure to repay the Loan in
        full at the Maturity Date

                  (c)     Interest Payment Dates. Accrued interest on each Loan shall be payable in arrears
on each Interest Payment Date for such Loan and at such other times as may be specified herein, provided
that (i) interest accrued pursuant to paragraph (b) of this Section shall be payable on demand, (ii) in the
event of any repayment or prepayment of any Loan, accrued interest on the principal amount repaid or
prepaid shall be payable on the date of such repayment or prepayment, and (iii) in the event of any
conversion of any LIBOR Loan prior to the end of the current Interest Period therefor, accrued interest on
such Loan shall be payable on the effective date of such conversion.

                 (d)     Computation of Interest. All interest hereunder shall be computed on the basis of
a year of 360 days, except that interest computed by reference to the Alternate Base Rate at times when the
Alternate Base Rate is based on the Prime Rate shall be computed on the basis of a year of 365 days (or
366 days in a leap year), and in each case shall be payable for the actual number of days elapsed (including
the first day but excluding the last day). The applicable Alternate Base Rate, Adjusted LIBOR Rate and
LIBOR Rate shall be determined by the Administrative Agent, and such determination shall be conclusive
absent clearly manifest error.

        Section 3.2     Fees.

                 (a)      Commitment Fee. The Borrower agrees to pay to the Administrative Agent for the
account of each Revolving Lender, a commitment fee (the “Commitment Fee”), which shall accrue at a rate
per annum equal to the Applicable Margin multiplied by the average daily unused amount of the Revolving
Commitment of such Revolving Lender during the period from and including the date on which this Credit
Agreement becomes effective pursuant to Section 10.6(a) to but excluding the date on which such
Revolving Commitment terminates; provided that, if such Revolving Lender continues to have any
Revolving Exposure after its Revolving Commitment terminates, the Commitment Fee shall continue to
accrue on the daily amount of such Revolving Lender’s Revolving Exposure from and including the date
on which such Revolving Lender’s Revolving Commitment terminates to but excluding the date on which
such Revolving Lender ceases to have any Revolving Exposure. For purposes of computing Commitment
Fees, the Revolving Commitment of any Revolving Lender shall be deemed to be used to the extent of the
aggregate principal amount at such time of its outstanding Revolving Loans. Accrued Commitment Fees
shall be payable in arrears on the last day of March, June, September and December of each year, each date
on which the Revolving Commitments are permanently reduced and on the date on which the Revolving


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Commitments terminate, commencing on the first such date to occur after the Agreement Date. All
Commitment Fees shall be computed on the basis of a year of 360 days and shall be payable for the actual
number of days elapsed (including the first day but excluding the last day).

               (b)    Other Fees. The Borrower agrees to pay to each Credit Party, for its own account,
fees and other amounts payable in the amounts and at the times separately agreed upon between the
Borrower and such Credit Party.

               (c)      Payment of Fees Generally. All fees and other amounts payable hereunder shall
be paid on the dates due, in immediately available funds. Fees and other amounts paid shall not be
refundable under any circumstances.

        Section 3.3     Alternate Rate of Interest.

                (a)     If, prior to the commencement of any Interest Period for any LIBOR Borrowing:

                          (i)     the Administrative Agent shall have reasonably determined (which
        determination shall be conclusive and binding upon the Borrower) that, by reason of circumstances
        affecting the relevant interbank market, adequate and reasonable means do not exist for ascertaining
        the Adjusted LIBOR Rate (including because the Screen Rate is not available or published on a
        current basis) for such Interest Period, provided that no Benchmark Transition Event or Early Opt-
        In Election shall have occurred at such time or for such Interest Period, or

                         (ii)   the Administrative Agent shall have received notice from the Required
        Lenders that the Adjusted LIBOR Rate for such Interest Period will not adequately and fairly reflect
        the cost to such Lenders of making, funding or maintaining their LIBOR Loans for such Interest
        Period,

        then the Administrative Agent shall give written notice thereof (or telephonic notice, promptly
confirmed in writing) to the Borrower and to the Lenders as soon as practicable thereafter. Until the
Administrative Agent shall notify the Borrower and the Lenders that the circumstances giving rise to such
notice no longer exist, (i) the obligations of the Lenders to make LIBOR Loans or to continue or convert
outstanding Loans as or into LIBOR Loans shall be suspended and (ii) all such affected Loans shall be
converted into ABR Loans on the last day of the then current Interest Period applicable thereto unless the
Borrower prepays such Loans in accordance with this Agreement. Unless the Borrower notifies the
Administrative Agent at least one (1) Business Day before the date of any LIBOR Borrowing for which a
Committed Loan Notice has previously been given that it elects not to borrow, continue or convert to a
LIBOR Borrowing on such date, then such Revolving Borrowing shall be made as, continued as or
converted into an ABR Borrowing.

               (b)   Notwithstanding anything to the contrary herein or in any other Loan Document
(and any Master Agreement shall be deemed not to be a “Loan Document” for purposes of this Section
3.,3(b):

                         (i)     Replacing USD LIBOR. On March 5, 2021 the FCA, the regulatory
        supervisor of IBA, announced in a public statement the future cessation or loss of
        representativeness of overnight/Spot Next, 1-month, 3-month, 6-month and 12-month USD LIBOR
        tenor settings. On the earlier of (i) the date that all Available Tenors of USD LIBOR have either
        permanently or indefinitely ceased to be provided by IBA or have been announced by the FCA
        pursuant to public statement or publication of information to be no longer representative and (ii)
        the Early Opt-in Effective Date, if the then-current Benchmark is USD LIBOR, the Benchmark


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     Replacement will replace such Benchmark for all purposes hereunder and under any Loan
     Document in respect of any setting of such Benchmark on such day and all subsequent settings
     without any amendment to, or further action or consent of any other party to this Agreement or any
     other Loan Document. If the Benchmark Replacement is Daily Simple SOFR, all interest payments
     will be payable on a monthly basis.

                      (ii)    Replacing Future Benchmarks. Upon the occurrence of a Benchmark
     Transition Event, the Benchmark Replacement will replace the then-current Benchmark for all
     purposes hereunder and under any Loan Document in respect of any Benchmark setting at or after
     5:00 p.m. on the fifth (5th) Business Day after the date notice of such Benchmark Replacement is
     provided to the Lenders without any amendment to, or further action or consent of any other party
     to, this Agreement or any other Loan Document so long as the Administrative Agent has not
     received, by such time, written notice of objection to such Benchmark Replacement from Lenders
     comprising the Required Lenders. At any time that the administrator of the then-current Benchmark
     has permanently or indefinitely ceased to provide such Benchmark or such Benchmark has been
     announced by the regulatory supervisor for the administrator of such Benchmark pursuant to public
     statement or publication of information to be no longer representative of the underlying market and
     economic reality that such Benchmark is intended to measure and that representativeness will not
     be restored, the Borrower may revoke any request for a borrowing of, conversion to or continuation
     of Loans to be made, converted or continued that would bear interest by reference to such
     Benchmark until the Borrower’s receipt of notice from the Administrative Agent that a Benchmark
     Replacement has replaced such Benchmark, and, failing that, the Borrower will be deemed to have
     converted any such request into a request for a borrowing of or conversion to Base Rate Loans.
     During the period referenced in the foregoing sentence, the component of Base Rate based upon
     the Benchmark will not be used in any determination of Base Rate.

                      (iii)   Benchmark Replacement Conforming Changes. In connection with the
     implementation and administration of a Benchmark Replacement, the Administrative Agent will
     have the right to make Benchmark Replacement Conforming Changes from time to time and,
     notwithstanding anything to the contrary herein or in any other Loan Document, any amendments
     implementing such Benchmark Replacement Conforming Changes will become effective without
     any further action or consent of any other party to this Agreement.

                      (iv)   Notices; Standards for Decisions and Determinations. The Administrative
     Agent will promptly notify the Borrower and the Lenders of (i) the implementation of any
     Benchmark Replacement and (ii) the effectiveness of any Benchmark Replacement Conforming
     Changes. Any determination, decision or election that may be made by the Administrative Agent
     or, if applicable, any Lender (or group of Lenders) pursuant to this Section, including any
     determination with respect to a tenor, rate or adjustment or of the occurrence or non-occurrence of
     an event, circumstance or date and any decision to take or refrain from taking any action, will be
     conclusive and binding absent manifest error and may be made in its or their sole discretion and
     without consent from any other party hereto, except, in each case, as expressly required pursuant
     to this Section.

                     (v)    Unavailability of Tenor of Benchmark. At any time (including in
     connection with the implementation of a Benchmark Replacement), (i) if the then-current
     Benchmark is a term rate (including Term SOFR or USD LIBOR), then the Administrative Agent
     may remove any tenor of such Benchmark that is unavailable or non-representative for Benchmark
     (including Benchmark Replacement) settings and (ii) the Administrative Agent may reinstate any
     such previously removed tenor for Benchmark (including Benchmark Replacement) settings.



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        Section 3.4      Increased Costs; Illegality.

                (a)      Increased Costs Generally. If any Change in Law shall:

                         (i)     impose, modify or deem applicable any reserve, special deposit, liquidity,
        compulsory loan, insurance charge or similar requirement against assets of, deposits with or for the
        account of, or credit extended or participated in by, any Lender (except any reserve requirement
        reflected in the Adjusted LIBOR Rate);

                          (ii)     subject any Recipient to any Taxes (other than (A) Indemnified Taxes, (B)
        Taxes described in clauses (b) through (d) of the definition of Excluded Taxes and (C) Connection
        Income Taxes) on its loans, loan principal, letters of credit, commitments, or other obligations, or
        its deposits, reserves, other liabilities or capital attributable thereto; or

                         (iii)  impose on any Lender or the London interbank market any other
        condition, cost or expense (other than Taxes) affecting this Credit Agreement or Loans made by
        such Lender;

and the result of any of the foregoing shall be to increase the cost to such Lender or such other Recipient of
making, converting to, continuing or maintaining any Loan or of maintaining its obligation to make any
such Loan, or to reduce the amount of any sum received or receivable by such Lender or other Recipient
hereunder (whether of principal, interest or any other amount) then, upon request of such Lender or other
Recipient, the Borrower will pay to such Lender or other Recipient, as the case may be, such additional
amount or amounts as will compensate such Lender or other Recipient, as the case may be, for such
additional costs incurred or reduction suffered.

                 (b)      Capital Requirements. If any Lender determines that any Change in Law affecting
such Lender or any Applicable Lending Office of such Lender or such Lender’s holding company, if any,
regarding capital or liquidity requirements, has or would have the effect of reducing the rate of return on
such Lender’s capital or on the capital of such Lender’s holding company, if any, as a consequence of this
Credit Agreement, the Commitments of such Lender or the Loans made by such Lender to a level below
that which such Lender or such Lender’s holding company could have achieved but for such Change in
Law (taking into consideration such Lender’s policies and the policies of such Lender’s holding company
with respect to capital adequacy and liquidity), then from time to time the Borrower will pay to such Lender
such additional amount or amounts as will compensate such Lender or such Lender’s holding company for
any such reduction suffered.

                 (c)      Certificates for Reimbursement. A certificate of a Lender setting forth the amount
or amounts necessary to compensate such Lender or its holding company, as the case may be, as specified
in paragraph (a) or (b) of this Section and delivered to the Borrower, shall be conclusive absent manifest
error. The Borrower shall pay such Lender the amount shown as due on any such certificate within ten
days after receipt thereof.

                 (d)     Delay in Requests. Failure or delay on the part of any Lender to demand
compensation pursuant to this Section shall not constitute a waiver of such Lender’s right to demand such
compensation; provided that the Borrower shall not be required to compensate a Lender pursuant to this
Section for any increased costs incurred or reductions suffered more than nine months prior to the date that
such Lender notifies the Borrower of the Change in Law giving rise to such increased costs or reductions,
and of such Lender’s intention to claim compensation therefor (except that, if the Change in Law giving
rise to such increased costs or reductions is retroactive, then the nine-month period referred to above shall
be extended to include the period of retroactive effect thereof).


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                 (e)      Illegality. Notwithstanding any other provision of this Credit Agreement, if, after
the Agreement Date, any Change in Law shall make it unlawful for any Lender to make or maintain any
LIBOR Loan or to give effect to its obligations as contemplated hereby with respect to any LIBOR Loan,
then, by written notice to the Borrower and to the Administrative Agent:

                          (i)     such Lender may declare that LIBOR Loans will not thereafter (for the
        duration of such unlawfulness) be made by such Lender hereunder (or be continued for additional
        Interest Periods) and ABR Loans will not thereafter (for such duration) be converted into LIBOR
        Loans, whereupon any request for a LIBOR Borrowing or to convert an ABR Borrowing to a
        LIBOR Borrowing or to continue a LIBOR Borrowing, as applicable, for an additional Interest
        Period shall, as to such Lender only, be deemed a request for an ABR Loan (or a request to continue
        an ABR Loan as such for an additional Interest Period or to convert a LIBOR Loan into an ABR
        Loan, as applicable), unless such declaration shall be subsequently withdrawn; and

                       (ii)   such Lender may require that all outstanding LIBOR Loans made by it be
        converted to ABR Loans, in which event all such LIBOR Loans shall be automatically converted
        to ABR Loans, as of the effective date of such notice as provided in the last sentence of this
        paragraph.

In the event any Lender shall exercise its rights under clause (i) or (ii) of this paragraph, all payments and
prepayments of principal that would otherwise have been applied to repay the LIBOR Loans that would
have been made by such Lender or the converted LIBOR Loans of such Lender shall instead be applied to
repay the ABR Loans made by such Lender in lieu of, or resulting from the conversion of, such LIBOR
Loans, as applicable. For purposes of this paragraph, a notice to the Borrower by any Lender shall be
effective as to each LIBOR Loan made by such Lender, if lawful, on the last day of the Interest Period
currently applicable to such LIBOR Loan; in all other cases such notice shall be effective on the date of
receipt by the Borrower.

         Section 3.5       Break Funding Payments. In the event of (a) the payment or prepayment of any
principal of any LIBOR Loan other than on the last day of an Interest Period applicable thereto (whether
voluntary, mandatory, automatic, by reason of acceleration (including as a result of a bankruptcy filing, or
otherwise), (b) the conversion of any LIBOR Loan other than on the last day of the Interest Period
applicable thereto, (c) the failure to borrow, convert, continue or prepay any LIBOR Loan on the date
specified in any notice delivered pursuant hereto (regardless of whether such notice may be revoked under
Section 2.7(a) and is revoked in accordance therewith), or (d) the assignment of any LIBOR Loan other
than on the last day of the Interest Period or maturity date applicable thereto as a result of a request by the
Borrower pursuant to Section 3.7(b), then, in any such event, the Borrower shall compensate each
applicable Lender for the loss, cost and expense attributable to such event. In the case of a LIBOR Loan,
such loss, cost or expense to any Lender shall be deemed to include an amount determined by such Lender
to be the excess, if any, of (i) the amount of interest that would have accrued on the principal amount of
such Loan had such event not occurred, at the Adjusted LIBOR Rate that would have been applicable to
such Loan, for the period from the date of such event to the last day of the then current Interest Period
therefor (or, in the case of a failure to borrow, convert or continue, for the period that would have been the
Interest Period for such Loan), over (ii) the amount of interest that would accrue on such principal amount
for such period at the interest rate that such Lender would bid were it to bid, at the commencement of such
period, for Dollar deposits of a comparable amount and period from other banks in the eurocurrency market.
A certificate of any Lender setting forth any amount or amounts that such Lender is entitled to receive
pursuant to this Section shall be delivered to the Borrower and shall be conclusive absent manifest error.
The Borrower shall pay such Lender the amount shown as due on any such certificate within ten days after
receipt thereof.



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        Section 3.6      Taxes.

              (a)        Defined Terms. For purposes of this Section 3.6, the term “applicable law”
includes FATCA.

                (b)      Payments Free of Taxes. Any and all payments by or on account of any obligation
of any Loan Party under any Loan Document shall be made without deduction or withholding for any Taxes,
except as required by applicable law. If any applicable law (as determined in the good faith discretion of
an applicable Withholding Agent) requires the deduction or withholding of any Tax from any such payment
by a Withholding Agent, then the applicable Withholding Agent shall be entitled to make such deduction
or withholding and shall timely pay the full amount deducted or withheld to the relevant Governmental
Authority in accordance with applicable law and, if such Tax is an Indemnified Tax, then the sum payable
by the applicable Loan Party shall be increased as necessary so that after such deduction or withholding has
been made (including such deductions and withholdings applicable to additional sums payable under this
Section) the applicable Recipient receives an amount equal to the sum it would have received had no such
deduction or withholding been made.

                (c)    Payment of Other Taxes by the Loan Parties. Each of the Loan Parties shall timely
pay to the relevant Governmental Authority in accordance with applicable law, or at the option of the
Administrative Agent timely reimburse it for the payment of, any Other Taxes.

                 (d)      Indemnification by the Loan Parties. Each of the Loan Parties shall jointly and
severally indemnify each Recipient, within ten days after demand therefor, for the full amount of any
Indemnified Taxes (including Indemnified Taxes imposed or asserted on or attributable to amounts payable
under this Section) payable or paid by such Recipient or required to be withheld or deducted from a payment
to such Recipient and any reasonable expenses arising therefrom or with respect thereto, whether or not
such Indemnified Taxes were correctly or legally imposed or asserted by the relevant Governmental
Authority. A certificate as to the amount of such payment or liability delivered to the Borrower by a Lender
(with a copy to the Administrative Agent), or by the Administrative Agent on its own behalf or on behalf
of a Lender, shall be conclusive absent manifest error. Each of the Loan Parties shall also, and does hereby,
jointly and severally indemnify the Administrative Agent, and shall make payment in respect thereof within
ten (10) days after demand therefor, for any amount which a Lender for any reason fails to pay indefeasibly
to the Administrative Agent as required pursuant to Section 3.6(e)(ii).

                 (e)      Indemnification by the Lenders. Each Lender shall severally indemnify the
Administrative Agent, within ten days after demand therefor, for (i) any Indemnified Taxes attributable to
such Lender (but only to the extent that any Loan Party has not already indemnified the Administrative
Agent for such Indemnified Taxes and without limiting the obligation of the Loan Parties to do so), (ii) any
Taxes attributable to such Lender’s failure to comply with the provisions of Section 10.4(d) relating to the
maintenance of a Participant Register and (iii) any Excluded Taxes attributable to such Lender, in each
case, that are payable or paid by the Administrative Agent in connection with any Loan Document, and any
reasonable expenses arising therefrom or with respect thereto, whether or not such Taxes were correctly or
legally imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of such
payment or liability delivered to any Lender by the Administrative Agent shall be conclusive absent
manifest error. Each Lender hereby authorizes the Administrative Agent to set off and apply any and all
amounts at any time owing to such Lender under any Loan Document or otherwise payable by the
Administrative Agent to the Lender from any other source against any amount due to the Administrative
Agent under this paragraph (e).

                (f)   Evidence of Payments. As soon as practicable after any payment of Taxes by any
Loan Party to a Governmental Authority pursuant to this Section 3.6, such Loan Party shall deliver to the


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Administrative Agent the original or a certified copy of a receipt issued by such Governmental Authority
evidencing such payment, a copy of the return reporting such payment or other evidence of such payment
reasonably satisfactory to the Administrative Agent.

               (g)     Status of Lenders.

                        (i)     Any Lender that is entitled to an exemption from or reduction of
       withholding Tax with respect to payments made under any Loan Document shall deliver to the
       Borrower and the Administrative Agent, at the time or times prescribed by applicable law and at
       the time or times reasonably requested by the Borrower or the Administrative Agent, such properly
       completed and executed documentation reasonably requested by the Borrower or the
       Administrative Agent as will permit such payments to be made without withholding or at a reduced
       rate of withholding. In addition, any Lender, if reasonably requested by the Borrower or the
       Administrative Agent, shall deliver such other documentation prescribed by applicable law or
       reasonably requested by the Borrower or the Administrative Agent as will enable the Borrower or
       the Administrative Agent to determine whether or not such Lender is subject to backup withholding
       or information reporting requirements. Notwithstanding anything to the contrary in the preceding
       two sentences, the completion, execution and submission of such documentation (other than such
       documentation set forth in Section 3.6(g)(ii)(A), (ii)(B) and (ii)(D) below) shall not be required if
       in the Lender’s reasonable judgment such completion, execution or submission would subject such
       Lender to any material unreimbursed cost or expense or would materially prejudice the legal or
       commercial position of such Lender.

                       (ii)     Without limiting the generality of the foregoing,

                               (A)     any Lender that is a U.S. Person shall deliver to the Borrower and
               the Administrative Agent on or prior to the date on which such Lender becomes a Lender
               under this Credit Agreement (and from time to time thereafter upon the reasonable request
               of the Borrower or the Administrative Agent), executed copies of IRS Form W-9 certifying
               that such Lender is exempt from U.S. federal backup withholding tax;

                                 (B)    any Foreign Lender shall, to the extent it is legally entitled to do
               so, deliver to the Borrower and the Administrative Agent (in such number of copies as shall
               be requested by the recipient) on or prior to the date on which such Foreign Lender becomes
               a Lender under this Credit Agreement (and from time to time thereafter upon the reasonable
               request of the Borrower or the Administrative Agent), whichever of the following is
               applicable:

                                        (1)     in the case of a Foreign Lender claiming the benefits of
                       an income tax treaty to which the United States is a party (A) with respect to
                       payments of interest under any Loan Document, executed copies of IRS Form W-
                       8BEN or IRS Form W-8BEN-E, as applicable, establishing an exemption from, or
                       reduction of, U.S. federal withholding Tax pursuant to the “interest” article of such
                       tax treaty and (B) with respect to any other applicable payments under any Loan
                       Document, IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable,
                       establishing an exemption from, or reduction of, U.S. federal withholding Tax
                       pursuant to the “business profits” or “other income” article of such tax treaty;

                                        (2)      executed copies of IRS Form W-8ECI;




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                                          (3)       in the case of a Foreign Lender claiming the benefits of
                         the exemption for portfolio interest under Section 881(c) of the Code, (A) a
                         certificate substantially in the form of Exhibit H-1 to the effect that such Foreign
                         Lender is not a “bank” within the meaning of Section 881(c)(3)(A) of the Code, a
                         “10 percent shareholder” of the Borrower within the meaning of
                         Section 881(c)(3)(B) of the Code, or a “controlled foreign corporation” described
                         in Section 881(c)(3)(C) of the Code (a “U.S. Tax Compliance Certificate”) and (B)
                         executed copies of IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable; or

                                           (4)      to the extent a Foreign Lender is not the beneficial owner,
                         executed copies of IRS Form W-8IMY, accompanied by IRS Form W-8ECI, IRS
                         Form W-8BEN or IRS Form W-8BEN-E, as applicable, a U.S. Tax Compliance
                         Certificate substantially in the form of Exhibit H-2 or Exhibit H-3, IRS Form W-
                         9, and/or other certification documents from each beneficial owner, as applicable;
                         provided that if the Foreign Lender is a partnership and one or more direct or
                         indirect partners of such Foreign Lender are claiming the portfolio interest
                         exemption, such Foreign Lender may provide a U.S. Tax Compliance Certificate
                         substantially in the form of Exhibit H-4 on behalf of each such direct and indirect
                         partner;

                                  (C)    any Foreign Lender shall, to the extent it is legally entitled to do
                so, deliver to the Borrower and the Administrative Agent (in such number of copies as shall
                be requested by the recipient) on or prior to the date on which such Foreign Lender becomes
                a Lender under this Credit Agreement (and from time to time thereafter upon the reasonable
                request of the Borrower or the Administrative Agent), executed copies of any other form
                prescribed by applicable law as a basis for claiming exemption from or a reduction in U.S.
                federal withholding Tax, duly completed, together with such supplementary
                documentation as may be prescribed by applicable law to permit the Borrower or the
                Administrative Agent to determine the withholding or deduction required to be made; and

                                  (D)     if a payment made to a Lender under any Loan Document would
                be subject to U.S. federal withholding Tax imposed by FATCA if such Lender were to fail
                to comply with the applicable reporting requirements of FATCA (including those
                contained in Section 1471(b) or 1472(b) of the Code, as applicable), such Lender shall
                deliver to the Borrower and the Administrative Agent at the time or times prescribed by
                law and at such time or times reasonably requested by the Borrower or the Administrative
                Agent such documentation prescribed by applicable law (including as prescribed by
                Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
                requested by the Borrower or the Administrative Agent as may be necessary for the
                Borrower and the Administrative Agent to comply with their obligations under FATCA
                and to determine that such Lender has complied with such Lender’s obligations under
                FATCA or to determine the amount to deduct and withhold from such payment. Solely for
                purposes of this clause (D), “FATCA” shall include any amendments made to FATCA
                after the date of this Credit Agreement.

Each Lender agrees that if any form or certification it previously delivered expires or becomes obsolete or
inaccurate in any respect, it shall update such form or certification or promptly notify the Borrower and the
Administrative Agent in writing of its legal inability to do so.

                (h)     Treatment of Certain Refunds. If any party determines, in its sole discretion
exercised in good faith, that it has received a refund of any Taxes as to which it has been indemnified


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pursuant to this Section 3.6 (including by the payment of additional amounts pursuant to this Section 3.6),
it shall pay to the indemnifying party an amount equal to such refund (but only to the extent of indemnity
payments made under this Section with respect to the Taxes giving rise to such refund), net of all out-of-
pocket expenses (including Taxes) of such indemnified party and without interest (other than any interest
paid by the relevant Governmental Authority with respect to such refund). Such indemnifying party, upon
the request of such indemnified party, shall repay to such indemnified party the amount paid over pursuant
to this paragraph (h) (plus any penalties, interest or other charges imposed by the relevant Governmental
Authority) in the event that such indemnified party is required to repay such refund to such Governmental
Authority. Notwithstanding anything to the contrary in this paragraph (h), in no event will the indemnified
party be required to pay any amount to an indemnifying party pursuant to this paragraph (h) the payment
of which would place the indemnified party in a less favorable net after-Tax position than the indemnified
party would have been in if the Tax subject to indemnification and giving rise to such refund had not been
deducted, withheld or otherwise imposed and the indemnification payments or additional amounts with
respect to such Tax had never been paid. This paragraph shall not be construed to require any indemnified
party to make available its Tax returns (or any other information relating to its Taxes that it deems
confidential) to the indemnifying party or any other Person.

                 (i)    (i)      Survival. Each party’s obligations under this Section 3.6 shall survive the
resignation or replacement of the Administrative Agent or any assignment of rights by, or the replacement
of, a Lender and the Termination Date.

                (j)     Confidentiality. Nothing contained in this Section shall require any Credit Party
or any other indemnified party to make available any of its Tax returns (or any other information that it
deems to be confidential or proprietary) to the indemnifying party or any other Person.

        Section 3.7      Mitigation Obligations; Replacement of Lenders.

                 (a)     Designation of a Different Lending Office. If any Lender requests compensation
under Section 3.4, or requires the Borrower to pay any Indemnified Taxes or additional amounts to any
Lender or any Governmental Authority for the account of any Lender pursuant to Section 3.6, then such
Lender shall (at the request of the Borrower) use reasonable efforts to designate a different Applicable
Lending Office for funding or booking its Loans hereunder or to assign its rights and obligations hereunder
to another of its offices, branches or affiliates, if, in the judgment of such Lender, such designation or
assignment (i) would eliminate or reduce amounts payable pursuant to Section 3.4 or Section 3.6, as the
case may be, in the future, and (ii) would not subject such Lender to any unreimbursed cost or expense and
would not otherwise be disadvantageous to such Lender. The Borrower hereby agrees to pay all reasonable
costs and expenses incurred by any Lender in connection with any such designation or assignment.

                  (b)    Replacement of Lenders. If any Lender requests compensation under Section 3.4
or if the Borrower is required to pay any Indemnified Taxes or additional amounts to any Lender or any
Governmental Authority for the account of any Lender pursuant to Section 3.6 and, in each case, such
Lender has declined or is unable to designate a different Applicable Lending Office in accordance with
Section 3.7(a), or if any Lender is a Defaulting Lender or a Non-Consenting Lender, then the Borrower
may, at its sole expense and effort, upon notice to such Lender and the Administrative Agent, require such
Lender to assign and delegate, without recourse (in accordance with and subject to the restrictions contained
in, and consents required by, Section 10.4), all of its interests, rights (other than its existing rights to
payments pursuant to Section 3.4 or Section 3.6) and obligations under this Credit Agreement and the
related Loan Documents to an Eligible Assignee that shall assume such obligations (which assignee may
be another Lender, if a Lender accepts such assignment); provided that:




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                       (i)    unless waived by the Administrative Agent in its sole discretion, the
        Borrower shall have paid to the Administrative Agent the assignment fee (if any) specified in
        Section 10.4;

                         (ii)    such Lender shall have received payment of an amount equal to the
        outstanding principal of its Loans, accrued interest thereon, accrued fees and all other amounts
        payable to it hereunder and under the other Loan Documents (including any amounts under
        Section 3.5) from the assignee (to the extent of such outstanding principal and accrued interest and
        fees) or the Borrower (in the case of all other amounts);

                         (iii)    in the case of any such assignment resulting from a claim for compensation
        under Section 3.4 or payments required to be made pursuant to Section 3.6, such assignment will
        result in a reduction in such compensation or payments thereafter;

                         (iv)    such assignment does not conflict with applicable law; and

                      (v)      in the case of any assignment resulting from a Lender becoming a Non-
        Consenting Lender, the applicable assignee shall have consented (or is willing to consent upon
        becoming a Lender) to the applicable amendment, waiver or consent.

A Lender shall not be required to make any such assignment or delegation if, prior thereto, as a result of a
waiver by such Lender or otherwise, the circumstances entitling the Borrower to require such assignment
and delegation cease to apply.

                                                ARTICLE 4

                       CONDITIONS PRECEDENT TO CREDIT EXTENSIONS

         Section 4.1      Conditions to Initial Credit Extensions. The effectiveness of this Credit
Agreement and the obligation of each Lender to make its initial Credit Extension hereunder on the Closing
Date is subject to satisfaction or waiver of the following conditions precedent:

                 (a)    Credit Agreement. The Administrative Agent (or its counsel) shall have received
a counterpart of this Credit Agreement (which may include facsimile transmission or electronic mail
transmission of a signed signature page of this Credit Agreement) that, when taken together, bear the
signatures of the Borrower and each Lender.

                (b)     Notes. The Administrative Agent shall have received a Note for each Lender that
shall have requested one, signed on behalf of the Borrower.

                (c)     Legal Opinion. The Administrative Agent shall have received a favorable written
opinion (addressed to the Credit Parties and dated the Closing Date) from Wick Phillips, special counsel to
the Loan Parties in form, scope and substance satisfactory to the Administrative Agent. The Borrower
hereby requests such counsel to deliver such opinions.

                  (d)     Officer’s Closing Certificate. The Administrative Agent shall have received a
certificate of the President or a Vice President and the Secretary or Assistant Secretary of each Loan Party,
dated the Closing Date, substantially in the form of Exhibit F.

               (e)     Fees and Expenses. Substantially contemporaneously with the making of the
Loans to be made on the Closing Date, the Borrower shall have paid all fees and expenses that under the



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terms hereof or of the Fee Letter are due and payable on or prior to the Closing Date, as well as the
reasonable fees, disbursements and other charges of counsel to the Administrative Agent and the Lead
Arranger in connection with the Transactions to the extent invoiced on or prior to the Closing Date.

                (f)      Collateral and Guarantee Requirement.

                         (i)     The Security Agreement and each Intellectual Property Security
        Agreement required to be delivered pursuant to the terms of the Security Agreement shall have
        been duly executed and/or delivered by each Loan Party that is to be a party thereto and shall be in
        full force and effect. The Administrative Agent on behalf of the Secured Parties shall have a
        security interest in the Collateral of the type and the priority described in each such Collateral
        Document; and

                         (ii)    Reserved;

                          (iii)    The Administrative Agent shall have received the results of a search of the
        Uniform Commercial Code filings (or equivalent filings) made with respect to the Loan Parties in
        the states (or other jurisdictions) of formation of such persons, together with copies of the financing
        statements (or similar documents) disclosed by such search, and accompanied by evidence
        satisfactory to the Administrative Agent that the Liens indicated in any such financing statement
        (or similar document) have been or will be contemporaneously released or terminated (other than
        Permitted Encumbrances), together with other relevant lien searches as reasonably requested by the
        Administrative Agent;

                         (iv)    Each document (including any UCC (or similar) financing statement)
        required by any Collateral Document or under applicable law to be filed, registered or recorded in
        order to create in favor of the Administrative Agent, for the benefit of the Secured Parties, a
        perfected Lien on the Collateral required to be delivered pursuant to such Collateral Document,
        shall be in proper form for filing, registration or recordation, as applicable;

                         (v)     The Administrative Agent (or its counsel) shall have received (i) the
        certificates representing the Equity Interests required to be pledged pursuant to the Security
        Agreement, together with an executed undated stock power or similar instrument of transfer for
        each such certificate endorsed in blank by a duly authorized officer of the pledgor thereof, and (ii)
        any other possessory collateral to be pledged pursuant to the Security Agreement; and

                        (vi)   The Administrative Agent shall have received a Field Audit satisfactory
        to Administrative Agent.

                (g)    Guarantee Agreement. The Guarantee Agreement shall have been duly executed
and delivered by each Loan Party that is to be a party thereto and shall be in full force and effect.

                 (h)      Solvency Certificate. The Administrative Agent shall have received a Solvency
Certificate attesting to the Solvency of each Loan Party and its Subsidiaries (taken as a whole) on the
Closing Date immediately before and after giving effect to the Transactions, from the chief financial officer
or an authorized person performing similar function of the Borrower.

                (i)     Committed Loan Notice. The Administrative Agent shall have received a
completed Committed Loan Notice, duly executed by a Responsible Officer of the Borrower with respect
to any Credit Extensions to be made on the Closing Date.




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                 (j)      Insurance. The Administrative Agent shall have received evidence that all
insurance required to be maintained pursuant to the Loan Documents has been obtained and is in effect and
that the Administrative Agent has been named as lender’s loss payee and/or additional insured, as
applicable, under each insurance policy with respect thereto and all endorsements thereto have been
delivered, in each case, in accordance with the terms of the Loan Documents, and the Administrative Agent
is otherwise satisfied with all of the insurance arrangements of the Loan Parties and their Subsidiaries.

                 (k)     USA PATRIOT Act; KYC. Each Lender shall have received:

                         (i)     any and all documentation and other information requested by such Lender
        in connection with applicable “know your customer” and anti-money-laundering rules and
        regulations, including the USA PATRIOT Act; and

                      (ii)    to the extent the Borrower constitutes a “legal entity customer” under the
        Beneficial Ownership Regulation, a completed Beneficial Ownership Certification in relation to
        the Borrower.

                  (l)   Financial Statements. The Administrative Agent shall have received (i) the
Audited Financial Statements, (ii) the Unaudited Financial Statements, and (iii) a quality of earnings report
satisfactory to the Administrative Agent.

                  (m)     Litigation. There shall not exist any pending or threatened claim, action, suit,
investigation litigation or other proceeding that could, in the judgment of the Administrative Agent, be
expected to cause a Material Adverse Effect.

                (n)     No Material Adverse Effect. Since May 31, 2021, there shall not have occurred a
Material Adverse Effect or any event or circumstance that could reasonably be expected to result in a
Material Adverse Effect and the Administrative Agent shall have received a certificate of a Financial
Officer of the Borrower to the foregoing effect.

                  (o)     Financial Officer Certificate. The Administrative Agent shall have received a
certificate, dated the Closing Date and signed by a Financial Officer of the Borrower confirming that the
conditions set forth in subsections (m), and (n) of this Section 4.1 and subsections (a) and (b) of Section 4.2
shall be satisfied.

               (p)       Material Contracts. The Administrative Agent shall have received copies of all
Material Contracts.

                 (q)     Outstanding Indebtedness. All outstanding Indebtedness of any Loan Party and its
Subsidiaries (other than Indebtedness permitted under Section 7.1) shall have been indefeasibly paid in full
and any Liens relating thereto released and/or terminated.

                (r)     Borrowing Base Certificate. A Borrowing Base Certificate in form and content
acceptable to Administrative Agent.

                 (s)     Other. The Administrative Agent shall have received such other documents,
instruments or items the Administrative Agent may reasonably request.

For purposes of determining whether the Closing Date has occurred, each Lender that has executed this
Credit Agreement shall be deemed to have consented to, approved or accepted, or to be satisfied with, each
document or other matter required hereunder to be consented to or approved by or acceptable or satisfactory



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to the Lead Arranger, Administrative Agent or such Lender, as the case may be, unless such Lender has
notified the Administrative Agent of any disagreement prior to the initial Credit Extensions hereunder.
Notwithstanding the foregoing, the obligations of the Lenders to make Credit Extension shall not become
effective unless each of the foregoing conditions shall have been satisfied (or waived pursuant to
Section 10.2).

        Section 4.2      Conditions to All Credit Extensions. The obligation of each Lender to honor any
Request for Credit Extension (other than a Committed Loan Notice requesting only a conversion of Loans
to the other Type, or a continuation of LIBOR Loans) is subject to the satisfaction of the conditions in
Section 4.1 and the following additional conditions precedent:

                 (a)      Each of the representations and warranties of the Loan Parties set forth in the Loan
Documents shall be true and correct in all material respects, in each case on and as of such date as if made
on and as of such date, provided that to the extent that such representations and warranties specifically refer
to an earlier date, they shall be true and correct in all material respects as of such earlier date; provided
further that any representation and warranty that is qualified as to “materiality”, “Material Adverse Effect”
or similar language shall be true and correct (after giving effect to any qualification therein) in all respects
on such respective dates.

                (b)      No Default shall exist, or would result from such proposed Credit Extension or
from the application of the proceeds therefrom.

               (c)      The Administrative Agent shall have received a Request for Credit Extension in
accordance with the requirements hereof.

Each Request for Credit Extension (other than a Committed Loan Notice requesting only a conversion of
Loans to the other Type or a continuation of LIBOR Loans) submitted by the Borrower shall be deemed to
be a representation and warranty that the applicable conditions specified in Sections 4.2(a) and, if
applicable, (b) have been satisfied on and as of the date of the applicable Credit Extension.

                                                 ARTICLE 5

                               REPRESENTATIONS AND WARRANTIES

The Borrower, on behalf of itself and each of the other Loan Parties, represents and warrants to the
Administrative Agent and the Lenders that:

         Section 5.1      Existence, Qualification and Power; Compliance with Laws. Each Loan Party and
each of its Subsidiaries (a) is duly incorporated, organized or formed, and validly existing and, where
applicable, in good standing under the laws of the jurisdiction of its incorporation or organization, (b) has
all requisite power and authority to (i) own or lease its assets and carry on its business as now conducted
and (ii) execute, deliver and perform its obligations under the Loan Documents to which it is a party, (c) is
duly qualified and, where applicable, in good standing under the laws of each jurisdiction where its
ownership, lease or operation of properties or the conduct of its business requires such qualification, and
(d) has all requisite governmental licenses, authorizations, consents and approvals to operate its business
as currently conducted; except in each case referred to in clause (c) or (d), to the extent that failure to do so
could not, individually or in the aggregate, reasonably be expected to have a Material Adverse Effect. Each
Loan Party and each of its Subsidiaries are in compliance with all laws, rules, regulations and orders of any
Governmental Authority applicable to it or its property and maintains all permits and licenses necessary to
conduct its business, except where the failure to do so, individually or in the aggregate, could not reasonably
be expected to result in a Material Adverse Effect.


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         Section 5.2       Authorization; No Contravention. The execution, delivery and performance by
each Loan Party of each Loan Document to which such Loan Party is a party, and the consummation of the
Transactions, are within such Loan Party’s corporate, limited liability company or other analogous powers,
have been duly authorized by all necessary corporate, limited liability company or other analogous action,
and do not and will not (a) contravene the terms of any of such Person’s Organizational Documents, (b)
conflict with or result in any breach or contravention of, or the creation of any Lien under (other than under
the Loan Documents), or require any payment to be made under (i) any Contractual Obligation to which
such Person is a party or affecting such Person or the properties of such Person or any of its Subsidiaries or
(ii) any order, injunction, writ or decree of any Governmental Authority or any arbitral award to which such
Person or its property is subject; (c) violate any law; except with respect to any conflict, breach or
contravention or payment (but not creation of Liens) referred to in clause (b)(i), to the extent that such
conflict, breach, contravention or payment could not, individually or in the aggregate, reasonably be
expected to have a Material Adverse Effect, or (d) conflict with any Material Contract.

        Section 5.3        Governmental Authorization; Other Consents. No approval, consent, exemption,
authorization, or other action by, or notice to, or filing with, any Governmental Authority or any other
Person is necessary or required in connection with (a) the execution, delivery or performance by, or
enforcement against, any Loan Party of any Loan Document to which it is a party, or for the consummation
of the Transactions, (b) the grant by any Loan Party of the Liens granted by it pursuant to the Collateral
Documents, (c) the perfection or maintenance of the Liens created under the Collateral Documents
(including the priority thereof) or (d) the exercise by the Administrative Agent or any Lender of its rights
under the Loan Documents or the remedies in respect of the Collateral pursuant to the Loan Documents,
except for (i) filings and recordings necessary to satisfy the Collateral and Guarantee Requirement, and (ii)
the approvals, consents, exemptions, authorizations, actions, notices and filings which have been duly
obtained, taken, given or made and are in full force and effect.

        Section 5.4       Binding Effect. Each Loan Document has been duly executed and delivered by
each Loan Party that is party thereto and constitutes a legal, valid and binding obligation of each such Loan
Party, enforceable in accordance with its terms, subject to applicable bankruptcy, insolvency,
reorganization, moratorium or other similar laws affecting creditors’ rights generally and subject to general
principles of equity, regardless of whether considered in a proceeding in equity or at law.

        Section 5.5       Financial Statements; No Material Adverse Effect.

                 (a)      The Audited Financial Statements and Unaudited Financial Statements:

                         (i)     fairly present the financial condition of each Loan Party and its
        Subsidiaries, as applicable, as of the dates thereof and its results of operations for the period covered
        thereby in accordance with and contingent obligations.

                 (b)      Since May 31, 2021, there has been no event or circumstance, either individually
or in the aggregate, that has had or could reasonably be expected to have a Material Adverse Effect.

        Section 5.6      Litigation. There are no actions, suits or proceedings by or before any arbitrator
or Governmental Authority pending against any Loan Party or, to the knowledge of the Borrower,
threatened against or affecting the Loan Parties or any of their Subsidiaries (a) as to which there is a
reasonable possibility of an adverse determination and that, if adversely determined, could reasonably be
expected, individually or in the aggregate, to result in a Material Adverse Effect or (b) that involve or affect,
or that purport to or could reasonably be expected to involve or affect, any Loan Document or the
Transactions.



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       Section 5.7      Environmental Matters.

               (a)      Except for Environmental Claims which have been fully resolved with no
remaining obligations or conditions:

                       (i)      each Loan Party and its Subsidiaries possess all Environmental Permits
       required under applicable Environmental Law to conduct their respective businesses and are, and
       within applicable statutes of limitation, have been, in material compliance with the terms of such
       Environmental Permits. No Loan Party or any of its Subsidiaries has received written notice that
       any Environmental Permits possessed by any of them will be revoked, suspended or will not be
       renewed;

                       (ii)     the execution and delivery of this Credit Agreement and the
       consummation by the Loan Parties of the Transactions does not require any notification,
       registration, reporting, filing, investigation, or environmental response action under any
       Environmental Law;

                       (iii)  each of the Loan Parties and their Subsidiaries are currently, and within
       applicable statutes of limitation, have been, in material compliance with all applicable
       Environmental Law;

                        (iv)     no Loan Party nor any of its Subsidiaries has received (A) notice of any
       pending or threatened civil, criminal or administrative action, suit, demand, claim, hearing, notice
       of violation, investigation, notice or demand letter or request for information under any
       Environmental Law, or (B) notice of actual or potential liability under any Environmental Law
       including any Environmental Liability that such Loan Party or Subsidiary may have retained or
       assumed either contractually or by operation of law or of any Environmental Claim, in either case
       with respect to clauses (A) or (B) that reasonably could be expected to result in material expenditure
       by such Loan Party or Subsidiary. No Loan Party or any of its Subsidiaries has knowledge of any
       circumstances that reasonably could be expected to result in a material Environmental Liability;

                       (v)     as of the Agreement Date: (A) no property or facility currently, or to the
       knowledge of each Loan Party, formerly owned, operated or leased by any Loan Party or any of its
       current or former Subsidiaries or by any respective predecessor in interest, and (B) no property at
       which Hazardous Materials generated, owned or controlled by any Loan Party, any of its present
       or former Subsidiaries or any predecessor in interest have been stored, treated or disposed of, have
       been identified by a Governmental Authority as recommended for or requiring or potentially
       requiring environmental assessment and/or response actions under Environmental Law;

                        (vi)     (A) there has been no disposal, spill, discharge or Release of any
       Hazardous Material generated, used, owned, stored or controlled by any Loan Party, any of its
       Subsidiaries or any predecessor in interest, on, at or under any property currently or formerly
       owned, leased or operated by any Loan Party, any of its current or former Subsidiaries or any
       predecessor in interest, (B) there are no Hazardous Materials located in, at, on or under any such
       facility or property, or at any other location, in either case (A) or (B), that reasonably could be
       expected to require investigation, removal, remedial or corrective measures by any Loan Party or
       any of its Subsidiaries or that reasonably could result in material liabilities of, or material losses,
       damages or costs to any Loan Party or any of its Subsidiaries under any Environmental Law, and
       (C) neither the Loan Parties nor any of their Subsidiaries has retained or assumed any liability
       contractually or by operation of law with regard to the generation, treatment, storage or disposal of



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        Hazardous Materials or compliance with Environmental Law that could reasonably be expected to
        result in material expenditures by any Loan Party or any of its Subsidiaries;

                         (vii)    (A) there has not been any underground or aboveground storage tank or
        other underground storage receptacle or related piping, or any impoundment or other disposal area
        in each case containing Hazardous Materials located on any facility or property currently or
        formerly owned, leased or operated by any Loan Party or any of its Subsidiaries, and (B) no
        asbestos or polychlorinated biphenyls have been used or disposed of, or have been located at, on
        or under any facility or property currently or formerly owned, leased or operated by any Loan Party
        or any of its Subsidiaries, in either case (A) or (B) except in material compliance with applicable
        Environmental Laws or as would not result in material Environmental Liability;

                       (viii) no Lien has been recorded against any properties, assets or facilities
        currently owned, leased or operated by any Loan Party or any of its Subsidiaries under any
        Environmental Law.

                  (b)     The Loan Parties and their Subsidiaries have provided to the Administrative Agent
and its authorized representatives all material records and files, including all material assessments, reports,
studies, analyses, audits, tests and data in their possession or under their control concerning any
Environmental Claim, the existence of Hazardous Materials or any other environmental concern at
properties, assets or facilities currently or formerly owned, operated or leased by any Loan Party or any of
their present or former Subsidiaries or predecessor in interest, or concerning compliance by any Loan Party
or any such Subsidiary with, or liability under any Environmental Law.

          Section 5.8      Ownership of Properties; Liens. Each Loan Party and its Subsidiaries (a) has good
title to, or valid leasehold interests in, all its real and personal property material to its business, except for
minor defects in title that do not interfere with its ability to conduct its business as currently conducted or
to utilize such properties for their intended purposes, (b) owns, or is entitled to use, all trademarks, service
marks, trade names, domain names, copyrights, patents, patent rights, technology, software, know-how
database rights, design rights and other intellectual property rights material to its business, and the use
thereof by the Loan Parties and their respective Subsidiaries does not infringe upon the rights of any other
Person, except for any such infringements that, individually or in the aggregate, could not reasonably be
expected to result in a Material Adverse Effect, (c) has complied in all material respects with all obligations
under all material leases to which it is a party and all such leases are in full force and effect and (d) enjoys
peaceful and undisturbed possession under all such material leases.

        Section 5.9       Casualty, Etc. Neither the businesses nor the properties of any Loan Party or any
of its Subsidiaries are affected by any fire, explosion, accident, strike, lockout or other labor dispute,
drought, storm, hail, earthquake, embargo, act of God or of the public enemy or other casualty (whether or
not covered by insurance) that, either individually or in the aggregate, could reasonably be expected to have
a Material Adverse Effect.

        Section 5.10    Investment Company Status, Etc. No Loan Party or any of its Subsidiaries is (a)
an “investment company” as defined in, or subject to regulation under, the Investment Company Act of
1940 or (b) otherwise subject to any other regulatory scheme limiting its ability to incur debt.

         Section 5.11      Taxes. Each Loan Party and its Subsidiaries has timely filed or caused to be filed
all federal, provincial, state, municipal, foreign and other Tax returns and reports required to be filed, and
have timely paid all federal, provincial, state, municipal, foreign and Taxes levied or imposed upon them
or their properties, income or assets otherwise due and payable, except (a) those which are being Contested
in Good Faith and (b) failures to file or pay as could not, either individually or in the aggregate, reasonably


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be expected to result in a Material Adverse Effect. There are no Tax audits, deficiencies, assessments or
other claims with respect to any Loan Party or any of its Subsidiaries that could, either individually or in
the aggregate, reasonably be expected to result in a Material Adverse Effect.

        Section 5.12     ERISA.

                  (a)    Each Loan Party and each of its ERISA Affiliates is in compliance in all material
respects with the applicable provisions of ERISA and the Code and the regulations and published
interpretations thereunder. No ERISA Event has occurred or is reasonably expected to occur that, when
taken together with all other such ERISA Events for which liability is reasonably expected to occur, could
reasonably be expected to result in a Material Adverse Effect. No event described in Section 4062(e) of
ERISA has occurred and is continuing with respect to any Pension Plan. The present value of all
accumulated benefit obligations under each Pension Plan (based on the assumptions used for purposes of
Statement of Financial Accounting Standards No. 87) did not, as of the date of the most recent financial
statements reflecting such amounts, exceed the fair market value of the assets of such Pension Plan and the
present value of all accumulated benefit obligations of all underfunded Pension Plans (based on the
assumptions used for purposes of Statement of Financial Accounting Standards No. 87) did not, as of the
date of the most recent financial statements reflecting such amounts, exceed the fair market value of the
assets of all such underfunded Pension Plans.

                (b)      Each Pension Plan that is intended to qualify under Section 401(a) of the Code has
received a favorable determination letter from the IRS or an application for such a letter is currently being
processed by the IRS with respect thereto and, to the knowledge of the Loan Parties, nothing has occurred
which would prevent, or cause the loss of, such qualification. Each Loan Party and ERISA Affiliate has
made all required contributions to each Pension Plan subject to Section 412 of the Code, and no application
for a funding waiver pursuant to Section 412 of the Code has been made with respect to any Pension Plan.

                 (c)      There are no pending or, to the knowledge of the Loan Parties, threatened claims,
actions, or lawsuits, or action by any Governmental Authority, with respect to any Pension Plan. There has
been no violation of the fiduciary responsibility rules of ERISA with respect to any Pension Plan.

                  (d)     No Loan Party or ERISA Affiliate (i) has incurred, or reasonably expects to incur,
any liability under Title IV of ERISA with respect to any Pension Plan (other than premiums due and not
delinquent under Section 4007 of ERISA), (ii) has incurred, or reasonably expects to incur, any liability
(and no event has occurred which, with the giving of notice under Section 4219 of ERISA, would result in
such liability) under Section 4201 of ERISA with respect to a Multiemployer Plan, and (iii) has engaged in
a transaction that could be subject to Section 4069 or Section 4212(c) of ERISA.

                 (e)     No such Pension Plan or trust created thereunder, or party in interest (as defined in
Section 3(14) of ERISA), or any fiduciary (as defined in Section 3(21) of ERISA), has engaged in a
“prohibited transaction” (as such term is defined in Section 406 of ERISA or Section 4975 of the Code)
which would subject such Pension Plan or any other plan of any Loan Party or any of its ERISA Affiliates,
any trust created thereunder, or any such party in interest or fiduciary, or any party dealing with any such
Pension Plan or any such trust, to any material penalty or tax on “prohibited transactions” imposed by
Section 502 of ERISA or Section 4975 of the Code.

                  (f)      With respect to any Foreign Plan, (i) all employer and employee contributions
required by law or by the terms of the Foreign Plan have been made, or, if applicable, accrued, in accordance
with normal accounting practices; (ii) the fair market value of the assets of each funded Foreign Plan, the
liability of each insurer for any Foreign Plan funded through insurance, or the book reserve established for
any Foreign Plan, together with any accrued contributions, is sufficient to procure or provide for the accrued


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benefit obligations with respect to all current and former participants in such Foreign Plan according to the
actuarial assumptions and valuations most recently used to account for such obligations in accordance with
applicable generally accepted accounting principles; and (iii) it has been registered as required and has been
maintained in good standing with applicable regulatory authorities.

         Section 5.13     Subsidiaries; Equity Interests. As of the Agreement Date, no Loan Party has any
direct or indirect Subsidiaries or investments (other than Cash Equivalents) in, or joint ventures or
partnerships with, any Person, except as disclosed in Schedule 5.13. Such Schedule sets forth (a) the name
and jurisdiction of organization or incorporation of each Loan Party and identifies each Subsidiary of the
Borrower that is an Excluded Subsidiary, (b) the ownership interest of each Loan Party and their respective
Subsidiaries in each of their respective Subsidiaries, including the percentage of such ownership and (c)
identifies each Person the Equity Interests of which are required to be pledged on the Closing Date pursuant
to the Collateral and Guarantee Requirement. Within 120 days of the Closing Date, Debtor may deliver a
revised schedule of relating to each Person required to pledge Equity Interests and shall cause such
amendments to the Loan Documents as Lender may deem reasonably necessary in connection with such
revised schedule. Neither any Loan Party nor any of its Subsidiaries has issued any Disqualified Equity
Interests and there are no outstanding options or warrants to purchase Equity Interests of any Loan Party or
any of its Subsidiaries of any class or kind, and there are no agreements, voting trusts or understandings
with respect thereto or affecting in any manner the sale, pledge, assignment or other disposition thereof,
including any right of first refusal, option, redemption, call or other rights with respect thereto, whether
similar or dissimilar to any of the foregoing. All of the issued and outstanding Equity Interests owned by
any Loan Party in its Subsidiaries have been duly authorized and issued and are fully paid and non-
assessable and are free and clear of all Liens other than Liens in favor of the Administrative Agent under
the Collateral Documents.

        Section 5.14    Insurance. Schedule 5.14 sets forth a description of all insurance maintained by or
on behalf of the Loan Parties and their Subsidiaries on the Agreement Date (including names of carriers,
policy number, expiration dates, insurance types and coverage amounts). As of the Agreement Date, all
premiums in respect of such insurance that are due and payable have been paid.

         Section 5.15     Federal Reserve Regulations, Etc. Neither any Loan Party nor any of its
Subsidiaries is engaged principally, or as one of their important activities, in the business of extending
credit for the purpose of buying or carrying Margin Stock. Immediately before and after giving effect to
the making of each Loan, Margin Stock will constitute less than 25% of each Loan Party’s assets as
determined in accordance with Regulation U. No part of the proceeds of any Loan will be used, whether
directly or indirectly, and whether immediately, incidentally or ultimately, (a) to purchase, acquire or carry
any Margin Stock or for any purpose that entails a violation of, or that is inconsistent with, the provisions
of the regulations of the Board, including Regulation T, U or X or (b) for any purpose that would violate
any Anti-Corruption Laws or applicable Sanctions.

        Section 5.16      Collateral Documents.

                  (a)     The Security Agreement, upon execution and delivery thereof by the parties
thereto, will create in favor of the Administrative Agent, for the ratable benefit of the Secured Parties, a
legal, valid and enforceable security interest in the Collateral and the proceeds thereof and (i) when the
Pledged Equity Interests (other than uncertificated Equity Interests) and the Pledged Debt Securities (as
each such term is defined in the Security Agreement) are delivered to the Administrative Agent together
with the proper endorsements, the Lien created under Security Agreement shall constitute a fully perfected
first priority Lien on, and security interest in, all right, title and interest of the Loan Parties in such Pledged
Equity Interests and Pledged Debt Securities to the extent that the laws of the United States or any state,
commonwealth or other political subdivision thereof govern the creation and perfection of any such security


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interest, in each case prior and superior in right to any other Lien or right of any other person and (ii) when
financing statements in appropriate form are filed in the offices specified on Schedule 5.16(a) and, with
respect to Collateral consisting of Intellectual Property, when the Security Agreement (or applicable
Intellectual Property Security Agreements) are filed with the United States Patent and Trademark Office or
the United States Copyright Office, as applicable, and in each case, all applicable filing fees have been paid,
the Lien created under the Security Agreement will constitute a fully perfected Lien on, and security interest
in, all right, title and interest of the Loan Parties in the Collateral to the extent such security interest may be
perfected by the filing of a UCC financing statement and, with respect to Intellectual Property, the filing of
such Intellectual Property Security Agreements with the United States Patent and Trademark Office or the
United States Copyright Office, as applicable, in each case prior and superior in right to any other Lien or
right of any other person, other than Liens expressly permitted by Section 7.2 which by operation of law or
contract have priority over the Liens securing the Secured Obligations.

                 (b)     The Mortgages, upon the execution and delivery thereof by the parties thereto, will
create in favor of the Administrative Agent, subject to the exceptions listed in each insurance policy
covering such Mortgage, for the ratable benefit of the Secured Parties, a legal, valid and enforceable Lien
on all of the Loan Parties’ right, title and interest in and to the Mortgaged Property thereunder and the
proceeds thereof, and when (i) the Mortgages to be delivered on the Closing Date or on a post-closing basis
pursuant to Section 6.15 are recorded in the offices specified in Schedule 5.16(b) and (ii) other Mortgages
to be delivered pursuant to Section 6.12 and Section 6.14, and, in each case, all applicable fees have been
paid, the Mortgages will constitute a fully perfected Lien on, and security interest in, all right, title and
interest of the Loan Parties in such Mortgaged Property and the proceeds thereof, in each case prior and
superior in right to any other person, other than with respect to the rights of persons pursuant to Liens
expressly permitted by Section 7.2 which by operation of law or contract would have priority over the Liens
securing the Secured Obligations.

        Section 5.17   Solvency. Immediately before and after the consummation of each Transaction,
each of the Borrower and its Subsidiaries, on a consolidated basis, are Solvent.

        Section 5.18      Anti-Corruption Laws; Sanctions; Anti-Terrorism Laws.

                  (a)    Each Loan Party, its Subsidiaries, and their respective officers and employees and
their directors and agents, are in compliance with Anti-Corruption Laws and applicable Sanctions. Neither
any Loan Party, any of its Subsidiaries or any of their respective directors, officers or employees is a
Sanctioned Person. Each Loan Party and each of its Subsidiaries has implemented and maintains in effect
policies and procedures reasonably designed to ensure compliance by the Loan Party, its Subsidiaries and
their respective directors, officers, employees and agents with Anti-Corruption Laws and all applicable
Sanctions.

                 (b)     No Loan, use of the proceeds of any Loan or other transactions contemplated
hereby will violate Anti-Corruption Laws or applicable Sanctions. No part of the proceeds of the Loans or
the Letters or Credit will be used, directly or indirectly, for any payments to any governmental official or
employee, political party, official of a political party, candidate for political office, or anyone else acting in
an official capacity, in order to obtain, retain or direct business or obtain any improper advantage, in
violation of the Anti-Corruption Laws.

                 (c)     Neither the making of the Loans hereunder nor the use of the proceeds thereof will
violate the any regulations passed under the USA PATRIOT Act or will violate the Trading with the Enemy
Act, the International Emergency Economic Powers Act, or any regulations passed thereunder, including
the foreign assets control regulations of the United States Treasury Department (31 C.F.R., Subtitle B,
Chapter V) or any enabling legislation or executive order relating thereto or successor statute thereto


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(together with Sanctions, “Anti-Terrorism Laws”). Each Loan Party and each of its Subsidiaries are in
compliance with applicable Anti-Terrorism Laws.

         Section 5.19     Material Owned Real Property. Schedule 5.19 lists completely and correctly as of
the Agreement Date all Material Owned Real Property and the addresses thereof. One or more of the Loan
Parties own in fee all the real property set forth on Schedule 5.19.

        Section 5.20     Accuracy of Information, Etc.

                (a)      Each Loan Party has disclosed to the Credit Parties all agreements, instruments
and corporate or other restrictions to which it or any of its Subsidiaries is subject, and all other matters
known to it, that, individually or in the aggregate, could reasonably be expected to result in a Material
Adverse Effect. None of the reports, financial statements, certificates or other information furnished
(whether in writing or orally) by or on behalf of any Loan Party to any Credit Party in connection with the
transactions contemplated hereby and the negotiation of this Credit Agreement or delivered hereunder or
under any other Loan Document (in each case as modified or supplemented by other information so
furnished) contains any material misstatement of fact or omits to state any material fact necessary to make
the statements therein, in the light of the circumstances under which they were made, not misleading,
provided that, with respect to projected financial information, the Loan Parties represent only that such
information was prepared in good faith based upon assumptions believed to be reasonable at the time.

                  (b)     As of the Closing Date, the information included in the Beneficial Ownership
Certification is true and correct in all respects.

         Section 5.21     Labor Matters. There are no strikes, lockouts or slowdowns against any Loan Party
or any of its Subsidiaries pending or, to the knowledge of any Loan Party, threatened. The hours worked
by and payments made to employees of the Loan Parties and their Subsidiaries have not been in violation
in any material respect of the Fair Labor Standards Act or any other applicable Federal, state, local or
foreign law dealing with such matters. All material payments due from the Loan Parties or any of their
Subsidiaries, or for which any claim may be made against any of the Loan Parties or any of their
Subsidiaries, on account of wages and employee health and welfare insurance and other benefits, have been
paid or accrued as a liability on the books of such Loan Party or such Subsidiary. The consummation of the
Transactions will not give rise to any right of termination or right of renegotiation on the part of any union
under any collective bargaining agreement to which any of the Loan Parties or any of their Subsidiaries is
bound.

        Section 5.22    Absence of Certain Restrictions. No indenture, certificate of designation for
preferred stock, agreement or instrument to which any Loan Party or any of its Subsidiaries is a party (other
than this Credit Agreement), prohibits or limits in any way, directly or indirectly the ability of any
Subsidiary to make Restricted Payments or loans to, to make any advance on behalf of, or to repay any
Indebtedness to, any Loan Party or to another Subsidiary.

        Section 5.23    No Default. No Loan Party nor any of its Subsidiaries is in default in the
performance, observance or fulfillment of any of the obligations, covenants or conditions contained in any
agreement, instrument or other undertaking to which such Person is a party or by which it or any of its
property is bound in any respect that could reasonably be expected to have a Material Adverse Effect. No
Default has occurred and is continuing.

        Section 5.24    Brokers’ Fees. None of the Loan Parties or their Subsidiaries has any obligation
to any Person in respect of any finder’s, broker’s, investment banking or other similar fee in connection




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with any of the transactions contemplated under the Loan Documents other than the closing and other fees
payable pursuant to this Credit Agreement and as set forth in the Fee Letter.

        Section 5.25     EEA Financial Institutions. No Loan Party is an EEA Financial Institution.

        Section 5.26     Use of Proceeds. The proceeds of any Revolving Loans on the Closing Date are
being used only as set forth in Section 6.8.

         Section 5.27    Capitalization. As of the Closing Date, Schedule 5.27 sets forth a true, complete
and accurate description of the equity capital structure of each Loan Party and its Subsidiaries, in each case
showing accurate ownership percentages of the equity holders of record of such Person and accompanied
by a statement of authorized and issued Equity Interests of such Person. Except as set forth on Schedule
5.28, as of the Closing Date (a) there are no preemptive rights, outstanding subscriptions, warrants or
options to purchase any Equity Interests of any Loan Party or any of its Subsidiaries, (b) there are no
obligations of any Loan Party to redeem or repurchase any of its Equity Interests and (c) there is no
agreement, arrangement or plan to which any Loan Party is a party or of which any Loan Party has
knowledge that could directly or indirectly affect the capital structure of any Loan Party, any of its
Subsidiaries. The Equity Interests of each Loan Party described on Schedule 5.28 (i) are validly issued and
fully paid and non-assessable (to the extent such concepts are applicable to the respective Equity Interests)
and (ii) are owned of record and beneficially as set forth on Schedule 5.28, free and clear of all Liens (other
than Liens permitted under Section 7.2).

         Section 5.28    Affiliate Transactions. Except as set forth on Schedule 5.28, as of the Closing
Date, there are no existing or proposed agreements, arrangements or transactions between any Loan Party
and any of the officers, members, managers, directors, stockholders, parents, other interest holders,
employees or Affiliates (other than the Subsidiaries) of any Loan Party or any members of their respective
immediate families, and none of the foregoing Persons are directly or indirectly indebted to, or have any
direct or indirect ownership, partnership, or voting interest in, any Affiliate of any Loan Party or any Person
with which any Loan Party has a business relationship or which competes with any Loan Party.

        Section 5.29    Material Contracts. No Loan Party is a party to any Material Contract other
than the Material Contracts on Schedule 5.29. To Loan Parties’ knowledge after due inquiry, no Loan
Party is in violation of, or default under, any Material Agreement obligation to which it is a party
beyond any applicable grace or cure period except where such violation or default, individually or in
the aggregate, could not reasonably be expected to have a Material Adverse Effect.

                                                ARTICLE 6

                                      AFFIRMATIVE COVENANTS

Until the Termination Date, the Borrower covenants and agrees with the Credit Parties that:

       Section 6.1     Financial Statements and Other Information. The Borrower will furnish or caused
to be furnished to the Administrative Agent and each Lender either in hard copy or by electronic
communication (including by email, internet and intranet websites) pursuant to procedures approved by the
Administrative Agent:

                  (a)     within 120 days after the Fiscal Year ending December 31, 2021, and after each
Fiscal Year thereafter (y) the audited consolidated balance sheet of each Loan Party and its Subsidiaries
together with the related statements of income, comprehensive income, stockholders’ equity and cash flows
as of the end of and for such year, setting forth in each case in comparative form the figures for the previous



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Fiscal Year, all reported on by a registered independent public accounting firm of recognized national
standing approved by Administrative Agent (without a “going concern” or like qualification or exception
and without any qualification or exception as to the scope of such audit, other than a qualification resulting
solely from the impending maturity of any Indebtedness within the four consecutive fiscal quarter period
following the relevant audit date with respect to any Indebtedness incurred under this Credit Agreement) to
the effect that such consolidated financial statements present fairly in all material respects the financial
condition and results of operations of each Loan Party and its Subsidiaries on a consolidated basis in
accordance with GAAP consistently applied;

                 (b)      within 60 days after each Fiscal Year commencing with Fiscal Year ending
December 31, 2021, the unaudited consolidating balance sheets of each Loan Party and its Subsidiaries and
the related statements of income, comprehensive income, stockholders’ equity and cash flows as of the end
of and for such year, setting forth in each case in comparative form the figures for the previous Fiscal Year
and certified by one of its Financial Officers as presenting fairly in all material respects the financial
condition and results of operations of each Loan Party and its Subsidiaries on a consolidating basis in
accordance with GAAP consistently applied, subject to normal year-end audit adjustments and the absence
of footnotes, together with a schedule of other financial information consisting of consolidating or
combining details in columnar form with its Subsidiaries separately identified, in accordance with GAAP
consistently applied

                 (c)       within 45 days after the end of each fiscal quarter of each Fiscal Year, commencing
with the fiscal quarter ending September 30, 2021, (i) the unaudited consolidated balance sheet of each
Loan Party and its Subsidiaries and the related unaudited statements of income, comprehensive income,
stockholders’ equity and cash flows as of the end of and for such fiscal quarter and the then elapsed portion
of the Fiscal Year, setting forth in each case in comparative form the figures for the corresponding period
or periods of (or, in the case of the balance sheet, as of the end of) the previous Fiscal Year, all certified by
one of its Financial Officers as presenting fairly in all material respects the financial condition and results
of operations of each Loan Party and its Subsidiaries on a consolidated basis in accordance with GAAP
consistently applied, subject to normal year-end audit adjustments and the absence of footnotes, and (ii) the
unaudited consolidating balance sheet of each Loan Party and its Subsidiaries and the related unaudited
statements of income, comprehensive income, stockholders’ equity and cash flows as of the end of and for
such fiscal quarter and the then elapsed portion of the Fiscal Year, setting forth in each case in comparative
form (A) the figures for the corresponding period or periods of (or, in the case of the balance sheet, as of
the end of) the previous Fiscal Year and (B) the figures set forth in the financial projections required
delivered under Section 6.1, in each case certified by one of its Financial Officers as presenting fairly in all
material respects the financial condition and results of operations of each Loan Party and its Subsidiaries
on a consolidating basis in accordance with GAAP consistently applied, subject to normal year-end audit
adjustments and the absence of footnotes, together with a schedule of other financial information consisting
of consolidating or combining details in columnar form with its Subsidiaries separately identified, in
accordance with GAAP consistently applied;

                 (d)      concurrently with any delivery of financial statements under clause (a), (b), or (c)
above, a Compliance Certificate signed by a Financial Officer of the Borrower (i) stating whether any
change in GAAP or in the application thereof has occurred since the date of the Audited Financial
Statements and, if any such change has occurred, specifying the effect of such change on the financial
statements accompanying such Compliance Certificate, (ii) containing either a certification that no Default
exists or, specifying the nature of each such Default, the nature and status thereof and any action taken or
proposed to be taken with respect thereto, (iii) certifying that there have been no changes to the jurisdiction
of organization or legal name of any Loan Party since the date of the last Compliance Certificate delivered
pursuant to the Credit Agreement, (iv) attaching reasonably detailed calculations demonstrating compliance
with Section 7.12, (v) certifying that no Loan Party has any Subsidiaries other than (A) those that existed


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on the Closing Date and were reflected on Schedule 5.13 on the Closing Date, (B) those formed or acquired
after the Closing Date with respect to which the Administrative Agent was previously notified either
pursuant to Section 6.12 or in a previous Compliance Certificate, and (C) those other Subsidiaries set forth
on the relevant Schedule to such Compliance Certificate, which Schedule sets forth for each such Subsidiary
whether such Subsidiary is (1) a Domestic Subsidiary, (2) a Guarantor (including the basis for it not being
a Guarantor, if applicable), (3) a first tier Foreign Subsidiary, or (4) an Excluded Subsidiary (including the
basis for its constituting an Excluded Subsidiary);

                 (e)      within 30 days after the end of each calendar month that is not March, June,
September or December (i) the unaudited consolidated balance sheet of each Loan Party and its Subsidiaries
and the related unaudited statements of income, comprehensive income, stockholders’ equity and cash
flows as of the end of and for such fiscal quarter and the then elapsed portion of the Fiscal Year, setting
forth in each case in comparative form the figures for the corresponding period or periods of (or, in the case
of the balance sheet, as of the end of) the previous Fiscal Year, all certified by one of its Financial Officers
as presenting fairly in all material respects the financial condition and results of operations of each Loan
Party and its Subsidiaries on a consolidated basis in accordance with GAAP consistently applied, subject
to normal year-end audit adjustments and the absence of footnotes, and (ii) the unaudited consolidating
balance sheet of each Loan Party and its Subsidiaries and the related unaudited statements of income,
comprehensive income, stockholders’ equity and cash flows as of the end of and for such fiscal quarter and
the then elapsed portion of the Fiscal Year, setting forth in each case in comparative form (A) the figures
for the corresponding period or periods of (or, in the case of the balance sheet, as of the end of) the previous
Fiscal Year and (B) the figures set forth in the financial projections required delivered under Section 6.1,
in each case certified by one of its Financial Officers as presenting fairly in all material respects the financial
condition and results of operations of each Loan Party and its Subsidiaries on a consolidating basis in
accordance with GAAP consistently applied, subject to normal year-end audit adjustments and the absence
of footnotes, together with a schedule of other financial information consisting of consolidating or
combining details in columnar form with its Subsidiaries separately identified, in accordance with GAAP
consistently applied;

                (f)    Within 60 days after September 30, 2021, a third-party review of the percentage
of completion accounting of the Loan Parties;

                (g)      within 60 days after the beginning of each Fiscal Year (commencing with the
Fiscal Year beginning January 1, 2021), (i) an annual consolidated and consolidating projections for each
Loan Party and its Subsidiaries for such Fiscal Year, including projected consolidated and consolidating
statements of income and comprehensive income of each Loan Party and its Subsidiaries, all in reasonable
detail acceptable to the Administrative Agent, including all underlying assumptions; and (ii) utilization
reports;

                  (h)     concurrently with the delivery of any Compliance Certificate under clause (c)
above, a discussion and analysis of the financial condition and results of operations of each Loan Party and
its Subsidiaries for the portion of the Fiscal Year then-elapsed, including a discussion of the reasons for any
significant variations from the figures for the corresponding period of the previous Fiscal Year or the figures
show in the financial forecasts required to be delivered pursuant to Section 6.1(f); and

                (i)      within 30 days of the end of each calendar month (and within 5 Business Days
after the Administrative Agent’s reasonable request following and during the continuation of an Event of
Default), as of the period then ended, a Borrowing Base Certificate and supporting information in
connection therewith, together with any additional reports with respect to the Borrowing as the
Administrative Agent may reasonably request, including without limitation, a certification that there are no
bonded projects experiencing delays or any problems that could reasonably be expected to cause a bond to


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be pulled. The Borrowing Base Certificate shall not be submitted to Administrative Agent more than twice
per calendar month unless otherwise agreed to by Administrative Agent in its sole discretion.

                 (j)      within 30 days of the end of each calendar month (and such other times as may be
reasonably requested by the Administrative Agent following and during the continuation of an Event of
Default), as of the last day of such calendar month, all delivered electronically in a form reasonably
acceptable to the Administrative Agent (i) a detailed aging of the Borrower’s Accounts Receivable,
including all invoices aged by invoice date and due date, prepared in a manner reasonably acceptable to the
Lender, together with a summary specifying the name and balance due for each Account Debtor (and, upon
the reasonable request of the Administrative Agent, a list of the addresses of each Account Debtor), (ii) a
detailed aging of Borrower’s accounts payable, including all invoices aged by invoice date and due date,
prepared in a manner reasonably acceptable to the Lender, together with a summary specifying the name
and balance due to each trade creditor (and, upon the reasonable request of the Lender, a list of the addresses
of each trade creditor), (iii) an inventory report, and (iv) a backlog report.

                 (k)     Intentionally deleted.

                 (l)     Within 60 days after the end of each Fiscal Year, a Field Audit and from time to
time as required by Administrative Agent. Loan Parties shall, at reasonable times during normal business
hours, and the observance of reasonable safety precautions, grant access to Administrative Agent and its
representatives to the property, assets, books and records of the Loan Parties to enable the Administrative
Agent to conduct Field Audits. The Borrower is responsible for the cost of no more than one Field Audit
per Fiscal Year (except all Field Audits conducted during the existence of an Event of Default or Default
shall be paid by the Borrower).

                (m)     promptly following any request therefor, (i) such other information and
documentation reasonably requested by the Administrative Agent or any Lender for purposes of compliance
with applicable “know your customer” requirements under the USA Patriot Act, the Beneficial Ownership
Regulation or other applicable Anti-Corruption and Anti-Terrorism Laws (including those passed pursuant
to the USA PATRIOT Act) and (ii) such other information regarding the operations, business affairs and
financial condition of each Loan Party or any Subsidiary, or compliance with the terms of the Loan
Documents, as any Credit Party may reasonably request..

       Section 6.2     Notices of Material Events. The Borrower will furnish or cause to be furnished to
the Administrative Agent each Lender prompt written notice of the following:

                 (a)     the occurrence of any Default, specifying the nature and extent thereof;

                 (b)    the filing or commencement of, or any written threat or notice of intention of any
Person to file or commence, any action, suit or proceeding, whether at law or in equity or by or before any
Governmental Authority, against, or affecting, any Loan Party or any of its Subsidiaries that could
reasonably be expected to result in a Material Adverse Effect;

                 (c)      if requested by Administrative Agent from time to time, copies of any annual
report required to be filed in connection with each Pension Plan or Foreign Plan, and as soon as possible
after, and in any event within ten days after any Loan Party or any ERISA Affiliate knows or has reason to
know that, any ERISA Event (or any similar event with respect to a Foreign Plan) has occurred that, alone
or together with any other ERISA Event (or any similar event with respect to a Foreign Plan) could
reasonably be expected to result in liability of any Loan Party or any ERISA Affiliate in an aggregate
amount exceeding the Threshold Amount;




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                 (d)       as soon as possible and in no event later than five (5) Business Days after the
receipt by any Loan Party or any of its Subsidiaries, of a written copy of any notice, summons, citation or
other written communication concerning any actual, alleged, suspected or threatened violation of any
Environmental Law by, Environmental Claim against or Environmental Liability of, any Loan Party or any
of its Subsidiaries, in each case, which could reasonably be expected to have a Material Adverse Effect;

                (e)     promptly after the furnishing thereof, copies of any written statement or report
furnished by a Loan Party to its shareholders generally or furnished to any holder of debt securities of any
Loan Party or of any of its Subsidiaries pursuant to the terms of any indenture, loan or credit or similar
agreement and not otherwise required to be furnished to the Lenders pursuant to any other clause of this
Section 6.2;

                (f)      promptly after any Loan Party or any of its Subsidiaries (i) being required to file
reports under Section 15(d) of the Securities Exchange Act of 1934, or (ii) registering securities under
Section 12 of the Securities Exchange Act of 1934;

                (g)      in the event that any Person shall become, or cease to be, a Subsidiary or a
Guarantor, the Borrower shall promptly furnish to the Administrative Agent an updated list of Subsidiaries
or Guarantors, as the case may be;

                (h)       the occurrence of any other development that has resulted in, or could reasonably
be expected to result in, a Material Adverse Effect; and

               (i)     any change in the information provided in the most recently delivered Beneficial
Ownership Certification that would result in a change to the list of beneficial owners identified therein.

Each notice delivered under this Section shall be accompanied by a statement of a Financial Officer of the
Borrower or other executive officer of the Borrower setting forth the details of the event or development
requiring such notice and any action taken or proposed to be taken with respect thereto.

        Section 6.3        Existence; Conduct of Business. The Borrower will, and will cause each Loan
Party and its Subsidiaries to, do or cause to be done all things necessary to preserve, renew and keep in full
force and effect its legal existence and the rights, licenses, permits, privileges and franchises material to the
conduct of its business, provided that the foregoing shall not prohibit any merger, consolidation, liquidation
or dissolution permitted under Section 7.3 or any sale, lease, transfer or other disposition permitted by
Section 7.5.

         Section 6.4      Payment and Performance of Obligations. The Borrower will, and will cause each
Loan Party and its Subsidiaries to, pay or perform its obligations, including Tax liabilities, that, if not paid
or performed, could reasonably be expected to result in a Material Adverse Effect before the same shall
become delinquent or in default, except where (a) the validity or amount thereof is being Contested in Good
Faith and (b) the failure to make payment pending such contest could not reasonably be expected to result
in a Material Adverse Effect; provided that nothing in this Section shall be deemed to require any Loan
Party to pay any subordinated Indebtedness in violation of the subordination provisions applicable thereto.

        Section 6.5      Maintenance of Properties. The Borrower will, and will cause each of its
Subsidiaries to, keep and maintain all of its property material to the conduct of its business in good working
order and condition, casualty, condemnation and ordinary wear and tear excepted.

       Section 6.6     Books and Records; Inspection Rights. The Borrower will, and will cause each
Loan Party and its Subsidiaries to, (a) keep proper books of record and account in which full, true and



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correct entries are made of all dealings and transactions in relation to its business and activities and (b)
permit any representatives designated by any Credit Party, upon reasonable prior notice, to visit and inspect
its properties, to examine and make extracts from its books and records, and to discuss its affairs, finances
and condition with its officers and independent accounting firm, all at the expense of the Borrower and at
such reasonable times and as often as reasonably requested; provided, however, that during the existence
of an Event of Default, the Administrative Agent or any Lender (or any of their respective representatives
or independent contractors) may do any of the foregoing at the expense of the Borrower at any time during
normal business hours and without advance notice; provided, further, that notwithstanding anything to the
contrary herein, neither any of the Loan Parties nor any of its Subsidiaries shall be required to disclose,
permit the inspection, examination or making of copies of or taking abstracts from, or discuss any
document, information, or other matter (A) that constitutes non-financial trade secrets or non-financial
proprietary information of any Loan Party or any of its Subsidiaries and/or any of its customers and/or
suppliers, (B) in respect of which disclosure to the Administrative Agent or any Lender (or any of their
respective representatives or contractors) is prohibited by applicable law, (C) that is subject to attorney-
client or similar privilege or constitutes attorney work product or (D) in respect of which any Loan Party
or any of its Subsidiaries owes confidentiality obligations to any third party (provided such confidentiality
obligations were not entered into in contemplation of the requirements of this Section 6.6).

        Section 6.7         Compliance with Laws. The Borrower will, and will cause each Loan Party and
its Subsidiaries to, comply with all laws, rules, regulations and orders of any Governmental Authority
applicable to it or its property and maintain all permits and licenses necessary to conduct its business, except
where the failure to do so, individually or in the aggregate, could not reasonably be expected to result in a
Material Adverse Effect. In addition, and without limiting the foregoing sentence, each Loan Party will,
and will cause each of its Subsidiaries to, comply with all applicable Environmental Laws in all material
respects, and with Anti-Corruption Laws, Anti-Terrorism Laws, applicable Sanctions and the USA
PATRIOT Act and the regulations promulgated thereunder in all respects.

        Section 6.8      Use of Proceeds.

                 (a)    The proceeds of the Revolving Loans will be used only as follows: (a) on the
Closing Date, proceeds of Revolving Borrowings shall be used to pay the Main Street Debt, Transaction
Expenses, and to pay any upfront fees payable pursuant to the Fee Letter, and (b) after the Closing Date,
the proceeds of the Revolving Loans will be used to finance working capital and general business purposes.

                 (b)     No part of the proceeds of any Loan will be used, whether directly or indirectly,
and whether immediately, incidentally or ultimately, (a) to purchase, acquire or carry any Margin Stock or
(b) for any purpose that entails a violation of any of the regulations of the Board, including Regulations T,
U and X. The Borrower will not request any Credit Extension, and the Borrower shall not use, and shall
ensure that each Loan Party, their respective Subsidiaries and their respective directors, officers, employees
and agents shall not use, the proceeds of any Credit Extension (i) in furtherance of an offer, payment,
promise to pay, or authorization of the payment or giving of money, or anything else of value, to any Person
in violation of any Anti-Corruption Laws or (ii) in any manner that would result in the violation of any
applicable Sanctions or any Anti-Terrorism Laws by any Person, including any Credit Party.

         Section 6.9     Information Concerning Collateral.            The Borrower will furnish to the
Administrative Agent at least ten (10) days prior written notice of any change in (a) the legal name or
jurisdiction of incorporation or formation of any Loan Party, (b) the location of the chief executive office
of any Loan Party or its principal place of business or any office in which it maintains books or records
relating to Collateral owned or held by it or on its behalf, (c) the identity or organizational structure of any
Loan Party such that a filed financing statement becomes misleading or (d) the Federal Taxpayer
Identification Number or company organizational number of any Loan Party. The Borrower agrees not to


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effect or permit any change referred to in the preceding sentence unless all filings have been made under
the UCC or otherwise that are required in order for the Administrative Agent to continue at all times
following such change to have a valid, legal and perfected security interest in all the Collateral. The
Borrower will promptly notify the Administrative Agent if any material portion of the Collateral is damaged
or destroyed.

        Section 6.10      Insurance.

                  (a)     The Borrower will, and will cause each Loan Party and its Subsidiaries to,
maintain, with financially sound and reputable insurance companies, adequate insurance for its insurable
properties, all to such extent and against such risks, including fire, casualty, business interruption and other
risks insured against by extended coverage, as is customary with companies in the same or similar
businesses operating in the same or similar locations and of same or similar size, including public liability
insurance against claims for personal injury or death or property damage occurring upon, in, about or in
connection with the use of any properties owned, occupied or controlled by it (including the insurance
required pursuant to the Collateral Documents); and maintain such other insurance as may be required by
law.

                 (b)    With respect to any portion of any Mortgaged Property that is located in a Flood
Zone within a community participating in the Flood Program, the Borrower will, and will cause any
applicable Loan Party to, maintain through the Flood Program or through private insurance policies, with
financially sound and reputable insurance companies (except to the extent that any insurance company
insuring the Mortgaged Property of the Borrower and each other Loan Party ceases to be financially sound
and reputable after the Closing Date, in which case, the Borrower shall promptly replace such insurance
company with a financially sound and reputable insurance company), (A) such flood insurance coverage
under policies issued pursuant to and in compliance with the Flood Insurance Laws (“Flood Insurance
Policies”) in an amount equal to the maximum limit of coverage available for such Mortgaged Property
under Flood Insurance Laws, subject only to deductibles consistent in scope and amount with those
permitted under the Flood Program and (B) such additional coverage as required by Administrative Agent,
if any, under supplemental private insurance policies in an amount so required by the Administrative Agent;

                 (c)      The Borrower will, and will cause each Loan Party and its Subsidiaries to, (i) cause
all such policies of such Loan Party and its Subsidiaries to be endorsed or otherwise amended to include a
“standard” or “New York” lender’s loss payable endorsement, in form and substance reasonably
satisfactory to the Administrative Agent, which endorsement or amendment shall provide that, from and
after the Closing Date, if the insurance carrier shall have received written notice from the Administrative
Agent of the occurrence of an Event of Default, the insurance carrier shall pay all proceeds otherwise
payable to such Loan Party under such policies directly to the Administrative Agent, (ii) cause all such
policies to provide that neither such Loan Party, any Subsidiary or the Administrative Agent nor any other
party shall be a co-insurer thereunder and to contain a “Replacement Cost Endorsement”, without any
deduction for depreciation, and such other provisions as the Administrative Agent may reasonably require
from time to time to protect its interests, (iii) deliver original or certified copies of all such policies to the
Administrative Agent, (iv) cause each such policy to provide that it shall not be canceled, modified or not
renewed for any other reason upon not less than 30 days’ (or in the case of Flood Insurance Policies issued
by private insurance companies, 45 days’) prior written notice thereof by the insurer to the Administrative
Agent, (v) deliver to the Administrative Agent, prior to the cancellation, modification or non-renewal of
any such policy of insurance, a copy of a renewal or replacement policy (or other evidence of renewal of a
policy previously delivered to the Administrative Agent) together with evidence satisfactory to the
Administrative Agent of payment of the premium therefor.




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                 (d)     The Borrower will promptly upon request of the Administrative Agent or any other
Lender, deliver to the Administrative Agent (for distribution to all Lenders), evidence of compliance by all
Loan Parties with the requirements contained Sections 6.10(a) through (c) in form and substance reasonably
acceptable to the Administrative Agent and the Lenders, including, without limitation, evidence of annual
renewals of such insurance.

                 (e)     The Borrower will, and will cause each Loan Party and its Subsidiaries to, notify
the Administrative Agent immediately whenever any separate insurance concurrent in form or contributing
in the event of loss with that required to be maintained under this Section 6.10 is taken out by any Loan
Party; and promptly deliver to the Administrative Agent a duplicate original copy of such policy or policies.

                 (f)     In connection with the covenants set forth in this Section 6.10, it is understood and
agreed that:

                         (i)      no Credit Party or any of its Related Parties shall be liable for any loss or
        damage insured by the insurance policies required to be maintained under this Section 6.10, it being
        understood that (A) each Loan Party shall look solely to its insurance companies or any other parties
        other than the aforesaid parties for the recovery of such loss or damage and (B) such insurance
        companies shall have no rights of subrogation against any Credit Party or any of their Related
        Parties, provided, however, that if the insurance policies do not provide waiver of subrogation rights
        against such parties, as required above, then the Borrower (for itself and each Loan Party and its
        Subsidiaries) hereby agrees, to the extent permitted by law, to waive its right of recovery, if any,
        against the Credit Parties and their Related Parties; and

                         (ii)    the designation of any form, type or amount of insurance coverage by the
        Administrative Agent or the Required Lenders under this Section 6.10 shall in no event be deemed
        a representation, warranty or advice by any Credit Party that such insurance is adequate for the
        purposes of the business of any Loan Party or its Subsidiaries or the protection of their properties
        and the Administrative Agent and the Required Lenders shall have the right from time to time to
        require the Loan Parties and their respective Subsidiaries to keep other insurance in such form and
        amount as the Administrative Agent or the Required Lenders may reasonably request; provided
        that such insurance shall be obtainable on commercially reasonable terms.

        Section 6.11      Casualty Events. The Borrower will, and will cause each Loan Party and its
Subsidiaries to, furnish to the Credit Parties prompt written notice of each Casualty Event or other insured
damage to any portion of any property owned or held by or on behalf of any Loan Party or any of its
Subsidiaries or the commencement of any action or proceeding for the condemnation or other taking of any
such property or any part thereof or interest therein under power of eminent domain or by condemnation or
similar proceeding.

                  (a)     If any Casualty Event results in Net Cash Proceeds (whether in the form of
insurance proceeds, condemnation award or otherwise), the Administrative Agent is authorized to collect
such Net Cash Proceeds and, if received by any Loan Party or any of its Subsidiaries, such Net Cash
Proceeds shall not be commingled with any of its other funds or property but shall be held separate and
apart therefrom, shall be held in trust for the benefit of the Administrative Agent hereunder and shall be
forthwith paid over to the Administrative Agent, provided that (i) to the extent that any Loan Party or any
of its Subsidiaries intends to use any such Net Cash Proceeds to repair, restore, reinvest or replace assets of
any Loan Party or any of its Subsidiaries as provided in the definition of Net Cash Proceeds, the
Administrative Agent shall, subject to the terms and conditions of such proviso, deliver such Net Cash
Proceeds to the Borrower on behalf of the applicable Loan Party, (ii) otherwise, subject to the reinvestment
provisions set forth in the definition of Net Cash Proceeds, the Administrative Agent shall, and each Loan


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Party hereby authorizes the Administrative Agent to, apply such Net Cash Proceeds to prepay the Loans in
accordance with Section 2.7 and (iii) all proceeds of business interruption insurance shall be paid over to
the Borrower unless an Event of Default has occurred and is continuing.

                (b)     All proceeds received by or paid to the Administrative Agent that do not constitute
Net Cash Proceeds shall be paid over to the Borrower on behalf of the applicable Loan Party unless an
Event of Default has occurred and is continuing.

        Section 6.12    Covenant to Guarantee and Provide Security.

                 (a)      Guarantors. If any Subsidiary of a Loan Party is formed or acquired after the
Agreement Date or if an Excluded Subsidiary ceases to be an Excluded Subsidiary, the Borrower will notify
the Credit Parties in writing thereof within 30 days following the date on which such Subsidiary is formed
or acquired or such Excluded Subsidiary ceases to be an Excluded Subsidiary (or such later date as may be
acceptable to the Administrative Agent in its sole discretion) and, by such date:

                         (i)     the Borrower will cause each Loan Party and each of its Subsidiaries (other
        than an Excluded Subsidiary) to (A) execute and deliver a Subsidiary Joinder Agreement in form
        and substance satisfactory to the Administrative Agent and (B) promptly take such actions to create
        and perfect Liens on such Subsidiary’s assets to secure the Secured Obligations as the
        Administrative Agent shall reasonably request (it being understood that a pledge of Voting Equity
        Interests in any Controlled Foreign Corporation or Foreign Subsidiary Holdco shall not include
        more than 65% of the Voting Equity Interests of such Foreign Subsidiary or Foreign Subsidiary
        Holdco if a pledge of a greater percentage would result in material adverse tax consequences to
        each Loan Party and its Subsidiaries (as reasonably determined by the Borrower in consultation
        with Administrative Agent));

                         (ii)    if any Equity Interests issued by any such Subsidiary are owned or held by
        or on behalf of any Loan Party, the Borrower will cause such Equity Interests to be pledged pursuant
        to the Collateral Documents not later than the tenth Business Day after the date on which such
        Subsidiary is formed or acquired (it being understood that Voting Equity Interests in each such
        Subsidiary that is a Controlled Foreign Corporation or Foreign Subsidiary Holdco shall not include
        more than 65% of the Voting Equity Interests of such Subsidiary if a pledge of a greater percentage
        would result in material adverse tax consequences to the any Loan Party and its Subsidiaries (as
        reasonably determined by the Borrower in consultation with Administrative Agent));

                        (iii)   [Reserved], and

                        (iv)     the Borrower will deliver or cause to be delivered to the Administrative
        Agent such certificates and legal opinions as would have been required had such Subsidiary been
        a Guarantor on the Closing Date.

                (b)     Real Property.

                         (i)    Upon the acquisition by any Loan Party after Closing Date of any Material
        Owned Real Property or if any Real Property becomes Material Owned Real Property, the
        Borrower shall promptly notify the Administrative Agent, setting forth with specificity a
        description of such Material Owned Real Property, including the location thereof, any structures or
        improvements thereon and, as determined by the Administrative Agent in its sole discretion, either
        an appraisal or Borrower’s good faith estimate of the current value of such Material Owned Real




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     Property. Within 90 days of the delivery of such notice and unless the Administrative Agent in its
     sole discretion determines not to require a Mortgage on such Material Owned Real Property:

                              (A)    the Loan Party that owns such Material Owned Real Property shall
             have satisfied the Mortgage Requirement, and

                             (B)     the Borrower shall, or shall cause such Loan Party to, pay all fees
             and expenses, including Attorney Costs, and all title insurances charges and premiums, in
             connection with each Loan Party’s obligations under this Section.

                     (ii)    Notwithstanding the foregoing, the Administrative Agent shall not enter
     into any Mortgage in respect of any improved real property acquired by any Loan Party after the
     Closing Date or to be mortgaged in connection with a MIRE Event unless the Administrative Agent
     has provided to the Lenders:

                              (A)      if such Mortgage relates to an improved real property not located
             in a Flood Zone, a completed Flood Certificate from a third party vendor at least ten (10)
             days prior to entering into such Mortgage; or

                               (B)     if such Mortgage relates to an improved real property located in a
             Flood Zone, the following documents with respect to such improved real property at least
             thirty (30) days prior to entering into such Mortgage: (i) a Flood Certificate a third party
             vendor; (ii) a notification to the applicable Loan Parties of that fact and (if applicable)
             notification to the applicable Loan Parties that flood insurance coverage is not available,
             (iii) evidence of the receipt by the applicable Loan Parties of such notice; and (iv) if
             required by the Flood Program, evidence of required flood insurance;

             provided that the Administrative Agent may enter into any such Mortgage prior to the end
             of any notice period set forth above if the Administrative Agent shall have received
             confirmation from each applicable Lender that such Lender has completed any necessary
             flood insurance due diligence to its reasonable satisfaction.

             (c)     Further Assurances.

                       (i)     The Borrower will, and will cause each of the Loan Parties to, grant to the
     Administrative Agent, for the benefit of the Secured Parties, security interests in such of its assets
     and properties as are not covered by the Collateral Documents in order that the Borrower be in
     compliance with the Collateral and Guarantee Requirement. Such security interests shall (i) be
     granted pursuant to documentation reasonably satisfactory in form and substance to the
     Administrative Agent and (ii) constitute valid and enforceable perfected security interests superior
     to and prior to the rights of all third Persons, and subject to no other Liens, except Liens permitted
     by Section 7.2. Such additional collateral documents and the other instruments related thereto shall
     have been duly recorded or filed in such manner and in such places as are required by law to
     establish, perfect, preserve and protect the Liens in favor of the Administrative Agent required to
     be granted pursuant to such additional collateral documents and all taxes, fees and other charges
     payable in connection therewith shall have been paid in full.

                      (ii)   The Borrower will, and will cause each of the Loan Parties to, at its own
     expense, make, execute, endorse, acknowledge, file or deliver to the Administrative Agent from
     time to time such vouchers, invoices, schedules, confirmatory assignments, conveyances, financing
     statements, transfer endorsements, powers of attorney, certificates, surveys, reports and other



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        assurances or instruments, and take such further steps relating to the Collateral covered by any of
        the Collateral Documents as the Administrative Agent may reasonably require. The Borrower shall
        cause to be delivered to the Administrative Agent such opinions of counsel and other related
        documents as may be reasonably requested by the Administrative Agent.

                          (iii)   Each action required by this Section 6.12(c) shall be completed as soon as
        possible, but in no event later than 30 days (or such longer period in the case of actions involving
        third parties as determined by the Administrative Agent in its reasonable discretion) after any such
        assets or properties are acquired or such action is requested to be taken by the Administrative Agent,
        as the case may be.

          Section 6.13    Environmental Matters. The Borrower will, and will cause each Loan Party and
its Subsidiaries to, (a) conduct its operations in material compliance with all applicable Environmental
Laws, (b) implement any and all investigation, remediation, removal and response actions that either are
necessary to materially comply with Environmental Laws pertaining to the presence, generation, treatment,
storage, use, disposal, transportation or Release of any Hazardous Material on, at, under, or from any of
their owned or leased property or are requested by Government Authorities pursuant to Environmental Law,
(c) notify the Administrative Agent promptly upon becoming aware of any violation of Environmental
Laws or any Release of Hazardous Materials on, at, under, or from, any property that is reasonably likely
to result in an Environmental Claim against any Loan Party or any of its Subsidiaries in excess of the
Threshold Amount in the aggregate and promptly forward to the Administrative Agent a copy of any written
communication received in connection therewith. If the Administrative Agent at any time has a reasonable
basis to believe that there may be a violation of any Environmental Laws or a Release of Hazardous
Materials on, at, under, or from any property owned or leased by any Loan Party or any of its Subsidiaries
that could reasonably be expected to have a Material Adverse Effect, then, subject to Section 9.3(d) and to
the extent permitted by applicable law and not expressly prohibited by any applicable lease agreement,
upon request by the Administrative Agent, the Borrower shall cause such Loan Party to permit the
Administrative Agent to appoint a nationally-recognized independent environmental testing firm or such
other consultant as the Administrative Agent shall determine, at the Loan Parties’ expense, to have access
to all property owned or leased by each Loan Party and each of its Subsidiaries for the purpose of conducting
such environmental testing, including subsurface sampling of soil and groundwater, as the Administrative
Agent deems appropriate to investigate the subject of the potential violation or Release.

        Section 6.14     Reserved.

        Section 6.15     Depository. Within 60 days after the Closing Date, each Loan Party shall maintain
BancorpSouth Bank as the principal depository and disbursement bank for each Loan Party and its
Subsidiaries, including for the maintenance of all primary business, cash management (including any
corporate credit card programs), operating and administrative deposit accounts. For the avoidance of doubt,
this Section 6.15 shall not prohibit any Loan Party and its Subsidiaries from maintaining certain non-
primary accounts with other Lenders, provided that BancorpSouth Bank acts at all times as the principal
depository and disbursement bank for each Loan Party and its Subsidiaries as set forth in this Section 6.15.

         Section 6.16      Material Contracts. The Borrower shall, and shall cause each other Loan Party to,
(i) perform and observe in all material respects its obligations under the Material Contracts to which such
Person is a party, (ii) take all reasonable and necessary action to prevent the termination or cancellation of
any Material Contracts to which such Person is a party in accordance with the terms of such Material
Contracts or otherwise (except for the expiration of any Material Contract in accordance with its terms and
not as a result of a breach or default thereunder), (iii) enforce each material covenant or obligation of such
Material Contract to which such Person is a party in accordance with its terms, and (iv) preserve, protect
and defend any material rights and remedies under each and every Material Contract, including as


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reasonably necessary prosecution of suits to enforce any of their respective rights thereunder and
enforcement of any claims with respect thereto.

        Section 6.17    Post-Closing. Within 90 days after the Closing Date (or such longer period
approved by Administrative Agent), Borrower shall deliver to Administrative Agent a Control Agreement
acceptable to Administrative Agent executed by the applicable Loan Parties and Converse County Bank.

                                               ARTICLE 7

                                       NEGATIVE COVENANTS

Until the Termination Date, the Borrower covenants and agrees with the Credit Parties that:

        Section 7.1     Indebtedness; Equity Interests.

                 (a)     The Borrower will not, and will not permit any Loan Party to, create, incur, assume
or permit to exist any Indebtedness, except:

                        (i)      Indebtedness created under the Loan Documents;

                        (ii)     Indebtedness existing on the Agreement Date and set forth in
        Schedule 7.1;

                         (iii)    Indebtedness of a Loan Party incurred to finance the acquisition of
        Inventory; provided, (i) Administrative Agent has provide prior written consent to such
        Indebtedness, (ii) such Indebtedness is repaid in full within 180 days after the incurrence thereof,
        and (iii) the Loan Party has provided Administrative Agent documentation showing that before and
        after giving effect to the incurrence of such Indebtedness the Borrower is in compliance with
        Section 7.12(b).

                        (iv)   intercompany Indebtedness of any Loan Party or any Subsidiary owing to
        and held by any Loan Party or any Subsidiary; provided, however, that such Indebtedness must be
        unsecured and expressly subordinated to the prior payment in full in cash of all Secured
        Obligations;

                        (v)      Guarantees by any Loan Party of Indebtedness of any other Loan Party;

                        (vi)     obligations under any Swap Agreements permitted by Section 7.7;

                         (vii)   Indebtedness arising from the honoring by a bank or other financial
        institution of a check, draft or other similar instrument drawn against insufficient funds in the
        ordinary course of business;

                         (viii) unsecured guarantees arising as a result of customary indemnification
        obligations to purchasers that are not Affiliates of a Loan Party in connection with any Disposition
        permitted by Section 7.5;

                        (ix)    Indebtedness incurred in the ordinary course of business under (A) appeal
        bonds or similar instruments and (B) surety bonds, payment bonds, performance bonds, bid bonds,
        completion guarantees and similar obligations, workers’ compensation claims, health, disability or




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        other employee benefits, and bankers acceptances issued for the account of any Loan Party or its
        Subsidiaries and unsecured guarantees thereof;

                (b)      The Borrower will not, and will not permit any of its Subsidiaries to, (i) issue any
Disqualified Equity Interests, or (ii) be or become liable in respect of any obligation (contingent or
otherwise) to purchase, redeem, retire, acquire or make any other payment in respect of any Equity Interests
of any Loan Party or any of its Subsidiaries, except as permitted under Section 7.8.

         Section 7.2      Liens. The Borrower will not, and will not permit any of its Subsidiaries to, create,
incur, assume or permit to exist any Lien on any property or asset now owned or hereafter acquired by it,
or assign or sell any income or revenues (including accounts receivable) or rights in respect of any thereof,
except:

                 (a)     Liens created under the Loan Documents;

                 (b)     Permitted Encumbrances;

                 (c)      any Lien that secures Indebtedness permitted by Section 7.1(a)(iv), provided (i)
such Lien and the Indebtedness secured thereby are incurred prior to or within 90 days after such acquisition
of the applicable property, (iii) the Indebtedness secured thereby does not exceed the cost of acquiring,
constructing or improving such fixed or capital assets and (iv) such Lien shall not apply to any other
property or assets of the Borrower or any Subsidiary;

                 (d)     any Lien on any property or asset of the Borrower or any Subsidiary existing on
the Agreement Date and set forth in Schedule 7.2, provided that (i) such Lien shall not apply to any other
property or asset of the Borrower or any Subsidiary and (ii) such Lien shall secure only those obligations
which it secures on the Agreement Date and any extensions, renewals and replacements thereof that do not
increase the outstanding principal amount thereof;

                 (e)       any Lien on fixed or capital assets acquired, constructed or improved by the
Borrower or any Subsidiary, provided that (i) such Lien secures Indebtedness permitted by
Section 7.1(a)(iii), (ii) such Lien and the Indebtedness secured thereby are incurred prior to or within 90
days after such acquisition or the completion of such construction or improvement, (iii) the Indebtedness
secured thereby does not exceed the cost of acquiring, constructing or improving such fixed or capital assets
and (iv) such Lien shall not apply to any other property or assets of the Borrower or any Subsidiary;

                 (f)     any Lien existing on any property or asset prior to the acquisition thereof by the
Borrower or any Subsidiary or existing on any property or asset of any Person that becomes a Subsidiary
after the Agreement Date prior to the time such Person becomes a Subsidiary, provided that (i) such Lien
secures Indebtedness permitted by Section 7.1(a)(iv), (ii) such Lien is not created in contemplation of or in
connection with such acquisition or such Person becoming a Subsidiary, as applicable, (iii) such Lien shall
not apply to any other property or assets of the Borrower or any Subsidiary and (iv) such Lien shall secure
only the Indebtedness and other obligations that it secures on the date of such acquisition or the date such
Person becomes a Subsidiary, as applicable, and any extensions, renewals and replacements thereof that do
not increase the outstanding principal amount thereof; and

                 (g)     Liens of a depository bank or securities intermediary permitted by any Control
Agreement.

        Section 7.3      Fundamental Changes; Business; Fiscal Year; Accounting Policies.




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                  (a)       The Borrower will not, and will not permit any of its Subsidiaries to, merge into
or consolidate with any other Person, or permit any other Person to merge into or consolidate with it, or
sell, transfer, lease or otherwise Dispose of (in one transaction or in a series of transactions) all or
substantially all of its assets, or all or substantially all of the Equity Interests issued by any of its Subsidiaries
(in each case, whether now owned or hereafter acquired), or liquidate or dissolve, provided that, if at the
time thereof and immediately after giving effect thereto, no Default or Event of Default shall or would have
occurred and be continuing:

                         (i)     any Wholly-Owned Subsidiary of the Borrower may merge into or
         consolidate with (A) the Borrower in a transaction in which the Borrower is the surviving entity,
         and (B) any Guarantor in a transaction in which such Guarantor is the surviving entity;

                          (ii)    the Borrower or any Subsidiary may merge into or consolidate with any
         Person in a transaction that is not permitted by Section 7.3(a)(i), provided that (x) in the case of a
         merger involving the Borrower, the Borrower shall be the surviving entity of such merger, (y) such
         merger is permitted by Section 7.4 and either (A) the Guarantor shall be the surviving entity or (B)
         such other Person shall become a Guarantor pursuant to Section 6.12, and (z) such merger shall not
         be prohibited by Section 7.5;

                           (iii)    any Loan Party may sell, transfer, lease or otherwise Dispose of all or
         substantially all of its assets to the Borrower or to any Guarantor; and

                           (iv)     the Borrower or any of its Subsidiaries may sell, transfer, lease or
         otherwise Dispose of its assets in a transaction that is not permitted by Section 7.3(a)(iii), provided
         that such sale, transfer, lease or other Disposition is permitted by Section 7.5; and

                 (b)     The Borrower will not, and will not permit any of its Subsidiaries to, engage to any
material extent in any business other than an Approved Line of Business.

                 (c)    The Borrower will not, and will not permit any of its Subsidiaries to, change (i) its
Fiscal Year or (ii) except to the extent in accordance with GAAP, its accounting policies from those in
effect on the Closing Date.

         Section 7.4     Investments, Loans, Advances, Guarantees and Acquisitions. The Borrower will
not, and will not permit any of its Subsidiaries to, purchase, hold or acquire (including pursuant to any
merger) any Investment, make or permit to exist any Guarantees of any obligations of, or make or permit
to exist any investment or any other interest in, any other Person, make any Acquisition or purchase or
otherwise enter into or become party to any derivative transaction, except:

                  (a)      Investments in cash and Cash Equivalents;

                  (b)      Investments existing on the Agreement Date and set forth in Schedule 5.13;

                  (c)      equity Investments made by the Borrower in the Equity Interests of any Guarantor;

                (d)       Investments constituting Indebtedness made by (i) any Loan Party to any
Subsidiary thereof or to any other Loan Party or (ii) any Subsidiary to any Loan Party or another Subsidiary,
in each case subject to the limitations set forth in Section 7.1(a)(iv) and (v);

                (e)     acquisitions made by any Loan Party from any other Loan Party, or an acquisition
of a Loan Party pursuant to a Permitted Restructuring;



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                (f)     Guarantees permitted by Section 7.1(a);

                (g)     Swap Agreements permitted by Section 7.7;

               (h)     payroll, commission, travel and other similar cash advances made to directors (or
comparable Persons), officers or employees in the ordinary course of business;

                 (i)     (i) promissory notes and other non-cash consideration received in connection with
Dispositions permitted by Section 7.5, (ii) Investments received in settlement of amounts due to any Loan
Party or any of its Subsidiaries effected in the ordinary course of business as a result of insolvency,
bankruptcy, reorganization, or other similar proceeding involving an account debtor or upon the foreclosure
or enforcement of any Lien in favor of a Loan Party or its Subsidiaries and (iii) receivables acquired and
held and similar items owing to a Loan Party in the ordinary course of business and payable or dischargeable
in accordance with customary trade terms;

                (j)     Investments of any Person existing at the time such Person becomes a Subsidiary
or consolidates or merges with the Borrower or any Subsidiary thereof so long as such Investments were
not made in contemplation of such Person becoming a Subsidiary or of such consolidation or merger;

                 (k)      deposits of cash made in the ordinary course of business to secure performance of
(i) operating leases and (ii) other contractual obligations that do not constitute Indebtedness,; and

                 (l)     Investments in negotiable instruments deposited or to be deposited for collection
in the ordinary course of business.

In determining the amount of Investments, acquisitions, loans, and advances permitted under this
Section 7.4, Investments and acquisitions shall always be taken at the original cost thereof (regardless of
any subsequent appreciation or depreciation therein) minus all returns of principal, capital, dividends,
distributions and other cash returns thereof and minus all liabilities expressly assumed by another Person
in connection with the sale or other Disposition of any Investment, and loans and advances shall be taken
at the principal amount thereof then remaining unpaid.

        Section 7.5      Dispositions. The Borrower will not, and will not permit any Loan Party or any
Subsidiaries to, Dispose of any of its assets except:

                (a)    issuances of Qualified Equity Interests by any Wholly-Owned Subsidiary of a
Loan Party to a Loan Party subject to the Collateral and Guarantee Requirement;

                (b)     the sale or lease of inventory in the ordinary course of business;

                (c)      the use or transfer of money, cash or Cash Equivalents in a manner that is not
prohibited by the terms of this Credit Agreement or the other Loan Documents;

                (d)      the licensing and sublicensing on a non-exclusive basis of patents, trademarks,
copyrights, and other intellectual property rights in the ordinary course of business, and the leasing and
subleasing of any other property;

                (e)     the granting of Liens permitted hereunder and the other transactions permitted by
Section 7.2;

                (f)     any Casualty Event and the Disposition of any property subject thereto;



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                 (g)      the abandonment, cancellation or lapse of issued patents, registered trademarks and
other registered intellectual property of a Loan Party or Subsidiary thereof to the extent, in such Loan
Party’s reasonable business judgment, not economically desirable in the conduct of such Loan Party’s
business or so long as such lapse is not materially adverse to the interests of the Lenders and (ii) the
expiration of patents in accordance with their statutory terms;

                 (h)     the sale of assets (other than Equity Interests of any Wholly-Owned Subsidiary,
unless all of the Equity Interests of such Wholly-Owned Subsidiary (other than the Borrower) are sold in
accordance with this clause (i)) for at least fair market value, so long as (A) no Default or Event of Default
then exists or would immediately result therefrom, (B) at least 75% of the consideration received by the
applicable Loan Party consists of cash or Cash Equivalents and is paid at the time of the closing of such
sale, and (C) the Net Cash Proceeds therefrom are applied and/or reinvested as (and to the extent) required
by Section 2.7(b)(i)(A);

                 (i)    any trade in of equipment in exchange for other equipment in the ordinary course
of business or any disposition of worn out, damaged, uneconomical, surplus or obsolete equipment; and

               (j)    the unwinding or terminating of hedging arrangements or transactions
contemplated by any Swap Agreement which are not prohibited hereunder.

To the extent the Required Lenders or all the Lenders, as applicable, waive the provisions of this Section 7.5
with respect to the sale of any Collateral, or any Collateral is sold as permitted by this Section 7.5, such
Collateral (unless sold to a Loan Party) shall be sold automatically free and clear of the Liens created by
the Collateral Documents and, at the expense of the Loan Parties, the Administrative Agent shall take all
reasonable actions any Loan Party reasonably requests in writing in order to effect the foregoing.

         Section 7.6       Sale and Lease Back Transactions. The Borrower will not, and will not permit any
of its Subsidiaries to, enter into any Sale and Leaseback arrangement, directly or indirectly, with any Person.

         Section 7.7      Swap Agreements. The Borrower will not, and will not permit any of its
Subsidiaries to, enter into any Swap Agreement, except (a) Swap Agreements entered into in the ordinary
course of business to hedge or mitigate risks to which the Borrower or any Subsidiary has actual exposure
(other than those in respect of Equity Interests of the Borrower or any Subsidiary) and that are not for
speculative purposes, and (b) Swap Agreements entered into in order to effectively cap, collar or exchange
interest rates (from fixed to floating rates, from one floating rate to another floating rate or otherwise) with
respect to any interest-bearing liability or investment of such Loan Party or Subsidiary.

         Section 7.8      Restricted Payments. The Borrower will not, and will not permit any of its
Subsidiaries to, declare or make, or agree to pay for or make, directly or indirectly, any Restricted Payment,
or incur any obligation (contingent or otherwise) to do so, except:

                 (a)      subject to the Collateral and Guarantee Requirement, any Subsidiary of the
Borrower may declare and pay, and agree to pay, dividends and other distributions with respect to its Equity
Interests payable solely in Equity Interests (other than Disqualified Equity Interests);

                 (b)     the Borrower may declare and pay Permitted Tax Distributions; and

                 (c)      So long as (i) no Event of Default is continuing or would result therefrom, is
continuing and, (ii) before and after giving effect to such Distribution, the Senior Leverage Ratio is no more
than 1.00 to 1.00, the Borrower may declare and pay Distributions once per year.




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         Section 7.9      Transactions with Affiliates. The Borrower will not, and will not permit any of its
Subsidiaries to, Dispose (including pursuant to a merger) of any property or assets to, or purchase, lease or
otherwise acquire (including pursuant to a merger) any property or assets from, or otherwise engage in any
other transactions with, any of its Affiliates, except (i) any Permitted Restructuring transaction, (ii)
transactions disclosed on Schedule 5.28 (including any amendments, extensions, or modifications thereof
in each case on the same or better material terms from the Borrower’s perspective), and (iii) in the ordinary
course of business and at prices and on terms and conditions not less favorable to such Loan Party or such
Subsidiary than could be obtained on an arm’s-length basis from unrelated third parties. For the avoidance
of doubt, this Section shall not apply to any transaction that is expressly permitted under Sections 7.1, 7.3,
7.4, 7.5 or 7.8 of this Credit Agreement between or among the Loan Parties and not involving any other
Affiliate.

         Section 7.10     Restrictive Agreements. The Borrower will not, and will not permit any Loan
Parties or any of its Subsidiaries to, directly or indirectly, enter into, incur or permit to exist any agreement
or other arrangement that prohibits, restricts or imposes any condition upon (a) the ability of any Loan Party
or any of its Subsidiaries to create, incur or permit to exist any Lien upon any of its property or assets
(unless such agreement or arrangement does not prohibit, restrict or impose any condition upon the ability
of any Loan Party to create, incur or permit to exist, or the ability of the Administrative Agent to exercise
any right or remedy with respect to, any Lien in favor of the Administrative Agent on behalf of the Secured
Parties created under the Loan Documents) or (b) the ability of any Subsidiary to pay dividends or make
other distributions with respect to any of its Equity Interests or to make or repay loans or advances to any
Loan Party or any other Subsidiary or to Guarantee Indebtedness of any Loan Party or any other Subsidiary,
provided that (i) the foregoing shall not apply to (A) restrictions and conditions imposed by law or by the
Loan Documents, (B) restrictions and conditions existing on the Agreement Date identified on
Schedule 7.10 (but shall apply to any extension or renewal of, or any amendment or modification expanding
the scope of, any such restriction or condition), and (C) customary restrictions and conditions contained in
agreements relating to the sale of a subsidiary pending such sale, provided that such restrictions and
conditions apply only to its Subsidiary that is to be sold and such sale is permitted hereunder, (ii) clause (a)
of this Section shall not apply to restrictions or conditions imposed by any agreement relating to secured
Indebtedness permitted by this Credit Agreement if such restrictions or conditions apply only to the property
or assets securing such Indebtedness, and (iii) clause (a) of this Section shall not apply to customary
provisions in agreements restricting the assignment thereof.

        Section 7.11     Amendment of Material Documents. The Borrower will not, and will not permit
any Loan Parties or any of its Subsidiaries to, amend, supplement modify or waive any of its rights under
any Material Contract, Subordinated Debt Document, any document governing Junior Debt or any of its
Organizational Documents, in each case other than immaterial amendments, modifications or waivers that
could not reasonably be expected to adversely affect the Credit Parties; provided that the Borrower shall
deliver or cause to be delivered to the Administrative Agent and each Lender a copy of all amendments,
modifications or waivers thereto promptly after the execution and delivery thereof.

        Section 7.12      Financial Covenants.

               (a)      Fixed Charge Coverage Ratio. The Borrower will not permit the Fixed Charge
Coverage Ratio as of the end of any Measurement Period to be less than 1.25 to 1.00.

                 (b)    Senior Leverage Ratio. The Borrower will not permit the Senior Leverage Ratio
as of the end of any Measurement Period to be greater than the ratio set forth opposite such Measurement
Period below:




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                             Measurement Period                              Maximum Ratio

                  As of the end of the Measurement Period                       3.50 to 1.0
                         ending September 30, 2021



                  As of the end of the Measurement Period                       3.25 to 1.0
                         ending December 31, 2021

                  As of the end of any Measurement Period                        3.0 to 1.0
                                  thereafter



                 (c)     Liquidity. The Borrower will not permit the sum of (i) Availability plus (ii) cash
or Cash Equivalents, that are neither encumbered nor restricted, to be less than $4,000,000 as of the Closing
Date or as of the end of any fiscal quarter of Borrower.

         Section 7.13    Payments on Subordinated and Junior Debt. The Borrower will not, and will not
permit any Loan Parties or any of its Subsidiaries to, declare or make, or agree to pay for or make, directly
or indirectly, any repayment or prepayment of principal or interest or any purchase, redemption, retirement,
acquisition or defeasance with respect to any Junior Debt; provided that so long as no Default or Event of
Default shall have occurred and shall be continuing or would immediately result therefrom, (a) any Loan
Party or any of its Subsidiaries may make regularly scheduled payments of interest, fees, expenses and
indemnification obligations of Junior Debt and other Subordinated Debt to the extent permitted by the
subordination provisions applicable thereto, and (c) Loan Parties may make payments of Subordinated Debt
and Junior Debt as a result of the conversion of all or any portion of any such Subordinated Debt or Junior
Debt into Qualified Equity Interests of any Loan Party or any of its Subsidiaries.

        Section 7.14     Government Regulation. The Borrower will not, and will not permit any Loan
Parties or Subsidiaries to, (a) at any time be or become the subject of any law, regulation, or list of any
government agency (including the United States Office of Foreign Asset Control list) that prohibits or limits
any Lender from making any loans or extension of credit (including the Loans and the Letters of Credit) to
any Loan Party or from otherwise conducting business with any Loan Party, or (b) fail to provide
documentary and other evidence of any Loan Party’s identity as may be requested by any Credit Party at
any time to enable such Credit Party to verify any Loan Party’s identity or to comply with any applicable
law or regulation, including Section 326 of the USA PATRIOT Act.

        Section 7.15     Hazardous Materials. The Borrower will not, and will not permit any Loan Parties
or Subsidiaries to, cause or permit a Release or threat of Release of Hazardous Materials on, at, in, above,
to, from or about any of the property where such Release or threat of Release would (a) violate, or form the
basis for any Environmental Claims under, any Environmental Law or any Environmental Permit or (b)
otherwise adversely impact the value or marketability of any property of any Loan Party or any of its
Subsidiaries or any of the Collateral; other than, in each case, any such Release, violation or Environmental
Claim as could not reasonably be expected to result in a material Environmental Liability.

        Section 7.16     Use of Proceeds. The Borrower shall not, and shall not permit any Loan Parties or
Subsidiaries to, use the proceeds of any Credit Extension in a manner that would violate Section 5.26 or
Section 6.8.




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                                                ARTICLE 8

                                          EVENTS OF DEFAULT

        Section 8.1      Events of Default. Any of the following shall constitute an Event of Default:

                (a)     Non-Payment of Principal. Any Loan Party shall fail to pay any principal of any
Loan when and as the same shall become due and payable, whether at the due date thereof or at a date fixed
for prepayment thereof or otherwise.

                (b)    Other Non-Payment. Any Loan Party shall fail to pay any interest on any Loan or
any fee, commission or any other amount (other than an amount referred to in clause (a) of this Section)
payable under any Loan Document, when and as the same shall become due and payable, and such failure
shall continue unremedied for a period of three Business Days.

                 (c)     Representations and Warranties. Any representation or warranty made or deemed
made by or on behalf of any Loan Party or any of its Subsidiaries in or in connection with any Loan
Document or any amendment or modification hereof or waiver thereunder, or in any report, certificate,
financial statement or other document furnished pursuant to or in connection with any Loan Document or
any amendment or modification thereof or waiver thereunder, shall prove to have been incorrect in any
material respect when made or deemed made.

                 (d)     Specific Covenants. Any Loan Party shall fail to observe or perform any covenant,
condition or agreement contained in Sections 6.1, 6.2(a), 6.3, 6.7, 6.8, 6.10, 6.12, 6.14, or 6.15, or in
Article 7, or any Loan Party shall fail to observe or perform any covenant, condition or agreement contained
in the Guarantee Agreement or any Collateral Document to which it is a party and such failure continues
beyond any applicable notice and cure period set forth therein.

                  (e)      Other Covenants. Any Loan Party shall fail to observe or perform any covenant,
condition or agreement contained in any Loan Document to which it is a party (other than those specified
in clause (a), (b) or (d) of this Article), and such failure shall continue unremedied for a period of 20 days
after the occurrence thereof.

                (f)     Cross Default - Payment Default on Material Indebtedness. Any Loan Party shall
fail to make any payment (whether of principal, interest or otherwise and regardless of amount) in respect
of any Material Indebtedness when and as the same shall become due and payable (after giving effect to
any applicable grace period).

                  (g)    Other Cross-Defaults. (i) Any event or condition occurs that results in any
Material Indebtedness becoming due prior to its scheduled maturity or payment date, or that enables or
permits (with or without the giving of notice, the lapse of time or both) the holder or holders of any Material
Indebtedness or any trustee or agent on its or their behalf to cause any Material Indebtedness to become
due prior to their scheduled maturity or payment date or to require the prepayment, repurchase, redemption
or defeasance thereof prior to their scheduled maturity or payment date (in each case after giving effect to
any applicable notice and any applicable cure period), provided that this clause (g) shall not apply to secured
Indebtedness that becomes due solely as a result of the voluntary sale, transfer or other disposition of the
property or assets securing such Indebtedness; or (ii) any Loan Party or any of its Subsidiaries shall breach
or default on any payment obligation constituting a Swap Agreement Obligation.

                (h)      Involuntary Proceedings. An involuntary proceeding shall be commenced or an
involuntary petition shall be filed seeking (i) liquidation, reorganization or other relief in respect of any



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Loan Party or any of its Subsidiaries or its debts, or of a substantial part of its assets, under any Debtor
Relief Law now or hereafter in effect or (ii) the appointment of a receiver, trustee, custodian, sequestrator,
conservator or similar official for any Loan Party or any of its Subsidiaries or for a substantial part of its
assets, and, in any such case, such proceeding or petition shall continue undismissed for 45 days or an order
or decree approving or ordering any of the foregoing shall be entered.

                  (i)     Voluntary Proceedings. Any Loan Party or any of its Subsidiaries shall (i)
voluntarily commence any proceeding or file any petition seeking liquidation, reorganization or other relief
under any Debtor Relief Law now or hereafter in effect, (ii) consent to the institution of, or fail to contest
in a timely and appropriate manner, any proceeding or petition described in clause (h) of this Article, (iii)
apply for or consent to the appointment of a receiver, trustee, custodian, sequestrator, conservator or similar
official for any Loan Party or any of its Subsidiaries or for a substantial part of its assets, (iv) file an answer
admitting the material allegations of a petition filed against it in any such proceeding, (v) make a general
assignment for the benefit of creditors or (vi) take any action for the purpose of effecting any of the
foregoing.

                (j)      Inability to Pay Debts. Any Loan Party or any of its Subsidiaries shall become
unable, admit in writing its inability or fail generally to pay its debts as they become due.

                 (k)      Judgments. (i) One or more judgments for the payment of money in an aggregate
amount in excess of the Threshold Amount shall be rendered against any Loan Party or any of its
Subsidiaries or any combination thereof (which shall not be fully covered (without taking into account any
applicable deductibles) by insurance from an unaffiliated insurance company with an A.M. Best financial
strength rating of at least A-, it being understood that even if such amounts are covered by insurance from
such an insurance company, such amounts shall count against such basket if responsibility for such amounts
has been denied by such insurance company) or (ii) any one or more non-monetary final judgments that
have, or could reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect,
and, in either case, the same shall remain undischarged or unbonded for a period of 30 consecutive days
during which execution shall not be effectively stayed, or any action shall be legally taken by a judgment
creditor to attach or levy upon any assets of any Loan Party or any of its Subsidiaries to enforce any such
judgment.

                 (l)      ERISA Events. (i) An ERISA Event shall have occurred that, in the opinion of the
Required Lenders, when taken together with all other ERISA Events that have occurred, could reasonably
be expected to result in liability of any Loan Party or any of its Subsidiaries (or in the case of an ERISA
Event described in subsection (b) of the definition of that term in Section 1.1, could reasonably be expected
to subject any Loan Party, any of its Subsidiaries, any Pension Plan, any trust created thereunder, any trustee
or administrator thereof, or any party dealing with any Pension Plan or trust to a tax or penalty on
“prohibited transactions” under Section 502 of ERISA or Section 4975 of the Code) in an aggregate amount
exceeding the Threshold Amount for all periods, (ii) an ERISA Event shall occur with respect to a Pension
Plan or Multiemployer Plan that constitutes grounds for appointment of a trustee for or termination by the
PBGC of any Pension Plan or Multiemployer Plan; (iii) a Loan Party or ERISA Affiliate shall fail to pay
when due any installment payment with respect to its withdrawal liability under Section 4201 of ERISA
under a Multiemployer Plan; (iv) any event similar to the foregoing shall occur or exist with respect to a
Foreign Plan; or (v) there shall be at any time a Lien imposed against the assets of any Loan Party or ERISA
Affiliate under Section 412 or Section 430 of the Code or Sections 302, Section 303, or Section 4068 of
ERISA, which, in each case, could reasonably be expected to have a Material Adverse Effect.

                 (m)      Invalidity of Loan Documents; Subordination.




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                         (i)     Any Loan Document shall cease, for any reason, to be in full force and
        effect, or any Loan Party shall so assert in writing or shall disavow any of its obligations thereunder;
        or

                         (ii)     (A) The subordination provisions of the documents evidencing or
        governing any Junior Debt or other Subordinated Debt (the “Subordination Provisions”) shall, in
        whole or in part, terminate, cease to be effective or cease to be legally valid, binding and
        enforceable against any holder of the applicable Junior Debt; or (B) either Borrower or any other
        Loan Party shall, directly or indirectly, disavow or contest in any manner (1) the effectiveness,
        validity or enforceability of any of the Subordination Provisions, (2) that the Subordination
        Provisions exist for the benefit of the Administrative Agent and the Lenders or (3) that all payments
        of principal of or premium and interest on the applicable Junior Debt, or realized from the
        liquidation of any property of any Loan Party, shall be subject to any of the Subordination
        Provisions.

                  (n)     Liens and Collateral. (i) Any Lien purported to be created under any Collateral
Document shall cease to be, or shall be asserted by any Loan Party not to be, a valid and perfected Lien on
portion of the Collateral, with the priority required by the applicable Collateral Document, or (ii) any
material portion of the Collateral shall have been lost, stolen or destroyed, in each case except (A) as a
result of the sale or other disposition of the applicable Collateral in a transaction permitted under the Loan
Documents or (B) as a result of the Administrative Agent’s failure to maintain possession of any stock
certificates, promissory notes or other instruments delivered to it under the Security Agreement.

                (o)     Licenses. There shall occur the loss, suspension or revocation of, or failure to
renew any license or permit now held or hereafter acquired if such loss, suspension, revocation or failure
to renew could reasonably be expected to have a Material Adverse Effect.

                (p)      Change of Control. A Change of Control shall occur.

          Section 8.2      Remedies Upon Event of Default. If any Event of Default occurs and is continuing,
then, and in every such event (other than an event described in Section 8.1(h) or (i)), and at any time
thereafter during the continuance of such event, the Administrative Agent may, and at the request of the
Required Lenders shall, by notice to the Borrower, take any or all of the following actions (whether before
or after the Closing Date), at the same or different times: (i) terminate the Commitments, and thereupon the
Commitments shall terminate immediately and (ii) declare the Loans then outstanding to be due and payable
in whole (or in part, in which case any principal not so declared to be due and payable may thereafter be
declared to be due and payable), and thereupon the principal of the Loans so declared to be due and payable,
together with accrued interest thereon and all fees and other obligations of each Loan Party accrued under
the Loan Documents, shall become due and payable immediately, without presentment, demand, protest or
other notice of any kind, all of which are hereby waived by the Borrower, and in case of any event described
in Section 8.1(h) or (i), the Commitments shall automatically terminate (whether before or after the Closing
Date), the principal of the Loans then outstanding, together with accrued interest thereon and all fees and
other obligations of each Loan Party accrued under the Loan Documents, shall automatically become due
and payable, without presentment, demand, protest or other notice of any kind, all of which are hereby
waived by the Borrower.

         Section 8.3    Application of Funds. After the exercise of remedies provided for in Section 8.2
(or after the Loans have automatically become immediately due and payable), any amounts received on
account of the Secured Obligations shall be applied by the Administrative Agent in the following order:




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                First, to the payment of that portion of the Secured Obligations constituting fees,
                indemnities, expenses and other amounts (including fees, charges and disbursements of
                counsel to the Administrative Agent and amounts payable under Article 3), in each case
                payable to the Administrative Agent in its capacity as such;

                Second, to the extent of any excess of such proceeds, to the payment of that portion of the
                Secured Obligations constituting fees, indemnities, expenses and other amounts;

                Third, to the extent of any excess of such proceeds, to the payment of that portion of the
                Secured Obligations constituting fees, indemnities and other amounts, payable to the Credit
                Parties (including fees, charges and disbursements of counsel to the respective Credit
                Parties and amounts payable under Article 3 but excluding fees described in
                Section 3.2(b)), ratably among them in proportion to the respective amounts described in
                this clause Third payable to them;

                Fourth, to the extent of any excess of such proceeds, to the payment of that portion of the
                Secured Obligations constituting accrued and unpaid fees under Section 3.2(b) and interest
                on the Loans and other Secured Obligations, ratably among the Credit Parties in proportion
                to the respective amounts described in this clause Fourth payable to them;

                Fifth, to the extent of any excess of such proceeds, to the payment of that portion of the
                Secured Obligations constituting unpaid principal of the Loans, the Cash Management
                Obligations and the Swap Agreement Obligations, ratably among the Secured Parties in
                proportion to the respective amounts described in this clause Fifth held by them;

                Sixth, to the extent of any excess of such proceeds, to the payment of all other Secured
                Obligations of the Loan Parties owing under or in respect of the Loan Documents that are
                due and payable to the Credit Parties, or any of them, on such date, ratably based on the
                respective aggregate amounts of all such Secured Obligations owing to the Administrative
                Agent and the Lenders on such date; and

                Last, to the extent of any excess of such proceeds, the balance, if any, after all of the
                Secured Obligations (other than unasserted contingent indemnification and unasserted
                expense reimbursement obligations in each case not yet due and payable) have been paid
                in full, to the Borrower or as otherwise required by law.

Notwithstanding anything to the contrary set forth above, Excluded CEA Swap Obligations with respect to
any Guarantor shall not be paid with amounts received from such Guarantor or its assets, but appropriate
adjustments shall be made with respect to payments from other Loan Parties to preserve the allocation to
Secured Obligations otherwise set forth above in this Section.

        Section 8.4      Equity Cure. In the event that the Borrower fails to comply with the requirements
of any financial covenant set forth in Section 7.12, until the tenth (10th) day after the applicable testing
date, Borrower shall have the right, upon written notice to the Administrative Agent, to cause Borrower’s
parent or owners to contribute funds to Borrower (including by means of issuing additional equity interests
for cash or otherwise receive cash contributions to the equity capital so long as no Change of Control shall
occur), and apply the amount of the proceeds thereof to satisfy the applicable financial covenant with
respect to the applicable testing period (the “Cure Right”); provided that (a) such proceeds are actually
received by the Borrower no later than ten (10) days after the applicable testing date for the relevant
financial covenant(s), (b) such proceeds do not exceed the aggregate amount necessary to cure (the “Cure
Amount”) such Default under Section 7.12 for such period, (c) the Cure Right shall not be (y) exercised in


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consecutive quarters, and (z) exercised more than (i) one time in any four fiscal quarter period and (ii)
during the term of this Agreement, two times in total, and (d) within one Business Day of the receipt of the
Cure Amount Borrower shall prepay the Loan by an amount equal or take such other necessary action up
to such Cure Amount. If, after giving effect to the foregoing, the Borrower is in compliance with the
financial covenants set forth in Section 7.12, the Borrower shall be deemed to have satisfied the
requirements of such Section as of the relevant date of determination with the same effect as though there
had been no failure to comply on such date, and the applicable breach or default of such Section 7.12 that
had occurred shall be deemed cured for purposes of this Agreement.

                                                ARTICLE 9

                                    THE ADMINISTRATIVE AGENT

         Section 9.1       Appointment and Authority. Each of the Lenders hereby irrevocably appoints
BancorpSouth Bank to act on its behalf as the Administrative Agent hereunder and under the other Loan
Documents and authorizes the Administrative Agent to take such actions on its behalf and to exercise such
powers as are delegated to the Administrative Agent by the terms hereof or thereof, together with such
actions and powers as are reasonably incidental thereto. The provisions of this Article are solely for the
benefit of the Administrative Agent and the Lenders and neither the Borrower nor any other Loan Party
shall have rights as a third-party beneficiary of any of such provisions. It is understood and agreed that the
use of the term “agent” herein or in any other Loan Documents (or any other similar term) with reference
to the Administrative Agent is not intended to connote any fiduciary or other implied (or express)
obligations arising under agency doctrine of any applicable law. Instead such term is used as a matter of
market custom, and is intended to create or reflect only an administrative relationship between contracting
parties.

         Section 9.2     Rights as a Lender. The Person serving as the Administrative Agent hereunder
shall have the same rights and powers in its capacity as a Lender as any other Lender and may exercise the
same as though it were not the Administrative Agent, and the term “Lender” or “Lenders” shall, unless
otherwise expressly indicated or unless the context otherwise requires, include the Person serving as the
Administrative Agent hereunder in its individual capacity. Such Person and its Affiliates may accept
deposits from, lend money to, own securities of, act as the financial advisor or in any other advisory capacity
for, and generally engage in any kind of business with, each Loan Party or any Subsidiary or other Affiliate
thereof as if such Person were not the Administrative Agent hereunder and without any duty to account
therefor to the Lenders.

        Section 9.3      Exculpatory Provisions.

                 (a)      The Administrative Agent shall not have any duties or obligations except those
expressly set forth herein and in the other Loan Documents, and its duties hereunder shall be administrative
in nature. Without limiting the generality of the foregoing, the Administrative Agent:

                       (i)      shall not be subject to any fiduciary or other implied duties, regardless of
        whether a Default has occurred and is continuing;

                        (ii)     shall not have any duty to take any discretionary action or exercise any
        discretionary powers, except discretionary rights and powers expressly contemplated hereby or by
        the other Loan Documents that the Administrative Agent is required to exercise as directed in
        writing by the Required Lenders (or such other number or percentage of the Lenders as shall be
        expressly provided for herein or in the other Loan Documents); provided that the Administrative
        Agent shall not be required to take any action that, in its opinion or the opinion of its counsel, may


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        expose the Administrative Agent to liability or that is contrary to any Loan Document or applicable
        law, including for the avoidance of doubt any action that may be in violation of the automatic stay
        under any Debtor Relief Law or that may effect a forfeiture, modification or termination of property
        of a Defaulting Lender in violation of any Debtor Relief Law; and

                        (iii)     shall not, except as expressly set forth herein and in the other Loan
        Documents, have any duty to disclose, and shall not be liable for the failure to disclose, any
        information relating to the Borrower or any of its Affiliates that is communicated to or obtained by
        the Person serving as the Administrative Agent or any of its Affiliates in any capacity.

                  (b)      The Administrative Agent shall not be liable for any action taken or not taken by
it (i) with the consent or at the request of the Required Lenders (or such other number or percentage of the
Lenders as shall be necessary, or as the Administrative Agent shall believe in good faith shall be necessary,
under the circumstances as provided in Section 8.2 and Section 10.2), or (ii) in the absence of its own gross
negligence or willful misconduct as determined by a court of competent jurisdiction by final and
nonappealable judgment. The Administrative Agent shall be deemed not to have knowledge of any Default
unless and until notice describing such Default is given to the Administrative Agent in writing by the
Borrower or a Lender.

                  (c)    The Administrative Agent shall not be responsible for or have any duty to ascertain
or inquire into (i) any statement, warranty or representation made in or in connection with this Credit
Agreement or any other Loan Document, (ii) the contents of any certificate, report or other document
delivered hereunder or thereunder or in connection herewith or therewith, (iii) the performance or
observance of any of the covenants, agreements or other terms or conditions set forth herein or therein or
the occurrence of any Default, (iv) the validity, enforceability, effectiveness or genuineness of this Credit
Agreement, any other Loan Document or any other agreement, instrument or document, or (v) the
satisfaction of any condition set forth in Article 5 or elsewhere herein, other than to confirm receipt of items
expressly required to be delivered to the Administrative Agent.

                (d)      The Administrative Agent shall not be responsible or have any liability for, or have
any duty to investigate a violation or potential violation of an Environmental Law or a Release or threat of
Release of a Hazardous Material pursuant to Section 6.13, nor shall it have any liability for any action it
takes or does not take in connection with any such investigation.

          Section 9.4      Reliance by Administrative Agent. The Administrative Agent shall be entitled to
rely upon, and shall not incur any liability for relying upon, any notice, request, certificate, consent,
statement, instrument, document or other writing (including any electronic message, Internet or intranet
website posting or other distribution) believed by it to be genuine and to have been signed, sent or otherwise
authenticated by the proper Person. The Administrative Agent also may rely upon any statement made to
it orally or by telephone and believed by it to have been made by the proper Person, and shall not incur any
liability for relying thereon. In determining compliance with any condition hereunder to the making of a
Loan, that by its terms must be fulfilled to the satisfaction of a Lender, the Administrative Agent may
presume that such condition is satisfactory to such Lender unless the Administrative Agent shall have
received notice to the contrary from such Lender prior to the making of such Loan. The Administrative
Agent may consult with legal counsel (who may be counsel for the Borrower), independent accountants
and other experts selected by it, and shall not be liable for any action taken or not taken by it in accordance
with the advice of any such counsel, accountants or experts.

        Section 9.5       Delegation of Duties. The Administrative Agent may perform any and all of its
duties and exercise its rights and powers hereunder or under any other Loan Document by or through any
one or more sub-agents appointed by the Administrative Agent. The Administrative Agent and any such


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sub-agent may perform any and all of its duties and exercise its rights and powers by or through their
respective Related Parties. The exculpatory provisions of this Article shall apply to any such sub-agent and
to the Related Parties of the Administrative Agent and any such sub-agent, and shall apply to their respective
activities in connection with the syndication of the Credit Facility as well as activities as Administrative
Agent. The Administrative Agent shall not be responsible for the negligence or misconduct of any sub-
agents except to the extent that a court of competent jurisdiction determines in a final and nonappealable
judgment that the Administrative Agent acted with gross negligence or willful misconduct in the selection
of such sub-agents.

        Section 9.6      Resignation of Administrative Agent.

                 (a)      The Administrative Agent may at any time give notice of its resignation to the
Lenders and the Borrower. Upon receipt of any such notice of resignation, the Required Lenders shall have
the right, in consultation with the Borrower, to appoint a successor. If no such successor shall have been
so appointed by the Required Lenders and shall have accepted such appointment within 30 days after the
retiring Administrative Agent gives notice of its resignation (or such earlier day as shall be agreed by the
Required Lenders) (the “Resignation Effective Date”), then the retiring Administrative Agent may (but
shall not be obligated to), on behalf of the Lenders, appoint a successor Administrative Agent meeting the
qualifications set forth above, provided that in no event shall any such successor Administrative Agent be
a Defaulting Lender. Whether or not a successor has been appointed, such resignation shall become
effective in accordance with such notice on the Resignation Effective Date. Whether or not a successor has
been appointed, such resignation shall become effective in accordance with such notice on the Resignation
Effective Date.

                 (b)      If the Person serving as Administrative Agent is a Defaulting Lender pursuant to
clause (d) of the definition thereof, the Required Lenders may, to the extent permitted by applicable law,
by notice in writing to the Borrower and such Person remove such Person as Administrative Agent and, in
consultation with the Borrower, appoint a successor. If no such successor shall have been so appointed by
the Required Lenders and shall have accepted such appointment within 30 days (or such earlier day as shall
be agreed by the Required Lenders) (the “Removal Effective Date”), then such removal shall nonetheless
become effective in accordance with such notice on the Removal Effective Date.

                 (c)      With effect from the Resignation Effective Date or the Removal Effective Date (as
applicable) (i) the retiring or removed Administrative Agent shall be discharged from its duties and
obligations hereunder and under the other Loan Documents (except that in the case of any collateral security
held by the Administrative Agent on behalf of the Lenders under any of the Loan Documents, the retiring
or removed Administrative Agent shall continue to hold such collateral security until such time as a
successor Administrative Agent is appointed) and (ii) except for any indemnity payments owed to the
retiring or removed Administrative Agent, all payments, communications and determinations provided to
be made by, to or through the Administrative Agent shall instead be made by or to each Lender directly,
until such time, if any, as the Required Lenders appoint a successor Administrative Agent as provided for
above. Upon the acceptance of a successor’s appointment as Administrative Agent hereunder, such
successor shall succeed to and become vested with all of the rights, powers, privileges and duties of the
retiring or removed Administrative Agent (other than any rights to indemnity payments owed to the retiring
or removed Administrative Agent), and the retiring or removed Administrative Agent shall be discharged
from all of its duties and obligations hereunder or under the other Loan Documents. The fees payable by
the Borrower to a successor Administrative Agent shall be the same as those payable to its predecessor
unless otherwise agreed between the Borrower and such successor. After the retiring or removed
Administrative Agent’s resignation or removal hereunder and under the other Loan Documents, the
provisions of this Article and Section 10.3 shall continue in effect for the benefit of such retiring or removed
Administrative Agent, its sub-agents and their respective Related Parties in respect of any actions taken or


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omitted to be taken by any of them while the retiring or removed Administrative Agent was acting as
Administrative Agent.

         Section 9.7    Non-Reliance on Administrative Agent and Other Lenders. Each Lender
acknowledges that it has, independently and without reliance upon the Administrative Agent or any other
Lender or any of their Related Parties and based on such documents and information as it has deemed
appropriate, made its own credit analysis and decision to enter into this Credit Agreement. Each Lender
also acknowledges that it will, independently and without reliance upon the Administrative Agent or any
other Lender or any of their Related Parties and based on such documents and information as it shall from
time to time deem appropriate, continue to make its own decisions in taking or not taking action under or
based upon this Credit Agreement, any other Loan Document or any related agreement or any document
furnished hereunder or thereunder.

        Section 9.8       No Other Duties, Etc. Anything herein to the contrary notwithstanding, none of
the Lead Arranger or any agent listed on the cover page hereof shall have any powers, duties or
responsibilities under this Credit Agreement or any of the other Loan Documents, except in its capacity, as
applicable, as the Administrative Agent or a Lender hereunder.

        Section 9.9      Administrative Agent May File Proofs of Claim. In case of the pendency of any
proceeding under any Debtor Relief Law or any other judicial proceeding relative to any Loan Party, the
Administrative Agent (irrespective of whether the principal of any Loan shall then be due and payable as
herein expressed or by declaration or otherwise and irrespective of whether the Administrative Agent shall
have made any demand on the Borrower) shall be entitled and empowered (but not obligated) by
intervention in such proceeding or otherwise:

                 (a)     to file and prove a claim for the whole amount of the principal and interest owing
and unpaid in respect of the Loans and all other Loan Document Obligations that are owing and unpaid and
to file such other documents as may be necessary or advisable in order to have the claims of the Lenders
and the Administrative Agent (including any claim for the reasonable compensation, expenses,
disbursements and advances of the Lenders and the Administrative Agent and their respective agents and
counsel and all other amounts due the Lenders and the Administrative Agent under Section 10.3) allowed
in such judicial proceeding; and

                (b)      to collect and receive any monies or other property payable or deliverable on any
such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in any such
judicial proceeding is hereby authorized by each Lender to make such payments to the Administrative
Agent and, in the event that the Administrative Agent shall consent to the making of such payments directly
to the Lenders, to pay to the Administrative Agent any amount due for the reasonable compensation,
expenses, disbursements and advances of the Administrative Agent and its agents and counsel, and any
other amounts due the Administrative Agent under Section 10.3.

        Section 9.10     Collateral and Guarantee Matters.

                  (a)    The Secured Parties irrevocably authorize the Administrative Agent, at its option
and in its discretion,

                       (i)     to release any Lien on any property granted to or held by the
        Administrative Agent under any Loan Document (A) at the Termination Date, (B) that is sold or
        otherwise Disposed of or to be sold or otherwise Disposed of as part of or in connection with any


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        sale or other Disposition permitted under the Loan Documents (including all of the Collateral of a
        Guarantor which is released from its obligations under the Loan Documents pursuant to clause (iii)
        below); provided, however, any sale or Disposition of all or substantially all of the Collateral or all
        or substantially all of the value of the Guarantees under the Guarantee Agreement shall be subject
        to Section 10.2(b), or (C) subject to Section 10.2, if approved, authorized or ratified in writing by
        the Required Lenders;

                       (ii)     to subordinate any Lien on any property granted to or held by the
        Administrative Agent under any Loan Document to the holder of any Lien on such property that is
        permitted by Section 7.2(d); and

                          (iii)   to release any Guarantor from its obligations under the Loan Documents
        if such Person ceases to be a Subsidiary as a result of a transaction permitted under the Loan
        Documents, provided, however, that the release of all or substantially all of the Collateral or all or
        substantially all of the value of the Guarantees under the Guarantee Agreement shall be subject to
        Section 10.2(b).

Upon request by the Administrative Agent at any time, the Required Lenders will confirm in writing the
Administrative Agent’s authority to release or subordinate its interest in particular types or items of
property, or to release any Guarantor from its obligations under the Loan Documents pursuant to this
Section 9.10.

                  (b)     The Administrative Agent shall not be responsible for or have a duty to ascertain
or inquire into any representation or warranty regarding the existence, value or collectability of the
Collateral, the existence, priority or perfection of the Administrative Agent’s Lien thereon, or any certificate
prepared by any Loan Party in connection therewith, nor shall the Administrative Agent be responsible or
liable to the Lenders for any failure to monitor or maintain any portion of the Collateral.

         Section 9.11    Compliance with Flood Insurance Laws. The Administrative Agent has adopted
internal policies and procedures that address requirements placed on federally regulated lenders under the
Flood Insurance Laws and will post on the applicable electronic platform (or otherwise distribute to each
Lender documents that it receives in connection with the Flood Insurance Laws (collectively, the “Flood
Documents”); provided, however that the Administrative Agent makes no representation or warranty with
respect to the adequacy of the Flood Documents or their compliance with the Flood Insurance Laws. Each
Lender acknowledges and agrees that it is individually responsible for its own compliance with the Flood
Insurance Laws and that it shall, independently and without reliance upon Administrative Agent or any
other Lender and based on such documents and information as it shall from time to time deem appropriate,
including the Flood Documents posted or distributed by the Administrative Agent, continue to do its own
due diligence to ensure its compliance with the Flood Insurance Laws.

         Section 9.12     Cash Management Obligations and Swap Agreement Obligations. Except as
otherwise expressly set forth herein or in the Security Agreement, any other Collateral Document or any
other Loan Document, no Person holding Cash Management Obligations or Swap Agreement Obligations
that obtains the benefits of any Guarantee under the Guarantee Agreement or any Collateral by virtue of
the provisions hereof or of any Loan Document shall have any right to notice of any action or to consent
to, direct or object to any action hereunder or under any other Loan Document or otherwise in respect of
the Collateral (including the release or impairment of any Collateral or amendment to any Loan Document
(including any Collateral Document) other than in its capacity as a Lender or Administrative Agent and, in
such case, only to the extent expressly provided in the Loan Documents. Notwithstanding any other
provision of this Article 9 to the contrary, the Administrative Agent shall not be required to verify the
payment of, or that other satisfactory arrangements have been made with respect to, Cash Management


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Obligations or Swap Agreement Obligations except to the extent expressly required hereunder, provided
that the Administrative Agent has received a Secured Obligation Designation Notice, together with such
supporting documentation as the Administrative Agent may request, from the applicable Person holding
such Secured Obligations. The Administrative Agent shall not be required to verify the payment of, or that
other satisfactory arrangements have been made with respect to, Cash Management Obligations and Swap
Agreement Obligations in the case of the Termination Date.

                                                ARTICLE 10

                                             MISCELLANEOUS

        Section 10.1     Notices.

                (a)     Notices Generally. Except in the case of notices and other communications
expressly permitted to be given by telephone (and except as provided in paragraph (b) below), all notices
and other communications provided for herein shall be in writing and shall be delivered by hand or
overnight courier service, mailed by certified or registered mail or sent by facsimile or electronic
communications as follows:

                         (i)   if to any Loan Party, to the address, facsimile number, electronic mail
        address or telephone number specified for such Person on Schedule 10.1;

                         (ii)   if to the Administrative Agent, to the address, facsimile number, electronic
        mail address or telephone number specified for such Person on Schedule 10.1; and

                         (iii) if to any other Credit Party, the address, facsimile number, electronic mail
        address or telephone number specified in its Administrative Questionnaire.

Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall be deemed
to have been given when received; notices sent by facsimile shall be deemed to have been given when sent
(except that, if not given during normal business hours for the recipient, shall be deemed to have been given
at the opening of business on the next Business Day for the recipient). Notices delivered through electronic
communications (other than facsimile) to the extent provided in paragraph (b) below, shall be effective as
provided in said paragraph (b).

                 (b)     Electronic Communications. Notices and other communications to the Credit
Parties hereunder may be delivered or furnished by electronic communication (including e-mail and Internet
or intranet websites) pursuant to procedures approved by the Administrative Agent, provided that the
foregoing shall not apply to notices to any Credit Party pursuant to Article 2 if such Credit Party has notified
the Administrative Agent that it is incapable of receiving notices under such Article by electronic
communication. The Administrative Agent or the Borrower may, in its discretion, agree to accept notices
and other communications to it hereunder by electronic communications pursuant to procedures approved
by it, provided that approval of such procedures may be limited to particular notices or communications.

Unless the Administrative Agent otherwise prescribes, (i) notices and other communications sent to an e-
mail address shall be deemed received upon the sender’s receipt of an acknowledgement from the intended
recipient (such as by the “return receipt requested” function, as available, return e-mail or other written
acknowledgement), provided that if such notice or other communication is not sent during the normal
business hours of the recipient, such notice or communication shall be deemed to have been sent at the
opening of business on the next Business Day for the recipient, and (ii) notices or communications posted
to an Internet or intranet website shall be deemed received upon the deemed receipt by the intended recipient


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at its e-mail address as described in the foregoing clause (i) of notification that such notice or
communication is available and identifying the website address therefor.

                (c)     Change of Address, Etc. Any party hereto may change its address or facsimile
number for notices and other communications hereunder by notice to the other parties hereto.

                (d)      Platform.

                         (i)      The Borrower agrees that the Administrative Agent may, but shall not be
        obligated to, make the Communications available to the other Lenders by posting the
        Communications on the Platform and that certain of the Lenders (each, a “Public Lender”) may
        have personnel who do not wish to receive material non-public information with respect to the Loan
        Parties or their Affiliates, or the respective securities of any of the foregoing, and who may be
        engaged in investment and other market-related activities with respect to such Persons’ securities.

                          (ii)      The Borrower hereby acknowledges and agrees that so long as any Loan
        Party is the issuer of any outstanding debt or equity securities that are registered or issued pursuant
        to a private offering or is actively contemplating issuing any such securities it will use commercially
        reasonable efforts to identify that portion of the Communications that may be distributed to the
        Public Lenders and that: (A) all such Communications shall be clearly and conspicuously marked
        “PUBLIC” which, at a minimum, means that the word “PUBLIC” shall appear prominently on the
        first page thereof; (B) by marking such Communications “PUBLIC,” the Borrower shall be deemed
        to have authorized the Administrative Agent, Lead Arranger and the Lenders to treat such
        Communications as not containing any material non-public information (although it may be
        sensitive and proprietary) with respect to any Loan Party or its securities for purposes of United
        States Federal and state securities laws (provided, however, that to the extent such Communications
        constitute Information, they shall be treated as set forth in Section 10.15); (C) all Communications
        marked “PUBLIC” are permitted to be made available through a portion of the Platform designated
        “Public Side Information”; and (D) the Administrative Agent and the Lead Arranger shall be
        entitled to treat any Communications that are not marked “PUBLIC” as being suitable only for
        posting on a portion of the Platform not designated “Public Side Information”.

                         (iii)    The Platform is provided “as is” and “as available.” The Agent Parties (as
        defined below) do not warrant the adequacy of the Platform and expressly disclaim liability for
        errors or omissions in the Communications. No warranty of any kind, express, implied or statutory,
        including any warranty of merchantability, fitness for a particular purpose, non-infringement of
        third-party rights or freedom from viruses or other code defects, is made by any Agent Party in
        connection with the Communications or the Platform. In no event shall the Administrative Agent
        or any of its Related Parties (collectively, the “Agent Parties”) have any liability to the Borrower
        or the other Loan Parties, any Lender or any other Person or entity for damages of any kind,
        including direct or indirect, special, incidental or consequential damages, losses or expenses
        (whether in tort, contract or otherwise) arising out of any Loan Party’s or the Administrative
        Agent’s transmission of communications through the Platform.

        Section 10.2     Waivers; Amendments.

                 (a)      No failure or delay by any Credit Party in exercising any right or power under any
Loan Document shall operate as a waiver thereof, nor shall any single or partial exercise of any such right
or power, or any abandonment or discontinuance of steps to enforce such a right or power, preclude any
other or further exercise thereof or the exercise of any other right or power. The rights and remedies of the
Credit Parties under the Loan Documents are cumulative and are not exclusive of any rights or remedies


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that they would otherwise have. No waiver of any provision of any Loan Document or consent to any
departure by any Loan Party therefrom shall in any event be effective unless the same shall be permitted
by paragraph (b) of this Section 10.2, and then such waiver or consent shall be effective only in the specific
instance and for the purpose for which given. Without limiting the generality of the foregoing, the making
of a Loan shall not be construed as a waiver of any Default, regardless of whether any Credit Party may
have had notice or knowledge of such Default at the time.

                 (b)      Except as expressly provided by Section 3.3(b), or in any of the other paragraphs
of this Section 10.2, neither this Credit Agreement, any other Loan Document (other than the Fee Letter)
nor any provision thereof may be waived, amended or modified except pursuant to an agreement or
agreements in writing entered into by the Loan Parties and the Required Lenders (or, in the case of waivers
of any condition precedent to any Revolving Borrowing set forth in Section 4.2, the Required Lenders in
respect of the Revolving Facility), or by the Borrower and the Administrative Agent with the consent of the
Required Lenders; provided that no such agreement shall:

                         (i)     extend or increase any Commitment of any Lender without the written
        consent of such Lender (it being understood that a waiver of (A) any condition precedent set forth
        in Article 4, (B) any Default or Event of Default or (C) any mandatory prepayment, shall not
        constitute an extension or increase of any Commitment of any Lender;

                          (ii)    reduce the principal amount of any Loan, or reduce the rate of any interest,
        or reduce any fees or other amounts, payable under the Loan Documents, without the written
        consent of each Credit Party directly and adversely affected thereby; provided that only the consent
        of the Required Lenders shall be necessary to (A) amend or modify any Financial Covenant, any
        defined terms used therein or the definition of “Default Rate”, (B) waive any obligation of the
        Borrower to pay interest at the Default Rate, (C) waive any condition precedent set forth in
        Article 4, (D) waive any Default or Event of Default or (E) waive any mandatory prepayment, in
        each case, notwithstanding the fact that any such amendment, modification, or waiver actually
        results in reduction in the rate of interest or fees;

                          (iii)   postpone any date scheduled for any payment of principal of, or interest
        on, any Loan, or any fees or other amounts payable hereunder or under any other Loan Document,
        or reduce the amount of, waive or excuse any such payment, or postpone the stated termination or
        expiration of the Revolving Commitments or reduce the amount of or postpone the date of any
        prepayment required by Section 2.7(b) without the written consent of each Credit Party directly
        and adversely affected thereby (it being understood that a waiver of (A) any condition precedent
        set forth in Article 4, (B) any Default or Event of Default or (C) any mandatory prepayment shall
        not constitute such a postponement or reduction);

                         (iv)   except as provided in subsection (c) below, change any provision hereof
        in a manner that would alter the pro rata sharing of payments required by Section 2.8(b) or the pro
        rata reduction of Revolving Commitments required by Section 2.5(d), without the written consent
        of each Lender;

                        (v)    change any of the provisions of this Section or the definition of the term
        “Required Lenders” or any other provision hereof specifying the number or percentage of Lenders
        required to waive, amend or modify any rights hereunder or make any determination or grant any
        consent hereunder, without the written consent of each Lender;




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                       (vi)     change the currency in which any Commitment or Loan is, or is to be,
        denominated, Letters of Credit are to be issued or payment under the Loan Documents is to be
        made without the written consent of each Lender directly affected thereby;

                        (vii)   release any Guarantor from its Guarantee under the Guarantee Agreement
        (except as expressly provided therein or in Section 9.10), or limit its liability in respect of such
        Guarantee, without the written consent of each Lender;

                         (viii) release all or substantially all of the Collateral from the Liens of the Loan
        Documents (except as expressly provided in the applicable Collateral Document or in connection
        with a transaction permitted by Section 7.3), without the consent of each Lender;

                        (ix)    alter the order of priority of payments set forth in Section 8.3 without the
        written consent of each Lender; or

                       (x)   permit the Borrower or any Guarantor to assign its rights or obligations
        under the Loan Documents without the written consent of each Lender; and

provided, further, that no such amendment, waiver or consent shall amend, modify or otherwise affect the
rights or duties hereunder or under any other Loan Document of the Administrative Agent, unless in writing
executed by the Administrative Agent, in addition to the Borrower and the Lenders required above.

                 (c)     Notwithstanding anything herein to the contrary, no Defaulting Lender shall have
any right to approve or disapprove any amendment, waiver or consent hereunder (and any amendment,
waiver or consent that by its terms requires the consent of all the Lenders or each affected Lender may be
effected with the consent of the applicable Lenders other than Defaulting Lenders, except that (x) the
Commitment of any Defaulting Lender may not be increased or extended, or the maturity of any of its Loan
may not be extended, the rate of interest on any of its Loans may not be reduced and the principal amount
of any of its Loans may not be forgiven, in each case without the consent of such Defaulting Lender and
(y) any amendment, waiver or consent requiring the consent of all the Lenders or each affected Lender that
by its terms affects any Defaulting Lender more adversely than the other affected Lenders shall require the
consent of such Defaulting Lender.

                 (d)     [Reserved].

                 (e)      In addition, notwithstanding anything in this Section 10.2, any other provision of
this Agreement or any other Loan Document to the contrary, if the Administrative Agent and the Borrower
shall have jointly identified an obvious error or any error or omission of a technical nature, in each case, in
any provision of the Loan Documents, then the Administrative Agent and the Borrower shall be permitted
to amend such provision, and, in each case, such amendment shall become effective without any further
action or consent of any other party to any Loan Document if the same is not objected to in writing by the
Required Lenders to the Administrative Agent within ten Business Days following receipt of notice thereof.

        Section 10.3     Expenses; Indemnity; Damage Waiver.

                 (a)      Costs and Expenses. The Loan Parties, jointly and severally, shall pay (i) all
reasonable out-of-pocket expenses incurred by the Administrative Agent, Lead Arranger and their
respective Affiliates (including Attorney Costs of counsel for the Administrative Agent), in connection with
the syndication of the Credit Facility provided for herein, the preparation, negotiation, execution, delivery
and administration of this Credit Agreement and the other Loan Documents or any amendments,
modifications or waivers of the provisions hereof or thereof (whether or not the transactions contemplated



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hereby or thereby shall be consummated) and (ii) all reasonable out-of-pocket expenses incurred by the
Administrative Agent, Lead Arranger or any Credit Party (including Attorney Costs of the Administrative
Agent or any Credit Party), in connection with the enforcement or protection of its rights (whether through
negotiations, legal proceedings or otherwise) (A) in connection with this Credit Agreement and the other
Loan Documents, including its rights under this Section, or (B) in connection with the Loans made or
Letters of Credit issued hereunder, including all such out-of-pocket expenses incurred during any workout,
restructuring or negotiations in respect of such Loans or Letters of Credit.

             (b)   INDEMNIFICATION BY LOAN PARTIES. THE LOAN PARTIES, JOINTLY
AND SEVERALLY, SHALL INDEMNIFY THE ADMINISTRATIVE AGENT (AND ANY SUB-
AGENT THEREOF), EACH CREDIT PARTY, AND EACH RELATED PARTY OF ANY OF THE
FOREGOING PERSONS (EACH SUCH PERSON BEING CALLED AN “INDEMNITEE”) AGAINST,
AND HOLD EACH INDEMNITEE HARMLESS FROM, ANY AND ALL LOSSES, CLAIMS,
DAMAGES, LIABILITIES AND RELATED EXPENSES (INCLUDING ATTORNEY COSTS),
INCURRED BY ANY INDEMNITEE OR ASSERTED AGAINST ANY INDEMNITEE BY ANY
THIRD PARTY OR BY ANY LOAN PARTY ARISING OUT OF, IN CONNECTION WITH, OR AS A
RESULT OF (I) THE EXECUTION OR DELIVERY OF THIS CREDIT AGREEMENT, ANY OTHER
LOAN DOCUMENT OR ANY AGREEMENT OR INSTRUMENT CONTEMPLATED HEREBY OR
THEREBY, THE PERFORMANCE BY THE PARTIES HERETO OF THEIR RESPECTIVE
OBLIGATIONS HEREUNDER OR THEREUNDER OR THE CONSUMMATION OF THE
TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY, (II) ANY LOAN OR THE USE OR
PROPOSED USE OF THE PROCEEDS THEREFROM, (III) ANY ACTUAL OR ALLEGED
PRESENCE OR RELEASE OF HAZARDOUS MATERIALS AT, ON, UNDER OR FROM ANY
PROPERTY OWNED OR OPERATED BY ANY LOAN PARTY OR ANY OF ITS SUBSIDIARIES, OR
ANY ENVIRONMENTAL CLAIM OR ENVIRONMENTAL LIABILITY RELATED IN ANY WAY TO
ANY LOAN PARTY OR ANY OF ITS SUBSIDIARIES, (IV) ANY ACTUAL OR PROSPECTIVE
CLAIM, LITIGATION, INVESTIGATION OR PROCEEDING RELATING TO ANY OF THE
FOREGOING, WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY, WHETHER
BROUGHT BY A THIRD PARTY OR BY ANY LOAN PARTY, AND REGARDLESS OF WHETHER
ANY INDEMNITEE IS A PARTY THERETO OR (V) ANY GOVERNMENT INVESTIGATION,
AUDIT, HEARING OR ENFORCEMENT ACTION RESULTING FROM ANY LOAN PARTY’S OR
ANY OF ITS AFFILIATE’S NONCOMPLIANCE (OR PURPORTED NONCOMPLIANCE) WITH
ANY APPLICABLE SANCTIONS, OTHER ANTI-TERRORISM LAWS OR ANTI-CORRUPTION
LAWS (IT BEING UNDERSTOOD AND AGREED THAT THE INDEMNITEES SHALL BE
ENTITLED TO INDEMNIFICATION PURSUANT TO THIS CLAUSE (INCLUDING
INDEMNIFICATION FOR FINES, PENALTIES AND OTHER EXPENSES) REGARDLESS OF
WHETHER ANY ADVERSE FINDING IS MADE AGAINST ANY LOAN PARTY OR ANY OF ITS
AFFILIATES). WITHOUT LIMITING ANY PROVISION OF THIS CREDIT AGREEMENT OR ANY
OTHER LOAN DOCUMENT, IT IS THE EXPRESS INTENTION OF THE PARTIES HERETO
THAT EACH INDEMNITEE SHALL BE INDEMNIFIED AGAINST, AND HELD HARMLESS
FROM, ANY AND ALL LOSSES, CLAIMS, DAMAGES, LIABILITIES AND RELATED
EXPENSES (INCLUDING ATTORNEY COSTS), INCURRED BY ANY INDEMNITEE OR
ASSERTED AGAINST ANY INDEMNITEE BY ANY THIRD PARTY OR BY ANY LOAN PARTY
ARISING OUT OF, IN CONNECTION WITH, OR AS A RESULT OF, THE SOLE,
CONTRIBUTORY, COMPARATIVE, CONCURRENT OR ORDINARY NEGLIGENCE OF
SUCH INDEMNITEE; PROVIDED THAT SUCH INDEMNITY SHALL NOT, AS TO ANY
INDEMNITEE, BE AVAILABLE TO THE EXTENT THAT SUCH LOSSES, CLAIMS, DAMAGES,
LIABILITIES OR RELATED EXPENSES (A)(X) ARE DETERMINED BY A COURT OF
COMPETENT JURISDICTION BY FINAL AND NON-APPEALABLE JUDGMENT TO HAVE
RESULTED FROM THE GROSS NEGLIGENCE OR WILLFUL MISCONDUCT OF SUCH
INDEMNITEE OR (Y) RESULT FROM A CLAIM BROUGHT BY ANY LOAN PARTY AGAINST AN


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INDEMNITEE FOR A MATERIAL BREACH OF SUCH INDEMNITEE’S OBLIGATIONS
HEREUNDER OR UNDER ANY OTHER LOAN DOCUMENT, IF SUCH LOAN PARTY HAS
OBTAINED A FINAL AND NON-APPEALABLE JUDGMENT IN ITS FAVOR ON SUCH CLAIM AS
DETERMINED BY A COURT OF COMPETENT JURISDICTION OR (B) ARISE OUT OF ANY
CLAIM, LITIGATION, INVESTIGATION OR PROCEEDING BROUGHT BY SUCH INDEMNITEE
AGAINST ANOTHER INDEMNITEE (OTHER THAN ANY CLAIM, LITIGATION,
INVESTIGATION OR PROCEEDING THAT IS BROUGHT BY OR AGAINST THE
ADMINISTRATIVE AGENT OR THE LEAD ARRANGER, ACTING IN ITS CAPACITY AS SUCH)
THAT DOES NOT INVOLVE ANY ACT OR OMISSION OF THE BORROWER OR ANY OF ITS
SUBSIDIARIES OR AFFILIATES. TO THE EXTENT THAT THE INDEMNITY SET FORTH ABOVE
IN THIS PARAGRAPH SHALL BE HELD TO BE UNENFORCEABLE IN WHOLE OR IN PART
BECAUSE IT IS VIOLATIVE OF ANY LAW OR PUBLIC POLICY, THE BORROWER SHALL
CONTRIBUTE THE MAXIMUM PORTION THAT IT IS PERMITTED TO PAY AND SATISFY
UNDER APPLICABLE LAW TO THE PAYMENT AND SATISFACTION OF ALL INDEMNIFIED
AMOUNTS INCURRED BY INDEMNITEES OR ANY OF THEM.

                 (c)      Reimbursement by Lenders. To the extent that the Borrower for any reason fails
to indefeasibly pay any amount required under paragraph (a) or (b) of this Section to be paid by it to the
Administrative Agent (or any sub-agent thereof), or any Related Party of any of the foregoing, each Lender
severally agrees to pay to the Administrative Agent (or any such sub-agent), or such Related Party, as the
case may be, such Lender’s pro rata share (determined as of the time that the applicable unreimbursed
expense or indemnity payment is sought based on each Lender’s share of the Total Credit Exposure at such
time) of such unpaid amount (including any such unpaid amount in respect of a claim asserted by such
Lender); provided, that the unreimbursed expense or indemnified loss, claim, damage, liability or related
expense, as the case may be, was incurred by or asserted against the Administrative Agent (or any such
sub-agent), or against any Related Party of any of the foregoing acting for the Administrative Agent (or any
such sub-agent) in connection with such capacity. The obligations of the Lenders under this paragraph (c)
are subject to the provisions of Section 2.8(d).

                  (d)    Waiver of Consequential Damages, Etc. To the fullest extent permitted by
applicable law, no Loan Party shall assert, and each Loan Party hereby waives, any claim against any
Indemnitee, on any theory of liability, for special, indirect, consequential or punitive damages (as opposed
to direct or actual damages) arising out of, in connection with, or as a result of, this Credit Agreement, any
other Loan Document or any agreement or instrument contemplated hereby or thereby, the transactions
contemplated hereby or thereby, any Loan or the use of the proceeds thereof. No Indemnitee referred to in
paragraph (b) above shall be liable for any damages arising from the use by unintended recipients of any
information or other materials distributed by it through telecommunications, electronic or other information
transmission systems in connection with this Credit Agreement or the other Loan Documents or the
transactions contemplated hereby or thereby.

                 (e)      Payments. All amounts due under this Section 10.3 shall be payable promptly and
in no event later than ten days after demand therefor.

        Section 10.4     Successors and Assigns.

                (a)     Successors and Assigns Generally. The provisions of this Credit Agreement shall
be binding upon and inure to the benefit of the parties hereto and their respective successors and assigns
permitted hereby, except that no Loan Party may assign or otherwise transfer any of its rights or obligations
hereunder without the prior written consent of the Administrative Agent and each Lender and no Lender
may assign or otherwise transfer any of its rights or obligations hereunder except (i) to an assignee in
accordance with the provisions of paragraph (b) of this Section, (ii) by way of participation in accordance


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with the provisions of paragraph (d) of this Section or (iii) by way of pledge or assignment of a security
interest subject to the restrictions of paragraph (e) of this Section (and any other attempted assignment or
transfer by any party hereto shall be null and void). Nothing in this Credit Agreement, expressed or implied,
shall be construed to confer upon any Person (other than the parties hereto, their respective successors and
assigns permitted hereby, Participants to the extent provided in paragraph (d) of this Section and, to the
extent expressly contemplated hereby, the Related Parties of each of Credit Party) any legal or equitable
right, remedy or claim under or by reason of this Credit Agreement.

                  (b)     Assignments by Lenders. Any Lender may at any time assign to one or more
assignees all or a portion of its rights and obligations under this Credit Agreement (including all or a portion
of its Commitments and the Loans at the time owing to it); provided that any such assignment shall be
subject to the following conditions:

                         (i)      Minimum Amounts.

                                  (A)     in the case of an assignment of the entire remaining amount of the
                 assigning Lender’s Commitment and/or the Loans at the time owing to it (in each case with
                 respect to any Credit Facility) or contemporaneous assignments to related Approved Funds
                 (determined after giving effect to such assignments) that equal at least the amount specified
                 in paragraph (b)(i)(B) of this Section in the aggregate or in the case of an assignment to a
                 Lender, an Affiliate of a Lender or an Approved Fund, no minimum amount need be
                 assigned; and

                                   (B)    in any case not described in paragraph (b)(i)(A) of this Section,
                 the aggregate amount of the Commitment (which for this purpose includes Loans
                 outstanding thereunder) or, if the applicable Commitment is not then in effect, the principal
                 outstanding balance of the Loans of the assigning Lender subject to each such assignment
                 (determined as of the date the Assignment and Assumption with respect to such assignment
                 is delivered to the Administrative Agent or, if “Trade Date” is specified in the Assignment
                 and Assumption, as of the Trade Date) shall not be less than $1,000,000 unless each of the
                 Administrative Agent and, so long as no Event of Default has occurred and is continuing,
                 the Borrower otherwise consents (each such consent not to be unreasonably withheld or
                 delayed).

                         (ii)     [Reserved].

                         (iii)   Required Consents. No consent shall be required for any assignment
        except to the extent required by paragraph (b)(i)(B) of this Section and, in addition:

                                  (A)     the consent of the Borrower (such consent not to be unreasonably
                 withheld or delayed) shall be required unless (x) an Event of Default has occurred and is
                 continuing at the time of such assignment or (y) such assignment is to a Lender (other than
                 a Defaulting Lender), an Affiliate of a Lender (other than a Defaulting Lender) or an
                 Approved Fund, provided that the Borrower shall be deemed to have consented to any such
                 assignment unless it shall object thereto by written notice to the Administrative Agent
                 within five Business Days after written notice of such assignment shall have been delivered
                 to the Borrower; and provided, further, that the Borrower’s consent shall not be required
                 during the primary syndication of the Credit Facilities; and

                               (B)     the consent of the Administrative Agent (such consent not to be
                 unreasonably withheld or delayed) shall be required for assignments in respect of the



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                Revolving Facility if such assignment is to a Person that is not a Lender with a Commitment
                in respect of such facility, an Affiliate of such Lender or an Approved Fund with respect
                to such Lender.

                         (iv)   Assignment and Assumption. The parties to each assignment shall execute
        and deliver to the Administrative Agent an Assignment and Assumption, together with a processing
        and recordation fee of $3,500 (which fee may be waived or reduced in the sole discretion of the
        Administrative Agent), and the assignee, if it is not a Lender, shall deliver to the Administrative
        Agent an Administrative Questionnaire. In addition, each assignee shall, on or before the effective
        date of such assignment, deliver to the Borrower and the Administrative Agent certification as to
        exemption from deduction or withholding of any United States Taxes in accordance with
        Section 3.6(g).

                         (v)     No Assignment to Certain Persons. No such assignment shall be made to
        (A) the Borrower or any of the Borrower’s Affiliates (including any equity investor in the Borrower
        and such equity investor’s Affiliates) or Subsidiaries, (B) to any Defaulting Lender or any of its
        Subsidiaries, or any Person who, upon becoming a Lender hereunder, would constitute a Defaulting
        Lender or a Subsidiary thereof or (C) a Person who, at the time of such assignment, is a Sanctioned
        Person if such assignment would violate applicable law.

                         (vi)    No Assignment to Natural Persons. No such assignment shall be made to
        a natural person (or a holding company, investment vehicle or trust for, or owned and operated for
        the primary benefit of, a natural person).

                         (vii)    Certain Additional Payments. In connection with any assignment of rights
        and obligations of any Defaulting Lender hereunder, no such assignment shall be effective unless
        and until, in addition to the other conditions thereto set forth herein, the parties to the assignment
        shall make such additional payments to the Administrative Agent in an aggregate amount sufficient,
        upon distribution thereof as appropriate (which may be outright payment, purchases by the assignee
        of participations or subparticipations, or other compensating actions, including funding, with the
        prior written consent of the Borrower and the Administrative Agent, the applicable pro rata share
        of Loans previously requested but not funded by the Defaulting Lender, to each of which the
        applicable assignee and assignor hereby irrevocably consent), to (x) pay and satisfy in full all
        payment liabilities then owed by such Defaulting Lender to the Administrative Agent or any Lender
        hereunder (and interest accrued thereon) and (y) acquire (and fund as appropriate) its full pro rata
        share of all Loans and participations in Letters of Credit in accordance with its Applicable
        Percentage. Notwithstanding the foregoing, in the event that any assignment of rights and
        obligations of any Defaulting Lender hereunder shall become effective under applicable law
        without compliance with the provisions of this paragraph, then the assignee of such interest shall
        be deemed to be a Defaulting Lender for all purposes of this Credit Agreement until such
        compliance occurs.

Subject to acceptance and recording thereof by the Administrative Agent pursuant to paragraph (c) of this
Section, from and after the effective date specified in each Assignment and Assumption, the assignee
thereunder shall be a party to this Credit Agreement and, to the extent of the interest assigned by such
Assignment and Assumption, have the rights and obligations of a Lender under this Credit Agreement, and
the assigning Lender thereunder shall, to the extent of the interest assigned by such Assignment and
Assumption, be released from its obligations under this Credit Agreement (and, in the case of an
Assignment and Assumption covering all of the assigning Lender’s rights and obligations under this Credit
Agreement, such Lender shall cease to be a party hereto) but shall continue to be entitled to the benefits of
Section 3.5 and Section 10.3 with respect to facts and circumstances occurring prior to the effective date of


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such assignment. Any assignment or transfer by a Lender of rights or obligations under this Credit
Agreement that does not comply with this paragraph shall be treated for purposes of this Credit Agreement
as a sale by such Lender of a participation in such rights and obligations in accordance with paragraph (d)
of this Section.

                 (c)      Register. The Administrative Agent, acting solely for this purpose as an agent of
the Borrower, shall maintain a copy of each Assignment and Assumption delivered to it and a register for
the recordation of the names and addresses of the Lenders, and the Commitments of, and principal amounts
of (and stated interest on) the Loans owing to, each Lender pursuant to the terms hereof from time to time
(the “Register”). The entries in the Register shall be conclusive, and the Borrower, the Administrative
Agent and the Lenders may treat each Person whose name is recorded in the Register pursuant to the terms
hereof as a Lender hereunder for all purposes of this Credit Agreement, notwithstanding notice to the
contrary. The Register shall be available for inspection by the Borrower and any Lender, at any reasonable
time and from time to time upon reasonable prior notice.

                 (d)      Participations. Any Lender may at any time, without the consent of, or notice to,
the Borrower or the Administrative Agent, sell participations to any Person (other than (w) a natural person
(or a holding company, investment vehicle or trust for, or owned and operated for the primary benefit of, a
natural person), (x) the Borrower or any of the Borrower’s Affiliates (including any equity investor in the
Borrower and such equity investor’s Affiliates) or Subsidiaries, (y) any Defaulting Lender or any of its
subsidiaries or (z) a Person who, at the time of such participation, is a Sanctioned Person if the sale of such
participation would violate applicable law) (each, a “Participant”) in all or a portion of such Lender’s rights
and/or obligations under this Credit Agreement (including all or a portion of its Revolving Commitment
and/or the Loans owing to it); provided that (i) such Lender’s obligations under this Credit Agreement shall
remain unchanged, (ii) such Lender shall remain solely responsible to the other parties hereto for the
performance of such obligations and (iii) the Borrower, the Administrative Agent and each Credit Party
shall continue to deal solely and directly with such Lender in connection with such Lender’s rights and
obligations under this Credit Agreement.

Any agreement or instrument pursuant to which a Lender sells such a participation shall provide that such
Lender shall retain the sole right to enforce this Credit Agreement and to approve any amendment,
modification or waiver of any provision of this Credit Agreement; provided that such agreement or
instrument may provide that such Lender will not, without the consent of the Participant, agree to any
amendment, modification or waiver described in Section 10.2(b) that affects such Participant. The
Borrower agrees that each Participant shall be entitled to the benefits of Sections 3.4, 3.5 and 3.6 (subject
to the requirements and limitations therein, including the requirements under Section 3.6 (it being
understood that the documentation required under Section 3.6(g) shall be delivered to the participating
Lender)) to the same extent as if it were a Lender and had acquired its interest by assignment pursuant to
paragraph (b) of this Section; provided that such Participant (A) agrees to be subject to the provisions of
Section 3.7 as if it were an assignee under paragraph (b) of this Section; and (B) shall not be entitled to
receive any greater payment under Sections 3.5 or 3.6, with respect to any participation, than its
participating Lender would have been entitled to receive, except to the extent such entitlement to receive a
greater payment results from a Change in Law that occurs after the Participant acquired the applicable
participation or the sale of the participation to such participant is made with the consent of the Borrower.
Each Lender that sells a participation agrees, at the Borrower's request and expense, to use reasonable
efforts to cooperate with the Borrower to effectuate the provisions of Section 3.7(b) with respect to any
Participant. To the extent permitted by law, each Participant also shall be entitled to the benefits of
Section 10.8 as though it were a Lender; provided that such Participant agrees to be subject to Section 2.8(h)
as though it were a Lender. Each Lender that sells a participation shall, acting solely for this purpose as a
non-fiduciary agent of the Borrower, maintain a register on which it enters the name and address of each
Participant and the principal amounts of (and stated interest on) of each Participant’s interest in the Loans


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or other obligations under the Loan Documents (the “Participant Register”); provided that no Lender shall
have any obligation to disclose all or any portion of the Participant Register (including the identity of any
Participant or any information relating to a Participant's interest in any commitments, loans, letters of credit
or its other obligations under any Loan Document) to any Person except to the extent that such disclosure
is necessary to establish that such commitment, loan, letter of credit or other obligation is in registered form
under Section 5f.103-1(c) of the United States Treasury Regulations. The entries in the Participant Register
shall be conclusive absent manifest error, and such Lender shall treat each Person whose name is recorded
in the Participant Register as the owner of such participation for all purposes of this Credit Agreement
notwithstanding any notice to the contrary. For the avoidance of doubt, the Administrative Agent (in its
capacity as Administrative Agent) shall have no responsibility for maintaining a Participant Register.

                  (e)       Certain Pledges. Any Lender may at any time pledge or assign a security interest
in all or any portion of its rights under this Credit Agreement and the Loan Documents to secure obligations
of such Lender, including any pledge or assignment to secure obligations to a Federal Reserve Bank;
provided that no such pledge or assignment shall release such Lender from any of its obligations hereunder
or substitute any such pledgee or assignee for such Lender as a party hereto.

                (f)     Cashless Settlement. Notwithstanding anything to the contrary contained in this
Credit Agreement, any Lender may exchange, continue or rollover all or a portion of its Loans in connection
with any refinancing, extension, loan modification or similar transaction permitted by the terms of this
Credit Agreement, pursuant to a cashless settlement mechanism approved by the Borrower, the
Administrative Agent and such Lender notwithstanding any provision herein requiring such payment to be
made in cash, in same day funds, or the like.

         Section 10.5     Survival. All covenants, agreements, representations and warranties made by the
Borrower herein and in the certificates or other instruments prepared or delivered in connection with or
pursuant to this Credit Agreement or any other Loan Document shall be considered to have been relied
upon by the other parties hereto and shall survive the execution and delivery of any Loan Document and
the making of any Loans, regardless of any investigation made by any such other party or on its behalf and
notwithstanding that any Credit Party may have had notice or knowledge of any Default or incorrect
representation or warranty at the time any credit is extended hereunder, and shall continue in full force and
effect as long as the principal of or any accrued interest on any Loan or any fee or any other amount payable
under the Loan Documents is outstanding and unpaid and so long as the Commitments have not expired or
terminated. The provisions of Sections 3.4, 3.5, 3.6, 10.3, 10.9, and 10.10 and Article 9 shall survive and
remain in full force and effect regardless of the consummation of the transactions contemplated hereby or
the Termination Date.

        Section 10.6     Counterparts; Effectiveness; Electronic Execution.

                  (a)    Counterparts; Effectiveness. This Credit Agreement may be executed in
counterparts (and by different parties hereto in different counterparts), each of which shall constitute an
original, but all of which when taken together shall constitute a single contract. Except as provided in
Section 4.1, this Credit Agreement shall become effective when it shall have been executed by the
Administrative Agent and when the Administrative Agent shall have received counterparts hereof that,
when taken together, bear the signatures of each of the other parties hereto. Delivery of an executed
counterpart of a signature page of this Credit Agreement by facsimile or in electronic (e.g., “pdf” or “tif”)
format shall be effective as delivery of a manually executed counterpart of this Credit Agreement.

                 (b)      Electronic Execution of Assignments. The words “execution,” “signed,”
“signature,” and words of like import in any Assignment and Assumption shall be deemed to include
electronic signatures or the keeping of records in electronic form, each of which shall be of the same legal


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effect, validity or enforceability as a manually executed signature or the use of a paper-based recordkeeping
system, as the case may be, to the extent and as provided for in any applicable law, including the Federal
Electronic Signatures in Global and National Commerce Act, the Texas Uniform Electronic Transactions
Act.

        Section 10.7       Severability. In the event any one or more of the provisions contained in this Credit
Agreement should be held invalid, illegal or unenforceable in any respect, the validity, legality and
enforceability of the remaining provisions contained herein shall not in any way be affected or impaired
thereby (it being understood that the invalidity of a particular provision in a particular jurisdiction shall not
in and of itself affect the validity of such provision in any other jurisdiction). The parties shall endeavor in
good faith negotiations to replace the invalid, illegal or unenforceable provisions with valid provisions the
economic effect of which comes as close as possible to that of the invalid, illegal or unenforceable
provisions.

         Section 10.8     Right of Setoff. If an Event of Default shall have occurred and be continuing, each
Credit Party and each of their respective Affiliates is hereby authorized at any time and from time to time,
to the fullest extent permitted by applicable law, to set off and apply any and all deposits (general or special,
time or demand, provisional or final, in whatever currency) at any time held and other obligations (in
whatever currency) at any time owing by Credit Party or any such Affiliate to or for the credit or the account
of any Loan Party or any of its Subsidiaries against any and all of the obligations of such Loan Party or
such Subsidiary now or hereafter existing under this Credit Agreement or any other Loan Document to such
Credit Party or Affiliate, irrespective of whether or not such Credit Party shall have made any demand
under this Credit Agreement or any other Loan Document and although such obligations of such Loan Party
or Subsidiary may be contingent or unmatured or are owed to a branch or office of such Credit Party
different from the branch or office holding such deposit or obligated on such indebtedness, provided, that
in the event that any Defaulting Lender shall exercise any right of setoff, (x) all amounts so set off shall be
paid over immediately to the Administrative Agent for further application in accordance with the provisions
of Section 2.9 and, pending such payment, shall be segregated by such Defaulting Lender from its other
funds and deemed held in trust for the benefit of the Administrative Agent and the Lenders, and (y) the
Defaulting Lender shall provide promptly to the Administrative Agent a statement describing in reasonable
detail the Secured Obligations owing to such Defaulting Lender as to which it exercised such right of setoff.
The rights of each Credit Party and its Affiliates under this Section are in addition to other rights and
remedies (including other rights of setoff) that such Credit Party and its Affiliates may have. Each Credit
Party agrees to notify the Borrower and the Administrative Agent promptly after any such setoff and
application, provided that the failure to give such notice shall not affect the validity of such setoff and
application.

        Section 10.9      Governing Law; Jurisdiction; Consent to Service of Process.

               (a)      Governing Law. This Credit Agreement shall be governed by, and construed in
accordance with, the laws of the State of Texas (without regard to principles of conflicts of laws).

                 (b)     Submission to Jurisdiction. Each of the parties hereto irrevocably and
unconditionally submits, for itself and its property, to the exclusive jurisdiction of the courts of the State of
Texas sitting in Harris County and of the United States District Court for the Southern District of Texas
and any appellate court from any thereof, in any action or proceeding arising out of or relating to this Credit
Agreement or any other Loan Document, or for recognition or enforcement of any judgment, and each of
the parties hereto irrevocably and unconditionally agrees that all claims in respect of any such action or
proceeding may be heard and determined in such Texas State court or, to the fullest extent permitted by
applicable law, in such Federal court. Each of the parties hereto agrees that a final judgment in any such
action or proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the judgment


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or in any other manner provided by law. Nothing in this Credit Agreement or in any other Loan Document
shall affect any right that any Credit Party may otherwise have to bring any action or proceeding relating
to this Credit Agreement or any other Loan Document against the Borrower or any other Loan Party or its
properties in the courts of any jurisdiction.

                 (c)     Waiver of Objection to Venue. Each of the parties hereto irrevocably and
unconditionally waives, to the fullest extent permitted by applicable law, any objection that it may now or
hereafter have to the laying of venue of any action or proceeding arising out of or relating to this Credit
Agreement or any other Loan Document in any court referred to in paragraph (b) of this Section. Each of
the parties hereto hereby irrevocably waives, to the fullest extent permitted by applicable law, the defense
of an inconvenient forum to the maintenance of such action or proceeding in any such court.

                 (d)      Service of Process. Each of the parties hereto irrevocably consents to service of
process in the manner provided for notices in Section 10.1. Nothing in this Credit Agreement will affect
the right of any party to this Credit Agreement to serve process in any other manner permitted by law.

      Section 10.10 WAIVER OF JURY TRIAL.      EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS CREDIT AGREEMENT OR ANY OTHER
LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY
(WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO
HEREBY (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER
PERSON HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON
WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS CREDIT AGREEMENT AND THE OTHER LOAN DOCUMENTS
BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
SECTION.

         Section 10.11 Payments Set Aside. To the extent that any payment by or on behalf of the
Borrower is made to the Administrative Agent or any Lender, or the Administrative Agent or any Lender
exercises its right of setoff, and such payment or the proceeds of such setoff or any part thereof is
subsequently invalidated, declared to be fraudulent or preferential, set aside or required (including pursuant
to any settlement entered into by the Administrative Agent or such Lender in its discretion) to be repaid to
a trustee, receiver or any other party, in connection with any proceeding under any Debtor Relief Law or
Fraudulent Transfer Law, then (a) to the extent of such recovery, the obligation or part thereof originally
intended to be satisfied shall be revived and continued in full force and effect as if such payment had not
been made or such setoff had not occurred, and (b) each Lender severally agrees to pay to the Administrative
Agent upon demand its applicable share of any amount so recovered from or repaid by the Administrative
Agent, plus interest thereon from the date of such demand to the date such payment is made at a rate per
annum equal to the Federal Funds Effective Rate.

         Section 10.12 Headings. Article and Section headings and the Table of Contents used herein are
for convenience of reference only, are not part of this Credit Agreement and shall not affect the construction
of, or be taken into consideration in interpreting, this Credit Agreement.

        Section 10.13 Interest Rate Limitation. It is expressly stipulated and agreed to be the intent of
Borrower and Lenders at all times to comply strictly with the applicable law governing the maximum rate
or amount of interest payable on the indebtedness evidenced by any Note, any Loan Document, and the
Related Indebtedness (defined below) (or applicable United States federal law to the extent that it permits


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Lenders to contract for, charge, take, reserve or receive a greater amount of interest than under applicable
law). If the applicable law is ever judicially interpreted so as to render usurious any amount (a) contracted
for, charged, taken, reserved or received pursuant to any Note, any of the other Loan Documents or any
other communication or writing by or between Borrower and Lenders related to the transaction or
transactions that are the subject matter of the Loan Documents, (b) contracted for, charged, taken, reserved
or received by reason of Lender’s exercise of the option to accelerate the maturity of any Note and/or any
and all indebtedness paid or payable by Borrower to Lenders pursuant to any Loan Document other than
any Note (such other indebtedness being referred to in this Section as the “Related Indebtedness”), or
(c) Borrower will have paid or Lenders will have received by reason of any voluntary prepayment by
Borrower of any Note and/or the Related Indebtedness, then it is Borrower’s and Lenders’ express intent
that all amounts charged in excess of the Maximum Rate shall be automatically canceled, ab initio, and all
amounts in excess of the Maximum Rate theretofore collected by Lenders shall be credited on the principal
balance of any Note and/or the Related Indebtedness (or, if any Note and all Related Indebtedness have
been or would thereby be paid in full, refunded to Borrower), and the provisions of any Note and the other
Loan Documents shall immediately be deemed reformed and the amounts thereafter collectible hereunder
and thereunder reduced, without the necessity of the execution of any new document, so as to comply with
the applicable law, but so as to permit the recovery of the fullest amount otherwise called for hereunder and
thereunder; provided, however, if any Note or Related Indebtedness has been paid in full before the end of
the stated term thereof, then Borrower and Lenders agree that Lenders shall, with reasonable promptness
after Lenders discover or is advised by Borrower that interest was received in an amount in excess of the
Maximum Rate, either refund such excess interest to Borrower and/or credit such excess interest against
such Note and/or any Related Indebtedness then owing by Borrower to Lenders. Borrower hereby agrees
that as a condition precedent to any claim seeking usury penalties against Lenders, Borrower will provide
written notice to Lenders, advising Lenders in reasonable detail of the nature and amount of the violation,
and Lenders shall have sixty (60) days after receipt of such notice in which to correct such usury violation,
if any, by either refunding such excess interest to Borrower or crediting such excess interest against the
Note to which the alleged violation relates and/or the Related Indebtedness then owing by Borrower to
Lenders. All sums contracted for, charged, taken, reserved or received by Lenders for the use, forbearance
or detention of any debt evidenced by any Note and/or the Related Indebtedness shall, to the extent
permitted by applicable law, be amortized or spread, using the actuarial method, throughout the stated term
of such Note and/or the Related Indebtedness (including any and all renewal and extension periods) until
payment in full so that the rate or amount of interest on account of any Note and/or the Related Indebtedness
does not exceed the Maximum Rate from time to time in effect and applicable to such Note and/or the
Related Indebtedness for so long as debt is outstanding. In no event shall the provisions of Chapter 346 of
the Texas Finance Code (which regulates certain revolving credit loan accounts and revolving triparty
accounts) apply to this Note and/or any of the Related Indebtedness. Notwithstanding anything to the
contrary contained herein or in any of the other Loan Documents, it is not the intention of Lenders to
accelerate the maturity of any interest that has not accrued at the time of such acceleration or to collect
unearned interest at the time of such acceleration.

         Section 10.14 Ceiling Election. To the extent that Lenders are relying on Chapter 303 of the
Texas Finance Code to determine the Maximum Rate payable on any such Note and/or any other portion
of the Obligations, Lenders will utilize the weekly ceiling from time to time in effect as provided in such
Chapter 303. To the extent United States federal law permits Lenders to contract for, charge, take, receive
or reserve a greater amount of interest than under Texas law, Lenders will rely on United States federal law
instead of such Chapter 303 for the purpose of determining the Maximum Rate. Additionally, to the extent
permitted by applicable law now or hereafter in effect, Lenders may, at their option and from time to time,
utilize any other method of establishing the Maximum Rate under such Chapter 303 or under other
applicable law by giving notice, if required, to Borrower as provided by applicable law now or hereafter in
effect. For purposes of this Agreement, “Maximum Rate” means, at all times, the maximum rate of interest
which may be charged, contracted for, taken, received or reserved by Lenders in accordance with applicable


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Texas law (or applicable United States federal law to the extent that such law permits Lenders to charge,
contract for, receive or reserve a greater amount of interest than under Texas law). The Maximum Rate
shall be calculated in a manner that takes into account any and all fees, payments, and other charges in
respect of the Loan Documents that constitute interest under applicable law. Each change in any interest
rate provided for herein based upon the Maximum Rate resulting from a change in the Maximum Rate shall
take effect without notice to Borrower at the time of such change in the Maximum Rate.

        Section 10.15    Treatment of Certain Information; Confidentiality.

                  (a)     Each Credit Party agrees to maintain the confidentiality of the Information (as
defined below), except that Information may be disclosed (i) to its Affiliates and to its and its Affiliates’
respective partners, directors, officers, employees, agents, advisors and other representatives (it being
understood that the Persons to whom such disclosure is made will be informed of the confidential nature of
such Information and instructed to keep such Information confidential), (ii) to the extent requested by any
regulatory authority purporting to have jurisdiction over it (including any self-regulatory authority, such as
the National Association of Insurance Commissioners), (iii) to the extent required by applicable laws or
regulations or by any subpoena or similar legal process, (iv) to any other party hereto, (v) in connection
with the exercise of any remedies hereunder or under any other Loan Document or any action or proceeding
relating to this Credit Agreement or any other Loan Document or the enforcement of rights hereunder or
thereunder, (vi) subject to an agreement containing provisions substantially the same as those of this
Section, to (A) any assignee of or Participant in, or any prospective assignee of or Participant in, any of its
rights or obligations under this Credit Agreement or (B) any actual or prospective party (or its Related
Parties) to any swap, derivative or other transaction under which payments are to be made by reference to
the Borrower and its obligations, this Credit Agreement or payments hereunder, (vii) with the consent of
the Borrower, (viii) to any Person to whom a Lender pledges its rights under the Loan Documents in
accordance with Section 10.4(e), (ix) to any rating agency or (x) to the extent such Information (A) becomes
publicly available other than as a result of a breach of this Section or (B) becomes available to the
Administrative Agent, any Credit Party or any of their respective Affiliates on a non-confidential basis from
a source other than the Borrower or (C) is independently generated by the Administrative Agent, any Credit
Party or any of their respective Affiliates. In addition, the Administrative Agent and the Lenders may
disclose the existence of this Credit Agreement and information about this Credit Agreement to market data
collectors, similar service providers to the lending industry and service providers to the Administrative
Agent and the Lenders in connection with the administration of this Credit Agreement, the other Loan
Documents, and the Commitments. Notwithstanding the foregoing, any Credit Party may disclose such
information pertaining to this Credit Agreement and the Credit Facility as is routinely provided by arrangers
to data service providers, including league table providers, that serve the lending industry.

                 (b)      For purposes of this Section, “Information” means all information received from
any Loan Party or any of its Subsidiaries relating to any Loan Party or any of its Subsidiaries or any of their
respective businesses, other than any such information that is available to the Administrative Agent or any
other Credit Party on a non-confidential basis prior to disclosure by any Loan Party or any Subsidiary or
that is independently prepared by the Administrative Agent or any other Credit Party, provided that, in the
case of information received from any Loan Party or any of its Subsidiaries after the Agreement Date, such
information is clearly identified at the time of delivery as confidential. Any Person required to maintain
the confidentiality of Information as provided in this Section shall be considered to have complied with its
obligation to do so if such Person has exercised the same degree of care to maintain the confidentiality of
such Information as such Person would accord to its own confidential information. Notwithstanding
anything herein to the contrary, “Information” shall not include, and each Credit Party (and their Affiliates
and respective partners, directors, officers, employees, agents, advisors and representatives) may disclose
to any and all persons, without limitation of any kind, any information with respect to the U.S. federal
income tax treatment and U.S. federal income tax structure of the transactions contemplated hereby and all


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materials of any kind (including opinions or other tax analyses) that are provided to such Credit Party
relating to such tax treatment and tax structure.

                 (c)      The Loan Parties agree, on behalf of themselves and their Affiliates, that they will
not in the future issue any press releases or other public disclosure using the name of the Administrative
Agent or any Lender or their respective Affiliates or referring to this Credit Agreement or any of the other
Loan Documents without the prior written consent of such Person, unless (and only to the extent that) the
Loan Parties or such Affiliate is required to do so under law and then, in any event, the Loan Parties or such
Affiliate will consult with such Person before issuing such press release or other public disclosure.

                (d)     The Loan Parties consent to the publication by the Administrative Agent or any
Lender of customary advertising material relating to the Transactions using the name, product photographs,
logo or trademark of the Loan Parties.

         Section 10.16 USA PATRIOT Act Notice. Each Lender that is subject to the USA PATRIOT
Act and the Administrative Agent (for itself and not on behalf of any Lender) hereby notifies the Borrower
that pursuant to the requirements of the USA PATRIOT Act, it is required to obtain, verify and record
information that identifies each Loan Party, which information includes the name and address of each Loan
Party and other information that will allow such Lender or the Administrative Agent, as applicable, to
identify each Loan Party in accordance with the USA PATRIOT Act. The Borrower shall, and shall cause
each Loan Party and its Subsidiaries to, provide such information and take such actions as are reasonably
requested by the Administrative Agent or any Lender in order to assist the Administrative Agent and the
Lenders in maintaining compliance with the USA PATRIOT Act.

         Section 10.17 No Fiduciary Duty. Each Loan Party agrees that in connection with all aspects of
the transactions contemplated hereby and any communications in connection therewith, such Loan Party
and its Affiliates, on the one hand, and the Administrative Agent, the Lead Arranger, the Documentation
Agent, the Syndication Agent, the other Credit Parties and their respective Affiliates, on the other hand,
will have a business relationship that does not create, by implication or otherwise, any fiduciary duty on
the part of the Administrative Agent, the Lead Arranger, the Documentation Agent, the Syndication Agent,
the other Credit Parties or their respective Affiliates and no such duty will be deemed to have arisen in
connection with any such transactions or communications.

         Section 10.18 Acknowledgement and Consent to Bail-In of EEA Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement, arrangement
or understanding among any such parties, each party hereto acknowledges that any liability of any EEA
Financial Institution arising under any Loan Document, to the extent such liability is unsecured, may be
subject to the Write-Down and Conversion Powers of an EEA Resolution Authority and agrees and consents
to, and acknowledges and agrees to be bound by:

                (a)      the application of any Write-Down and Conversion Powers by an EEA Resolution
Authority to any such liabilities arising hereunder which may be payable to it by any party hereto that is an
EEA Financial Institution; and

                (b)      the effects of any Bail-in Action on any such liability, including, if applicable:

                         (i)     a reduction in full or in part or cancellation of any such liability;

                         (ii)   a conversion of all, or a portion of, such liability into shares or other
        instruments of ownership in such EEA Financial Institution, its parent undertaking, or a bridge
        institution that may be issued to it or otherwise conferred on it, and that such shares or other



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        instruments of ownership will be accepted by it in lieu of any rights with respect to any such liability
        under this Credit Agreement or any other Loan Document; or

                       (iii)  the variation of the terms of such liability in connection with the exercise
        of the Write-Down and Conversion Powers of any EEA Resolution Authority.

        Section 10.19    Certain ERISA Matters.

                (a)      Each Lender (x) represents and warrants, as of the date such Person became a
Lender party hereto, to, and (y) covenants, from the date such Person became a Lender party hereto to the
date such Person ceases being a Lender party hereto, for the benefit of, the Administrative Agent, the
Arranger and their respective Affiliates, and not, for the avoidance of doubt, to or for the benefit of the
Borrower or any other Loan Party, that at least one of the following is and will be true:

                        (i)      such Lender is not using “plan assets” (within the meaning of 29 CFR §
        2510.3-101, as modified by Section 3(42) of ERISA) of one or more Benefit Plans in connection
        with the Loans, the Letters of Credit or the Commitments,

                         (ii)    the transaction exemption set forth in one or more PTEs, such as PTE 84-
        14 (a class exemption for certain transactions determined by independent qualified professional
        asset managers), PTE 95-60 (a class exemption for certain transactions involving insurance
        company general accounts), PTE 90-1 (a class exemption for certain transactions involving
        insurance company pooled separate accounts), PTE 91-38 (a class exemption for certain
        transactions involving bank collective investment funds) or PTE 96-23 (a class exemption for
        certain transactions determined by in-house asset managers), is applicable with respect to such
        Lender's entrance into, participation in, administration of and performance of the Loans, the Letters
        of Credit, the Commitments and this Credit Agreement,

                          (iii)  (A) such Lender is an investment fund managed by a “Qualified
        Professional Asset Manager” (within the meaning of Part VI of PTE 84-14), (B) such Qualified
        Professional Asset Manager made the investment decision on behalf of such Lender to enter into,
        participate in, administer and perform the Loans, the Letters of Credit, the Commitments and this
        Credit Agreement, (C) the entrance into, participation in, administration of and performance of the
        Loans, the Letters of Credit, the Commitments and this Credit Agreement satisfies the requirements
        of sub-sections (b) through (g) of Part I of PTE 84-14 and (D) to the best knowledge of such Lender,
        the requirements of subsection (a) of Part I of PTE 84-14 are satisfied with respect to such Lender's
        entrance into, participation in, administration of and performance of the Loans, the Letters of
        Credit, the Commitments and this Credit Agreement, or

                       (iv)    such other representation, warranty and covenant as may be agreed in
        writing between the Administrative Agent, in its sole discretion, and such Lender.

                  (b)     In addition, unless sub-clause (i) in the immediately preceding clause (a) is true
with respect to a Lender or such Lender has not provided another representation, warranty and covenant as
provided in sub-clause (iv) in the immediately preceding clause (a), such Lender further (x) represents and
warrants, as of the date such Person became a Lender party hereto, to, and (y) covenants, from the date such
Person became a Lender party hereto to the date such Person ceases being a Lender party hereto, for the
benefit of, the Administrative Agent, the Arranger and their respective Affiliates, and not, for the avoidance
of doubt, to or for the benefit of the Borrower or any other Loan Party, that:




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                           (i)    none of the Administrative Agent or the Arranger or any of their respective
        Affiliates is a fiduciary with respect to the assets of such Lender (including in connection with the
        reservation or exercise of any rights by the Administrative Agent under this Credit Agreement, any
        Loan Document or any documents related to hereto or thereto),

                         (ii)    the Person making the investment decision on behalf of such Lender with
        respect to the entrance into, participation in, administration of and performance of the Loans, the
        Letters of Credit, the Commitments and this Credit Agreement is independent (within the meaning
        of 29 CFR § 2510.3-21) and is a bank, an insurance carrier, an investment adviser, a broker-dealer
        or other person that holds, or has under management or control, total assets of at least $50 million,
        in each case as described in 29 CFR § 2510.3-21(c)(1)(i)(A)-(E),

                         (iii)    the Person making the investment decision on behalf of such Lender with
        respect to the entrance into, participation in, administration of and performance of the Loans, the
        Letters of Credit, the Commitments and this Credit Agreement is capable of evaluating investment
        risks independently, both in general and with regard to particular transactions and investment
        strategies (including in respect of the Loan Document Obligations),

                         (iv)    the Person making the investment decision on behalf of such Lender with
        respect to the entrance into, participation in, administration of and performance of the Loans, the
        Letters of Credit, the Commitments and this Credit Agreement is a fiduciary under ERISA or the
        Code, or both, with respect to the Loans, the Letters of Credit, the Commitments and this Credit
        Agreement and is responsible for exercising independent judgment in evaluating the transactions
        hereunder, and

                        (v)     no fee or other compensation is being paid directly to the Administrative
        Agent or the Arranger or any their respective Affiliates for investment advice (as opposed to other
        services) in connection with the Loans, the Letters of Credit, the Commitments or this Credit
        Agreement.

                  (c)     The Administrative Agent and the Arranger hereby inform the Lenders that each
such Person is not undertaking to provide impartial investment advice, or to give advice in a fiduciary
capacity, in connection with the transactions contemplated hereby, and that such Person has a financial
interest in the transactions contemplated hereby in that such Person or an Affiliate thereof (i) may receive
interest or other payments with respect to the Loans, the Letters of Credit, the Commitments and this Credit
Agreement, (ii) may recognize a gain if it extended the Loans, the Letters of Credit or the Commitments
for an amount less than the amount being paid for an interest in the Loans, the Letters of Credit or the
Commitments by such Lender or (iii) may receive fees or other payments in connection with the transactions
contemplated hereby, the Loan Documents or otherwise, including structuring fees, commitment fees,
arrangement fees, facility fees, upfront fees, underwriting fees, ticking fees, agency fees, administrative
agent or collateral agent fees, utilization fees, minimum usage fees, letter of credit fees, fronting fees, deal-
away or alternate transaction fees, amendment fees, processing fees, term out premiums, banker's
acceptance fees, breakage or other early termination fees or fees similar to the foregoing.

         Section 10.20 Acknowledgment Regarding Any Supported QFCs. To the extent that the Loan
Documents provide support, through a guarantee or otherwise, for Swap Contracts or any other agreement
or instrument that is a QFC (such support, “QFC Credit Support” and each such QFC a “Supported QFC”),
the parties acknowledge and agree with respect to the resolution power of the Federal Deposit Insurance
Corporation under the Federal Deposit Insurance Act and Title II of the Dodd-Frank Wall Street Reform
and Consumer Protection Act (together with the regulations promulgated thereunder, the “U.S. Special
Resolution Regimes”) in respect of such Supported QFC and QFC Credit Support (with the provisions


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below applicable notwithstanding that the Loan Documents and any Supported QFC may in fact be stated
to be governed by the laws of the State of Texas and/or of the United States or any other state of the United
States), in the event that a Covered Entity that is party to a Supported QFC (each, a “Covered Party”)
becomes subject to a proceeding under a U.S. Special Resolution Regime, the transfer of such Supported
QFC and the benefit of such QFC Credit Support (and any interest and obligation in or under such Supported
QFC and such QFC Credit Support, and any rights in property securing such Supported QFC or such QFC
Credit Support) from such Covered Party will be effective to the same extent as the transfer would be
effective under the U.S. Special Resolution Regime if the Supported QFC and such QFC Credit Support
(and any such interest, obligation and rights in property) were governed by the laws of the United States or
a state of the United States. In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes
subject to a proceeding under a U.S. Special Resolution Regime, Default Rights under the Loan Documents
that might otherwise apply to such Supported QFC or any QFC Credit Support that may be exercised against
such Covered Party are permitted to be exercised to no greater extent than such Default Rights could be
exercised under the U.S. Special Resolution Regime if the Supported QFC and the Loan Documents were
governed by the laws of the United States or a state of the United States. Without limitation of the foregoing,
it is understood and agreed that rights and remedies of the parties with respect to a Defaulting Lender shall
in no event affect the rights of any Covered Party with respect to a Supported QFC or any QFC Credit
Support.

      Section 10.21 ENTIRE AGREEMENT. THIS CREDIT AGREEMENT AND THE OTHER
LOAN DOCUMENTS REFERRED TO HEREIN EMBODY THE FINAL, ENTIRE AGREEMENT
AMONG THE PARTIES HERETO WITH RESPECT TO THE SUBJECT MATTER HEREOF AND
THEREOF AND SUPERSEDE ANY AND ALL PRIOR COMMITMENTS, AGREEMENTS,
REPRESENTATIONS, AND UNDERSTANDINGS, WHETHER WRITTEN OR ORAL, RELATING
TO THE SUBJECT MATTER HEREOF AND THEREOF AND MAY NOT BE CONTRADICTED OR
VARIED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL
AGREEMENTS OR DISCUSSIONS OF THE PARTIES HERETO. THERE ARE NO ORAL
AGREEMENTS AMONG THE PARTIES HERETO.



                                          [Signature pages follow]




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   IN WITNESS WHEREOF, the parties hereto have caused this Credit Agree""""aA--+TT""1'1:J!P-l<l:uh,
   their respective authorized officers as of the day and year first above ·




                                                                      Manager




                                       Signature Page to Credit Agreement
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                                     BANCORPSOUTH BANK, as the Administrative
                                     Agent and a Lender



                                     By:

                                             Title:   Vice President




                         Signature Page to Credit Agreement
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                                       CENTURY BANK, as a Lender



                                       By:
                                       Name:
                                       Title:




                          Signature Page to Credit Agreement
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                                      SCHEDULE 1.1(a)
                                    APPROVED PROJECTS



                                         Project Name
 Anadarko
 Concord Energy
 Depcom – Richfield
 Devon Energy – Gillette
 Ecoplexus – Jamison Solar
 Endurance Lift Solutions, LLC
 Enhanced – Agua Verde, Big Bend, Orla, Overton, Santorini, Tonto
 EOG Resources Inc.
 Freestone Midstream
 HDDS
 JSI – Axial
 J-W Power Company
 MYR – Augusta, Baldwin, Harmony, Monmouth
 Narenco – Stanly Solar
 NNG – Gilmore City, Omaha
 PCL – Rayos Del Sol
 Rosendin Electric – Aktina, Todd
 Signal Energy – Aragorn, Noble, Titan
 United Renewable Energy – Pinson




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                              SCHEDULE 1.1(b)
            SPECIFIC EXCLUSIONS FROM MATERIAL OWNED PROPERTY


         Material Owned Real Property                           Address
 Office/Shop                                 915 N. 4 Street, Douglas, WY 82633
                                                    th




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                                       SCHEDULE 1.1(c)
                                   MORTGAGE REQUIREMENT

        “Mortgage Requirement” means, at any time, the requirement that, with respect to each Material
Owned Real Property, the Administrative Agent shall have received the following, each in form and
substance satisfactory to the Administrative Agent:

                (a)      a Mortgage with respect to such Material Owned Real Property duly executed and
delivered by the record owner of such Material Owned Real Property;

                (b)     an appraisal with respect to such Material Owned Real Property;

                (c)     a survey with respect to such Material Owned Real Property;

                (d)      a title insurance policy (including any endorsements thereto) and appropriate lien
searches with respect to such Material Owned Real Property;

                (e)     with respect to such Material Owned Real Property: environmental reports, audits
and analyses (whether produced by any Loan Party or its Subsidiaries or any third party or Governmental
Authority) and Phase I or Phase II reports;

               (f)     with respect to such Material Owned Real Property not located in a Flood Zone, a
completed Flood Certificate from a third party vendor in compliance with the Flood Program;

                (g)     with respect to any portion such Material Owned Real Property that is located in a
Flood Zone:

                        (i)     a completed Flood Certificate from a third party vendor in compliance
        with the Flood Program,

                          (ii)    written acknowledgement from the Borrower that it received notification
        from the Administrative Agent that such Material Owned Real Property is located within a Flood
        Zone and indicating whether the community in which such Material Owned Real Property is
        located is participating in the Flood Program;

                         (iii)   if such Material Owned Real Property is located in a community
        participating in the Flood Program, evidence that the Borrower has complied with the insurance
        requirements set forth in Section 6.10 of the Credit Agreement;

                      (iv)     such additional coverage as required by Administrative Agent, if any,
        under supplemental private insurance policies in an amount so required by the Administrative
        Agent;

                (h)     evidence of earthquake insurance with respect to such Material Owned Real
Property; and

                (i)     legal opinions with respect to such Mortgage and related matters.




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                                SCHEDULE 2.1

                               COMMITMENTS

          Lender              Revolving Commitment        Total Commitments

     BancorpSouth Bank           $20,000,000.00             $20,000,000.00

        Century Bank             $14,000,000.00             $14,000,000.00




                                   Schedules
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                                        SCHEDULE 5.13

                              SUBSIDIARIES; EQUITY INTERESTS


   (a) Name & Jurisdiction of     (b) Ownership Interest of each     (c) Identify each Person the
         Organization or             Loan Party & Respective        Equity Interests of Which are
  Incorporation; Identify each         Subsidiaries in each         Required to be Pledged on the
   Subsidiary of the Borrower         Respective Subsidiary,                 Closing Date
 that is an Excluded Subsidiary    Including Percentage (%) of
                                            Ownership
 Bighorn Sand & Gravel, LLC       100% owned by Bighorn             N/A
 (Delaware)                       Construction and Reclamation,
                                  LLC




                                            Schedules
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                                      SCHEDULE 5.14

                                       INSURANCE

                                                                                   Coverage
  Name of Carrier     Policy Number     Expiration Dates   Insurance Type
                                                                                   Amount
 Everest National    EN6GL00066211      4/19/2022          CGL                 $1,000,000 each
 Insurance Company                                                             occurrence /
                                                                               $2,000,000
                                                                               aggregate

 Everest National    EN6CA00099211      4/19/2022          Auto Liability      $1,000,000 each
 Insurance Company                                                             accident

 Everest National    EN6EX00055211      4/19/2022          Excess Liability    $10,000,000
 Insurance Company


 Everest Premier     EN6WC00108211      4/19/2022          Workers Comp.       Statutory /
 Insurance Company                                         & Employers’        $1,000,000
                                                           Liability

 Everest Indemnity   IM8ML00126211      4/19/2022          Cargo               $250,000 each
 Insurance Company                                                             conveyance


 Everest Indemnity   IM8ML00126211      4/19/2022          Blanket Building    $2,387,500 /
 Insurance Company                                         / Business          $700,000
                                                           Personal Property
 Everest Indemnity   IM8ML00126211      4/19/2022          Equipment           $16,231,746
 Insurance Company                                         Floater




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                                      SCHEDULE 5.16(a)

                                    UCC FILING OFFICES

                     Debtor                                         Filing Jurisdiction
 Bridgelink Engineering LLC                         Secretary of State of the State of Delaware
 Bighorn Construction and Reclamation L.L.C.        Secretary of State of the State of Wyoming
 Bighorn Sand & Gravel LLC                          Secretary of State of the State of Delaware
 Bighorn Investments and Properties, LLC            Secretary of State of the State of Wyoming




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                                       SCHEDULE 5.16(b)

                                MORTGAGE FILING OFFICES

               Mortgagor/Grantor                          Filing Jurisdiction
 Bighorn Investments and Properties, LLC        Wyoming




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                                        SCHEDULE 5.19

                         MATERIAL OWNED REAL PROPERTY

         Material Owned Real Property                               Address
 Office/Shop                                   915 N. 4th Street, Douglas, WY 82633




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                                         SCHEDULE 5.27

                                     CAPITALIZATION


       Party              Equity Holder          Ownership Percentage         Statement of
                                                 (%) of Equity Holder    Authorized and Issued
                                                                             Equity Interests
 Bridgelink                                                             100% of membership
                       Cole W. Johnson           80%
 Engineering LLC                                                        interests have been
                       Cord H. Johnson           20%
 (Borrower)                                                             authorized and issued
 Bighorn
                                                                        100% of membership
 Construction and      Cole W. Johnson           80%
                                                                        interests have been
 Reclamation, LLC      Cord H. Johnson           20%
                                                                        authorized and issued
 (Guarantor)
 Bighorn Investments                                                    100% of membership
                       Cole W. Johnson           80%
 and Properties, LLC                                                    interests have been
                       Cord H. Johnson           20%
 (Guarantor)                                                            authorized and issued
 Bighorn Sand &                                                         100% of membership
                       Bighorn Construction
 Gravel LLC                                      100%                   interests have been
                       and Reclamation, LLC
 (Guarantor)                                                            authorized and issued




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                                            SCHEDULE 5.28

                                    AFFILIATE TRANSACTIONS

1. None, other than as permitted under clause (iii) of Section 7.9.




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                                        SCHEDULE 5.29

                                   MATERIAL CONTRACTS

                                Project Name                                        Status
 Anadarko                                                                           Active
 Bridgelink Cave Springs, LLC – Christoval                                          Active
 Concord Energy                                                                     Active
 Depcom – Richfield                                                                 Active
 Devon Energy – Gillette                                                            Active
 Ecoplexus – Jamison Solar                                                          Active
 Endurance Lift Solutions, LLC                                                      Active
 Enhanced – Agua Verde, Big Bend, Orla, Overton, Santorini, Tonto                   Active
 EOG Resources Inc.                                                                 Active
 Freestone Midstream                                                                Active
 HDDS                                                                               Active
 JSI – Axial                                                                        Active
 J-W Power Company                                                                  Active
 Narenco – Stanly                                                                   Active
 NNG – Gilmore City, Omaha                                                          Active
 PCL – Rayos Del Sol                                                                Active
 Rosendin Electric – Aktina                                                         Active
 Signal Energy – Aragorn, Noble, Titan                                              Active
 United Renewable Energy – Pinson                                                   Active
 RES – Aurora                                                                       Active
 Signal – Aragorn (Mechanical)                                                 Awarded Contracts
 Narenco – Stanly (Electrical)                                                 Awarded Contracts
 Orbital – Blackbear                                                           Awarded Contracts
 AEP – Prairie Hills, Flatridge                                                 Bidding Process
 Borea – Ball Hill Wind Farm Access Roads                                       Bidding Process
 Ecoplexus – Olin Creek, Westminster                                            Bidding Process
 JSI – Dolores Canyon, Spanish Peaks                                            Bidding Process
 Mortenson – San Juan Solar                                                     Bidding Process
 MYR – Days Corner, Vassalboro                                                  Bidding Process
 Orbital – Happy Solar                                                          Bidding Process
 Rosendin – Roseland Civil                                                      Bidding Process
 Signal – Gerdau, Mulligan                                                      Bidding Process
 Shell – Brazos Wind                                                            Bidding Process
 Sunpin – Vega, Staley                                                          Bidding Process
 Wood – NV Gold TS Solar, Pecan Prairie North and South Solar                   Bidding Process




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                                                 SCHEDULE 7.1

                                           EXISTING INDEBTEDNESS

   1. Main Street Loan: Bighorn Construction and Reclamation, LLC entered in to a Loan Agreement with
      Vista Bank dated on or about August 21, 2020.

   2. Equipment Financing: The follow equipment is subject to Indebtedness:

Asset       No.      Year      Make                   Model                    Identifier              Lender
                                               GU713 w/Headrack &
                                                                                               777 Equipment Finance
A102       S-74      2014      Mack            FETC 25 Ton Bed &          1M2AX04C4EM019098
                                                                                                 (Prev Advantage)
                                                    Winches
A106     BCR0265            John Deere          772D Motor Grader           1DW772DX620265            Ag Direct
A110       U-75      2017      Dodge             Ram 3500 Flatbed         3C7WRTCL5HG500835         Ally Financial
A112       U-84      2018    Chevrolet               Suburban             1GNSKJKC7JR295733         Ally Financial
A113       U-67      2018    Chevrolet             Silverado 2500         1GC1KWEY8JF263092         Ally Financial
A114       U-58      2018       Ford             F150 Pickup Truck         1FTFW1E56JFE79123        Ally Financial
A115       U-57      2018       Ford             F150 Pickup Truck         1FTFW1E51JFE79126        Ally Financial
A116       U-59      2018       Ford             F150 Pickup Truck         1FTFW1E58JFE79124        Ally Financial
A117       U-66      2018      GMC              Sierra Pickup Truck        1GT12TEY6JF257404        Ally Financial
A118       U-08      2018      Dodge          Ram 3500 Pickup Truck       3C7WRTCL4JG188805         Ally Financial
A390       S-90      2012   International        7400 Bucket Truck        1HTWJAAT3CJ535119         Altec Capital
A391       S-91      2013   International        7400 Bucket Truck        1HTWJAAT0DJ152658         Altec Capital
A105      BCR487     1998    Caterpillar        627F Motor Scraper             1DL00487           Ascentium Capital
A121       U-09      2019       Ford            F350 Pickup Truck         1FT8W3BT7KEC12071       Bank of the West
                                             Durastar-Series 4300 SBA
A122.1     S-67      2018   International                                 3HAMMMML5JL695318    BMO Transport Financial
                                                        4x2
                                             Durastar-Series 4300 SBA
A122.2     S-68      2018   International                                 3HAMMMML3JL695317    BMO Transport Financial
                                                        4x2
                                             Durastar-Series 4300 SBA
A126       S-71      2018   International                                 3HAMMMML8JL498160    BMO Transport Financial
                                                        4x2
                                             Durastar-Series 4300 SBA
A200       S-69      2013   International                                 3HAMMAAL1DL175995    BMO Transport Financial
                                                        4x2
                                               279D Compact Track                                Caterpillar Financial
A127      BCR120     2018    Caterpillar                                  CAT0279DJGTL06120
                                                      Loader                                           Services
                                                                                                 Caterpillar Financial
A130      BCR045     2014    Caterpillar      420FIT Backhoe Loader       CAT0420FKJWJ02045
                                                                                                       Services
                                                                                                 Caterpillar Financial
A197.1     6001      2012    Caterpillar        Motor Grader 140M2             M9D00895
                                                                                                       Services
                                                                                                 Caterpillar Financial
A197.2    BCR017     2015    Caterpillar    Vibratory Compactor CS56B     CATCS56BVL8H01017
                                                                                                       Services
                                                420F2IT BACKHOE                                  Caterpillar Financial
A209      BCR610     2014    Caterpillar                                  CAT0420FVJWJ00610
                                                    LOADER                                             Services
                                                                                                 Caterpillar Financial
A210     BCR2041             Caterpillar       TL1255D Telehandler            OML702041
                                                                                                       Services
                                                                                                 Caterpillar Financial
A211     BCR5665               Genie             S65XCV1 Manlift             S65XCH-45665
                                                                                                       Services
A139       U-78      2018       Jeep              Grand Cherokee           1C4RJFCT9JC499622      Chrysler Capital
                                                                                                  Commercial Fleet
A140.1     S-72      2012   International    TerraStar with Altec AT37G    1HTJSSKK8CJ655002
                                                                                                   Financing/CIT
                                                                                                  Commercial Fleet
A140.2     S-73      2012   International    TerraStar with Altec AT37G    1HTJSSKK3CJ654985
                                                                                                   Financing/CIT



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                                                                                            Commercial Fleet
A141.1    BCR400    2018   Haybuster        2100 Bale Processor          2117112400
                                                                                             Financing/CIT
                                                                                            Commercial Fleet
A142.1    BCR000    2018   Haybuster        2100 Bale Processor          2117113000
                                                                                             Financing/CIT
                                                                                            Commercial Fleet
A142.2    BCR900    2018   Haybuster        2100 Bale Processor          2117112900
                                                                                             Financing/CIT
                                                                                            Commercial Fleet
A142.3    BCRX46    2018    Wishek              Straw Press           LGCW005POJX46
                                                                                             Financing/CIT
                                                                                            Commercial Fleet
A142.4    BCR172    2018    K-Line             10' Speedtiller          2935D182172
                                                                                             Financing/CIT
                                                                                            Commercial Fleet
A142.5    BCR173B   2018    K-Line             16' Speedtiller          2935D182173
                                                                                             Financing/CIT
                                           Trucks and Equipment
A194.10                     Various                                        CCB1           Converse County Bank
                                                 (Various)
A194.8    BCR778    1991   Caterpillar   D8N Crawler Tractor Dozer       9TC03778         Converse County Bank
                                                                                         De Lage Landen Financial
A101.1    BCR783    2018     Genie         GTH-1056 Telehandler        GTH10E-12783
                                                                                                 Services
                                                                                         De Lage Landen Financial
A101.2    BCR2769   2018     Genie         GTH-1056 Telehandler        GTH10E-12769
                                                                                                 Services
 A415      U-500    2020      Ford             F-250 Pickup          1FT7W2B62LED07459          Enterprise
 A416      U-501    2020      Ford             F-250 Pickup          1FT7W2B6XLED07452          Enterprise
 A417      U-502    2020      Ford             F-250 Pickup          1FT7W2B64LED07463          Enterprise
 A418      U-503    2020      Ford             F-250 Pickup          1FT7W2B66LED07464          Enterprise
 A419      U-504    2020      Ford             F-250 Pickup          1FT7W2B67LED07456          Enterprise
 A420      U-505    2020      Ford             F-250 Pickup          1FT7W2B69LED07474          Enterprise
 A421      U-506    2020      Ford             F-250 Pickup          1FT7W2B68LED07451          Enterprise
 A422      U-507    2020      Ford             F-250 Pickup          1FT7W2B63LED07471          Enterprise
 A423      U-508    2020      Ford             F-250 Pickup          1FT7W2B63LED07454          Enterprise
 A424      U-509    2020      Ford             F-250 Pickup          1FT7W2B65LED07472          Enterprise
 A425      U-510    2020      Ford             F-250 Pickup          1FT7W2B61LED07467          Enterprise
 A426      U-511    2020      Ford             F-250 Pickup          1FT7W2B65LED07469          Enterprise
 A427      U-512    2020      Ford             F-250 Pickup          1FT7W2B69LED07460          Enterprise
 A428      U-513    2020      Ford             F-250 Pickup          1FT7W2B69LED07457          Enterprise
 A429      U-514    2020      Ford           F-250 XLT Pickup        1FT7W2B6XLED36689          Enterprise
 A430      U-515    2020      Ford           F-250 XLT Pickup        1FT7W2B64LED36686          Enterprise
 A431      U-516    2020      Ford           F-250 XLT Pickup        1FT7W2B62LED36685          Enterprise
 A432      U-517    2020      Ford             F-150 Pickup          1FTEW1EP0LKF04590          Enterprise
 A433      U-518    2020      Ford             F-150 Pickup          1FTEW1EP4LKF04592          Enterprise
 A434      U-519    2020      Ford             F-150 Pickup          1FTEW1EP4LKF04589          Enterprise
 A435      U-520    2020      Ford             F-150 Pickup          IFTEW1EP2LKF04591          Enterprise
 A436      U-521    2020      Ford             F-150 Pickup          1FTEW1EP6LKF04593          Enterprise
 A437      U-522    2020      Ford             F-150 Pickup          1FTEW1EP0LKF18957          Enterprise
 A438      U-523    2020      Ford             F-150 Pickup          1FTEW1EP4LKF04608          Enterprise
 A439      U-524    2020      Ford             F-150 Pickup          1FTEW1EP9LKF18956          Enterprise
 A440      U-525    2020      Ford             F-250 Pickup          1FT7W2B65LED06662          Enterprise
 A441      U-526    2020      Ford             F-250 Pickup          1FT7W2B67LED06663          Enterprise
 A442      U-527    2020      Ford             F-250 Pickup          1FT7W2B69LED06664          Enterprise
 A443      U-528    2020      Ford             F-250 Pickup          1FT7W2B60LED06665          Enterprise




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A444      U-529    2020       Ford              F-250 Pickup          1FT7W2B62LED06666         Enterprise
A445      U-530    2020       Ford              F-250 Pickup          1FT7W2B64LED06667         Enterprise
A446      U-531    2020       Ford              F-250 Pickup          1FT7W2B66LED06668         Enterprise
A447      U-532    2020       Ford              F-150 Pickup          1FTEW1EP7LKF18955         Enterprise
A448      U-533    2020       Ford              F-150 Pickup          1FTEW1EP5LKF18954         Enterprise
A144      U-70     2019       Ford                Explorer            1FM5K8GT7KGA41102     Ford Motor Credit
                                          F250 XL 4WD SuperCab 8'
A145.1    U-44     2019       Ford                                    1FT7X2B66KEC45737     Ford Motor Credit
                                                    Box
                                          F250 XL 4WD SuperCab 8'
A145.2    U-62     2019       Ford                                    1FT7X2B61KEC42597     Ford Motor Credit
                                                    Box
                                          F250 XL 4WD SuperCab 8'
A145.3    U-61     2019       Ford                                    1FT7X2B64KEC45736     Ford Motor Credit
                                                    Box
A146      U-07     2019       Ford           F350 Pickup Truck        1FT8W3BT4KEC50373     Ford Motor Credit
A207      U-82     2019       Ford            F350 Pickup Truck       1FT8W3DTXKEG42030     Ford Motor Credit
A208      U-83     2019       Ford            F350 Pickup Truck       1FD8W3HT3KEG42036     Ford Motor Credit
A104      U-69     2018    Chevrolet                Tahoe             1GNSCCKC4JR298484       GM Financial
A383      S-82     2009   International       8600 Water Truck        1HSHWAHN99J115220       JB&B Capital
A384      S-83     2009   International       8600 Water Truck        1HSHWAHN9H130830        JB&B Capital
A386      S-85     2006   International       8600 Water Truck        1HSHWAHN76J257528       JB&B Capital
A388      S-87     2009     Peterbilt          384 Water Truck        1NPVLU9X99D786822       JB&B Capital
A150.1   BCR062           John Deere          210GLC Excavator        1FF210GXEGF524062    John Deere Financial
A150.2   BCR046             Hitachi         ZX2140CS6 Excavator       1FFDC571KGF340046    John Deere Financial
A150.3   BCR3043          John Deere        410L Backhoe Loader       1T0410LXCGF293043    John Deere Financial
A150.4   BCR907           John Deere        310SL Backhoe Loader       1T0310SLJJF328907   John Deere Financial
A151.1   BCR559b   2018   John Deere      323E Compact Track Loader    1T0323EKAJJ326559   John Deere Financial
A151.2   BCR770    2018   John Deere        332G Skid Steer Loader    1T0332GKAHF314770    John Deere Financial
A151.3   BCR580    2018   John Deere        324E Skid Steer Loader     1T0324EKTJJ327580   John Deere Financial
A151.4   BCR256    2018   John Deere        324E Skid Steer Loader    1T0324EKKHJ306256    John Deere Financial
A151.5   BCR937    2018   John Deere        324E Skid Steer Loader    1T0324EKKHJ321937    John Deere Financial
A152.1   BCR393    2018   John Deere        6150 Row Crop Tractor     1RW6150RKDA007393    John Deere Financial
A152.2   BCR785    2018   John Deere        6150 Row Crop Tractor     1RW6150RPCA005785    John Deere Financial
A152.3   BCR604    2018   John Deere          H360 Farm Loader        1P0H360XLDC005604    John Deere Financial
A153.1   BCR511           John Deere         772GP Motor Grader       1DW772GPTFF667511    John Deere Financial
A153.2   BCR530           John Deere        410K Loader Backhoe       1T0410KXAEE273530    John Deere Financial
A153.3   BCR121           John Deere        410K Loader Backhoe       1T0410KXAEE261121    John Deere Financial
A153.4   BCR6173   2014       JLG             G1255 Telehandler            160056173       John Deere Financial
A153.5   BCR377           John Deere           324E Skid Steer        1T0324EKCHJ320377    John Deere Financial
A153.6   BCR796           John Deere        320E Skid Steer Loader    1T0320EKKFJ284796    John Deere Financial
A154.1   BCR205    2015   John Deere        6155 Row Crop Tractor     1L06155MTKK929205    John Deere Financial
A154.2   BCR652    2015   John Deere        6145 Row Crop Tractor     1L06145MCJG907652    John Deere Financial
A154.3   BCR559           John Deere        6155 Row Crop Tractor     1L06155MCKK928559    John Deere Financial
A154.4   BCR714           John Deere             640R Loader          1P0640RXCJC007714    John Deere Financial
A154.5   BCR083           John Deere             640R Loader          1P0640RXHJC008083    John Deere Financial
A154.6   BCR806           John Deere             640R Loader          1P0640RXLJC007806    John Deere Financial
A155.1    4001     2016   John Deere          300GLC Excavator        1FF300GXCFF730142    John Deere Financial




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A155.2    BCR093            John Deere        772G Motor Grader        1DW772GXCGF674093    John Deere Financial
                                              310S Wheel Loader
A155.3     3001      2015   John Deere                                 1T0310SLCHF317376    John Deere Financial
                                                   Backhoe
A156.1    BCR208     2019   John Deere       410L Backhoe Loader       1T0410LXKKF348208    John Deere Financial
A156.2    BCR391     2018   John Deere      310SL Backhoe Loader        1T0310SLLJF327391   John Deere Financial
A156.3    BCR748     2018   John Deere      310SL Backhoe Loader       1T0310SLTKF348748    John Deere Financial
A156.4    BCR257     2018   John Deere      310SL Backhoe Loader        1T0310SLVJF327257   John Deere Financial
A156.5    BCR149     2019   John Deere      310SL Backhoe Loader        1T0310SLVJF343149   John Deere Financial
A156.6    BCR786     2019   John Deere       410L Backhoe Loader       1T0410LXAJF339786    John Deere Financial
A157.1    BCR213     2019   John Deere          210G Excavator         1FF210GXHKF527213    John Deere Financial
A157.2    BCR522     2015   John Deere      310SL Backhoe Loader       1T0310SLCFF280522    John Deere Financial
A157.3    BCR615     2019   John Deere      310SL Backhoe Loader       1T0310SLPKF350615    John Deere Financial
A158      BCR439     2015   John Deere          210G Excavator         1FF210GXLFF523439    John Deere Financial
A159      BCR043     2016   John Deere        210GLC Excavator         1FF210GXJHF525043    John Deere Financial
A160      BCR890     2015   John Deere      310SL Backhoe Loader       1T0310SLLFF284890    John Deere Financial
A161      BCR085            John Deere       410L Backhoe Loader       1T0410LXKFF282085    John Deere Financial
A163      BCR519            John Deere       410L Backhoe Loader       1T0410LXAFF280519    John Deere Financial
A166      BCR450     2017   John Deere        772G Motor Grader        1DW772GPKGF678450    John Deere Financial
A201       8032      2013   Great Plains     1006NT No Till Drill           W124669A        John Deere Financial
         BCR9786.1
A212.1                      John Deere        850L Crawler Dozer       1T0850LXLKF359786    John Deere Financial
           & .2
A212.2     5002             John Deere       700K Crawler Dozer        1T0700KXEEE275380    John Deere Financial
A212.3   BCR7252            John Deere        850L Crawler Dozer       1T0850LXTKF357252    John Deere Financial
                                             333G Compact Track
A213     BCR2327            John Deere                                 1T0333GMVLF372327    John Deere Financial
                                                     Loader
A167      BCR337     2013      Sakai       Sakai Rollers SV510TB-III       VSV2110337        Komatsu Financial
A168       5001              Komatsu       Crawler Dozer D61PXi-24     KMT0D129CGBB60159     Komatsu Financial
A169      BCR199     2016    Komatsu       Crawler Dozer D61PXi-24           B60199          Komatsu Financial
                                           Twin Antenna Kit w/MCR3
A202       8126      2019     Topcon                                       1446-00793        Komatsu Financial
                                                     Dual
A214       63758             Komatsu             PC210LC-11            KMTPC257CJTC80725     Komatsu Financial
A215       63845             Komatsu             PC210LC-11            KMTPC257HKTC80831     Komatsu Financial
A216       64026             Komatsu             PC290LC-11            KMTPC255CKK73141      Komatsu Financial
A217       63913             Komatsu             PC210LC-11            KMTPC257HKTC80974     Komatsu Financial
A218       63672             Komatsu             PC290LC-11            KMTPC255KJKK73059     Komatsu Financial
A223     BCR5131     2019    Komatsu           PC290 Excavator                35131          Komatsu Financial
A224     BCR0242     2014      Sakai        SV540T Pad Foot Roller         3SV53-10242       Komatsu Financial
A225       7002                Sakai        SV540T Pad Foot Roller         3SV53-10484       Komatsu Financial
A226     BCR7212     2019    Komatsu           PC360 Excavator               A37212          Komatsu Financial
A227     BCR3199     2019    Komatsu           PC290 Excavator               K73199          Komatsu Financial
A228     BCR5127     2019    Komatsu           PC290 Excavator         KMTPC255JKCO35127     Komatsu Financial
A229     BCR0251               Sakai        SV510 Pad Foot Roller         VSV21-10251        Komatsu Financial
A230     BCR3498     2017     Xtreme         XR1045 Telehandler         XR104511170393498    Komatsu Financial
A172.1    BCR793     2019     K-Line              Speedtiller              2930D171793       Northland Capital
A302       8031      2012     Frontier       DH1612 Disk Harrow          Unk - DUPE????     NOT - Utica Leaseco
A198      BCR466     1997   Caterpillar       627F Motor Scraper            1DL00466          Tandem Finance



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A173      U-02     2017     Dodge                 Ram 4500               3C7WRLELXHG617131    TD Auto Finance
A174      S-78     2012   Western Star    4900 SA OTR HH Tractor         5KKHALBG0CPBJ4069      TransLease
A175      T-43     2013      Scona             Low Boy Trailer           53UL06053DHB20910      TransLease
A181      T-63     2019     Big Tex      Gooseneck Utility Trailer 35'   16VGX3522K6010510      TransLease
A182.1    T-32     2019     Big Tex           Gooseneck Trailer          16VGX3523K6096538      TransLease
A182.2    T-33     2019     Big Tex           Gooseneck Trailer          16VGX3521K6096540      TransLease
A182.3    T-31     2019     Big Tex           Gooseneck Trailer          16VGX3520K6096545      TransLease
A183.1    T-85     2019   Cargo Mate           Enclosed Trailer          49TCB1427K1027965      TransLease
A183.2    T-86     2019     Big Tex           Gooseneck Trailer          16VGX3526K6092502      TransLease
A184      T-62     2019     Dorsey            48' Flatbed Trailer        5JYFB4825KED13122      TransLease
                            Eager
A185      T-44     2019                  Detachable Low Boy Trailer      112SD5536KL083399      TransLease
                            Beaver
                                         Ford F250 XL 4x4 SD Crew
A186.1    U-63     2019      Ford                                        1FT7X2B68KED37223      TransLease
                                                    Cab
                                         Ford F250 XL 4x4 SD Crew
A186.2    U-64     2019      Ford                                        1FT7X2B63KEC42598      TransLease
                                                    Cab
                           PJ Trailer      35' Tandem Dual Deck
A187.2    T-01     2019                                                   4P5FD3627K1302087     TransLease
                           Mfg. Co.              Gooseneck
A188.1    T-76     2019    Haulmark      Haulmark Trailer TS8524T3       7KD1E2421KU001130      TransLease
A188.2    T-75     2019    Haulmark      Haulmark Trailer TS8524T3       7KD1E2420KU001135      TransLease
A189      T-70     2019        Jet                53' Trailer            5JNDS5320KH000511      TransLease
A190      T-79     2019    Poly Real     Gooseneck Poly Pipe Trailer      4T93R1250KP083760     TransLease
A191      T-78     2019    Poly Real     Gooseneck Poly Pipe Trailer      4T93R1522KP083761     TransLease
A192.2    T-04     2019     Big Tex        14' Utility Dump Trailer      16VDX1423K5063375      TransLease
A381      S-79     2015     Peterbilt          389 HH Tractor            1XPXP4EX2FD269088      TransLease
                            Thunder
A394      T-103    2020                      FST990 Fuel Trailer         56ZL1UG20LP000709      Translease
                             Creek
                            Thunder
A395      T-104    2020                      FST990 Fuel Trailer         56ZL1UG28LP000182      Translease
                             Creek
A413      T-99     2020     Liddell         C-55F Lowboy Trailer          1L94L5331LB564068     Translease
 A449     T-107    2020     Liddell      C-55 Tag Axle Dolly Trailer      1L94L0516LB564040     Translease
 A450
          S-77     2015    Kenworth             T800 Tractor             1XKDDP9X3FJ423631      Translease
(A178)
A1007     8033     2013   Great Plains         1006NT Seeder                 GP-3009XX         Utica Leaseco
A1008     8112     2017   Great Plains   3PNG15-2475 Drill Seeder             GPA1214D         Utica Leaseco
A231      8017              Danuser       SM40 Hammer w/Grapple                 3026           Utica Leaseco
A232     BCR1328   2015     Kubota                M126GX                        51328          Utica Leaseco
A233      8037     2018     Legend       33088-C12 Skidsteer Mower             101525          Utica Leaseco
A234      8038              Legend           786 Skidsteer Mower               105292          Utica Leaseco
                                         3500 PSI Portable Hot Water
A235      8092     2018     Alkota                                             294697          Utica Leaseco
                                               Pressure Washer
A236      8121     2018     Warne           Skid Mounted Sprayer               403346          Utica Leaseco
                                            82" Skidsteer Skeleton
A237      8008     2018     Paladin                                            526600          Utica Leaseco
                                                    Bucket
A238      T-24     2011     Menard          500 BBL Frac Trailer              10111663         Utica Leaseco
A239      T-23     2011     Menard        500 BBL Frac Frac Trailer           10111667         Utica Leaseco
A240      T-29     2011     Menard          500 BBL Frac Trailer              11111675         Utica Leaseco
                            Hot &          HDS35061HG 3500 PSI
A241      8099     2014                                                       15085039         Utica Leaseco
                            Mighty            Pressure Washer



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A242    8101             Haybuster            2100 Haybuster              2117112600       Utica Leaseco
                         Allmand          Night Light Pro Portable
A243    8119     2006                                                     0117PRO06        Utica Leaseco
                           Bros                 Light Tower
                                         1425 SS 3000 Psi Pressure
A244    8106               Hotsy                                        11095900-161028    Utica Leaseco
                                                  Washer
                                        1260SSF 3000 PSI Pressure
A245    8115     2019      Hotsy                                        11105350-163173    Utica Leaseco
                                                  Washer
A246     T-28    2011     Menard           500 BBL Frac Trailer            11111687        Utica Leaseco
A247     637     2010       Park        GN116 Gooseneck Trailer       13ZGN1626A1000637    Utica Leaseco
                                         14TL-20BK Gooseneck
A248     T-89    2019     Big Tex                                     16VEX2023L4035910    Utica Leaseco
                                                 Trailer
A249     T-50    2019     Big Tex            20' EQ Trailer           16VEX202XK2015602    Utica Leaseco
A250     T-92    2019     Big Tex       14-20BK Gooseneck Trailer     16VFX2025L4045942    Utica Leaseco
A251     T-66    2018      Texas              Bragg Trailer            17XFP2025J1081834   Utica Leaseco
A252   BCR688               Case              3909 Discbine                 181688         Utica Leaseco
A253     S-89    2002   Freightliner              FL80                1FVABXAK62HJ26654    Utica Leaseco
A254     T-38    2013      Tank              SEQTR Trailer            1G9VT4026DH018618    Utica Leaseco
A255     T-36    2011      Galye           130 BBL Vac Trailer        1G9VT4029BH017802    Utica Leaseco
A256     S-55    2001      Mack            RD688S OTR Truck           1M2P267CX1M060515    Utica Leaseco
A257   BCR3783   2014   John Deere       320E Skid Steer Loader        1T0320EKPEJ263783   Utica Leaseco
A258     S-59    2005    Kenworth           T600 OTR Truck            1XKADU9X65R091542    Utica Leaseco
A259    S-800    2000     Peterbilt                379                1XP5DB9X4YN534458    Utica Leaseco
A260     S-53    1999     Peterbilt          378 OTR Truck            1XPFPBEX2YN508135    Utica Leaseco
A261   BCR550            Drua Tech           2650 Haybuster               2615799850       Utica Leaseco
A262   BCR650            Haybuster         2650 Bale Processor            26DJ078650       Utica Leaseco
A263    8051               Traux             12' Drill Seeder                2976          Utica Leaseco
A264     S-80    2009     Peterbilt                335                2NPLHN7X09M787403    Utica Leaseco
A265    U-60     2012      Dodge               5500 4X4 M             3C7WDNBL6CG112310    Utica Leaseco
A266     S-65    2012   International      ProStar OTR Truck          3HSDJSJR9CN652027    Utica Leaseco
                        SCHMEISE
A267   BCR218    2018                     VR327P Deep Ripper              3PVR 212-18      Utica Leaseco
                              R
A268    T-100    2019    Cargo Mate      CMC5240 Cargo Trailer        49TCB1627K1029227    Utica Leaseco
A269     T-05    2008      H&H                    Trailer              4J6HD35258B096999   Utica Leaseco
A270     T-14    2006      Delta              Flatbed Trailer         4MWFS36236N017717    Utica Leaseco
A271     T-17    2015      Delta              Flatbed Trailer         4MWGF4029FN036635    Utica Leaseco
                         PJ Trailer
A272     T-07    2009                         Flatbed Trailer          4P5FD402191126369   Utica Leaseco
                         Mfg. Co.
A273     T-09    2015      H&H                Dump Trailer            533DG142XFC241406    Utica Leaseco
A274     T-88    2019    RC Trailer        20' Enclosed Trailer       56VBE2026KM651777    Utica Leaseco
                          E Tex                                        5J2CS1821JE020101
A275     T-49    2018                       18' Flatbed Trailer                            Utica Leaseco
                         Longhorn
A276     T-11    2015     Dorsey        Steel Giant Flatbed Trailer   5JYDF5324FE087067    Utica Leaseco
A277     T-53    2018     Maxey             Pipe Hauler Trailer       5R89T3220JM052592    Utica Leaseco
A278     T-69    2018     Maxey             Pipe hauler Trailer        5R8BS4020JM57622    Utica Leaseco
A279     T-47    2015     Maxey               Dump Trailer            5R8G81425FM035796    Utica Leaseco
A280     T-52    2018     Maxey            Pipe Top 7K Trailer        5VNBV1825JT189909    Utica Leaseco
A281   BCR582    2015     Yamaha                 SxS SxS              5Y4AM62Y2FA101582    Utica Leaseco




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 A282      8050                MQ          DCA-25SSIU4F Generator            7155303               Utica Leaseco
 A283      T-64     2019       Salv          7 x 14 Enclosed Trailer    7GG1E1428KW004364          Utica Leaseco
 A284      T-67     2019       Salv         TA 10K Enclosed Trailer     7GG1E2027KW004626          Utica Leaseco
 A285      T-101    2019   Wells Cargo        16' Enclosed Trailer      7KC1E1621KT001260          Utica Leaseco
 A286      8024              Bobcat          15C Augar Attachment           944261288              Utica Leaseco
 A287      8052            Unverferth          Mod 122 Subsoiler            AXXXXXXXX              Utica Leaseco
 A288     BCR7956   2019    McElroy        AT1830101 Fusion Machine           C97956               Utica Leaseco
                            Container
 A289      T-77     1998                      1AA-1P40G Trailer           CIMC 43045711            Utica Leaseco
                             Trailer
 A290      T-106    1998     CIMC            8 x 40' Storage Trailer      DCMCA035853              Utica Leaseco
 A291      8107     2012   Great Plains       1005NG Grain Drill             GP5547U               Utica Leaseco
 A292      8111            Great Plains    3P1006NT-1575 Grain Drill        GP-A1134W              Utica Leaseco
 A293      8002              ANBO               76" Grapple Rake           GRS531368472            Utica Leaseco
                                            142 4' x 16' Wood Crane
 A294      8080               Misc                                             n/a                 Utica Leaseco
                                                      Mats
                                             3 20' Steel Water Road
 A295      A295              Custom                                            n/a                 Utica Leaseco
                                                 Crossing Plate
                                             3 24' Steel Water Road
 A296      A296              Custom                                            n/a                 Utica Leaseco
                                                 Crossing Plate
                                               640 Tractor Loader
 A297     BCR105           John Deere                                     N00640X000105            Utica Leaseco
                                                   attachment
                             Pioneer
 A298     BCR996                           PP44S8L71-C2.2NA Pump          NSTR/PKG2996             Utica Leaseco
                              Pump
 A299      8029     2017    Degelman           R1500 Rock Rake               RR3962                Utica Leaseco
 A300      T-94     2004      B&B                Dump Trailer                S68874W               Utica Leaseco
 A303      8120     2018      Warne          Skid Mounted Sprayer                                  Utica Leaseco
 A108      U-21     2015      Dodge                Ram 3500             3C7WRTCJ3FG586285     Utica Leaseco (Prev Ally)
 A119      U-71     2018      Dodge                Ram 3500            3C7WRTCJXJG331724      Utica Leaseco (Prev Ally)
 A120      U-48     2018      Dodge           Ram 3500 Flatbed         3C7WRTCL1JG231433      Utica Leaseco (Prev Ally)
                                           Durastar-Series 4300 SBA
 A123      S-75     2019   International                               3HAMMMML4KL136974      Utica Leaseco (Prev BMO)
                                                      4x2
                                           Durastar-Series 4300 SBA
 A124      S-70     2018   International                               3HAMMMML1JL331025      Utica Leaseco (Prev BMO)
                                                      4x2
                                            47520' 6" TPU Lay Flat
A1001      8064     2019      Oasis                                            n/a            Utica Leaseco (Prev Cash)
                                            Water Hose w/VIC End
                             Carry-On          Carry On Trailer
A1003      T-87a    2018                                                4YMBC0815JT001686     Utica Leaseco (Prev Cash)
                              Trailer            5X8CGRECP
A1004.2    S-50     1994   International       9400 OTR Truck          2HSFHGMR2RC087871      Utica Leaseco (Prev Cash)
A1009     BCR750    2012    Haybuster         2650 Bale Processor           2612651750        Utica Leaseco (Prev Cash)
A1010     BCR116c   2012     Wishek            16-SP Strawpress              13111116         Utica Leaseco (Prev Cash)
                                             1612 Strawpress Disk
A1011     BCR153    2012   John Deere                                   1XFDH16XJB0000153     Utica Leaseco (Prev Cash)
                                                   Harrow
A1013      8054     2010     Wishek            16-SP Strawpress              3021116          Utica Leaseco (Prev Cash)
A1015     BCR312    2013    Sunflower         1212-12 Tiller Disc      AGCS12110DZ100013-12   Utica Leaseco (Prev Cash)
                              Cargo
A1016      T-87                                      Trailer            53BCTEA22KT022618     Utica Leaseco (Prev Cash)
                             Express
                                             14TL-22BL Gooseneck
A1017      T-84     2020     Big Tex                                    16VEX2225L4034299     Utica Leaseco (Prev Cash)
                                                      Trailer
 A301      T-105    2016    Shanghai          8 x 20' Office Trailer       TRDU1041821        Utica Leaseco (Prev Cash)
 A304      T-71     2019     Big Tex              Trash Trailer         16VNX1626J2079460     Utica Leaseco (Prev Cash)
 A305      T-58     2019     Big Tex              Trash Trailer         16VNX162XJ2079459     Utica Leaseco (Prev Cash)



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A306      T-57     2019     Big Tex          Pipe Trailer 14LX        16VPX2021K2094344    Utica Leaseco (Prev Cash)
A307      T-73     2019      Lark          Vnose Enclosed Trailer     571BE2023KM032543    Utica Leaseco (Prev Cash)
A308      T-74     2019      Lark          Vnose Enclosed Trailer     571BE2028KM032540    Utica Leaseco (Prev Cash)
A309      T-40     2018     MaxxD        Pipe Hauler Trailer 32x84    5R8LH4021JM053095    Utica Leaseco (Prev Cash)
A310     BCR554    2019    Yamaha               Viking EPS            5Y4AMB2Y9KA102554    Utica Leaseco (Prev Cash)
A311      T-93     2020    Criterion        20' Enclosed Trailer      7HVCBEF25LA001339    Utica Leaseco (Prev Cash)
A312      A312               Misc        600 20' Wood Crane Mats              n/a          Utica Leaseco (Prev Cash)
A313      8053              Wishek            Straw Processor                Unk           Utica Leaseco (Prev Cash)
                                           259D Compact Track                               Utica Leaseco (Prev Cat
A128     BCR0559   2017   Caterpillar                                 CAT0259DVFTL10559
                                                  Loader                                              FS)
                                           299D2 Compact Track                              Utica Leaseco (Prev Cat
A129     BCR083a   2019   Caterpillar                                      FD205083
                                                  Loader                                              FS)
                                                                                            Utica Leaseco (Prev Cat
A131     BCR294    2006   Caterpillar    D6RXL Track Type Tractor          GJB00673
                                                                                                      FS)
A194     BCR752    1989   Caterpillar       627E Motor Scraper             6GB00752        Utica Leaseco (Prev CCB)
A194.1   BCR754    1989   Caterpillar       627E Motor Scraper             6GB00754        Utica Leaseco (Prev CCB)
A194.2    S-52     2007    Kenworth                W900               1XKWD49X77R193232    Utica Leaseco (Prev CCB)
A194.3   BCR769    2015      JLG         G1255A Turbo Telehandler          160066769       Utica Leaseco (Prev CCB)
A194.5   BCR570    1986   Caterpillar       627E Motor Scraper             6EB00570        Utica Leaseco (Prev CCB)
A194.6   BCR738    1989   Caterpillar       627E Motor Scraper             6GB00738        Utica Leaseco (Prev CCB)
A194.7   BCR0500   1998   Caterpillar       627F Motor Scraper             1DL00500        Utica Leaseco (Prev CCB)
A203      U-79     2017     Dodge            Ram 3500 Flatbed         3C7WRTCL9HG651645    Utica Leaseco (Prev CCB)
A314      T-25     2006     Dragon         500 BBL Frac Trailer              43691         Utica Leaseco (Prev CCB)
A315      T-22     2006     Dragon         500 BBL Frac Trailer              43696         Utica Leaseco (Prev CCB)
A316      T-19     2006     Dragon         500 BBL Frac Trailer              43972         Utica Leaseco (Prev CCB)
A317      T-81              Dragon         500 BBL Frac Trailer              64949         Utica Leaseco (Prev CCB)
A318      T-82              Dragon         500 BBL Frac Trailer              66251         Utica Leaseco (Prev CCB)
A319      T-80              Dragon         500 BBL Frac Trailer              72605         Utica Leaseco (Prev CCB)
A320      T-26     2010     Dragon         500 BBL Frac Trailer              82362         Utica Leaseco (Prev CCB)
A321      T-27     2010     Dragon         500 BBL Frac Trailer              84065         Utica Leaseco (Prev CCB)
A136      U-04     2016     Dodge                Ram 3500             3C63RRGL8GG246847    Utica Leaseco (Prev Chase)
                                                                                               Utica Leaseco (Prev
A137      U-12     2017     Dodge                Ram 3500             3C7WRTCL6HG567685
                                                                                                    Chrysler)
                                                                                               Utica Leaseco (Prev
A138      U-11     2017     Dodge                Ram 3500             3C7WRTCL8HG508900
                                                                                                    Chrysler)
A141.2   BCR447    2018     Wishek              Straw Press           AGCW00SP0JX464447     Utica Leaseco (Prev CIT)
                                                                                           Utica Leaseco (Prev Great
A147.2    8036     2018   Great Plains   16' 3PT Native Grass Drill       GPA1207D
                                                                                                     Plains)
A148.1   BCR526    2015   John Deere      310SL Backhoe Loader         1T0310SLJFF280526    Utica Leaseco (Prev JDF)
A148.2   BCR514    2015   John Deere       310SL Backhoe Loader       1T0310SLVFF280514    Utica Leaseco (Prev JDF)
                                            331G Compact Track
A149     BCR1796   2018   John Deere                                  1T0331GKAHF311796    Utica Leaseco (Prev JDF)
                                                   Loader
A162     BCR986    2015   John Deere        844k-III 4WD Loader       1DW844kCPHF680986    Utica Leaseco (Prev JDF)
                                         6140 Row Crop Tractor and
A164.1   BCR818    2013   John Deere                                  1RW6140RAD008818     Utica Leaseco (Prev JDF)
                                               H360 Loader
                                         7330 Row Crop Tractor and
A164.2   BCR167    2012   John Deere                                    RW7330K030167      Utica Leaseco (Prev JDF)
                                               H380 Loader
                                            323D Compact Track
A165.1   BCR173           John Deere                                  1T0323DKACG230173    Utica Leaseco (Prev JDF)
                                                   Loader



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A165.2   BCR147   2014   John Deere           326D Skid Steer            1T0326EKKEJ261147   Utica Leaseco (Prev JDF)
A165.3   BCR628   2016      Rhino           Rotary Mower 4150                  30628         Utica Leaseco (Prev JDF)
A165.4    8034    2014   Great Plains      NT1006 No Till Drill               GP-3264        Utica Leaseco (Prev JDF)
A219.3    8048           John Deere          K-line 2935 Disk              2935DA192488      Utica Leaseco (Prev JDF)
A219.4    8049           John Deere          K-line 2935 Disk              2935DA192489      Utica Leaseco (Prev JDF)
A219.5    8104              Rhino           3150 Rotary Mower                  40574         Utica Leaseco (Prev JDF)
A322     BCR637   2012   John Deere            7230 Tractor               RW7230P011637      Utica Leaseco (Prev JDF)
                                               4WD Tractor                                      Utica Leaseco (Prev
A170      3002    2015     Kubota                                              51275
                                              M126GXDTC-F                                             Kubota)
                                                                                              Utica Leaseco (Prev M2
A199      6002    2014   John Deere        770GP Motor Grader           1DW770GPKEF661102
                                                                                                 Lease Funds LLC)
                                                                                                Utica Leaseco (Prev
A172.2    8047    2019     K-Line              12' Speedtiller              2935D192288
                                                                                                  Northland Cap)
                                                                                                Utica Leaseco (Prev
A206     BCR259   2015   Kuhn Knight         PS150T Spreader                  D0259
                                                                                                  Northland Cap)
                                                                                                Utica Leaseco (Prev
A172.3   BCR292   2019     K-Line              12' Speedtiller              2935D192292
                                                                                                     Northland)
                                                                                                Utica Leaseco (Prev
A176      S-58    2014    Kenworth             T800 Tractor             1XKDP4EXXEJ413995
                                                                                                    TransLease)
                                                                                                Utica Leaseco (Prev
A177      S-76    2014    Peterbilt                 567                 1XPCD40X5ED251164
                                                                                                    TransLease)
                                                                                                Utica Leaseco (Prev
A179      T-60    2015     Landoll              855D Trailer            1LH855WJ3F1C21467
                                                                                                    TransLease)
                                                                                                Utica LeaseCo (Prev
A180      T-15    2016    Trail King          Low Boy Trailer           1TKJ05333GW078193
                                                                                                    TransLease)
                          PJ Trailer       35' Tandem Dual Deck                                 Utica Leaseco (Prev
A187.1    T-03    2019                                                   4P5FD3527K1302804
                          Mfg. Co.               Gooseneck                                          TransLease)
                                                                                                Utica Leaseco (Prev
A192.1    T-02    2019     Big Tex      30' Gooseneck Utility Trailer   16VGX3020K6053203
                                                                                                    TransLease)
                                                                                             Utica Leaseco (Prev Wells
A193      U-05    2017     Dodge                 Ram 3500               3C7WRTCL5HG692306
                                                                                                       Fargo)
                                                                                             Utica Leaseco (PrevGreat
A147.1    8035    2018   Great Plains    16' 3PT Native Grass Drill          GPA1195D
                                                                                                       Plains)
                                                                                                Western Equipment
A385      S-84    2010    Peterbilt           384 Water Truck           1NPVLU9X8AD796679
                                                                                                      Finance
                                                                                                Western Equipment
A387      S-86    2010    Peterbilt           384 Water Truck           1NPVLU9X0AD796658
                                                                                                      Finance
                                                                                                Western Equipment
A389      S-88    2012    Kenworth          T270 Service Truck          2NKHHM6X4CM309242
                                                                                                      Finance




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                                                SCHEDULE 7.2


                                           EXISTING LIENS


Liens on the assets set forth on Schedule 7.1




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                                SCHEDULE 7.10

                           EXISTING RESTRICTIONS


None.




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                                        SCHEDULE 10.1

                                    NOTICE INFORMATION

       Name               Address         Facsimile         E-Mail Address           Telephone
                                          Number                                      Number
 BancorpSouth         2800 North Loop   n/a            mina.valverde@bxs.com         281-492-
 Bank                 West                                                           3298
                      Suite 1000
                      Houston, TX
                      77092
                      Attn: Mina
                      Valverde
 Bridgelink           777 Main Street   817-549-       cbissett@bridgelinkengineer   682-816-
 Engineering LLC      Suite 2800        2713           ing.com                       5006
                      Fort Worth, TX
                      76102
                      Attn: Cody
                      Bissett
 Bighorn              777 Main Street   817-549-       cbissett@bcrcompanies.com     682-816-
 Construction and     Suite 2800        2713                                         5006
 Reclamation L.L.C.   Fort Worth, TX
                      76102
                      Attn: Cody
                      Bissett
 Bighorn Sand &       777 Main Street   817-549-       cbissett@bcrcompanies.com     682-816-
 Gravel LLC           Suite 2800        2713                                         5006
                      Fort Worth, TX
                      76102
                      Attn: Cody
                      Bissett
 Bighorn              777 Main Street   817-549-       cbissett@bcrcompanies.com     682-816-
 Investments and      Suite 2800        2713                                         5006
 Properties, LLC      Fort Worth, TX
                      76102
                      Attn: Cody
                      Bissett




                                           Schedules
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                                                   EXHIBIT A
                             FORM OF ASSIGNMENT AND ASSUMPTION

        This Assignment and Assumption (the “Assignment and Assumption”) is dated as of the
Effective Date set forth below and is entered into by and between the Assignor identified in item 1 below
(the “Assignor”) and [the][each] 1 Assignee identified in item 2 below ([the][each, an] “Assignee”). [It is
understood and agreed that the rights and obligations of [the Assignors][the Assignees] 2 hereunder
are several and not joint.] 3 Capitalized terms used but not defined herein shall have the meanings given
to them in the Credit Agreement identified below (as amended, restated, supplemented or otherwise
modified from time to time, the “Credit Agreement”), receipt of a copy of which is hereby acknowledged
by [the][each] Assignee. The Standard Terms and Conditions set forth in Annex 1 attached hereto are
hereby agreed to and incorporated herein by reference and made a part of this Assignment and
Assumption as if set forth herein in full.

          For an agreed consideration, the Assignor hereby irrevocably sells and assigns to [the
Assignee][the respective Assignees], and [the][each] Assignee hereby irrevocably purchases and
assumes from the Assignor, subject to and in accordance with the Standard Terms and Conditions and the
Credit Agreement, as of the Effective Date inserted by the Administrative Agent as contemplated below
(i) all of the Assignor’s rights and obligations in its capacity as a Lender under the Credit Agreement and
any other documents or instruments delivered pursuant thereto to the extent related to the amount and
percentage interest identified below of all of such outstanding rights and obligations of the Assignor
under the respective facilities identified below (including, without limitation, any Letters of Credit and
Swingline Loans included in such facilities) and (ii) to the extent permitted to be assigned under
applicable law, all claims, suits, causes of action and any other right of the Assignor (in its capacity as a
Lender) against any Person, whether known or unknown, arising under or in connection with the Credit
Agreement, any other documents or instruments delivered pursuant thereto or the loan transactions
governed thereby or in any way based on or related to any of the foregoing, including, but not limited to,
contract claims, tort claims, malpractice claims, statutory claims and all other claims at law or in equity
related to the rights and obligations sold and assigned pursuant to clause (i) above (the rights and
obligations sold and assigned by the Assignor to [the][any] Assignee pursuant to clauses (i) and (ii)
above being referred to herein collectively as [the][an] “Assigned Interest”). Each such sale and
assignment is without recourse to the Assignor and, except as expressly provided in this Assignment and
Assumption, without representation or warranty by the Assignor.

         1.       Assignor: ___________________________________

         2.       Assignee[s]:

                  [Assignee is an [Affiliate][Approved Fund] of [identify Lender]]

         3.       Borrower: BRIDGELINK ENGINEERING, LLC, a Delaware limited liability company.

        4.    Administrative Agent: BANCORPSOUTH BANK, as the administrative agent under the
Credit Agreement.

1
    NTD: For bracketed language here and elsewhere in this form relating to the Assignee(s), if the assignment is to
    a single Assignee, choose the first bracketed language. If the assignment is to multiple Assignees, choose the
    second bracketed language.
2
    NTD: Select as appropriate.
3
    NTD: Include bracketed language, if appropriate, if there are either multiple Assignors or multiple Assignees.
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         5.     Credit Agreement: The Credit Agreement, dated as of August 6, 2021, among the
Borrower, the Lenders party thereto and the Administrative Agent, as from time to time amended,
restated, supplemented or otherwise modified.

         6.       Assigned Interest[s]:

                                                               Aggregate
                                                                                                   Percentage
                                                               Amount of         Amount of
                                            Facility                                               Assigned of
     Assignor        Assignee[s]   4
                                                              Commitment/       Commitment/
                                           Assigned 5                                             Commitment/
                                                              Loans for all    Loans Assigned
                                                                                                     Loans 7
                                                                Lenders 6
                                                          $____________        $____________          ____%
                                                          $____________        $____________          ____%
                                                          $____________        $____________          ____%

         7.       Trade Date:          [_____ __], 20[__] 8

         8.       Effective Date: [_____ __], 20[__] 9

                                                   [Signature pages follow]




4
    NTD: List each Assignee, as appropriate.
5
    NTD: Fill in the commitment(s) that are being assigned under this Assignment (e.g. “Revolving Commitment,”
    “Term Loan Commitment,” etc.).
6
    NTD: Amount to be adjusted by the counterparties to take into account any payments or prepayments made
    between the Trade Date and the Effective Date.
7
    NTD: Set forth, to at least 9 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.
8
    NTD: To be completed if the Assignor(s) and the Assignee(s) intend that the minimum assignment amount is to
    be determined as of the Trade Date.
9
    NTD: To be inserted by Administrative Agent and which shall be the Effective Date of recordation of transfer in
    the register therefor.
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          The terms set forth in this Assignment and Assumption are hereby agreed to:

                                                       ASSIGNOR

                                                       [NAME OF ASSIGNOR]

                                                       By:
                                                        Title:

                                                       ASSIGNEE[S] 10

                                                       [NAME OF ASSIGNEE]


                                                       By:
                                                        Title:

                                                       [NAME OF ASSIGNEE]


                                                       By:
                                                        Title:




10
     NTD: Add additional signature blocks as needed.
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[Consented to and] 11 Accepted:

BANCORPSOUTH BANK, as Administrative Agent


By:
Title:


[Consented to:] 12

BRIDGELINK ENGINEERING, LLC, as Borrower


By:
Title:




11
     NTD: To be added only if the consent of the Administrative Agent is required by the terms of the Credit
     Agreement.
12
     NTD: To be added only if the consent of the Borrower and/or other parties (e.g. Swingline Lender, L/C Issuer)
     is required by the terms of the Credit Agreement.
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                            STANDARD TERMS AND CONDITIONS FOR
                                ASSIGNMENT AND ASSUMPTION

        1.      Representations and Warranties

                 1.1     Assignor. The Assignor (a) represents and warrants that (i) it is the legal and
beneficial owner of [the][the relevant] Assigned Interest, (ii) [the][such] Assigned Interest is free and
clear of any lien, encumbrance or other adverse claim, (iii) it has full power and authority, and has taken
all action necessary, to execute and deliver this Assignment and Assumption and to consummate the
transactions contemplated hereby and (iv) it is not a Defaulting Lender; and (b) assumes no responsibility
with respect to (i) any statements, warranties or representations made in or in connection with the Credit
Agreement or any other Loan Document, (ii) the execution, legality, validity, enforceability, genuineness,
sufficiency or value of the Loan Documents or any collateral thereunder, (iii) the financial condition of
the Borrower, any of its Subsidiaries or Affiliates or any other Person obligated in respect of any Loan
Document, or (iv) the performance or observance by the Borrower, any of its Subsidiaries or Affiliates or
any other Person of any of their respective obligations under any Loan Document.

                 1.2     Assignee[s]. [The][Each] Assignee (a) represents and warrants that (i) it has full
power and authority, and has taken all action necessary, to execute and deliver this Assignment and
Assumption and to consummate the transactions contemplated hereby and to become a Lender under the
Credit Agreement, (ii) it meets all the requirements to be an assignee under Section 10.4(b)(iii), (v) and
(vi) of the Credit Agreement (subject to such consents, if any, as may be required thereunder), (iii) from
and after the Effective Date, it shall be bound by the provisions of the Credit Agreement as a Lender
thereunder and, to the extent of [the][the relevant] Assigned Interest, shall have the obligations of a
Lender thereunder, (iv) it is sophisticated with respect to decisions to acquire assets of the type
represented by the Assigned Interest and either it, or the person exercising discretion in making its
decision to acquire the Assigned Interest, is experienced in acquiring assets of such type, (v) it has
received a copy of the Credit Agreement, and has received or has been accorded the opportunity to
receive copies of the most recent financial statements delivered pursuant to Section 6.1 thereof, as
applicable, and such other documents and information as it deems appropriate to make its own credit
analysis and decision to enter into this Assignment and Assumption and to purchase [the][such]
Assigned Interest, (vi) it has, independently and without reliance upon the Administrative Agent or any
other Lender and based on such documents and information as it has deemed appropriate, made its own
credit analysis and decision to enter into this Assignment and Assumption and to purchase [the][such]
Assigned Interest, and (vii) if it is a Foreign Lender, attached to the Assignment and Assumption is any
documentation required to be delivered by it pursuant to the terms of the Credit Agreement, duly
completed and executed by [the][such] Assignee; and (b) agrees that (i) it will, independently and
without reliance on the Administrative Agent, the Assignor or any other Lender, and based on such
documents and information as it shall deem appropriate at the time, continue to make its own credit
decisions in taking or not taking action under the Loan Documents, and (ii) it will perform in accordance
with their terms all of the obligations which by the terms of the Loan Documents are required to be
performed by it as a Lender.

        2.      Payments. From and after the Effective Date, the Administrative Agent shall make all
payments in respect of [the][each] Assigned Interest (including payments of principal, interest, fees and
other amounts) to the Assignor for amounts which have accrued to but excluding the Effective Date and
to [the][the relevant] Assignee for amounts which have accrued from and after the Effective Date.
Notwithstanding the foregoing, the Administrative Agent shall make all payments of interest, fees or
other amounts paid or payable in kind from and after the Effective Date to [the][the relevant] Assignee.
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        3.       General Provisions. This Assignment and Assumption shall be binding upon, and inure to
the benefit of, the parties hereto and their respective successors and assigns. This Assignment and
Assumption may be executed in any number of counterparts, which together shall constitute one
instrument. Delivery of an executed counterpart of a signature page of this Assignment and Assumption
by facsimile shall be effective as delivery of a manually executed counterpart of this Assignment and
Assumption. This Assignment and Assumption shall be governed by, and construed in accordance with,
the laws of the State of Texas without regard to conflicts of laws principles.
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                                                 EXHIBIT B
                                FORM OF COMMITTED LOAN NOTICE

                                                                                                      [Date]

BANCORPSOUTH BANK, as Administrative Agent
2800 North Loop West, Suite 1000
Houston, TX 77092
Attention: Mina Valverde
Phone: 281-492-3298
Email: mina.valverde@bxs.com


Ladies and Gentlemen:

         Reference is made to the Credit Agreement, dated as of August 6, 2021, among BRIDGELINK
ENGINEERING, LLC, a Delaware limited liability company (the “Borrower”), the Lenders party
thereto and BANCORPSOUTH BANK, as Administrative Agent (as the same may be amended,
restated, supplemented or otherwise modified from time to time, the “Credit Agreement”). Capitalized
terms used herein and not defined herein shall have the meanings assigned to such terms in the Credit
Agreement.

        1.      Borrowings. 13 Pursuant to Section 2.2 of the Credit Agreement, the Borrower hereby
irrevocably requests the following Borrowing[s] under the Credit Agreement and sets forth below the
information relating to such Borrowing[s] (the “Proposed Borrowing”) as required by Section 2.2 of the
Credit Agreement:

                   (a)     The Business Day of the Proposed Borrowing[s] is [____________], 202[_].

                    (b)      The Class, Type and amount of the Loans comprising the Proposed
           Borrowing[s], and, in the case of LIBOR Borrowings, the initial Interest Period applicable
           thereto, are as follows:

              Class of Borrowings                                                          Initial
                                        Type of Borrowing (ABR
              (Revolving Loans or                                      Amount 14          Interest
                                              or LIBOR)
                 Term Loans)                                                               Period
                                                                                       __ months
                                                                                       __ months

                   (c)     The location and number of the Borrower’s account to which funds are to be
           disbursed is:

                   Bank:
                   ABA #:
                   Account #:
                   Account Name:


13
       NTD: Include this Section if Borrowings are being requested. Delete inapplicable bracketed terms.
14
      NTD: Must be a minimum of the Borrowing Minimum or a whole multiple of the Borrowing Multiple in excess
     thereof.
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        2.       Certifications with respect to all Borrowings. 15 The Borrower hereby certifies that on the
date hereof as well as on the date of the Proposed Borrowing (a) each of the representations and
warranties of the Loan Parties set forth in the Loan Documents are true and correct in all material
respects, in each case on and as of the date hereof as if made on and as of such date, provided that to the
extent that such representations and warranties specifically refer to an earlier date, they shall be true and
correct in all material respects as of such earlier date; provided further that any representation and
warranty that is qualified as to “materiality”, “Material Adverse Effect” or similar language shall be true
and correct (after giving effect to any qualification therein) in all respects on such respective dates and (b)
no Default exists or would result from such Proposed Borrowing or from the application of the proceeds
therefrom.

        3.      Conversions and Continuations. 16 Pursuant to Section 2.2 of the Credit Agreement, the
Borrower hereby irrevocably requests a [conversion] [continuation] under the Credit Agreement and sets
forth below the information relating to such [conversion] [continuation] (the “Proposed [Conversion]
[Continuation]”):

                  (a)   The Business Day of the Proposed [Conversion] [Continuation] is
          [____________], 202[_].

                 (b)    The Type and amount of the Proposed [Conversion] [Continuation], in the case
          of LIBOR Borrowings, the initial Interest Period are as follows:

                             Type of Borrowing
                           (ABR or LIBOR) being                             Interest
                                                         Amount 17
                                [Converted]                                  Period
                                [Continued]
                                                                          __ months
                                                                          __ months

        Delivery of an executed counterpart of this Committed Loan Notice by an electronic method of
transmission shall be effective as delivery of an original executed counterpart of this Committed Loan
Notice.

                                            [Signature page follows]




15
     NTD: Include this Section if Borrowings are being requested.
16
     NTD: Include this Section if conversions or continuations are being requested. Delete inapplicable bracketed
     terms.
17
     NTD: Must be a minimum of the Borrowing Minimum or a whole multiple of the Borrowing Multiple in excess
     thereof.
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         IN WITNESS WHEREOF, the Borrower has caused this Committed Loan Notice to be executed
as of the date and year first written above.

                                               BRIDGELINK ENGINEERING, LLC, as the
                                               Borrower


                                               By:
                                               Name:
                                               Title:
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                                               EXHIBIT C
                               FORM OF REVOLVING LOAN NOTE

                                                                                    [________ __], 20[__]
         FOR VALUE RECEIVED, BRIDGELINK ENGINEERING, LLC, a Delaware limited
liability company (the “Borrower”), hereby promises to pay to [___________] (the “Lender”) or its
registered assigns the unpaid principal amount of the Revolving Loans made by the Lender to the
Borrower, in the amounts and at the times set forth in the Credit Agreement, dated as of August 6, 2021,
among the Borrower, the Lenders party thereto and BANCORPSOUTH BANK, as Administrative
Agent (as the same may be amended, restated, supplemented or otherwise modified from time to time, the
“Credit Agreement”) and to pay interest from the date hereof on the principal balance of such Revolving
Loans from time to time outstanding at the rate or rates and at the times set forth in the Credit Agreement,
in each case at the Administrative Agent’s Payment Office, in the currency in which such Loan is
denominated in immediately available funds. Capitalized terms used herein and not defined herein shall
have the meanings assigned to such terms in the Credit Agreement.

        The Revolving Loans evidenced by this Revolving Loan Note (this “Note”) are prepayable in the
amounts, and under the circumstances, and their respective maturities are subject to acceleration upon the
terms, set forth in the Credit Agreement. This Note is subject to, and shall be construed in accordance
with, the provisions of the Credit Agreement and is entitled to the benefits and security set forth in the
Loan Documents.

        The Lender is hereby authorized to record on the Schedule annexed hereto, and any continuation
sheets which the Lender may attach hereto, (a) the date of each Revolving Loan made by the Lender, (b)
the Type and amount thereof, (c) the interest rate (without regard to the Applicable Margin) and Interest
Period applicable to each such Revolving Loan that is a LIBOR Loan, and (d) the date and amount of
each conversion of, and each payment or prepayment of the principal of, each such Revolving Loan. The
entries made on such Schedule shall be prima facie evidence absent manifest error of the existence and
amounts of the obligations recorded thereon, provided that the failure to so record or any error therein
shall not in any manner affect the obligation of the Borrower to repay such Revolving Loans in
accordance with the terms of the Credit Agreement.

         Except as specifically otherwise provided in the Credit Agreement, the Borrower hereby waives
presentment, demand, notice of dishonor, protest, notice of protest and all other demands, protests and
notices in connection with the execution, delivery, performance, collection and enforcement of this Note.

         Whenever in this Note a Person is referred to, such reference shall be deemed to include the
successors and assigns of such Person. The Borrower shall not have the right to assign its rights or
obligations hereunder or any interest herein (and any such attempted assignment shall be void), except as
expressly permitted by the Loan Documents. No failure or delay of the Lender in exercising any power
or right hereunder shall operate as a waiver thereof, nor shall any single or partial exercise of any such
right or power, or any abandonment or discontinuance of steps to enforce such a right or power, preclude
any other or further exercise thereof or the exercise of any other right or power. Neither this Note nor any
provision hereof may be waived, amended or modified, nor shall any departure therefrom be consented to,
except pursuant to a written agreement entered into between the Borrower and the Lender with respect to
which such waiver, amendment, modification or consent is to apply, subject to any consent required in
accordance with Section 10.2 of the Credit Agreement.

        All communications and notices hereunder shall be in writing and given as provided in
Section 10.1 of the Credit Agreement.
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      THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH,
THE LAWS OF THE STATE OF TEXAS (WITHOUT REGARD TO PRINCIPLES OF CONFLICTS
OF LAWS).

          The Borrower, and by accepting this Note, the Lender, each hereby irrevocably and
unconditionally submits, for itself and its property, to the exclusive jurisdiction of the courts of the State
of Texas sitting in Harris County and of the United States District Court for the Southern District of
Texas and any appellate court from any thereof, in any action or proceeding arising out of or relating to
this Note or the other Loan Documents, or for recognition or enforcement of any judgment, and the
Borrower, and by accepting this Note, the Lender, each hereby irrevocably and unconditionally agrees
that, to the extent permitted by applicable law, all claims in respect of any such action or proceeding may
be heard and determined in such Texas State court or, to the extent permitted by applicable law, in such
Federal court. The Borrower, and by accepting this Note, the Lender, each agrees that a final judgment in
any such action or proceeding shall be conclusive and may be enforced in other jurisdictions by suit on
the judgment or in any other manner provided by law. Nothing in this Note shall affect any right that the
Lender may otherwise have to bring any action or proceeding relating to this Note or the other Loan
Documents against the Borrower, or any of its property, in the courts of any jurisdiction.

        The Borrower, and by accepting this Note, the Lender, hereby irrevocably and unconditionally
waives, to the fullest extent it may legally and effectively do so, any objection that it may now or
hereafter have to the laying of venue of any suit, action or proceeding arising out of or relating to this
Note or the other Loan Documents in any court referred to in the preceding paragraph hereof. The
Borrower, and by accepting this Note, the Lender, hereby irrevocably waives, to the fullest extent
permitted by applicable law, the defense of an inconvenient forum to the maintenance of such action or
proceeding in any such court.

        The Borrower, and by accepting this Note, the Lender, irrevocably consents to service of process
in the manner provided for notices herein. Nothing herein will affect the right of the Lender to serve
process in any other manner permitted by law.

      THE BORROWER, AND BY ACCEPTING THIS NOTE, THE LENDER, EACH
HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
RIGHT IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION
DIRECTLY OR INDIRECTLY ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS
NOTE. THE BORROWER, AND BY ACCEPTING THIS NOTE, THE LENDER, EACH (A)
CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER
PERSON HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER
PERSON WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT SUCH OTHER PERSON HAS
BEEN INDUCED TO ACCEPT THIS NOTE AND ENTER INTO THE LOAN DOCUMENTS TO
WHICH IT IS A PARTY BY, AMONG OTHER THINGS, THE WAIVERS AND
CERTIFICATIONS IN THIS PARAGRAPH.
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        IN WITNESS WHEREOF, the Borrower has executed this Revolving Loan Note as of the date
and year first written above.

                                                  BRIDGELINK ENGINEERING, LLC, as the
                                                  Borrower


                                                  By:
                                                  Name:
                                                  Title:
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                                                     SCHEDULE TO REVOLVING LOAN NOTE

                                                         Amount of
                     Type of
       Date                          Amount of            principal       Interest Rate if    Interest Period if
                    Revolving                                                                                      Notation Made By
                                   Revolving Loan     converted, repaid   LIBOR Loan 18         LIBOR Loan
                      Loan
                                                         or prepaid




18
     NTD: Without regard to the Applicable Margin.
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                                                     EXHIBIT D
                                  FORM OF COMPLIANCE CERTIFICATE

                                                [________ __], 20[__]

         I, ______________, do hereby certify that I am the [Chief Financial Officer] of
[________________] a [__________________] (the “Borrower”), and that, as such, I am duly authorized
to execute and deliver this Compliance Certificate on the Borrower’s behalf pursuant to Section 6.1(d) of
the Credit Agreement, dated as of [____________], 2021, among the Borrower, the Lenders party thereto
and BANCORPSOUTH BANK, as Administrative Agent (as the same may be amended, restated,
supplemented or otherwise modified from time to time, the “Credit Agreement”). Capitalized terms used
herein and not defined herein shall have the meanings assigned to such terms in the Credit Agreement.
Section references herein relate to the Credit Agreement unless stated otherwise. In the event of any
conflict between the calculations set forth in this Compliance Certificate and the manner of calculation
required by the Credit Agreement, the terms of the Credit Agreement shall govern and control.

         1.      Test Date. This Compliance Certificate is delivered for the fiscal [quarter/year] ended
[________ __], 20[__] (the “Test Date”). Unless otherwise indicated, references to the “Period” refer to
the four fiscal quarters ending on the Test Date.

          2.       No Default. No Default exists [, except as follows: [describe]]. 19

        3.       Financial Statements. All financial statements delivered herewith have been prepared in
accordance with GAAP. There has been no change in GAAP or in the application thereof that has
resulted in a change to the financial statements accompanying this Compliance Certificate since the date
of the Audited Financial Statements which has an effect on the financial statements accompanying this
Compliance Certificate [, except as follows: [describe]].

        4.      Subsidiaries. The Borrower has no Subsidiaries other than (a) those that set forth on
Schedule 4 to this Compliance Certificate, which Schedule sets forth for each such Subsidiary whether
such Subsidiary is (i) a Domestic Subsidiary, (ii) a Subsidiary Guarantor (including the basis for it not
being a Subsidiary Guarantor), (iii) a first tier Foreign Subsidiary or (iv) an Excluded Subsidiary
(including the basis for its constituting an Excluded Subsidiary).

        5.     Security Interests. 20 There have been no changes to the jurisdiction of organization or
legal name of any Loan Party since the latest of the (i) the Closing Date, (ii) any later written notice of
such change provided to the Administrative Agent and (iii) the date of the last Compliance Certificate
delivered pursuant to Section 6.1(d) of the Credit Agreement [in each case, except as follows:
[describe]].

          6.       Financial Covenant Compliance.

               (a)    Fixed Charge Coverage Ratio. As of the Test Date, the Consolidated Fixed
Charge Coverage Ratio was [_.__] to 1.00, calculated as set forth on Schedule 6(a) to this Compliance
Certificate. The minimum required Fixed Charge Coverage Ratio pursuant to Section 7.12(a) of the
Credit Agreement was 1.25 to 1.00.



19
     Specify the nature and status thereof and any action taken or proposed to be taken with respect thereto.
20
     NTD: Include this paragraph if the transaction is secured.
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                 (b)     Senior Leverage Ratio. As of the Test Date, the Senior Leverage Ratio was
[_.__] to 1.00, calculated as set forth on Schedule 6(b) to this Compliance Certificate. The maximum
permitted Senior Leverage Ratio as of the Test Date pursuant to Section 7.12(b) of the Credit Agreement
was [___] to 1:00.

                 (c)    Liquidity. As of the Test Date, the liquidity was [$_____________], calculated
as set forth on Schedule 6(c) to this Compliance Certificate. The minimum liquidity as of the Test Date
pursuant to Section 7.12(c) of the Credit Agreement was $4,000,000.



                                       [Signature page follows]
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      IN WITNESS WHEREOF, I have executed this Compliance Certificate on behalf of the
Borrower as of the date first above-written.

                                              BRIDGELINK ENGINEERING, LLC


                                              By:
                                              Name:
                                              Title:
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                  SCHEDULE 4 TO COMPLIANCE CERTIFICATE

                                 SUBSIDIARIES


                           [to be completed by Borrower]
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                      SCHEDULE 6(a) TO COMPLIANCE CERTIFICATE

               CALCULATION OF THE FIXED CHARGE COVERAGE RATIO


 1.     Consolidated EBITDA (Line 2 from Schedule 6(b) of this Compliance $___________
        Certificate)

        a.     lease payments made during such period:                            $___________

        b.     unfinanced Capital Expenditures made during such period:

        c.     Taxes paid or payable in cash (including Permitted Tax $___________
               Distributions) for such period:

        d.     dividends and distributions made during such period:               $___________

        e.     Sum of Lines 1.b through 1.d:                                      $___________

 2.     Fixed Charges (Sum of Lines 2.a through Line 2.c):                        $___________

        a.     scheduled principal payments made in cash on Funded Indebtedness   $___________
               during such period:

        b.     Consolidated Cash Interest Expense for such period:                $___________

        c.     lease payments made during such period:                            $___________

 Fixed Charge Coverage Ratio (Ratio of (Line 1 plus Line 1.a minus Line 1.e) to     _________:1.00
 Line 2):

 Required Minimum Fixed Charge Coverage Ratio:                                           [___]:1.00

 In Compliance?:                                                                          Yes / No
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                      SCHEDULE 6(b) TO COMPLIANCE CERTIFICATE

                    CALCULATION OF THE SENIOR LEVERAGE RATIO


    1.   Funded Indebtedness (the sum of Lines 1.a through 1.g)                     $___________
I
         a.    the outstanding principal amount of all Indebtedness which is $___________
               classified as “long-term debt” on the consolidated balance sheet of
               each Loan Party and its Subsidiaries prepared as of such date in
               accordance with GAAP (subject to year-end audit adjustments with
               respect to non-year-end periods) and any current maturities and
               other principal amount in respect of such Indebtedness due within
               one year:

         b.    the outstanding principal amount of Indebtedness for borrowed $___________
               money of each Loan Party and its Subsidiaries outstanding under a
               revolving credit, term or similar agreement including, without
               limitation, any Subordinated Debt (and renewals and extensions of
               any thereof):

         c.    the borrowing of money or the obtaining of credit by each Loan $___________
               Party and its Subsidiary (other than trade payables incurred in the
               ordinary course of business), including the issuance of notes or
               bonds (but excluding surety, performance or bid bonds):

         d.    the deferred purchase price of assets acquired (other than trade $___________
               payables incurred in the ordinary course of business):

         e.    inventory financing:                                                 $___________

         f.    Indebtedness of the type referred to in clauses (a) through (e) above $___________
               of another Person guaranteed by, or secured by a Lien on assets of,
               the Borrower, any Guarantor or any of their respective Subsidiaries

         g.    Excluding, without duplication, Subordinated and Junior Debt         $___________

    2.   Consolidated EBITDA (Line 2.d minus Line 2.e.i):                           $___________
I                                        -
         a.    Consolidated Net Income of such Person and its Subsidiaries during   $___________
               such period:

         b.    Add backs (without duplication and to the extent deducted in
               calculating Consolidated Net Income):

               i. all income taxes of such Person and its subsidiaries paid or $___________
               accrued in accordance with GAAP for such period:

               ii. Consolidated Interest Expense of such Person and its Subsidiaries $___________
               for such period:
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               iii. the amount of non-cash charges, including depletion, and $___________
               Consolidated Depreciation and Amortization Expense of such
               Person and its Subsidiaries for such period, in each case unless non-
               cash during such period but the subject of a cash payment in a future
               period:

               iv.   reasonable Transaction Expenses and other costs, fees and $___________
               charges incurred by the Loan Parties on or prior to the Closing Date
               in connection with this Agreement and the other Loan Documents in
               an amount not to exceed $250,000 in the aggregate:

               v. all expenses and charges indemnified by third parties and for $___________
               which notice of a claim has been given and with respect to which
               liability is not being contested or reimbursed in cash by third parties
               or satisfied with the proceeds of business interruption insurance:

               vi. adjustments to Consolidated Net Income arising from the $___________
               Borrower’s establishment of percentage of completion accounting in
               accordance with GAAP to the extent such adjustments are verified
               by a third party accountant acceptable to Lender:

        c.     Sum of Lines 2.b.i through 2.b.vi:                                   $___________

        d.     Sum of Lines 2.a and 2.c:                                            $___________

        e.     Deductions (to the extent included in calculating Consolidated Net
               Income):

               i. all non-recurring or extraordinary income or gains during such $___________
               period (including, without limitation, as a result of the acquisition of
               Indebtedness at a discount):

 Senior Leverage Ratio (Ratio of Line 1 to Line 2):                                  _________:1.00

 Required Maximum Senior Leverage Ratio:                                                  [___]:1.00

 In Compliance?:                                                                           Yes / No
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                        SCHEDULE 6(c) TO COMPLIANCE CERTIFICATE

                                CALCULATION OF LIQUIDITY

 1.     Availability:                                                          $___________

 2.     Cash or Cash Equivalents that are neither encumbered nor restricted    $___________

 Liquidity (Sum of Line 1 and Line 2):                                         $___________

 Required Minimum Liquidity:                                                   $4,000,000

 In Compliance?:                                                                       Yes / No
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                                  EXHIBIT E
                   FORM OF BORROWING BASE CERTIFICATE

                                  [Attached]
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                                                                                 BORROWING BASE CERTIFICATE

 Presented by: I                                                                                                                    Presented to:
 Collateral Reporting as of date:                             I
   1       TOTAL ACCOUNTS RECEIVABLE ASSIGNED TO BANK                                                                                                   $I

          ASSIGNED ACCOUNTS RECEIVABLE ADJUSTMENTS:
       a. Delinquents ( > 60 Days from Due Date or > 120 Days from Invoice Date )                                             $
       c. 25% Cross-Aging Rule                                                                                                $
       d. Retainage Receivables                                                                                               $
       e. Related Party                                                                                                       $
       f. Bonded Receivables (not in good standing)                                                                           $
       g. 25% Concentration Rule                                                                                              $
       h. Other (International, COD, etc.)                                                                                    $
   2                                                                                                                         TOTAL INELIGIBLE A/R       $I

   3       TOTAL ELIGIBLE ACCOUNTS RECEIVABLE BALANCE                                                                                                   $I

   4       ELIGIBLE ACCOUNTS RECEIVABLE TIMES ADVANCE RATE (Line 3 times                                                                85.00%      )   $I


           INVENTORY                                                           Cost                         FMV                      BBC Value




                                                                       ~~~
       a. Inv - Finished                                           $                             $                            $
       b. Inv - Raw                                                $                             $                            $
       c. Inv - In Process/transit (Ineligible)                    $                             $                            $
       d. Inv - Other (Ineligible)                                 $                             $                            $
   5       TOTAL INVENTORY ASSIGNED TO BANK (Lesser of Cost or FMV):                                                                                    $   I
   6       TOTAL INVENTORY LOAN VALUE:
        ( The lesser of:
           INVENTORY TIMES ADV RATE {b} Line 5 @
           INVENTORY CAP
                                                               {a} Line 4


                                                               {c} CAP - 50%
                                                                                                                 50.00% $
                                                                                                                              $


                                                                                                                              $
                                                                                                                                  §                     $   I
   7       LINE AVAILABLITY PER ASSIGNED A/R AND INV.                                                                                                   $I

   8       MINIMUM LIQUIDITY REQUIREMENT ($4MM)                                                                                                         $ I 4,000,000.00

   9       CURRENT CASH ON HAND BALANCE                                                                                                                 $I

 10        CURRENT LIQUIDITY (Line Availability + Cash on Hand)                                                                                         $I

 11        TOTAL BORROWING BASE AVAILABILITY INCLUDING MINIMUM LIQUIDITY                                                                                $I
           REQUIREMENT

 12        MAXIMUM LINE OF CREDIT AMOUNT                                                                                                                $ I 34,000,000.00

 13        MAXIMUM AVAILABLE FOR LOAN ADVANCE                                                                                                           $I

 14        CURRENT LOAN BALANCE                                                                                                                         $I

 15        AVAILABLE TO BE ADVANCED                                                                                                                     $I
For the purposes of inducing BancorpSouth Bank to grant loans to us pursuant to the terms of our Note, Loan Agreement and other security
documents, we hereby certify that the foreoing statement of accounts and inventory described above is true and correct and according to our books
and records and is available as acceptable collateral for loans in accordance with the representations and warranties set forth in the Note, Loan
Agreement and other security documents.

 The following reports are attached to this Certificate and
 are incorporated by reference:
       ~




       -    Accounts Receivable Aging                                                                By:

       -    Accounts Payable Aging
            Detailed Inventory Report
                                                                                                     Name:
                                                                                                     Title:
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                                         EXHIBIT F
                            FORM OF CLOSING CERTIFICATE

                                [______________________]
                              SECRETARY’S CERTIFICATE

                                       August __, 2021

        This Secretary’s Certificate of [______________], a [______________] limited liability
company (the “Company”), is provided to BancorpSouth Bank (the “Bank”) in connection with
that certain Credit Agreement dated as of the date hereof (the “Credit Agreement”), by and
among the Company, as borrower, the lenders party thereto, and the Bank, as administrative
agent. The undersigned, being the duly appointed Secretary of the Company, hereby certifies, in
his capacity as the Secretary of the Company, that:

   1. The Company is a limited liability company duly formed, validly existing and in good
      standing under the laws of the State of [______________];

   2. Attached hereto as Exhibit A is a true, correct and complete certified copy of the
      Certificate of Formation of the Company (the “Certificate of Formation”), together with
      all amendments to the foregoing, which has not otherwise been modified or rescinded and
      is in full force and effect as of the date hereof;

   3. Attached hereto as Exhibit B is a true, correct and complete copy of the Limited Liability
      Company Agreement of the Company (the “Operating Agreement”), together with all
      amendments to the foregoing, which has not otherwise been modified or rescinded and is
      in full force and effect as of the date hereof;

   4. Attached hereto as Exhibit C is a full, true and correct copy of the resolutions that were
      adopted by written consent of the Managers of the Company, which have not in any way
      been modified or rescinded and are in full force and effect on and as of the date hereof;

   5. Attached hereto as Exhibit D are certificates from the Secretary of State of the State of
      Texas and the Secretary of State of the State of Delaware evidencing the Company’s
      existence and good standing in the states of Texas and Delaware (the “Good Standings”);
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   6. Set forth below is the name and genuine signature of the duly elected and qualified officer of
      the Company, holding on the date hereof the title set forth opposite his name, and is duly
      authorized to sign the Credit Agreement and all other related documents on behalf of the
      Company:

Name                            Title                             Signature

[______________]                [______________]                  ________________________
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         IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date
first set forth above.


                                         _______________________________________
                                         [______________],          [______________]
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                                              EXHIBIT G
                        FORM OF SUBSIDIARY JOINDER AGREEMENT

        SUBSIDIARY JOINDER AGREEMENT (this “Agreement”), dated as of [________ __], 20[__],
by and between [NAME OF NEW SUBSIDIARY] a [___________] [corporation] [limited liability
company] (the “New Subsidiary”), and BANCORPSOUTH BANK, as Administrative Agent under the
Credit Agreement referred to in the next paragraph acting on behalf of the Secured Parties.

                                              RECITALS

        A. Reference is made to (i) the Credit Agreement, dated as of [____________], 2021, among
[________________], a [________________] (the “Borrower”), the Lenders party thereto and the
Administrative Agent (as the same may be amended, restated, supplemented or otherwise modified from
time to time, the “Credit Agreement”), (ii) the Guarantee Agreement, dated as of [____________], 2021
(as amended, restated, supplemented or otherwise modified from time to time, the “Guarantee
Agreement”), by and among the Borrower, the Subsidiary Guarantors party thereto (together with the
Borrower, the “Loan Parties”; each, a “Loan Party”) and the Administrative Agent, and (iii) the Pledge
and Security Agreement, dated as of [____________], 2021 (as amended, restated, supplemented or
otherwise modified from time to time, the “Security Agreement”), by and among the Loan Parties and the
Administrative Agent

        B. Capitalized terms used herein and not defined herein shall have the meanings assigned to
such terms in the Credit Agreement, the Guarantee Agreement and the Security Agreement.

        C. The New Subsidiary is a [direct] [indirect] Subsidiary of the Borrower. Pursuant to Section
6.12 of the Credit Agreement, the New Subsidiary is required to execute and deliver this Agreement for
the purposes described herein.

        NOW, THEREFORE, in consideration of the premises and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the New Subsidiary hereby
agrees as follows:

       Section 1.   Assumption and Joinder.

                  (a)      Guarantee. The New Subsidiary hereby expressly (i) joins in and agrees to be
bound by all of the provisions of the Guarantee Agreement, (ii) hereby assumes the obligations and
liabilities of a Guarantor (as defined in the Guarantee Agreement) under the Guarantee Agreement and
(iii) agrees to all the terms and provisions of the Guarantee Agreement applicable to it as a Guarantor
thereunder, in each case with the same force and effect as if originally named therein as a Subsidiary
Guarantor. The New Subsidiary acknowledges and agrees that its liability under the Guarantee
Agreement shall be joint and several with the other Guarantors party thereto. From and after the date
hereof, each reference to a “Guarantor” in the Loan Documents shall be deemed to include the New
Subsidiary.

                 (b)     Security Agreement. The New Subsidiary hereby expressly joins in and agrees
to be bound by all of the provisions of the Security Agreement and hereby assumes the obligations and
liabilities of a Grantor (as defined in the Security Agreement) under the Security Agreement with the
same force and effect as if originally named therein as a Grantor, and the New Subsidiary hereby agrees
to all the terms and provisions of the Security Agreement applicable to it as a Grantor thereunder. In
furtherance of the foregoing, the New Subsidiary, as security for the payment and performance in full of
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the Secured Obligations, does hereby grant, subject to the terms and conditions of the Security
Agreement, to the Administrative Agent for the benefit of the Secured Parties, a security interest in and
lien on all of the New Subsidiary’s right, title and interest in and to the Collateral (as defined in the
Security Agreement) now or hereafter owned or held by or on behalf of the New Subsidiary. From and
after the date hereof, each reference to a “Grantor” in the Security Agreement shall be deemed to include
the New Subsidiary.

        Section 2.    Representations and Warranties.

                  (a)     The execution, delivery and performance of this Agreement and the other Loan
Documents to which it is a party are within the New Subsidiary’s corporate, partnership, limited liability
company or other analogous powers and have been duly authorized by all necessary corporate,
partnership, limited liability company or other analogous and, if required, equity holder action of the New
Subsidiary. This Agreement has been duly executed and delivered by the New Subsidiary and this
Agreement and each of the other Loan Documents to which the New Subsidiary is a party constitutes a
legal, valid and binding obligation of the New Subsidiary, enforceable in accordance with its terms,
subject to applicable bankruptcy, insolvency, reorganization, moratorium or other similar laws affecting
creditors’ rights generally and subject to general principles of equity, regardless of whether considered in
a proceeding in equity or at law.

                  (b)     The New Subsidiary hereby expressly represents and warrants that each of the
representations and warranties made by or with respect to it set forth in the Loan Documents are true and
correct in all material respects, provided that to the extent that such representations and warranties
specifically refer to an earlier date, they are true and correct in all material respects as of such earlier date;
provided further that any representation and warranty that is qualified as to “materiality”, “Material
Adverse Effect” or similar language shall be true and correct (after giving effect to any qualification
therein) in all respects on such respective dates.

                (c)     The New Subsidiary represents and warrants that it has received and reviewed
copies of the Credit Agreement and each of the other Loan Documents.

        Section 3.    Miscellaneous.

                 (a)      This Agreement, the Guarantee Agreement and the Security Agreement
constitute the entire contract among the New Subsidiary and the Secured Parties relating to the subject
matter hereof and supersede any and all previous agreements and understandings, oral or written, among
such parties relating to the subject matter hereof.

                 (b)      This Agreement shall be binding upon the New Subsidiary and its permitted
successors and assigns, and shall inure to the benefit of the Administrative Agent and the other Secured
Parties, and their successors and assigns.

                  (c)       In the event any one or more of the provisions contained in this Agreement or in
any other Loan Document should be held invalid, illegal or unenforceable in any respect, the validity,
legality and enforceability of the remaining provisions contained herein and therein shall not in any way
be affected or impaired thereby (it being understood that the invalidity of a particular provision in a
particular jurisdiction shall not in and of itself affect the validity of such provision in any other
jurisdiction). The parties shall endeavor in good-faith negotiations to replace the invalid, illegal or
unenforceable provisions with valid provisions the economic effect of which shall be as close as possible
to that of the invalid, illegal or unenforceable provisions.
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                (d)     The New Subsidiary shall pay, or shall cause to be paid, all costs and expenses of
the Administrative Agent, including, without limitation, reasonable and documented attorneys’ fees in
connection with the preparation, negotiation, execution and delivery of this Agreement.

                 (e)    The New Subsidiary represents and warrants that it has consulted with
independent legal counsel of its selection in connection with this Agreement and is not relying on any
representations or warranties of the Administrative Agent or the other Secured Parties or their counsel in
entering into this Agreement.

                (f)      The New Subsidiary hereby agrees that all notices and other communications
required or permitted to be sent to it under this Agreement and the Loan Documents are to be sent to it at
the same address as provided in Section 10.1 of the Credit Agreement for notices to the Loan Parties.

                 (g)     This Agreement shall be governed by, and construed in accordance with, the laws
of the State of Texas (without regard to principles of conflicts of laws).

                  (h)     Each of the parties hereto irrevocably and unconditionally submits, for itself and
its property, to the exclusive jurisdiction of any of the courts of the State of Texas sitting in Harris County
and of the United States District Court for the Southern District of Texas and any appellate court from any
thereof, in any action or proceeding arising out of or relating to this Agreement or the other Loan
Documents, or for recognition or enforcement of any judgment, and each of the parties hereto hereby
irrevocably and unconditionally agrees that, to the extent permitted by applicable law, all claims in
respect of any such action or proceeding may be heard and determined in such Texas State court or, to the
extent permitted by applicable law, in such Federal court. Each of the parties hereto agrees that a final
judgment in any such action or proceeding shall be conclusive and may be enforced in other jurisdictions
by suit on the judgment or in any other manner provided by law. Nothing in this Agreement shall affect
any right that any Credit Party may otherwise have to bring any action or proceeding relating to this
Agreement or the other Loan Documents against the New Subsidiary, or any of its property, in the courts
of any jurisdiction.

                 (i)     Each of the parties hereto irrevocably and unconditionally waives, to the fullest
extent permitted by applicable law, any objection that it may now or hereafter have to the laying of venue
of any action or proceeding arising out of or relating to this Agreement or any other Loan Document in
any court referred to in clause (h) above. Each of the parties hereto hereby irrevocably waives, to the
fullest extent permitted by applicable law, the defense of an inconvenient forum to the maintenance of
such action or proceeding in any such court.

                  (j)     Each of the parties hereto irrevocably consents to service of process in the
manner provided for notices in Section 10.1 of the Credit Agreement. Nothing in this Agreement will
affect the right of any party hereto to serve process in any other manner permitted by law.

            (k)   EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES, TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A
TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF
OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED ON
CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO HEREBY (A)
CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON
HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND
(B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED
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TO ENTER INTO THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS BY, AMONG
OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                 (l)     This Agreement may be executed in counterparts (and by different parties hereto
in different counterparts), each of which shall constitute an original, but all of which when taken together
shall constitute a single contract. Delivery of an executed counterpart of a signature page of this
Agreement by facsimile or in electronic (e.g., “pdf” or “tif”) format shall be effective as delivery of a
manually executed counterpart of this Agreement.

                                         [Signature pages follow]
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        IN WITNESS WHEREOF, the undersigned have caused this Subsidiary Joinder Agreement to be
duly executed as of the date first above written.


                                           [NAME OF NEW SUBSIDIARY]


                                           By: ___________________________________
                                           Name: _________________________________
                                           Title: __________________________________


Acknowledged and accepted as of the
date first written above:

BANCORPSOUTH BANK,
as Administrative Agent

By:    ________________________
Name: ________________________
Title: ________________________
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                                              EXHIBIT H-1
                        FORM OF U.S. TAX COMPLIANCE CERTIFICATE
     (For Foreign Lenders That Are Not Partnerships For U.S. Federal Income Tax Purposes)

        Reference is made to the Credit Agreement, dated as of August 6, 2021, among
[________________] a [__________________], the Lenders party thereto and BANCORPSOUTH
BANK, as the Administrative Agent (as the same may be amended, restated, supplemented or otherwise
modified from time to time, the “Credit Agreement”). Capitalized terms used herein and not defined
herein shall have the meanings assigned to such terms in the Credit Agreement.

         Pursuant to the provisions of Section 3.6 of the Credit Agreement, the undersigned hereby
certifies that (i) it is the sole record and beneficial owner of the Loan(s) (as well as any Note(s)
evidencing such Loan(s)) in respect of which it is providing this certificate, (ii) it is not a “bank” within
the meaning of Section 881(c)(3)(A) of the Code, (iii) it is not a “ten percent shareholder” of the
Borrower within the meaning of Section 871(h)(3)(B) of the Code and (iv) it is not a “controlled foreign
corporation” related to the Borrower as described in Section 881(c)(3)(C) of the Code.

         The undersigned has furnished the Administrative Agent and the Borrower with a certificate of its
non-U.S. Person status on IRS Form W-8BEN or IRS Form W-8BEN-E (as applicable). By executing this
certificate, the undersigned agrees that (1) if the information provided in this certificate changes, the
undersigned shall promptly so inform the Borrower and the Administrative Agent, and (2) the
undersigned shall have at all times furnished the Borrower and the Administrative Agent with a properly
completed and currently effective certificate in either the calendar year in which each payment is to be
made to the undersigned, or in either of the two calendar years preceding such payments.

                                                          [NAME OF LENDER]

                                                          By:

                                                          Name

                                                          Title:

Date: [________ __], 20[__]
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                                              EXHIBIT H-2
                        FORM OF U.S. TAX COMPLIANCE CERTIFICATE
   (For Foreign Participants That Are Not Partnerships For U.S. Federal Income Tax Purposes)

        Reference is made to the Credit Agreement, dated as of August 6, 2021, among
[________________] a [__________________], the Lenders party thereto and BANCORPSOUTH
BANK, as the Administrative Agent (as the same may be amended, restated, supplemented or otherwise
modified from time to time, the “Credit Agreement”). Capitalized terms used herein and not defined
herein shall have the meanings assigned to such terms in the Credit Agreement.

           Pursuant to the provisions of Section 3.6 of the Credit Agreement, the undersigned hereby
certifies that (i) it is the sole record and beneficial owner of the participation in respect of which it is
providing this certificate, (ii) it is not a “bank” within the meaning of Section 881(c)(3)(A) of the Code,
(iii) it is not a “ten percent shareholder” of the Borrower within the meaning of Section 871(h)(3)(B) of
the Code, and (iv) it is not a “controlled foreign corporation” related to the Borrower as described in
Section 881(c)(3)(C) of the Code.

        The undersigned has furnished its participating Lender with a certificate of its non-U.S. Person
status on IRS Form W-8BEN or IRS Form W-8BEN-E (as applicable). By executing this certificate, the
undersigned agrees that (1) if the information provided in this certificate changes, the undersigned shall
promptly so inform such Lender in writing, and (2) the undersigned shall have at all times furnished such
Lender with a properly completed and currently effective certificate in either the calendar year in which
each payment is to be made to the undersigned, or in either of the two calendar years preceding such
payments.

                                                          [NAME OF PARTICIPANT]

                                                          By:

                                                          Name

                                                          Title:

Date: [________ __], 20[__]
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                                               EXHIBIT H-3
                        FORM OF U.S. TAX COMPLIANCE CERTIFICATE
     (For Foreign Participants That Are Partnerships For U.S. Federal Income Tax Purposes)

        Reference is made to the Credit Agreement, dated as of August 6, 2021, among
[________________] a [__________________], the Lenders party thereto and BANCORPSOUTH
BANK, as the Administrative Agent (as the same may be amended, restated, supplemented or otherwise
modified from time to time, the “Credit Agreement”). Capitalized terms used herein and not defined
herein shall have the meanings assigned to such terms in the Credit Agreement.

         Pursuant to the provisions of Section 3.6 of the Credit Agreement, the undersigned hereby
certifies that (i) it is the sole record owner of the participation in respect of which it is providing this
certificate, (ii) its direct or indirect partners/members are the sole beneficial owners of such participation,
(iii) with respect to such participation, neither the undersigned nor any of its direct or indirect
partners/members is a “bank” extending credit pursuant to a loan agreement entered into in the ordinary
course of its trade or business within the meaning of Section 881(c)(3)(A) of the Code, (iv) none of its
direct or indirect partners/members is a “ten percent shareholder” of the Borrower within the meaning of
Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect partners/members is a “controlled
foreign corporation” related to the Borrower as described in Section 881(c)(3)(C) of the Code.

         The undersigned has furnished its participating Lender with IRS Form W-8IMY accompanied by
one of the following forms from each of its partners/members that is claiming the portfolio interest
exemption: (i) an IRS Form W-8BEN or IRS FORM W-8BEN-E (as applicable) or (ii) an IRS Form
W-8IMY accompanied by an IRS Form W-8BEN or IRS Form W-8BEN-E (as applicable) from each of
such partner’s/member’s beneficial owners that is claiming the portfolio interest exemption. By executing
this certificate, the undersigned agrees that (1) if the information provided in this certificate changes, the
undersigned shall promptly so inform such Lender and (2) the undersigned shall have at all times
furnished such Lender with a properly completed and currently effective certificate in either the calendar
year in which each payment is to be made to the undersigned, or in either of the two calendar years
preceding such payments.

                                                           [NAME OF PARTICIPANT]

                                                           By:

                                                           Name

                                                           Title:

Date: [________ __], 20[__]
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                                               EXHIBIT H-4
                        FORM OF U.S. TAX COMPLIANCE CERTIFICATE
        (For Foreign Lenders That Are Partnerships For U.S. Federal Income Tax Purposes)

        Reference is made to the Credit Agreement, dated as of August 6, 2021, among
[________________] a [__________________], the Lenders party thereto and BANCORPSOUTH
BANK, as the Administrative Agent (as the same may be amended, restated, supplemented or otherwise
modified from time to time, the “Credit Agreement”). Capitalized terms used herein and not defined
herein shall have the meanings assigned to such terms in the Credit Agreement.

         Pursuant to the provisions of Section 3.6 of the Credit Agreement, the undersigned hereby
certifies that (i) it is the sole record owner of the Loan(s) (as well as any Note(s) evidencing such Loan(s))
in respect of which it is providing this certificate, (ii) its direct or indirect partners/members are the sole
beneficial owners of such Loan(s) (as well as any Note(s) evidencing such Loan(s)), (iii) with respect to
the extension of credit pursuant to the Credit Agreement or any other Loan Document, neither the
undersigned nor any of its direct or indirect partners/members is a “bank” extending credit pursuant to a
loan agreement entered into in the ordinary course of its trade or business within the meaning of Section
881(c)(3)(A) of the Code, (iv) none of its direct or indirect partners/members is a “ten percent
shareholder” of the Borrower within the meaning of Section 871(h)(3)(B) of the Code and (v) none of its
direct or indirect partners/members is a “controlled foreign corporation” related to the Borrower as
described in Section 881(c)(3)(C) of the Code.

         The undersigned has furnished the Administrative Agent and the Borrower with IRS Form
W-8IMY accompanied by one of the following forms from each of its partners/members that is claiming
the portfolio interest exemption: (i) an IRS Form W-8BEN or IRS Form W-8BEN-E (as applicable) or (ii)
an IRS Form W-8IMY accompanied by an IRS Form W-8BEN or IRS Form W-8BEN-E (as applicable)
from each of such partner’s/member’s beneficial owners that is claiming the portfolio interest exemption.
By executing this certificate, the undersigned agrees that (1) if the information provided in this certificate
changes, the undersigned shall promptly so inform the Borrower and the Administrative Agent, and (2)
the undersigned shall have at all times furnished the Borrower and the Administrative Agent with a
properly completed and currently effective certificate in either the calendar year in which each payment is
to be made to the undersigned, or in either of the two calendar years preceding such payments.

                                                           [NAME OF LENDER]

                                                           By:

                                                           Name

                                                           Title:

Date: [________ __], 20[__]
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                                                EXHIBIT I
                               FORM OF SOLVENCY CERTIFICATE

                                              August 6, 2021

       The undersigned, the Chief Financial Officer of BRIDGELINK ENGINEERING, LLC, a
Delaware limited liability company (the “Borrower”), hereby certifies on behalf of the Borrower,
pursuant to Section 4.1(h) of the Credit Agreement, dated as of August 6, 2021, among the Borrower, the
Lenders party thereto and BANCORPSOUTH BANK, as Administrative Agent (the “Credit
Agreement”), that:

        1.      Capitalized terms used herein and not defined herein shall have the meanings assigned to
such terms in the Credit Agreement.

         2.      I have reviewed the Credit Agreement and have made, or have caused to be made, such
examinations or investigations as is necessary to enable me to express an informed opinion as to the
matters referred to herein. The financial information, projections and assumptions that underlie and form
the basis for the certifications made in this Solvency Certificate were made in good faith and were based
on assumptions reasonably believed by the Borrower to be fair in light of the circumstances existing at the
time made and continue to be fair as of the date hereof. For purposes of providing this Solvency
Certificate, the amount of contingent liabilities has been computed as the amount that, in the light of all
the facts and circumstances existing as of the time of such computation, represents the amount that can
reasonably be expected to become an actual or matured liability.

        3.       I acknowledge that the Administrative Agent and the Lenders are relying on the truth and
accuracy of this Solvency Certificate in connection with the making of Loans and the issuance of Letters
of Credit under the Credit Agreement.

       4.       Based upon the review and examination described in paragraph 2 above, I hereby certify,
on behalf of the Borrower and not individually, that as of the date hereof, immediately before and
immediately after giving effect to the Transactions on the Closing Date:

        (a)                   the fair value of the present assets of the Borrower and its Subsidiaries, taken
        as a whole, is not less than the sum of the debt (including contingent liabilities) of the Borrower
        and its Subsidiaries, taken as a whole;

        (b)                    the present fair salable value of the assets of the Borrower and its
        Subsidiaries, taken as a whole, is not less than the amount that will be required to pay the
        probable liabilities (including contingent liabilities) of the Borrower and its Subsidiaries, taken as
        a whole, on their debts as they become absolute and matured;

        (c)                the capital of the Borrower and its Subsidiaries, taken as a whole, is not
        unreasonably small in relation to the business of the Borrower or its Subsidiaries, taken as a
        whole, contemplated as of such date; and

                 (d)      the Borrower and its Subsidiaries, taken as a whole, do not intend to incur, or
        believe that they will incur, debts (including current obligations and contingent liabilities) beyond
        their ability to pay such debts as they mature in the ordinary course of business.

        IN WITNESS WHEREOF, the undersigned has executed this Solvency Certificate on behalf of
the Borrower as of the date first above-written.
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                                         BRIDGELINK ENGINEERING LLC


                                         By:
                                         Name:
                                         Title: Chief Financial Officer
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                                                EXHIBIT J
                     FORM OF SECURED OBLIGATION DESIGNATION NOTICE

                                                                                       Date: August 6, 2021

To:       BANCORPSOUTH BANK,
          as Administrative Agent

Ladies and Gentlemen:

        Reference is made to the Credit Agreement, dated as of August 6, 2021, among BRIDGELINK
ENGINEERING, LLC a Delaware limited liability company, the Lenders party thereto and
BANCORPSOUTH BANK, as Administrative Agent (as the same may be amended, restated,
supplemented or otherwise modified from time to time, the “Credit Agreement”). Capitalized terms used
herein and not defined herein shall have the meanings assigned to such terms in the Credit Agreement.

        The undersigned, [Name of Provider], a [___________] [corporation] [limited liability
company] (the “Counterparty”), is a counterparty to the [Swap Agreement] [agreement to provide
Cash Management Services] described on Schedule 1 hereto (the “Agreement”) with the Loan Party
referred to on such Schedule. The Counterparty is delivering this Secured Obligation Designation Notice
as required under the Credit Agreement in order that the obligations of such Loan Party to the
Counterparty under the Agreement constitute [Swap Agreement Obligations] [Cash Management
Obligations] and that the Counterparty be a Secured Party in respect thereof. 21

        1.      Designation. The Counterparty hereby represents and warrants to the Administrative
Agent that the Agreement [was in effect on the Closing Date and the Counterparty was a Lender or
an Affiliate of a Lender on the Closing Date] [was entered into after the Closing Date and on the
date on which the Agreement was entered into or thereafter, the Counterparty was or became a
Lender or Affiliate of a Lender]. 22

        2.       Loan Documents. By executing and delivering this Secured Obligation Designation
Notice, the Counterparty hereby agrees to be bound by all of the provisions of the Loan Documents which
are applicable to it as a provider of the services described in the Agreement, including, without limitation,
the provisions of Articles 9 and 10 of the Credit Agreement. In addition, the Counterparty hereby (a)
acknowledges and agrees that it has received a copy of the Loan Documents and such other documents
and information as it has deemed appropriate to make its own decision to enter into the Agreement and
execute and deliver this Secured Obligation Designation Notice, (b) appoints and authorizes the
Administrative Agent to take such action as agent on its behalf and to exercise such powers and discretion
under the Credit Agreement, the other Loan Documents or any other instrument or document furnished
pursuant thereto as are delegated to the Administrative Agent by the terms thereof, together with such
powers as are incidental thereto (including, without limitation, the provisions of Articles 9 and 10 of the
Credit Agreement), (c) agrees that it will be bound by the provisions of the Loan Documents and will
perform in accordance with its terms all the obligations which by the terms of the Loan Documents are
required to be performed by it as a provider of the services described in the Agreement. Without limiting
the foregoing, the Counterparty agrees to indemnify the Administrative Agent as contemplated by Section
10.3(b) of the Credit Agreement and agrees to the provisions of Section 10.3(d) of the Credit Agreement


21
     Delete inapplicable items.
22
     Delete inapplicable items.
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mutatis mutandis and (d) acknowledges and agrees to the terms and conditions set forth in Section 9.12 of
the Credit Agreement.

        3.      Governing Law. This Secured Obligation Designation Notice shall be governed by and
construed in accordance with the laws of the State of Texas (without regard to principles of conflicts of
law).

        IN WITNESS WHEREOF, the undersigned has caused this Secured Obligation Designation
Notice to be duly executed as of the date first above written.

                                                [NAME OF COUNTERPARTY]


                                                By: ___________________________________
                                                Name: _________________________________
                                                Title: __________________________________


Acknowledged and accepted as of the
date first written above:

BANCORPSOUTH BANK,
as Administrative Agent

By:    ________________________
Name: ________________________
Title: ________________________
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                   Schedule 1 to Secured Obligation Designation Notice
